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                                     EXHIBIT A

                            Proposed Redacted Document




26968142.1
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                                                                                                       REDACTED
                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                  )
             In re:                                               )    Chapter 11
                                                                  )
             Zohar III, Corp., et al.,1                           )    Case No. 18-10512 (KBO)
                                                                  )
                                                 Debtors.         )    Jointly Administered
                                                                  )
                                                                  )    Ref. Docket Nos. 1748 and 1755

                     REPLY IN SUPPORT OF THE DEBTORS’ MOTION TO COMPEL
                  COMPLIANCE WITH PRIOR ORDERS DIRECTING THE TRANSITION OF
                      LOAN AGENCY SERVICES, INCLUDING THE TURNOVER OF
                       POSSESSORY COLLATERAL AND FOR AN ACCOUNTING

                      Zohar III, Corp. and its affiliated chapter 11 debtors (the “Debtors”) submit this reply

         (this “Reply”) in support of the Debtors’ Motion To Compel Compliance With Prior Orders

         Directing The Transition Of Loan Agency Services, Including The Turnover Of Possessory

         Collateral And For An Accounting [Docket No. 1748] (the “Motion”)2 and in response to the

         objection thereto [Docket No. 1755] (the “Objection”) filed by Lynn Tilton and the other Patriarch

         Stakeholders (collectively, “Patriarch”). In support of this Reply, the Debtors respectfully state as

         follows:

                                                               REPLY

                      1.      The Debtors’ only interest relating to the Motion is to ensure that they and Ankura

         have that to which they are entitled and required to receive under the Settlement Agreement and

         the Ankura Transition Order. Regrettably, the Debtors are compelled to once again seek this




         1
           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows: Zohar
         III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited (9261), Zohar
         II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is 3 Times Square, c/o FTI
         Consulting, Inc., New York, NY 10036.
         2
             Capitalized terms used but not otherwise defined herein shall have the meanings given to such terms in the Motion.
26932548.2
                                                                                                             Docket No. 1886
                                                                                                             8/20/20
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         Court’s intervention to compel a Patriarch Stakeholder, PPAS, to comply with prior Court orders.3

         Since its engagement was approved by this Court on March 19, 2019, Ankura repeatedly has

         requested that PPAS “transition existing Zohar-related agent matters to the New Agent.” Ankura

         Transition Order ¶ 9. Such “Zohar-related agent matters” include, without limitation, identifying

         information relating to each Portfolio Company, transaction documents, guarantors, original stock

         certificates, notes and mortgages, UCC financing statements and status, deposit account control

         agreements (each a “DACA”), and collateral and securities held on behalf of the Debtors

         (collectively, the “Agent Matters”). Despite PPAS’s obligation to transition Agent Matters and

         respond to Ankura’s commercially reasonable requests, as of May of this year, PPAS had yet to

         “transition” a substantial amount of “Zohar-related agent matters.” 4 Indeed, until the Debtors filed

         the Motion, PPAS had refused to produce the Pledged Securities absent payment of $3,414,221.39

         allegedly owed to a PPAS affiliate, which is unrelated to Agent Matters or any other credit

         agreement obligations. The Declaration of Ryan M. Roy (the “Roy Declaration”), attached hereto

         as Exhibit A, reflects the status of the many requests made by Ankura to PPAS since May 29,

         2019, relating to the Agent Matters.

                 2.       In its Objection, PPAS does not dispute that it has failed to fulfill its obligations

         under the Settlement Agreement and the Ankura Transition Order, acknowledging that the Pledged

         Securities had not been produced and (only conditionally) agreeing to produce them in response

         to the Motion. More critically, PPAS’s actions since the Debtors filed the Motion represent




         3
           The Debtors have twice agreed to adjourn the Motion since filing it on June 29, 2020 to enable PPAS to meet its
         obligations and narrow the open issues before the Court.
         4
           While PPAS has failed or refused to provide Ankura with vast amounts of Agent Matters, that is not to say that
         PPAS has not provided some information and documentation regarding such matters. However, the Ankura Transition
         Order does not require PPAS to provide “some” Agent Matters, it requires transition of all existing Agent Matters.
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         uncontroverted evidence of its material failure to comply with its obligations under the Ankura

         Transition Order.

                3.      The Motion – and the accounting PPAS agreed to provide in response to it – has

         revealed the magnitude of PPAS’s failings in transitioning the Agent Matters. At the hearing on

         July 14, 2020, PPAS agreed to the Debtors’ proposed interim resolution pursuant to which PPAS

         would (i) deliver the Pledged Securities to Ankura “by no later than Monday, July 20th,” more than

         two (2) months after first requested by the Debtors, and (ii) “provide to the [D]ebtors a full

         accounting of all collateral it holds relative to the debt to the portfolio companies by July 24th.”

         July 14, 2020 Hr’g Tr. at 6:19-7:5.

                4.      The Pledged Securities were delivered to Ankura on July 20th and an accounting of

         collateral (the “Collateral Accounting”) was delivered to Ankura and the Debtors on July 24th in

         accordance with the Court-approved interim resolution.        However, delivery of the Pledged

         Securities and the Collateral Accounting prompted more questions than answers.                First,

         unbeknownst to the Debtors or Ankura, the Pledged Securities previously withheld by PPAS

         included the stock certificates of sixty (60) companies comprising Portfolio Company E and its

         affiliates. Second, the Collateral Accounting reflected that PPAS was withholding the securities

         for an additional forty (40) companies (unrelated to Portfolio Company E and the Pledged

         Securities) – the Debtors’ collateral – that had not previously been transitioned to Ankura’s

         possession. Finally, the Collateral Accounting did not reflect the existence and status of DACAs

         for numerous Group A and Group B Portfolio Companies, which also had been the subject of

         repeated requests to PPAS by Ankura since entry of the Ankura Transition Order.

                5.      Since PPAS produced the Collateral Accounting, Ankura has once again requested

         the following (all of which were the subject of requests by Ankura beginning more than one year


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         ago): (i) identification and possession by PPAS of additional securities not reflected on the

         Collateral Accounting; (ii) production by PPAS to Ankura of all other securities reflected on the

         Collateral Accounting (other than the Pledged Securities); (iii) information regarding DACAs at

         twenty (20) Portfolio Companies, including, whether DACAs exist at the subject Portfolio

         Companies, copies of any DACAs, and whether PPAS has executed assignments of DACAs sent

         by Ankura with respect to certain of the Portfolio Companies; and (iv) other information that had

         been requested since early 2019 and not transitioned by PPAS.

                6.      Attached as Exhibit L to the Roy Declaration is a chart (the “Open Issues Chart”)

         prepared by Ankura that reflects information still outstanding from PPAS pursuant to requests

         from Ankura dating back to May 2019. The open issues relate generally to the following categories

         of Agent Matters:

                        •    DACAs

                        •    Debtor/Portfolio Company loan documentation

                        •    Debtor loan collateral and pledged securities

                        •    UCC statements and filings

                7.      DACAs. A DACA is a critical form of protection for a secured lender. It provides

         the lender with control over its debtor’s bank accounts and perfection of such lenders in such

         account. Since at least May 29, 2019, Ankura repeatedly has requested the status of DACAs at

         each of the Portfolio Companies at which Ankura has been activated as agent. Roy Declaration

         ¶ 4. On August 14, 2020, seventeen (17) months after Ankura’s engagement was approved by the

         Court, PPAS emailed to Ankura the status of DACAs for twenty (20) Portfolio Companies and,

         where applicable, copies of such DACAs. Roy Declaration ¶ 8. As of the date hereof and as

         detailed on the Open Issues Chart, Ankura still requires the following information relating to


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         DACAs: (i) assignments from PPAS to Ankura regarding DACAs at certain Portfolio Companies;

         (ii) resolution regarding Ankura’s demand to be the term lenders’ representative on the DACAs

         for loans to some of the larger Portfolio Companies where PPAS is a co-agent (including

         Companies C, F, and G); (iii) confirmation with respect to several Portfolio Companies regarding

         the existence of additional accounts and DACAs; and (iv) production of additional DACAs.

                  8.       PPAS should be compelled to (i) assign to Ankura as the secured party any DACA

         securing obligations for which Ankura is an agent, regardless of whether PPAS is a co-agent, and

         (ii) provide all outstanding information regarding DACAs for any and all Portfolio Companies

         within five (5) days of the Court’s consideration of the Motion.5

                  9.       Debtor/Portfolio Company loan documentation. Without limitation and as set forth

         in the Open Issues Chart, Ankura has not received requested information on the existence, status

         and production of guarantees, stock certificates, corporate formation documents, promissory notes,

         mortgages, security agreements, intercreditor agreements, amendments to loan documents, and

         schedules to loan documents.




         5
           While it is readily apparent why DACAs are important for any lender, the situation at Group B Portfolio Company
                                         (where Ankura has been activated as agent) demonstrates why DACAs are critical for
         these Debtors.
           Ankura asked PPAS for information regarding a DACA at           as early as May 29, 2019, and repeated the request
         numerous times thereafter, as recently as August 11, 2020. Roy Declaration ¶ 4. On December 30, 2019, March 2,
         2020 and March 20, 2020, Ms. Tilton, who had sole signing privileges on the subject            account, paid PPAS
         $500,000, $250,000 and $500,000, respectively, all at times when PPAS was no longer the agent for the Debtors. See
         April 6, 2020 e-mail from          to Ankura, attached hereto as Exhibit B. On March 21, 2020, within weeks and
         months of having paid over one million dollars to PPAS from           bank account, Ms. Tilton resigned as director,
         manager and officer of all of the Portfolio Companies, including        . Ankura has been advised that Ms. Tilton
         has recently re-appointed herself as the sole director of     .
           If PPAS and Ms. Tilton are permitted to continue to avoid responsibility for the transition of control over
         accounts, the Debtors will be unable to protect their secured position. While the Debtors have not had the opportunity
         to conduct a comprehensive review of the accounts of the dozens of other Portfolio Companies, they are deeply
         concerned about PPAS’s refusal to simply provide the DACA information that has been requested over and over again
         for more than a year.
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                10.       PPAS should be compelled to provide to Ankura all outstanding requests relating

         to Debtor/Portfolio Company loan documentation within five (5) days of the Court’s consideration

         of the Motion.

                11.       Debtor loan collateral and pledged securities. As detailed on the Open Issues Chart,

         there are several issues that have been raised by Ankura with PPAS and remain outstanding as of

         the date hereof, including, without limitation: stock certifications, collateral securities, guarantor

         certificates, intellectual property, collateral/pledged securities of several Portfolio Company

         subsidiaries, and confirmation of the existence of original stock certificates and other collateral.

                12.       PPAS should be compelled to provide to Ankura all outstanding information and

         requests regarding Debtor loan collateral and pledged securities within five (5) days of the Court’s

         consideration of the Motion.

                13.       UCC statements and filings. While transition of Agent Matters relating to UCC

         statements and filings has been substantially completed, there exist minor open issues as reflected

         on the Open Issues Chart, which should fully and finally address issues raised by Ankura since its

         engagement was approved by the Court.

                14.       PPAS should be compelled to provide to Ankura all outstanding information

         regarding UCC statements and filings within five (5) days of the Court’s consideration of the

         Motion.

                                                   CONCLUSION

                15.       Had the Debtors not filed the Motion, they undoubtedly would still not have the

         Pledged Securities, the Collateral Accounting, the additional pledged securities delivered to date,

         and other information that has been produced by PPAS that had been requested by Ankura since




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         its engagement in March 2019. Unfortunately, the Debtors and Ankura are still in need of this

         Court’s jurisdiction and relief to compel PPAS to finally satisfy its Court-ordered obligations.

                  WHEREFORE, for the reasons discussed herein and in the Motion, the Debtors

         respectfully request that the Court overrule the Objection, approve the Motion and grant such other

         and further relief as may be appropriate.

             Dated: August 20, 2020             YOUNG CONAWAY STARGATT & TAYLOR, LLP
                    Wilmington, Delaware
                                                /s/ Michael R. Nestor
                                                James L. Patton, Jr. (No. 2202)
                                                Robert S. Brady (No. 2847)
                                                Michael R. Nestor (No. 3526)
                                                Joseph M. Barry (No. 4221)
                                                Ryan M. Bartley (No. 4985)
                                                Shane M. Reil (No. 6195)
                                                Rodney Square
                                                1000 North King Street
                                                Wilmington, Delaware 19801
                                                Telephone: (302) 571-6600
                                                Facsimile: (302) 571-1253
                                                Email: jpatton@ycst.com
                                                        rbrady@ycst.com
                                                        mnestor@ycst.com
                                                        jbarry@ycst.com
                                                        rbartley@ycst.com
                                                       sreil@ycst.com

                                                Counsel to the Debtors and Debtors in Possession




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                                     EXHIBIT A




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                        )
In re:                                                  )    Chapter 11
                                                        )
Zohar III, Corp., et al.,1                              )    Case No. 18-10512 (KBO)
                                                        )
                                    Debtors.            )    Jointly Administered

                                                             Ref. Docket Nos. 1505, 1526, 1542, 1566, and 1571

                                 DECLARATION OF RYAN M. ROY

         I, Ryan M. Roy, declare under penalty of perjury that:

         1.      I am a Managing Director at Ankura Trust Company, LLC (“Ankura”).

         2.      Ankura was appointed as agent for the above captioned Debtors with respect to

various of the Debtors’ Portfolio Companies, pursuant to that order of the United States

Bankruptcy Court for the District of Delaware dated March 19, 2020 [Docket No. 709] (the

“Ankura Transition Order”). I have been primarily responsible for this engagement on behalf of

Ankura; based on my position and experience, I have personal knowledge of the facts described

herein. I submit this affidavit in connection the Debtors’ Motion To Compel Compliance With

Prior Orders Directing The Transition Of Loan Agency Services, Including The Turnover Of

Possessory Collateral And For An Accounting (the “Motion”).

         3.      The Transition Order provides that “PPAS, the Debtors, and [Ankura] shall use

commercially reasonable efforts to transition existing Zohar-related PPAS agent matters to the

New Agent.” Ankura Transition Order ¶9. Such “agent matters” include, without limitation,

identifying information relating to each Portfolio Company, transaction documents, guarantors


1
  The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows:
Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (“Zohar I”) (3724), Zohar III,
Limited (9261) (“Zohar III”), Zohar II 2005-1, Limited (8297) (“Zohar II”), and Zohar CDO 2003-1, Limited
(5119). The Debtors’ address is 3 Times Square, c/o FTI Consulting, Inc., New York, NY 10036.
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(if any), original stock certificates, notes and mortgages, UCC financing statements and status,

deposit account control agreements (“DACA’s”), and collateral and securities held on behalf of

the Debtors (collectively, the “Agent Matters”).

       4.       Since its appointment, Ankura has made numerous attempts to effectuate a

transition of all “Zohar-related PPAS agent matters” to Ankura, including, without limitation, by

emails dated:

                •   May 29, 2019 (attached hereto as Exhibit A-1 and A-2)

                •   June 26, 2019 (attached hereto as Exhibit B)

                •   July 12, 2019 (1:05 pm email attached hereto as Exhibit C)

                •   July 12, 2019 (1:29 pm email attached hereto as Exhibit D)

                •   July 17, 2019 (attached hereto as Exhibit E-1 through E-15)

                •   August 12, 2019 (attached hereto as Exhibit F)

                •   August 16, 2019 (attached hereto as Exhibit G)

                •   August 28, 2019 (attached hereto as Exhibit H)

                •   September 11, 2019 (attached hereto as Exhibit I)

       5.       Each of the emails referenced in the immediately preceding paragraph specifically

requested transition of the Agent Matters.

       6.       As of the date of filing of the Motion, among other things, PPAS had not

produced or responded to Ankura’s repeated requests for (i) the status, possession, and transition

of certain collateral and securities and (ii) the existence, status, and assignment of certain

DACAs.

       7.       On July 24, 2020, the Debtors received an accounting from PPAS (the

“Accounting”), which included a listing of securities for 100 companies.          Such securities



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represent Agent Matters that had been requested by Ankura since at least May 29, 2019. The

Accounting is attached hereto as Exhibit J.

       8.      On August 14, 2020, PPAS emailed to Ankura the status of DACAs for 20

Portfolio Companies and, where applicable, copies of such DACAs. Such DACAs represent

Agent Matters that had been requested by Ankura since at least May 29, 2019. A copy of the

August 14 Email is attached hereto as Exhibit K.

       9.      As of the date hereof, PPAS has yet to transition Zohar-related agency roles that

PPAS was required to transition under the terms of the Ankura Transition Order. The chart

attached hereto as Exhibit L tracks Ankura’s requests for the delivery of collateral,

documentation, and information, as well as the status of PPAS’s responses to those requests.

Ankura updates this chart regularly and has shared earlier versions with PPAS as a means of

communicating requests and their current status.

       10.      Text in red indicates a request by Ankura that PPAS has not fulfilled.

       I declare, pursuant to 28 U.S.C. § 1746, under penalty of perjury, that the foregoing is

true and correct to the best of my information, knowledge, and belief.

Dated: August 20, 2020

                                                        /s/ Ryan M. Roy
                                                        Ryan M. Roy
                                                        Managing Director, Ankura




                                                3
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Exhibit A-1
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From:               Ryan Roy
To:                 Carolyn Schiff
Cc:                 Jay Hopkins; Lisa Price; David Sawyer; James Balcom
Subject:            RE: [EXT] RE: Ankura Onboarding - Files for Verification + KYC Outstandings
Date:               Wednesday, May 29, 2019 3:29:00 PM
Attachments:        image001.png
                    ATC - Zohar KYC_BorrowerInfo.docx


Hi Carolyn,
Following up on the open items:
    1. The loan register file verification referenced in this email chain below. Please advise status.
    2. The abbreviated borrower information forms (in Microsoft Word) that I sent you on 5/21 (form reattached for your convenience). Please advise status.
    3. Open KYC items – please deliver the following items so we can complete our KYC:
        A. Org Charts for:
        B. Formation Documents for:

         C. Secretary Certs
        D. Email addresses, phone #s, and faxes for each of                                                                     (note we have physical addresses and the CFO’s or Lynn
            Tilton’s name associated with these, but do not have email addresses, phone #s, or fax #s)
         E. W-8 or W-9 for
Please note that later this evening we will be sending a schedule outlining deliverables related to collateral (stock certs and powers, mortgages, UCCs, DACAs, Other Collateral) for each
of the performing borrowers. Receipt of this information will not impact the timing of our onboarding, however we wanted you to be aware that the request is coming and that
collecting this information will be our focus once the initial onboarding is complete.
Lastly, as we are approaching month end we wanted to make sure Ankura Trust is on the same page as PPAS with respect to the upcoming invoice process – given the number of
onboarding items that remain outstanding, we believe it would be most efficient if PPAS handled the invoicing process this month to give you adequate time to deliver the remaining
items. We are happy to hop on the phone to discuss this further if you would like – please let us know.
Thanks,
Ryan M. Roy
Managing Director

60 State Street, Suite 700, Boston, MA 02109
+1.617.878.2112 Main +1.617.878.2031 Direct
+1.646.528.4393 Mobile




ankuratrust.com
From: Carolyn Schiff <Carolyn.Schiff@PatriarchPartners.com>
Sent: Thursday, May 23, 2019 2:34 PM
To: Ryan Roy <Ryan.Roy@ankura.com>
Cc: Jay Hopkins <jay.hopkins@ankura.com>; Lisa Price <Lisa.Price@ankura.com>; David Sawyer <David.Sawyer@ankura.com>; James Balcom <James.Balcom@fticonsulting.com>
Subject: RE: [EXT] RE: Ankura Onboarding - Files for Verification + KYC Outstandings
Almost done. Should have to you tomorrow
From: Ryan Roy [mailto:Ryan.Roy@ankura.com]
Sent: Thursday, May 23, 2019 2:07 PM
To: Carolyn Schiff
Cc: Jay Hopkins; Lisa Price; David Sawyer; James Balcom
Subject: RE: [EXT] RE: Ankura Onboarding - Files for Verification + KYC Outstandings
Carrie – curious if there is any update on where Rene and Carlos are on verifying the loan register file. Please let us know status and expected completion date.
Thank you,
Ryan M. Roy
Managing Director

60 State Street, Suite 700, Boston, MA 02109
+1.617.878.2112 Main +1.617.878.2031 Direct
+1.646.528.4393 Mobile




ankuratrust.com
From: Carolyn Schiff <Carolyn.Schiff@PatriarchPartners.com>
Sent: Monday, May 20, 2019 11:30 AM
To: Ryan Roy <Ryan.Roy@ankura.com>
Cc: Jay Hopkins <jay.hopkins@ankura.com>; Lisa Price <Lisa.Price@ankura.com>; David Sawyer <David.Sawyer@ankura.com>; James Balcom <James.Balcom@fticonsulting.com>
Subject: [EXT] RE: Ankura Onboarding - Files for Verification + KYC Outstandings
On the tax forms, you received one for                             – that is
From: Carolyn Schiff
Sent: Monday, May 20, 2019 10:24 AM
To: 'Ryan Roy'
Cc: Jay Hopkins; Lisa Price; David Sawyer; James Balcom
Subject: RE: Ankura Onboarding - Files for Verification + KYC Outstandings
Some of the wire instructions you say you don’t have were, in fact, provided. See attached chart
From: Ryan Roy [mailto:Ryan.Roy@ankura.com]
Sent: Thursday, May 16, 2019 10:55 AM
To: Carolyn Schiff
Cc: Jay Hopkins; Lisa Price; David Sawyer; James Balcom
Subject: Ankura Onboarding - Files for Verification + KYC Outstandings
Carolyn,
As discussed on our last call, Ankura agreed to take the lead in compiling the information related to the loan contracts for purposes of its onboarding and, once completed, PPAS agreed
to review and where appropriate either verify that the information Ankura captured is correct or provide the correct information where we may have captured incorrect information.
The attached file, titled “Zohar_LoanRegisters_ForPPASVerification_v20190516” contains the information that needs to be verified on the “Combined” tab. The information that we
need verified is located in the columns with headers colored in Gold (i.e. columns O through S for rows 3 and 4 and columns M through AC for rows 8 through 235). Please also respond
to the follow-ups related to certain facilities described in column AE.
Separately, there are a few remaining KYC requests outstanding. These are highlighted in RED in the attached file titled “Zohar_ATCAgencyOnboardingTracker_0515”. Please provide this
information as soon as possible so we can complete our KYC.
Lastly, we’d like to set up a call to walk you through these files and provide you and your team the opportunity to ask questions. Please let us know your availability tomorrow morning
and we will set it up.
Best,
Ryan M. Roy
Managing Director

60 State Street, Suite 700, Boston, MA 02109
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+1.646.528.4393 Mobile




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          Know Your Customer (“KYC”) Documentation Request Form


       1. Company Info
              Business Details
                       Industry
                       Annual revenues
                       Accounts, assets and transactions that are atypical for the type and
                       character of the customer
              Country Details
                       Country of Origin
                       Country of residence of the principals or beneficiaries, or the country
                       where established, or source of funds
              Multinational Companies
                       Multinational location(s) and scope of business operations
                       Expected worth/value of the international activity per country
                       Revenue breakdown by country (including de minimis amounts).
              International Companies
                       Whether international fund transfers are conducted, particularly with
                       offshore funding sources.



For questions, please contact:

Jay Hopkins
Managing Director
+1.917-544-7727

Lisa Price
Managing Director
+1.917.847.0516 Mobile




1
                                                                                  #4851-1321-9183
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Exhibit A-2
                             Case 18-10512-KBO                                                                 Doc 1918-1                                        Filed 09/04/20                                             Page 18 of 370


From:                       Ryan Roy
To:                         Carolyn Schiff
Cc:                         David Sawyer; Jay Hopkins; Lisa Price; James Balcom
Subject:                    RE: [EXT] Re: Ankura Trust - Collateral Tracker
Date:                       Wednesday, May 29, 2019 8:07:00 PM
Attachments:                RE EXT Re Onboarding documentation.msg
                            image001.png


Thanks Cari – as you know, we are keen to wrap up onboarding as quickly as possible. And apologies on                                                                                                               org chart request – we were going off of the attached
email stating the        chart would be sent. We will mark it as N/A based on your email below.
Thanks,
Ryan M. Roy
Managing Director

60 State Street, Suite 700, Boston, MA 02109
+1.617.878.2112 Main +1.617.878.2031 Direct
+1.646.528.4393 Mobile




ankuratrust.com
From: Carolyn Schiff <Carolyn.Schiff@PatriarchPartners.com>
Sent: Wednesday, May 29, 2019 7:23 PM
To: Ryan Roy <Ryan.Roy@ankura.com>
Cc: David Sawyer <David.Sawyer@ankura.com>; Jay Hopkins <jay.hopkins@ankura.com>; Lisa Price <Lisa.Price@ankura.com>; James Balcom <James.Balcom@fticonsulting.com>
Subject: [EXT] Re: Ankura Trust - Collateral Tracker
Ryan,
I am traveling for the balance of the week but will continue working on getting you these items. Some we have repeatedly told you do not exist ( do not have .org charts);
some I think you already have. The Corp formation docs you should have by Friday

Sent from my iPhone

On May 29, 2019, at 5:11 PM, Ryan Roy <Ryan.Roy@ankura.com> wrote:

          Carolyn,
          As mentioned in my email to you earlier today, please find the attached chart for the purposes of tracking the delivery of collateral for each of the 16 performing
          borrowers. As you will see, there are columns for:
              1. Original Stock Certs and Promissory Notes + powers
              2. Mortgages
              3. UCCs
              4. DACAs
              5. Other Collateral
          Please provide the relevant collateral for each borrower and, if there is no collateral, then please mark that as such in the applicable column.
          Please let us know if you have any questions.
          Thanks very much,
          Ryan
          Ryan M. Roy
          Managing Director

          60 State Street, Suite 700, Boston, MA 02109
          +1.617.878.2112 Main +1.617.878.2031 Direct
          +1.646.528.4393 Mobile
          <image001.png>
          ankuratrust.com
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          you for your cooperation.

          <Zohar - Agency Transfer Collateral Tracker.docx>



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From:             Carolyn Schiff
To:               Lisa Price
Subject:          RE: [EXT] Re: Onboarding documentation
Attachments:             Org Structure.zip


Patriarch/pc confidential

Lisa,

Attached are various org charts. The org charts included are for the following entities:


The following companies do not have org charts as they have no subsidiaries:                                                                                      .
These are existing org charts – neither Patriarch nor the companies have undertaken to create new org charts for Ankura.

               does not have a corporate org chart. It has two 100% owned subsidiaries: its UK subsidiary:                           and its Canada subsidiary:


An org chart for                 will be sent shortly.

Note that since             is no longer an operating entity some of the    entities may have been statutorily dissolved or revoked.




Carolyn Traister Schiff, Esq.
Vice President, Litigation
Patriarch Partners, LLC
1 Liberty Plaza, 35th Floor
New York, New York 10006
(646) 723-7652 (d)
(212) 825-2038 (f)
Carolyn.Schiff@PatriarchPartners.com




From: Lisa Price [mailto:Lisa.Price@ankura.com]
Sent: Thursday, April 18, 2019 11:06 AM
To: Carolyn Schiff
Subject: RE: [EXT] Re: Onboarding documentation

Thank you



From: Carolyn Schiff <Carolyn.Schiff@PatriarchPartners.com>
Sent: Thursday, April 18, 2019 10:47 AM
To: Lisa Price <Lisa.Price@ankura.com>
Subject: RE: [EXT] Re: Onboarding documentation

Patriarch/pc confidential

The administrative contacts with addresses phone and emails (the CFOs) are set forth in the attached documents provided to Ryan Roy earlier this month

From: Lisa Price [mailto:Lisa.Price@ankura.com]
Sent: Wednesday, April 17, 2019 4:29 PM
To: Carolyn Schiff
Subject: RE: [EXT] Re: Onboarding documentation

Ok., I will double check.
Thanks
Lisa


From: Carolyn Schiff <Carolyn.Schiff@PatriarchPartners.com>
Sent: Wednesday, April 17, 2019 4:27 PM
To: Lisa Price <Lisa.Price@ankura.com>
Subject: RE: [EXT] Re: Onboarding documentation

We have provided you with the directors and officers information

From: Lisa Price [mailto:Lisa.Price@ankura.com]
Sent: Wednesday, April 17, 2019 4:24 PM
To: Carolyn Schiff
Subject: RE: [EXT] Re: Onboarding documentation

Carolyn,
Attached is a copy of the spreadsheet.
Lisa


From: Carolyn Schiff <Carolyn.Schiff@PatriarchPartners.com>
Sent: Wednesday, April 17, 2019 4:13 PM
To: Lisa Price <Lisa.Price@ankura.com>
Cc: James.Balcom@fticonsulting.com; Ryan Roy <Ryan.Roy@ankura.com>; Jay Hopkins <jay.hopkins@ankura.com>; James McGinley <James.McGinley@ankura.com>
Subject: RE: [EXT] Re: Onboarding documentation

Ok…I am out of the office at a hearing an cannot seem to get into the link

From: Lisa Price [mailto:Lisa.Price@ankura.com]
Sent: Wednesday, April 17, 2019 4:08 PM
To: Carolyn Schiff
Cc: James.Balcom@fticonsulting.com; Ryan Roy; Jay Hopkins; James McGinley
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Subject: RE: [EXT] Re: Onboarding documentation

Carolyn,
The link contains the list of items and indicates the responsible party. I have also marked “Rec’d” for the items provided to date. Let me know if you can’t access the link.
Thanks
Lisa


From: Carolyn Schiff <Carolyn.Schiff@PatriarchPartners.com>
Sent: Wednesday, April 17, 2019 4:05 PM
To: Lisa Price <Lisa.Price@ankura.com>
Cc: James.Balcom@fticonsulting.com; Ryan Roy <Ryan.Roy@ankura.com>; Jay Hopkins <jay.hopkins@ankura.com>; James McGinley <James.McGinley@ankura.com>
Subject: [EXT] Re: Onboarding documentation

Is there a list of what is still outstanding? I know that some of the docs were to come from FTI ( as we had already provided them to the debtors) and some were provided by us.

Sent from my iPhone

On Apr 17, 2019, at 3:37 PM, Lisa Price <Lisa.Price@ankura.com> wrote:

          Carolyn, Jim,
          The onboarding documents received are indicated in the information found on the link below. Please notes that we are still waiting for a substantial amount of documents
          to be provided.
          Thank you.


          https://appriver3651007591-my.sharepoint.com/:x:/r/personal/ankuratrust_ankura_com/_layouts/15/Doc.aspx?sourcedoc=%7B58b808cb-f3b7-4408-8bf5-
          c6cac73e8265%7D&action=default&cid=f205bf1e-a6ce-4418-83a0-07ac7a10cb2c




          Lisa J. Price
          Managing Director

          140 Sherman Street, Fourth floor, Fairfield, CT 06824
          1.475.282.1600 Main
          1.475.282.1609 Direct
          1.917.847.0516 Mobile
           <image003.jpg>
          ankuratrust.com




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     Exhibit B
                     Case 18-10512-KBO                                                        Doc 1918-1     Filed 09/04/20                         Page 22 of 370


From:             Harms, Savannah
To:               Carolyn Schiff; Kevin Dell; Brian Stephen
Cc:               Ryan Roy; David Sawyer; Lynn Poss; Harris, Jennifer; Lee, Junoh
Subject:          [EXT] RE: Ankura/Zohar - Agency Succession
Date:             Wednesday, June 26, 2019 8:24:52 PM
Attachments:      Zohar - Agency Transfer Chart of Missing Items-4838-1814-6712-v5.docx
                  Change-Pro Redline - Zohar - Agency Transfer Chart of Missing Items and ....pdf


PPAS/Carolyn,
Thank you for sending us many of the outstanding documents over the course of the week. We have attached an updated missing items chart, which is redlined against our previous version. This is
updated to reflect the documents you have sent us so far.
Please let me know if you have any questions,
Savannah
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com
From: Carolyn Schiff [mailto:Carolyn.Schiff@PatriarchPartners.com]
Sent: Wednesday, June 26, 2019 10:39 AM
To: Lee, Junoh <jlee4@milbank.com>; Kevin Dell <Kevin.Dell@PatriarchPartners.com>; Brian Stephen <Brian.Stephen@PatriarchPartners.com>
Cc: Ryan Roy <Ryan.Roy@ankura.com>; David Sawyer <David.Sawyer@ankura.com>; Lynn Poss <lynn.poss@ankura.com>; Harris, Jennifer <JHarris@milbank.com>; Harms, Savannah
<SHarms@milbank.com>
Subject: RE: Ankura/Zohar - Agency Succession
PATRIARCH/PC CONFIDENTIAL
All,
Re           ) – attached are amendments 5-12. As to amendments 1-4, on page 6 of attached Amendment No. 5 (appears to be Section 1 (d)) there is an
acknowledgement by all parties that Amendments 1-4 were executed in the form attached as an exhibit to Amendment No. 5 or, if not executed, they are ratified. The
language is as follows:
Each of the parties hereto hereby (a) agrees that, to
the best of its belief, each of the four amendments attached hereto as Exhibit B were executed in
the form attached effective as of the date set forth on each of these amendments, and, in any case,
consents to, agrees and ratifies each such amendment and (b) hereby agrees that all other
amendments to the Credit Agreement, if any, or any other drafts, whether or not executed, of the
amendments attached to as Exhibit B, are hereby terminated and their changes reversed to be
effective as if these amendments had never been executed.
From: Lee, Junoh [mailto:jlee4@milbank.com]
Sent: Monday, June 24, 2019 6:23 PM
To: Carolyn Schiff; Kevin Dell; Brian Stephen
Cc: Ryan Roy; David Sawyer; Lynn Poss; Harris, Jennifer; Harms, Savannah
Subject: RE: Ankura/Zohar - Agency Succession
Carolyn, and team,
Thank you for your responses. Please find an updated version of the Agency Transfer Chart. Note, this is the same document that was previously sent to you by Ankura. We have updated it to include
additional facilities (co-agent/agent) and have also included any additional information we have received since the initial draft. We have highlighted in red the information that we need on each of the
loan facilities. Would it be helpful to get on a phone call to discuss? We are missing quite a bit of information that is needed to complete the agency transfer process and would like to work with you to
get that completed as expeditiously as possible.
Thank you,
Junoh
Junoh Lee | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5844
jlee4@milbank.com | milbank.com

From: Carolyn Schiff [mailto:Carolyn.Schiff@PatriarchPartners.com]
Sent: Monday, June 24, 2019 4:01 PM
To: Harms, Savannah <SHarms@milbank.com>; Kevin Dell <Kevin.Dell@PatriarchPartners.com>; Brian Stephen <Brian.Stephen@PatriarchPartners.com>
Cc: Ryan Roy <Ryan.Roy@ankura.com>; David Sawyer <David.Sawyer@ankura.com>; Lynn Poss <lynn.poss@ankura.com>; Harris, Jennifer <JHarris@milbank.com>; Lee, Junoh <jlee4@milbank.com>
Subject: RE: Ankura/Zohar - Agency Succession
Apologies – I hit send too early. Response re                               to follow
From: Carolyn Schiff
Sent: Monday, June 24, 2019 3:44 PM
To: 'Harms, Savannah'; Kevin Dell; Brian Stephen
Cc: Ryan Roy; David Sawyer; Lynn Poss; Harris, Jennifer; Lee, Junoh
Subject: RE: Ankura/Zohar - Agency Succession
PATRIARCH/PC CONFIDENTIAL
See my responses in red below
From: Harms, Savannah [mailto:SHarms@milbank.com]
Sent: Thursday, June 20, 2019 3:03 PM
To: Carolyn Schiff; Kevin Dell; Brian Stephen
Cc: Ryan Roy; David Sawyer; Lynn Poss; Harris, Jennifer; Lee, Junoh
Subject: RE: Ankura/Zohar - Agency Succession
Please see attached.
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com
From: Carolyn Schiff [mailto:Carolyn.Schiff@PatriarchPartners.com]
Sent: Thursday, June 20, 2019 3:02 PM
To: Harms, Savannah <SHarms@milbank.com>; Kevin Dell <Kevin.Dell@PatriarchPartners.com>; Brian Stephen <Brian.Stephen@PatriarchPartners.com>
Cc: Ryan Roy <Ryan.Roy@ankura.com>; David Sawyer <David.Sawyer@ankura.com>; Lynn Poss <lynn.poss@ankura.com>; Harris, Jennifer <JHarris@milbank.com>; Lee, Junoh <jlee4@milbank.com>
Subject: RE: Ankura/Zohar - Agency Succession
Can you please send me the letter agreement?
From: Harms, Savannah [mailto:SHarms@milbank.com]
Sent: Thursday, June 20, 2019 2:39 PM
To: Kevin Dell; Brian Stephen; Carolyn Schiff
Cc: Ryan Roy; David Sawyer; Lynn Poss; Harris, Jennifer; Lee, Junoh
Subject: Ankura/Zohar - Agency Succession
Hi Kevin,
As discussed on yesterday’s call, please see the below information and questions for your confirmation:
Ankura will be succeeding as Agent for the following Credit Agreements:
A-1 Performing Borrowers:
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A-2 Non-Performing Borrowers:




Of these Loans, the above highlighted in yellow (11, 12, 13, 14, 15 & 16 in the above List A-1 and 5 in the List A-2) have been designated in the Letter Agreement as co-agent Credit Agreements with
PPAS, so that PPAS is the Agent for the ARK and Lynn Tilton entities that are party to such Credit Agreement.
However, when we reviewed each Credit Agreement, we saw that #14                  and #15.       under the A-1 list do not have an ARK or Lynn Tilton Lender in the Amendments or original agreement.
Can you please help us understand why             and         were designated in the Letter Agreement as a Co-Agent Credit Agreement? Perhaps there is a different “Patriarch Stakeholders” entity that is
party to the Credit Agreements that we are not seeing. One of Lynn’s Ark entities has an ABL with            , but they are not a party to the Credit Agreement. I do note that          has been invoiced by
Ankura at the “regular” non co-agent rate, so I am not sure where the disconnect is.
Further, under the A-2 Agreements, #2          and #10              appear to be executed by an ARK Lender (         is executed by ARK II CLO 2001-1, LTD. And              is executed by ARK Investment
Partners II, L.P.). Have those lenders been paid off, such that no co-Agent is applicable? The           ARK and AIP loans have not been paid off. Re        , the facility has expired.
Thank you,
Savannah
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com



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Ankura – Agency Transfer from Patriarch Partners Agency Services, LLC (“PPAS”)

    Borrower    Guarantors            Transaction             Maturity Date              Original      Mortgages     UCCs (to     DACAs (if any)      Other
                                      Documents                                          stock certs   (to prepare   prepare                          Collateral
                                      /Amendments                                        &             Assignment    UCC-3s)                          (IP, etc.)
                                                                                         Promissory    of
                                                                                         Notes +       Mortgages)
                                                                                         powers (if
                                                                                         any)

                                      Credit Agreement        April 15, 2019 as of       PPAS to       PPAS to       UCCs to be   DACAs (if any)      PPAS to
                                      dated 3/4/09;           Amendment 4                deliver       deliver       terminated   to be terminated    deliver per
                                      Amendments:                                        collateral    collateral    on Payoff    on Payoff           Payoff Letter
                                      1-5 (5th: 11/19/15)                                per Payoff    per Payoff    Effective    Effective Date      (if any)
                                                                                         Letter        Letter        Date
                                      Payoff Letter – on or
                                      about July 1st (draft
                                      agreed)




                                      Credit Agreement        July 8, 2019 as of         Please        Please        Please       BAML DACA           Please
                                      dated 1/21/10;          Amendment 14               confirm if    confirm if    provide      dated 6/18/19       confirm if
                                      Amendments: 1-14                                   any.          any.          copies of    among Borrower,     any.
                                      (14th: 5/1/19)                                                                 UCCs.        Wells, Ankura
                                                                                                                                  and BAML for
                                                                                                                                  accounts
                       ))


                                                                                                                                  BB&T BACA
                                                                                                                                  with Lockbox
                                                                                                                                  undated unsigned;
                                                                                                                                  BB&T DACA



1
  As Payoff is contemplated to occur imminently, no need to transfer collateral. If payoff does not occur in next few weeks, UCCs and collateral should be
transferred.



                                                                                   -1-
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                                                                                                             undated and
                                                                                                             unsigned

                                                                                                             Please provide
                                                                                                             status on BB&T
                                                                                                             BACAs and
                                                                                                             DACAs

                                                                                                             Please confirm no
                                                                                                             other accounts

                     AR Credit             July 8, 2019 as of         Please       Please       Please       Please provide      Please
                     Agreement dated       Amendment 13               confirm if   confirm if   provide      Accounts/           confirm if
                     8/31/11;                                         any.         any.         copies of    DACAs               any.
                     Amendments: 1-13;                                                          UCCs.
                     (13th: 5/1/19);




                     AR Credit             July 8, 2019 as of         Please       Please       Please       Please provide      Please
                     Agreement dated       Amendment 13               confirm if   confirm if   provide      Accounts/           confirm if
                     8/31/11;                                         any.         any.         copies of    DACAs.              any.
                     Amendments:                                                                UCCs.
                     1-13 (13th: 5/1/19)




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               7 named individuals   Promissory Note     April 15, 2019 as of   Please       Please       Please       Please provide   Please
               (illegible)           Agreement dated     Amendment 15           confirm if   confirm if   provide      Accounts/        confirm if
                                     2/3/06;                                    any.         any.         copies of    DACAs            any.
                                     Amendments: 1-6     Amendment No. 19                                 UCCs.
                                     (6th: 11/14/06);    to extend maturity
                                     Missing Amendment   date to 7/8/19 in
                                     No. 7; 8-18 (8th:   process.
                                     4/25/07; 18th:
                                     11/19/15);          Note: Agency fee
                                     Commitment          unpaid; please
                                     Settlement          provide an update.
                                     Amendment 6/6/12.

                                     Please provide
                                     Amendment No. 7.

                                     First AR Credit     April 15, 2019 as of   Please       Please       Please       Please provide   Please
                                     Agreement dated     Amendment 14           confirm if   confirm if   provide      Accounts/        confirm if
                                     1/11/07;                                   any.         any.         copies of    DACAs            any.
                                     Amendments: 1-15    Amendment No. 16                                 UCCs.
                                     (15th: 11/19/15)    to extend maturity
                                                         date to 7/8/19 in
                                                         process.

                                                         Note: Agency fee
                                                         unpaid; please
                                                         provide an update.




                                                                          -3-
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               all Domestic Subs     Credit Agreement        April 15, 2019 as of    Please       Please       Please       Please provide   Please
                                     dated 6/1/09;           Amendment 8             confirm if   confirm if   provide      Accounts/        confirm if
                                     Amendments: 1-9                                 any.         any.         copies of    DACAs            any.
                                     (9th: 11/19/15)         Amendment No. 10                                  UCCs.
                                                             to extend maturity
                                     Please confirm          date to 7/8/19 in
                                     reference to “June 1,   process.
                                     2010” in
                                     Amendments 2, 3, 4,     Note: Milbank
                                     5, 6 and 8 are to the   Invoice unpaid.
                                     2009 CA.

               all Domestic Subs     Credit Agreement        April 15, 2019 as of    Please       Please       Please       Please provide   Please
                                     dated 12/6/07;          Amendment 13            confirm if   confirm if   provide      Accounts/        confirm if
                                     Amendments: 1-4                                 any.         any.         copies of    DACAs            any.
                                     (4th: 11/30/10);        Amendment No. 15                                  UCCs.
                                     Amendments 5-14         to extend maturity
                                     (5th: 5/3/11; 14th:     date to 7/8/19 in
                                     11/19/15)               process.

                                     Please note:
                                     Amendments 4-14
                                     refer to Credit
                                     Agreement on
                                     12/6/10. Please
                                     confirm if this is a
                                     separate facility. If
                                     so, please send us
                                     corresponding docs.




                                                                               -4-
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                                                                                                                                Milbank Request 6/26/19

                                     AR Credit              April 15, 2019 as of     Please       Please        Please      Please provide     Please
                                     Agreement 3/08/02;     Amendment 10             confirm if   confirm if    provide     Accounts/          confirm if
                                     Amendments: 1-12                                any.         any.          copies of   DACAs              any.
                                     (12th: 11/19/15)       Amendment No. 13                                    UCCs.
                                                            to extend maturity
                                                            date to 7/8/19 in
                                                            process.



               All domestic subs     Credit Agreement       June 1, 2017 as of       Please       Please        Please      Please provide     Please
                                     dated as of 4/17/12;   Credit Agreement         confirm if   confirm if    provide     Accounts/          confirm if
                                     Amendments: 1-9                                 any.         any.          copies of   DACAs              any.
                                     (9th: 11/19/15)        Note: Agency fee                                    UCCs.
                                                            unpaid; please
                                                            provide an update.



                                     Credit Agreement       April 15, 2019 as of     Please       Please        Please      Please provide     Please
                                     dated 5/15/06;         Amendment 21             confirm if   confirm if    provide     Accounts/          confirm if
                                     Amendments:1-22                                 any.         any.          copies of   DACAs              any.
                                     (22nd: 11/19/15)       Amendment No. 23                                    UCCs.
                                                            to extend maturity
                                                            date to 7/8/19 in
                                                            process.

                                                            Note: Agency fee
                                                            unpaid; CFO to
                                                            provide payment
                                                            plan.



Ankura and PPAS as Co-Agents (A-1s)

 Borrower      Guarantors           Transaction             Maturity Date          Original       Mortgages     UCCs (to    DACAs (if        Other
                                    Documents                                      stock certs    (to prepare   prepare     any)             Collateral (IP,
                                    /Amendments                                    &              Assignment    UCC-3s)                      etc.)
                                                                                   Promissory
                                                                                   Notes +



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                                                                                 powers (if   of
                                                                                 any)         Mortgages)

                                    AR Credit Agreement   April 15, 2019 as      Please       Please       Please      BB&T DACA        Please confirm
                                    8/31/11;              of Amendment 15        confirm if   confirm if   provide     dated 6/17/19    if any.
                                    Amendments: 1-16                             any.         any.         copies of   among Wells,
                                    (16th: 5/1/19)        Amendment No.                                    UCCs.       Ankura,
                                                          17 to extend                                                 Borrower and
                                                          maturity date to                                             BB&T for
                                                          7/8/19 in process.                                           account


                                                                                                                       BB&T BACA
                                                                                                                       with Lockbox
                                                                                                                       dated 6/17/19
                                                                                                                       among Wells,
                                                                                                                       Ankura,
                                                                                                                       Borrower and
                                                                                                                       BB&T for
                                                                                                                       accounts:




                                                                                                                       Please provide
                                                                                                                       status on
                                                                                                                       BAML DACA
                                                                                                                       among
                                                                                                                       Borrower,
                                                                                                                       Wells, Ankura
                                                                                                                       and BAML and
                                                                                                                       Side Letter

                                                                                                                       Please confirm
                                                                                                                       no other
                                                                                                                       accounts.

               all Domestic Subs    Credit Agreement      March 31, 2019 as      Please       Please       UCC 2011    Please provide   Please confirm
                                    dated 12/15/11        of Amendment 2         confirm if   confirm if               Accounts/        if any.
                                    Amendments: 1-3;                             any.         any.                     DACAs
                                    (3rd: 11/19/15)




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                                    Intercreditor                                                           UCC 2011
                                    Agreement dated
                                    2/13/12.
                                                                                                            Please
                                                                                                            confirm no
                                                                                                            other UCCs

               None.                Credit Agreement       April 15, 2019 (as     Please       Please       Please       Please provide   Please confirm
                                    dated 7/8/05           of 55th                confirm if   confirm if   provide      Accounts/        if any.
                                    Amendments: 1-55       Amendment)             any.         any.         copies of    DACAs
                                    (55th: 11/19/15)                                                        UCCs.
                                                           Amendment No.
                                                           56 to extend
                                                           maturity date to
                                                           7/8/19 in process.

                                                           Note: Agency fee
                                                           unpaid; please
                                                           provide an update.

               All domestic subs    AR Credit Agreement    April 15, 2019 as      Please       Please       Please       Please provide   Please explain
               of Borrower          dated as of 2/28/03;   of Amendment 24        confirm if   confirm if   provide      Accounts/        why the Co-
                                    Amendments 1-24                               any.         any.         copies of    DACAs            Agent
                                    (24th: 11/19/15);      Note: Agency fee                                 UCCs.                         relationship?
                                    Commitment             unpaid; please                                                                 Only Zohar
                                    Settlement             provide an update.                                                             lenders are
                                    Amendment dated as                                                                                    signatories as
                                    of 6/6/12                                                                                             of last
                                                                                                                                          amendment. 2

               All domestic subs    Credit Agreement       April 15, 2019 as      Please       Please       Please       Please provide   Please confirm
                                    dated as of 5/13/11;   of Amendment 9         confirm if   confirm if   provide      Accounts/        if any.
                                    Amendments: 1-9        for Zohar Lenders;     any.         any.         copies of    DACAs
                                    (9th: 2/15/16);        January 19 2017                                  UCCs.
                                    Commitment             for ARK Lenders
                                    Settlement
                                    Amendment dated
                                    6/6/12



2
    NTD: PPAS confirming.


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                                   Note: Agency fee
                                   unpaid; please
                                   provide an update.




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Non Performing Borrowers (A-2s)

 Borrower          Guarantors             Transaction            Maturity          Original        Mortgages        UCCs (to     DACAs (if   Other
                                          Documents              Date              stock certs &   (to prepare      prepare      any)        Collateral (IP,
                                          /Amendments                              Promissory      Assignment       UCC-3s)                  etc.)
                                                                                   Notes +         of
                                                                                   powers (if      Mortgages)
                                                                                   any)

                   The Subsidiaries of    First Amended and      April 15, 2019    Please          Please           Please       Please      Please confirm
                   Borrower               Restated Credit        as of             confirm if      confirm if       provide      provide     if any
                                          Agreement dated as     Amendment         any.            any.             copies of    Accounts/
                                          of 5/1/06;             33                                                 UCCs.        DACAs
                                          Amendments 1-34
                                          (34th: 11/19/15)

                   None.                  Loan and Security      April 15, 2019    Please          Please           Please       Please      Please confirm
                                          Agreement dated        for Zohar         confirm if      confirm if       provide      provide     ARK Lender
                                          10/14/98;              Lenders;          any.            any.             copies of    Accounts/   no longer party
                                          Amendments 1-3         January 19,                                        UCCs.        DACAs       to LSA
                                          (3rd: 11/21/00);       2017 for ARK
                                          Missing                Lenders as of
                                          Amendment No. 4;       Amendment
                                          5-19 (5th: 2/22/02;    19
                                          19th: 2/5/16)

                                          Please provide
                                          Amendment No. 4



                   All domestic subs of   Credit Agreement       April 15, 2019    Please          Please           Please       Please      Please confirm
                   the Borrower           dated as of 11/7/08;   as of             confirm if      confirm if       provide      provide     if any.
                                          Amendments: 1-4        Amendment 3       any.            any.             copies of    Accounts/
                                          (4th: 11/19/15)                                                           UCCs.        DACAs


                   Term Loan:             AR Security            April 15, 2019    Please          Please           Please       Please      Please confirm
                                          Agreement dated as     as of 59th        confirm if      confirm if       provide      provide     ARK Lender
                                          of 4/1/11              Amendment         any.            any.                                      no longer party
                                                                 to Term Loan                                                                to LSA or




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                              AR Intercreditor       and as of LSA                                      copies of    Accounts/   Term Loan
                              Agreement dated as     for Zohar                                          UCCs.        DACAs       Agreement.
                              of 4/7/15; 1st         Lender
                   LSA:       Amendment 9/1/15       Commitments.

                              Term Loan              April 15, 2016
                              Agreement dated as     for ARK
                              of 11/2/04;            Lenders under
                              Amendments 1-59        LSA.
                              (59th: 2/5/16);
                              Commitment
                              Settlement
                              Agreement dated
                              6/6/12

                   I          Amended and            April 15, 2019     Please         Please           Please       Please      Please confirm
                              Restated Loan and      as of 3rd AR       confirm if     confirm if       provide      provide     if any.
    CO-                       Security Agreement     LSA                any.           any.             copies of    Accounts/
 AGENT                        dated 6/2/06; no       Amendment                                          UCCs.        DACAs
                              Amendments.            18

                              Second Amended
                              and Restated Loan
                              and Security
                              Agreement dated as
                              of 6/28/07;
                              Amendments 1-4
                              (4th: 1/16/09) (Only
                              Zohar Lenders)

                              MISSING “Credit
                              Agreement as of
                              June 5, 2008”;
                              Amendments 1-
                              11(11th: 3/24/10)
                              (Only Zohar
                              Lenders)

                              Third Amended and
                              Restated Loan and
                              Security Agreement
                              dated as of 1/15/09;



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                                          Amendments 1-18
                                          (18th: 2/5/16)

                                          Please provide any
                                          Amendments to the
                                          6/2/06 LSA

                   Domestic subs of       Credit Agreement      April 15, 2019     Please         Please           Please       Please      Please confirm
                   Borrower               dated as of           as of              confirm if     confirm if       provide      provide     if any.
                                          12/28/09;             Amendment 5        any.           any.             copies of    Accounts/
                                          Amendments: 1-5                                                          UCCs.        DACAs
                                          (5th: 11/3/15)

                   Domestic Subs of       Credit Agreement      April 15, 2019     Please         Please           Please       Please      Please confirm
                   Borrower               dated as of 3/5/08;   as of              confirm if     confirm if       provide      provide     if any.
                                          Amendments: No.       Amendment          any.           any.             copies of    Accounts/
                                          1 – 22nd (22nd:       21                                                 UCCs.        DACAs
                                          11/19/15)


                                          Credit Agreement      September 3,       Please         Please           Please       Please      Please confirm
                                          dated as of 9/3/08;   2013 as of         confirm if     confirm if       provide      provide     if any.
                                                                Credit             any.           any.             copies of    Accounts/
                                          Amendments: No.       Agreement                                          UCCs.        DACAs
                                          1-12th (12th:
                                          09/03/08)

                                          Third Amended and     April 15, 2019     Please         Please           Please       Please      Please confirm
                                          Restated Credit       as of 8/5/05       confirm if     confirm if       provide      provide     if any.
                                          Agreement dated as    Credit             any.           any.             copies of    Accounts/
                                          of 3/30/04;           Agreement                                          UCCs.        DACAs
                                          Amendment No. 1:      Amendment
                                          6/27/05               18

                                          Credit Agreement
                                          dated as of 8/5/05;
                                          Amendments 1-19
                                          (19th: 11/19/15)




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                       Please confirm no
                       other Amendments
                       to AR CA 3/30/04;

                       Credit Agreement      April 15, 2019     Please         Please           Please       Please      Please provide
                       dated as of 8/4/03;   as of              confirm if     confirm if       provide      provide     if any.
                       Amendments 1-30       Amendment          any.           any.             copies of    Accounts/
                       (30th: 11/19/15)      24                                                 UCCs.        DACAs




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Ankura – Agency Transfer from Patriarch Partners Agency Services, LLC (“PPAS”)

    Borrower    Guarantors           Transaction             Maturity Date              Original      Mortgages     UCCs (to       DACAs (if any)     Other
                                     Documents                                          stock certs   (to prepare   prepare                           Collateral
                                     /Amendments                                        &             Assignmen     UCC-3s)                           (IP, etc.)
                                                                                        Promissory    t of
                                                                                        Notes +       Mortgages)
                                                                                        powers (if
                                                                                        any)

                                     Credit Agreement        April 15, 2019 as of       PPAS to       PPAS to       UCCs to be     DACAs (if any)     PPAS to
                                     dated 3/4/09;           Amendment 4                deliver       deliver       terminated     to be terminated   deliver per
                                     Amendments:                                        collateral    collateral    on Payoff      on Payoff          Payoff Letter
                                     1-5 (5th: 11/19/15)                                per Payoff    per Payoff    Effective      Effective Date     (if any)
                                                                                        Letter        Letter        Date
                                     Payoff Letter – on or
                                     about June 14thJuly
                                     1st (draft agreed)

                                     Please provide
                                     update on timing to
                                     Payoff Letter

                                     *Agency Fee to be
                                     paid in Payoff.
                                     Credit Agreement        July 8, 2019 as of         Please        Please        Please         BAML DACA          Please
                                     dated 1/21/10;          Amendment 14               confirm if    confirm if    provide        dated 6/18/19      confirm if
                                     Amendments: 1-14                                   any.          any.          copies of      among Borrower,    any.
                                     (14th: 5/1/19)                                                                 UCCs.          Wells, Ankura
                                                                                                                                   and BAML for
                                                                                                                                   accounts



                                                                                                                                   BB&T BACA
                                                                                                                                   with Lockbox




1
  As Payoff is contemplated to occur imminently, no need to transfer collateral. If payoff does not occur in next few weeks, UCCs and collateral should be
transferred.



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                                                                                                                   undated
                                                                                                                   unsigned; BB&T
                                                                                                                   DACA undated
                                                                                                                   and unsigned

                                                                                                                   Please provide
                                                                                                                   status on BB&T
                                                                                                                   BACAs and
                                                                                                                   DACAs

                                                                                                                   Please confirm no
                                                                                                                   other accounts

                       AR Credit               July 8, 2019 as of         Please       Please       Please         Please provide      Please
                       Agreement dated         Amendment 13               confirm if   confirm if   provide        Accounts/           confirm if
                       8/31/11;                                           any.         any.         copies of      DACAs               any.
                       Amendments: 1-6;                                                             UCCs.
                       (6th: 11/13/12);
                       Missing
                       Amendments 7-
                       1213; (13th: 5/1/19);



                       Please provide
                       Amendments 7-12
                   ,




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                               AR Credit               July 8, 2019 as of         Please       Please       Please         Please provide   Please
                               Agreement dated         Amendment 13               confirm if   confirm if   provide        Accounts/        confirm if
                               8/31/11;                                           any.         any.         copies of      DACAs.           any.
                               Amendments:                                                                  UCCs.
                               1- 6 (6th: 11/13/12);
                               Missing
                               Amendments 7-11;
                               12-13 (12th:
                               11/19/15; 13th:
                               5/1/19)

                               Please provide
                               Amendments 7-11.




               7 named         Promissory Note         April 15, 2019 as of       Please       Please       Please         Please provide   Please
               individuals     Agreement dated                                    confirm if   confirm if   provide        Accounts/        confirm if




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               (illegible)           2/3/06;               Amendment 15           any.         any.         copies of      DACAs            any.
                                     Amendments: 1-6                                                        UCCs.
                                     (6th: 11/14/06);      Amendment No. 19
                                     Missing               to extend maturity
                                     Amendment No. 7;      date to 7/8/19 in
                                     8-18 (8th: 4/25/07;   process.
                                     18th: 11/19/15);
                                     Commitment            Note: Agency fee
                                     Settlement            unpaid; please
                                     Amendment 6/6/12.     provide an update.

                                     Please provide
                                     Amendment No. 7.

                                     First AR Credit       April 15, 2019 as of   Please       Please       Please         Please provide   Please
                                     Agreement dated       Amendment 14           confirm if   confirm if   provide        Accounts/        confirm if
                                     1/11/07;                                     any.         any.         copies of      DACAs            any.
                                     Amendments: 1-15      Amendment No. 16                                 UCCs.
                                     (15th: 11/19/15)      to extend maturity
                                                           date to 7/8/19 in
                                                           process.

                                                           Note: Agency fee
                                                           unpaid; please
                                                           provide an update.




               all Domestic Subs     Credit Agreement      April 15, 2019 as of   Please       Please       Please         Please provide   Please
                                     dated 6/1/09;                                confirm if   confirm if   provide        Accounts/        confirm if




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                                     Amendments: 1-9         Amendment 8             any.         any.         copies of      DACAs            any.
                                     (9th: 11/19/15)                                                           UCCs.
                                                             Amendment No. 10
                                     Please confirm          to extend maturity
                                     reference to “June 1,   date to 7/8/19 in
                                     2010” in                process.
                                     Amendments 2, 3, 4,
                                     5, 6 and 8 are to the   Note: Milbank
                                     2009 CA.                Invoice unpaid.

               all Domestic Subs     Credit Agreement        April 15, 2019 as of    Please       Please       Please         Please provide   Please
                                     dated 12/6/07;          Amendment 13            confirm if   confirm if   provide        Accounts/        confirm if
                                     Amendments: 1-4                                 any.         any.         copies of      DACAs            any.
                                     (4th: 11/30/10);        Amendment No. 15                                  UCCs.
                                     MissingAmendment        to extend maturity
                                     s 5th Amendment         date to 7/8/19 in
                                     (incorrect              process.
                                     amendment
                                     provided); 6-14
                                     (65th: 6/2/115/3/11;
                                     14th: 11/19/15)

                                     Please provide
                                     Amendment No.
                                     5Please note:
                                     Amendments 4-14
                                     refer to Credit
                                     Agreement on
                                     12/6/10. Please
                                     confirm if this is a
                                     separate facility. If
                                     so, please send us
                                     corresponding docs.

                                     AR Credit               April 15, 2019 as of    Please       Please       Please         Please provide   Please
                                     Agreement 3/08/02;      Amendment 10            confirm if   confirm if   provide        Accounts/        confirm if
                                     Amendments: 1-12                                any.         any.         copies of      DACAs            any.
                                     (12th: 11/19/15)        Amendment No. 13                                  UCCs.
                                                             to extend maturity
                                                             date to 7/8/19 in




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                                                                                                                            Milbank Request 6/24/196/26/19

                                                            process.



               All domestic subs     Credit Agreement       June 1, 2017 as of       Please       Please        Please         Please provide     Please
                                     dated as of 4/17/12;   Credit Agreement         confirm if   confirm if    provide        Accounts/          confirm if
                                     Amendments: 1-9                                 any.         any.          copies of      DACAs              any.
                                     (9th: 11/19/15)        Note: Agency fee                                    UCCs.
                                                            unpaid; please
                                     Please provide any     provide an update.
                                     Amendments or
                                     confirm no
                                     Amendments.

                                     Credit Agreement       April 15, 2019 as of     Please       Please        Please         Please provide     Please
                                     dated 5/15/06;         Amendment 21             confirm if   confirm if    provide        Accounts/          confirm if
                                     Amendments:1-22                                 any.         any.          copies of      DACAs              any.
                                     (22nd: 11/19/15)       Amendment No. 23                                    UCCs.
                                                            to extend maturity
                                                            date to 7/8/19 in
                                                            process.

                                                            Note: Agency fee
                                                            unpaid; CFO to
                                                            provide payment
                                                            plan.



Ankura and PPAS as Co-Agents (A-1s)

 Borrower      Guarantors           Transaction             Maturity Date          Original       Mortgages     UCCs (to       DACAs (if        Other
                                    Documents                                      stock certs    (to prepare   prepare        any)             Collateral (IP,
                                    /Amendments                                    &              Assignmen     UCC-3s)                         etc.)
                                                                                   Promissory     t of
                                                                                   Notes +        Mortgages)
                                                                                   powers (if




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                                                                any)

                    AR Credit            April 15, 2019 as      Please       Please       Please         BB&T DACA        Please confirm
                    Agreement 8/31/11;   of Amendment 15        confirm if   confirm if   provide        dated 6/17/19    if any.
                    Amendments: 1-16                            any.         any.         copies of      among Wells,
                    (16th: 5/1/19)       Amendment No.                                    UCCs.          Ankura,
                                         17 to extend                                                    Borrower and
                                         maturity date to                                                BB&T for
                                         7/8/19 in process.                                              account



                                                                                                         BB&T BACA
                                                                                                         with Lockbox
                                                                                                         dated 6/17/19
                                                                                                         among Wells,
                                                                                                         Ankura,
                                                                                                         Borrower and
                                                                                                         BB&T for
                                                                                                         accounts:




                                                                                                         Please provide
                                                                                                         status on
                                                                                                         BAML DACA
                                                                                                         among
                                                                                                         Borrower,
                                                                                                         Wells, Ankura
                                                                                                         and BAML and
                                                                                                         Side Letter

                                                                                                         Please confirm
                                                                                                         no other
                                                                                                         accounts.

 13.                Credit Agreement     March 31, 2019 as      Please       Please       UCC 2011       Please provide   Please confirm




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               all Domestic Subs    dated 12/15/11         of Amendment 2         confirm if   confirm if   5              Accounts/        if any.
                                    Amendments: 1-3;                              any.         any.                        DACAs
                                    (3rd: 11/19/15)                                                         UCC 2011

                                    Intercreditor
                                    Agreement dated                                                         Please
                                    2/13/12.                                                                confirm no
                                                                                                            other UCCs

               None.                Credit Agreement       April 15, 2019 (as     Please       Please       Please         Please provide   Please confirm
                                    dated 7/8/05           of 55th                confirm if   confirm if   provide        Accounts/        if any.
                                    Amendments: 1-55       Amendment)             any.         any.         copies of      DACAs
                                    (55th: 11/19/15)                                                        UCCs.
                                                           Amendment No.
                                                           56 to extend
                                                           maturity date to
                                                           7/8/19 in process.

                                                           Note: Agency fee
                                                           unpaid; please
                                                           provide an update.

               All domestic subs    AR Credit              April 15, 2019 as      Please       Please       Please         Please provide   Please explain
               of Borrower          Agreement dated as     of Amendment 24        confirm if   confirm if   provide        Accounts/        why the Co-
                                    of 2/28/03;                                   any.         any.         copies of      DACAs            Agent
                                    Amendments 1-24        Note: Agency fee                                 UCCs.                           relationship?
                                    (24th: 11/19/15);      unpaid; please                                                                   Only Zohar
                                    Commitment             provide an update.                                                               lenders are
                                    Settlement                                                                                              signatories as
                                    Amendment dated as                                                                                      of last
                                    of 6/6/12                                                                                               amendment.2

               All domestic subs    Credit Agreement       April 15, 2019 as      Please       Please       Please         Please provide   Please confirm
                                    dated as of 5/13/11;   of Amendment 9         confirm if   confirm if   provide        Accounts/        if any.
                                    Amendments: 1-4        for Zohar Lenders;     any.         any.         copies of      DACAs
                                    (4th: 11/19/14);       January 19 2017




2
    NTD: PPAS confirming.


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                    Missing Amendment      for ARK Lenders                              UCCs.
                    No. 5 (incorrect
                    amendment              Note: Agency fee
                    provided); 6-9 (6th:   unpaid; please
                    6/24/15; 9th:          provide an update.
                    2/15/16);
                    Commitment
                    Settlement
                    Amendment dated
                    6/6/12

                    Please provide
                    Amendment No. 5




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Non Performing Borrowers (A-2s)

 Borrower          Guarantors             Transaction            Maturity           Original        Mortgages        UCCs (to         DACAs (if   Other
                                          Documents              Date               stock certs &   (to prepare      prepare          any)        Collateral
                                          /Amendments                               Promissory      Assignment       UCC-3s)                      (IP, etc.)
                                                                                    Notes +         of
                                                                                    powers (if      Mortgages)
                                                                                    any)

                   The Subsidiaries of    First Amended and      April 15, 2019     Please          Please           Please           Please      Please confirm
                   Borrower               Restated Credit        as of              confirm if      confirm if       provide          provide     if any
                                          Agreement dated as     Amendment          any.            any.             copies of        Accounts/
                                          of 5/1/06;             33                                                  UCCs.            DACAs
                                          Amendments 1-34
                                          (34th: 11/19/15)

                   None.                  Loan and Security      April 15, 2019     Please          Please           Please           Please      Please confirm
                                          Agreement dated        for Zohar          confirm if      confirm if       provide          provide     ARK Lender
                                          10/14/98;              Lenders;           any.            any.             copies of        Accounts/   no longer party
                                          Amendments 1-3         January 19,                                         UCCs.            DACAs       to LSA
                                          (3rd: 11/21/00);       2017 for ARK
                                          Missing                Lenders as of
                                          Amendment No. 4;       Amendment
                                          5-19 (5th: 2/22/02;    19
                                          19th: 2/5/16)

                                          Please provide
                                          Amendment No. 4



                   All domestic subs of   Credit Agreement       April 15, 2019     Please          Please           Please           Please      Please confirm
                   the Borrower           dated as of 11/7/08;   as of              confirm if      confirm if       provide          provide     if any.
                                          Amendments: 1-4        Amendment 3        any.            any.             copies of        Accounts/
                                          (4th: 11/19/15)                                                            UCCs.            DACAs


                   Term Loan:             Loan and Security      April 15, 2019     Please          Please           Please           Please      Please confirm
                                          Agreement dated        as of 59th         confirm if      confirm if       provide          provide     ARK Lender
                                          1/31/07;               Amendment                                           copies of        Accounts/   no longer party



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4838-1814-6712v5
                                                                                                                                                           43919.00000
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                                                                                                                  Milbank Request 6/24/196/26/19

                              Amendments: 2        to Term Loan       any.           any.             UCCs.            DACAs       to LSA or
                              (3/12/09), 4         and as of LSA                                                                   Term Loan
                   LSA:       (1/31/12), 6         for Zohar                                                                       Agreement.
                              (3/20/13) to 11      Lender
                              (11/3/15)            Commitments
                                                   .
                              AR Security
                              Agreement dated as   April 15, 2016
                              of 4/1/11            for ARK
                                                   Lenders under
                              Assignment           LSA.
                              Agreement to
                              PPAS dated as of
                              2/8/15

                              AR Intercreditor
                              Agreement dated as
                              of 4/7/15; 1st
                              Amendment
                              9/1/15

                              Term Loan
                              Agreement dated as
                              of 11/2/04;
                              Amendments 1-59
                              (59th: 2/5/16);
                              Commitment
                              Settlement
                              Agreement dated
                              6/6/12

                              Please provide
                              Amendments 1, 3,
                              5 to the LSA

                              Amended and          April 15, 2019     Please         Please           Please           Please      Please confirm
                              Restated Loan and    as of 3rd AR       confirm if     confirm if       provide          provide     if any.
     O-                       Security Agreement   LSA                any.           any.             copies of        Accounts/
 AGENT                        dated 6/2/06; no     Amendment                                          UCCs.            DACAs
                              Amendments.          18




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                                                                                                                                            43919.00000
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                                                                                                                                Milbank Request 6/24/196/26/19

                                          Second Amended
                                          and Restated Loan
                                          and Security
                                          Agreement dated as
                                          of 6/28/07;
                                          Amendments 1-4
                                          (4th: 1/16/09) (Only
                                          Zohar Lenders)

                                          MISSING “Credit
                                          Agreement as of
                                          June 5, 2008”;
                                          Amendments 1-
                                          11(11th: 3/24/10)
                                          (Only Zohar
                                          Lenders)

                                          Third Amended
                                          and Restated Loan
                                          and Security
                                          Agreement dated as
                                          of 1/15/09;
                                          Amendments 1-18
                                          (18th: 2/5/16)

                                          Please provide
                                          6/5/08 Credit
                                          Agreement and any
                                          Amendments to the
                                          6/2/06 LSA

                   Domestic subs of       Credit Agreement       April 15, 2019     Please         Please           Please           Please      Please confirm
                   Borrower               dated as of            as of              confirm if     confirm if       provide          provide     if any.
                                          12/28/09;              Amendment 5        any.           any.             copies of        Accounts/
                                          Amendments: 1-5                                                           UCCs.            DACAs
                                          (5th: 11/3/15)

                   Domestic Subs of       Credit Agreement       April 15, 2019     Please         Please           Please           Please      Please confirm
                                          dated as of 3/5/08;    as of              confirm if     confirm if       provide          provide




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4838-1814-6712v5
                                                                                                                                                          43919.00000
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                                                                                                                       Milbank Request 6/24/196/26/19

                   Borrower       Amendments: No.       Amendment          any.           any.             copies of        Accounts/   if any.
                                  1 – 22nd (22nd:       21                                                 UCCs.            DACAs
                                  11/19/15)


                                  Credit Agreement      September 3,       Please         Please           Please           Please      Please confirm
                                  dated as of 9/3/08;   2013 as of         confirm if     confirm if       provide          provide     if any.
                                                        Credit             any.           any.             copies of        Accounts/
                                  Please confirm no     Agreement                                          UCCs.            DACAs
                                  AmendmentsAmen
                                  dments: No. 1-12th
                                  (12th: 09/03/08)

                                  Third Amended         April 15, 2019     Please         Please           Please           Please      Please confirm
                                  and Restated Credit   as of 8/5/05       confirm if     confirm if       provide          provide     if any.
                                  Agreement dated as    Credit             any.           any.             copies of        Accounts/
                                  of 3/30/04;           Agreement                                          UCCs.            DACAs
                                  Amendment No. 1:      Amendment
                                  6/27/05               18

                                  Credit Agreement
                                  dated as of 8/5/05;
                                  missing
                                  AmendmentAmend
                                  ments 1;
                                  Amendments 2-19
                                  (2nd: 8/1/08; 19th:
                                  11/19/15)

                                  Please confirm no
                                  other Amendments
                                  to AR CA 3/30/04;
                                  please provide 1st
                                  Amendment for
                                  8/5/05 CA.

                                  Credit Agreement      April 15, 2019     Please         Please           Please           Please      Please provide
                                  dated as of 8/4/03    as of              confirm if     confirm if       provide          provide     if any.
                                  (document not         Amendment          any.           any.             copies of        Accounts/
                                  Executed);            24                                                 UCCs.            DACAs
                                  Amendments 1-30



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                                                                                                                                                  43919.00000
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                                                                                        Milbank Request 6/24/196/26/19

                       (30th: 11/19/15)

                       Please provide
                       executed version of
                       CA




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                                                                                                                43919.00000
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                              Summary report:
  Litera® Change-Pro for Word 10.1.0.900 Document comparison done on
                            6/26/2019 8:20:27 PM
Style name: Default Style
Intelligent Table Comparison: Active
Original filename: Zohar - Agency Transfer Chart of Missing Items.docx
Modified DMS: nd://4838-1814-6712/5/Zohar - Agency Transfer Chart of
Missing Items.docx
Changes:
Add                                                           16
Delete                                                        34
Move From                                                     0
Move To                                                       0
Table Insert                                                  0
Table Delete                                                  0
Table moves to                                                0
Table moves from                                              0
Embedded Graphics (Visio, ChemDraw, Images etc.)              0
Embedded Excel                                                0
Format changes                                                0
Total Changes:                                                50
Case 18-10512-KBO   Doc 1918-1   Filed 09/04/20   Page 51 of 370




     Exhibit C
                     Case 18-10512-KBO                                                     Doc 1918-1                                 Filed 09/04/20                           Page 52 of 370


From:             Harms, Savannah
To:               Carolyn Schiff; Kevin Dell; Brian Stephen
Cc:               Ryan Roy; David Sawyer; Lynn Poss; Harris, Jennifer; Lee, Junoh
Subject:          [EXT] RE: Ankura/Zohar - Agency Succession
Date:             Friday, July 12, 2019 1:06:21 PM
Attachments:      Change-Pro Redline - Zohar - Agency Transfer Chart of Missing Items-4838-1814-6712-v5 and Zohar - Agency Transfer Chart of Missing Items-4838-1814-671.pdf
                  Zohar - Agency Transfer Chart of Missing Items-4838-1814-6712-v6.docx


PPAS Team,
Please find attached an updated chart of missing items. We have updated this to reflect the                                payoff and the documents we received over the previous two weeks. Please let me know if there are
any questions.
Thank you,
Savannah
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com
From: Harms, Savannah
Sent: Wednesday, June 26, 2019 8:23 PM
To: Carolyn Schiff <Carolyn.Schiff@PatriarchPartners.com>; Kevin Dell <Kevin.Dell@PatriarchPartners.com>; Brian Stephen <Brian.Stephen@PatriarchPartners.com>
Cc: Ryan Roy <Ryan.Roy@ankura.com>; David Sawyer <David.Sawyer@ankura.com>; Lynn Poss <lynn.poss@ankura.com>; Harris, Jennifer <JHarris@milbank.com>; Lee, Junoh <jlee4@milbank.com>
Subject: RE: Ankura/Zohar - Agency Succession
PPAS/Carolyn,
Thank you for sending us many of the outstanding documents over the course of the week. We have attached an updated missing items chart, which is redlined against our previous version. This is
updated to reflect the documents you have sent us so far.
Please let me know if you have any questions,
Savannah
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com
From: Carolyn Schiff [mailto:Carolyn.Schiff@PatriarchPartners.com]
Sent: Wednesday, June 26, 2019 10:39 AM
To: Lee, Junoh <jlee4@milbank.com>; Kevin Dell <Kevin.Dell@PatriarchPartners.com>; Brian Stephen <Brian.Stephen@PatriarchPartners.com>
Cc: Ryan Roy <Ryan.Roy@ankura.com>; David Sawyer <David.Sawyer@ankura.com>; Lynn Poss <lynn.poss@ankura.com>; Harris, Jennifer <JHarris@milbank.com>; Harms, Savannah
<SHarms@milbank.com>
Subject: RE: Ankura/Zohar - Agency Succession
PATRIARCH/PC CONFIDENTIAL
All,
Re           ) – attached are amendments 5-12. As to amendments 1-4, on page 6 of attached Amendment No. 5 (appears to be Section 1 (d)) there is an
ack         ement by all parties that Amendments 1-4 were executed in the form attached as an exhibit to Amendment No. 5 or, if not executed, they are ratified. The
language is as follows:
Each of the parties hereto hereby (a) agrees that, to
the best of its belief, each of the four amendments attached hereto as Exhibit B were executed in
the form attached effective as of the date set forth on each of these amendments, and, in any case,
consents to, agrees and ratifies each such amendment and (b) hereby agrees that all other
amendments to the Credit Agreement, if any, or any other drafts, whether or not executed, of the
amendments attached to as Exhibit B, are hereby terminated and their changes reversed to be
effective as if these amendments had never been executed.
From: Lee, Junoh [mailto:jlee4@milbank.com]
Sent: Monday, June 24, 2019 6:23 PM
To: Carolyn Schiff; Kevin Dell; Brian Stephen
Cc: Ryan Roy; David Sawyer; Lynn Poss; Harris, Jennifer; Harms, Savannah
Subject: RE: Ankura/Zohar - Agency Succession
Carolyn, and team,
Thank you for your responses. Please find an updated version of the Agency Transfer Chart. Note, this is the same document that was previously sent to you by Ankura. We have updated it to include
additional facilities (co-agent/agent) and have also included any additional information we have received since the initial draft. We have highlighted in red the information that we need on each of the
loan facilities. Would it be helpful to get on a phone call to discuss? We are missing quite a bit of information that is needed to complete the agency transfer process and would like to work with you to
get that completed as expeditiously as possible.
Thank you,
Junoh
Junoh Lee | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5844
jlee4@milbank.com | milbank.com

From: Carolyn Schiff [mailto:Carolyn.Schiff@PatriarchPartners.com]
Sent: Monday, June 24, 2019 4:01 PM
To: Harms, Savannah <SHarms@milbank.com>; Kevin Dell <Kevin.Dell@PatriarchPartners.com>; Brian Stephen <Brian.Stephen@PatriarchPartners.com>
Cc: Ryan Roy <Ryan.Roy@ankura.com>; David Sawyer <David.Sawyer@ankura.com>; Lynn Poss <lynn.poss@ankura.com>; Harris, Jennifer <JHarris@milbank.com>; Lee, Junoh <jlee4@milbank.com>
Subject: RE: Ankura/Zohar - Agency Succession
Apologies – I hit send too early. Response re                             to follow
From: Carolyn Schiff
Sent: Monday, June 24, 2019 3:44 PM
To: 'Harms, Savannah'; Kevin Dell; Brian Stephen
Cc: Ryan Roy; David Sawyer; Lynn Poss; Harris, Jennifer; Lee, Junoh
Subject: RE: Ankura/Zohar - Agency Succession
PATRIARCH/PC CONFIDENTIAL
See my responses in red below
From: Harms, Savannah [mailto:SHarms@milbank.com]
Sent: Thursday, June 20, 2019 3:03 PM
To: Carolyn Schiff; Kevin Dell; Brian Stephen
Cc: Ryan Roy; David Sawyer; Lynn Poss; Harris, Jennifer; Lee, Junoh
Subject: RE: Ankura/Zohar - Agency Succession
Please see attached.
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com

From: Carolyn Schiff [mailto:Carolyn.Schiff@PatriarchPartners.com]
Sent: Thursday, June 20, 2019 3:02 PM
To: Harms, Savannah <SHarms@milbank.com>; Kevin Dell <Kevin.Dell@PatriarchPartners.com>; Brian Stephen <Brian.Stephen@PatriarchPartners.com>
Cc: Ryan Roy <Ryan.Roy@ankura.com>; David Sawyer <David.Sawyer@ankura.com>; Lynn Poss <lynn.poss@ankura.com>; Harris, Jennifer <JHarris@milbank.com>; Lee, Junoh <jlee4@milbank.com>
Subject: RE: Ankura/Zohar - Agency Succession
Can you please send me the letter agreement?
From: Harms, Savannah [mailto:SHarms@milbank.com]
Sent: Thursday, June 20, 2019 2:39 PM
To: Kevin Dell; Brian Stephen; Carolyn Schiff
Cc: Ryan Roy; David Sawyer; Lynn Poss; Harris, Jennifer; Lee, Junoh
Subject: Ankura/Zohar - Agency Succession
Hi Kevin,
As discussed on yesterday’s call, please see the below information and questions for your confirmation:
                              Case 18-10512-KBO                                                                 Doc 1918-1                                       Filed 09/04/20                                             Page 53 of 370


Ankura will be succeeding as Agent for the following Credit Agreements:
A-1 Performing Borrowers:




A-2 Non-Performing Borrowers:




Of these Loans, the above highlighted in yellow (11, 12, 13, 14, 15 & 16 in the above List A-1 and 5 in the List A-2) have been designated in the Letter Agreement as co-agent Credit Agreements with
PPAS, so that PPAS is the Agent for the ARK and Lynn Tilton entities that are party to such Credit Agreement.
However, when we reviewed each Credit Agreement, we saw that #14                  and #15.       under the A-1 list do not have an ARK or Lynn Tilton Lender in the Amendments or original agreement.
Can you please help us understand why             and         were designated in the Letter Agreement as a Co-Agent Credit Agreement? Perhaps there is a different “Patriarch Stakeholders” entity that is
party to the Credit Agreements that we are not seeing. One of Lynn’s Ark entities has an ABL with             but they are not a party to the Credit Agreement. I do note that           has been invoiced by
Ankura at the “regular” non co-agent rate, so I am not sure where the disconnect is.
Further, under the A-2 Agreements, #2          and #10              appear to be executed by an ARK Lender (         is executed by ARK II CLO 2001-1, LTD. And              is executed by ARK Investment
Partners II, L.P.). Have those lenders been paid off, such that no co-Agent is applicable? The           ARK and AIP loans have not been paid off. Re        , the facility has expired.
Thank you,
Savannah
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com



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Ankura – Agency Transfer from Patriarch Partners Agency Services, LLC (“PPAS”)

Borrower      Guarantors            Transaction             Maturity Date          Original      Mortgages       UCCs (to      DACAs (if any)      Other Collateral
                                    Documents                                      stock certs   (to prepare     prepare                           (IP, etc.)
                                    /Amendments                                    &             Assignment      UCC-3s)
                                                                                   Promissory    of
                                                                                   Notes +       Mortgages)
                                                                                   powers (if
                                                                                   any)

                                    Credit Agreement        April 15, 2019 as of   PPAS to       PPAS to         PAID IN       DACAs (if any)      PPAS to deliver
    1–                              dated 3/4/09;           Amendment 4            deliver       deliver         FULLUCCs      to be terminated    per Payoff Letter
PAID OFF                            Amendments:                                    collateral    collateral      to be         on Payoff           (if any)PAID IN
IN FULL                             1-5 (5th: 11/19/15)                            per Payoff    per Payoff      terminated    Effective Date      FULL
                                                                                   LetterPAID    LetterPAID      on Payoff
                                    Payoff Letter – on or                          IN FULL       IN FULL         Effective     PAID IN FULL
                                    aboutdated July 1st                                                          Date
                                    (draft agreed)9,
                                    2019




                                    Credit Agreement        July 8, 2019 as of     Please        Please          Please        BAML DACA           Please confirm if
                                    dated 1/21/10;          Amendment 14           confirm if    confirm if      provide       dated 6/18/19       any.
                                    Amendments: 1-14                               any.          any.            copies of     among Borrower,
                                    (14th: 5/1/19)                                                               UCCs.         Wells, Ankura
                                                                                                                               and BAML for
                                                                                                                               accounts



                                                                                                                               BB&T BACA
                                                                                                                               with Lockbox
                                                                                                                               undated unsigned;
                                                                                                                               BB&T DACA
                                                                                                                               undated and


1 As Payoff is contemplated to occur imminently, no need to transfer collateral. If payoff does not occur in next few weeks, UCCs and collateral should be
transferred.



                                                                                 -1-
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                                                                                                                                                             43919.00000
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Borrower     Guarantors    Transaction         Maturity Date          Original      Mortgages       UCCs (to      DACAs (if any)      Other Collateral
                           Documents                                  stock certs   (to prepare     prepare                           (IP, etc.)
                           /Amendments                                &             Assignment      UCC-3s)
                                                                      Promissory    of
                                                                      Notes +       Mortgages)
                                                                      powers (if
                                                                      any)

                                                                                                                  unsigned

                                                                                                                  Please provide
                                                                                                                  status on BB&T
                                                                                                                  BACAs and
                                                                                                                  DACAs

                                                                                                                  Please confirm no
                                                                                                                  other accounts

                           AR Credit           July 8, 2019 as of     Please        Please          Please        Please provide      Please confirm if
                           Agreement dated     Amendment 13           confirm if    confirm if      provide       Accounts/           any.
                           8/31/11;                                   any.          any.            copies of     DACAs
                           Amendments: 1-13;                                                        UCCs.
                           (13th: 5/1/19);




                                                                    -2-
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                                                                                                                                               43919.00000
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Borrower     Guarantors             Transaction           Maturity Date          Original      Mortgages       UCCs (to      DACAs (if any)   Other Collateral
                                    Documents                                    stock certs   (to prepare     prepare                        (IP, etc.)
                                    /Amendments                                  &             Assignment      UCC-3s)
                                                                                 Promissory    of
                                                                                 Notes +       Mortgages)
                                                                                 powers (if
                                                                                 any)

                                    AR Credit             July 8, 2019 as of     Please        Please          Please        Please provide   Please confirm if
                                    Agreement dated       Amendment 13           confirm if    confirm if      provide       Accounts/        any.
                                    8/31/11;                                     any.          any.            copies of     DACAs.
                                    Amendments:                                                                UCCs.
                                    1-13 (13th: 5/1/19)




             7 named individuals    Promissory Note       April 15, 2019 as of   Please        Please          Please        Please provide   Please confirm if
             (illegible)            Agreement dated       Amendment 15           confirm if    confirm if      provide       Accounts/        any.
                                    2/3/06;                                      any.          any.            copies of     DACAs
                                    Amendments: 1-6       Amendment No. 19                                     UCCs.
                                    (6th: 11/14/06);      to extend maturity
                                    Missing Amendment     date to 7/8/19 in
                                    No. 7; 8-18 (8th:     process.
                                    4/25/07; 18th:
                                    11/19/15);            Note: Agency fee
                                    Commitment            unpaid; please
                                    Settlement            provide an update.
                                    Amendment 6/6/12.




                                                                               -3-
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                                                                                                                                                       43919.00000
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Borrower     Guarantors           Transaction             Maturity Date          Original      Mortgages       UCCs (to      DACAs (if any)   Other Collateral
                                  Documents                                      stock certs   (to prepare     prepare                        (IP, etc.)
                                  /Amendments                                    &             Assignment      UCC-3s)
                                                                                 Promissory    of
                                                                                 Notes +       Mortgages)
                                                                                 powers (if
                                                                                 any)

                                  Please provide
                                  Amendment No. 7.

                                  First AR Credit         April 15, 2019 as of   Please        Please          Please        Please provide   Please confirm if
                                  Agreement dated         Amendment 14           confirm if    confirm if      provide       Accounts/        any.
                                  1/11/07;                                       any.          any.            copies of     DACAs
                                  Amendments: 1-15        Amendment No. 16                                     UCCs.
                                  (15th: 11/19/15)        to extend maturity
                                                          date to 7/8/19 in
                                                          process.

                                                          Note: Agency fee
                                                          unpaid; please
                                                          provide an update.




             all Domestic Subs    Credit Agreement        April 15, 2019 as of   Please        Please          Please        Please provide   Please confirm if
                                  dated 6/1/09;           Amendment 8            confirm if    confirm if      provide       Accounts/        any.
                                  Amendments: 1-9                                any.          any.            copies of     DACAs
                                  (9th: 11/19/15)         Amendment No. 10                                     UCCs.
                                                          to extend maturity
                                  Please confirm          date to 7/8/19 in
                                  reference to “June 1,



                                                                               -4-
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                                                                                                                                                       43919.00000
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Borrower     Guarantors           Transaction             Maturity Date          Original      Mortgages       UCCs (to      DACAs (if any)   Other Collateral
                                  Documents                                      stock certs   (to prepare     prepare                        (IP, etc.)
                                  /Amendments                                    &             Assignment      UCC-3s)
                                                                                 Promissory    of
                                                                                 Notes +       Mortgages)
                                                                                 powers (if
                                                                                 any)

                                  2010” in                process.
                                  Amendments 2, 3, 4,
                                  5, 6 and 8 are to the   Note: Milbank
                                  2009 CA.                Invoice unpaid.

             all Domestic Subs    Credit Agreement        April 15, 2019 as of   Please        Please          Please        Please provide   Please confirm if
                                  dated 12/6/07;          Amendment 13           confirm if    confirm if      provide       Accounts/        any.
                                  Amendments: 1-4                                any.          any.            copies of     DACAs
                                  (4th: 11/30/10);        Amendment No. 15                                     UCCs.
                                  Amendments 5-14         to extend maturity
                                  (5th: 5/3/11; 14th:     date to 7/8/19 in
                                  11/19/15)               process.

                                  Please note:
                                  Amendments 4-14
                                  refer to Credit
                                  Agreement on
                                  12/6/10. Please
                                  confirm if this is a
                                  separate facility. If
                                  so, please send us
                                  corresponding docs.

                                  AR Credit               April 15, 2019 as of   Please        Please          Please        Please provide   Please confirm if
                                  Agreement 3/08/02;      Amendment 10           confirm if    confirm if      provide       Accounts/        any.
                                  Amendments: 1-12                               any.          any.            copies of     DACAs
                                  (12th: 11/19/15)        Amendment No. 13                                     UCCs.
                                                          to extend maturity
                                                          date to 7/8/19 in
                                                          process.




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Borrower     Guarantors           Transaction            Maturity Date          Original      Mortgages       UCCs (to      DACAs (if any)   Other Collateral
                                  Documents                                     stock certs   (to prepare     prepare                        (IP, etc.)
                                  /Amendments                                   &             Assignment      UCC-3s)
                                                                                Promissory    of
                                                                                Notes +       Mortgages)
                                                                                powers (if
                                                                                any)

             All domestic subs    Credit Agreement       June 1, 2017 as of     Please        Please          Please        Please provide   Please confirm if
                                  dated as of 4/17/12;   Credit Agreement       confirm if    confirm if      provide       Accounts/        any.
                                  Amendments: 1-9                               any.          any.            copies of     DACAs
                                  (9th: 11/19/15)        Note: Agency fee                                     UCCs.
                                                         unpaid; please
                                                         provide an update.



                                  Credit Agreement       April 15, 2019 as of   Please        Please          Please        Please provide   Please confirm if
                                  dated 5/15/06;         Amendment 21           confirm if    confirm if      provide       Accounts/        any.
                                  Amendments:1-22                               any.          any.            copies of     DACAs
                                  (22nd: 11/19/15)       Amendment No. 23                                     UCCs.
                                                         to extend maturity
                                                         date to 7/8/19 in
                                                         process.

                                                         Note: Agency fee
                                                         unpaid; CFO to
                                                         provide payment
                                                         plan.




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Ankura and PPAS as Co-Agents (A-1s)

Borrower     Guarantors       Transaction          Maturity Date        Original      Mortgages     UCCs (to    DACAs (if any)          Other Collateral
                              Documents                                 stock certs   (to prepare   prepare                             (IP, etc.)
                              /Amendments                               &             Assignment    UCC-3s)
                                                                        Promissory    of
                                                                        Notes +       Mortgages)
                                                                        powers (if
                                                                        any)

                              AR Credit            April 15, 2019 as    Please        Please        Please      BB&T DACA dated         Please confirm if
                              Agreement 8/31/11;   of Amendment         confirm if    confirm if    provide     6/17/19 among           any.
                              Amendments: 1-16     15                   any.          any.          copies of   Wells, Ankura,
                              (16th: 5/1/19)                                                        UCCs.       Borrower and BB&T
                                                   Amendment No.                                                for account
                                                   17 to extend
                                                   maturity date to
                                                   7/8/19 in process.                                           BB&T BACA with
                                                                                                                Lockbox dated
                                                                                                                6/17/19 among
                                                                                                                Wells, Ankura,
                                                                                                                Borrower and BB&T
                                                                                                                for accounts:



                                                                                                                Please provide status
                                                                                                                on BAML DACA
                                                                                                                among Borrower,
                                                                                                                Wells, Ankura and
                                                                                                                BAML and Side
                                                                                                                Letter

                                                                                                                Please confirm no
                                                                                                                other accounts.



             all Domestic     Credit Agreement     March 31, 2019       Please        Please        UCCDE       Please provide          Please confirm if
             Subs             dated 12/15/11       as of Amendment      confirm if    confirm if    UCC-1       Accounts/               any.
                              Amendments: 1-3;     2                    any.          any.                      DACAsWells Fargo
                              (3rd: 11/19/15), 5                                                                DACA (ARAN – 2



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Borrower     Guarantors   Transaction        Maturity Date        Original      Mortgages     UCCs (to        DACAs (if any)           Other Collateral
                          Documents                               stock certs   (to prepare   prepare                                  (IP, etc.)
                          /Amendments                             &             Assignment    UCC-3s)
                                                                  Promissory    of
                                                                  Notes +       Mortgages)
                                                                  powers (if
                                                                  any)

                          (5th: 06/28/19)    No. 5 to extend                                  canceled        Secured Parties)
                                             maturity date to                                                 dated 2/13/12 among
                          Intercreditor      the earlier of (a)                               UCCDE           Wells Fargo Capital
                          Agreement dated    10/9/19 and (b)                                  UCC-1 2011      Finance,
                          2/13/12.;          the date that is                                 4834613 –       Wells Fargo Bank
                          Intercreditor      seven (7)                                        Continuation    and PPAS for
                          Agreement Letter   Business Days                                    by UCC-3        accounts
                          Amendment dated    after the maturity
                          06/28/19,          date of the Wells                                – Amended
                          replacement of     Credit                                           by UCC-3
                          Wells Fargo with   Agreement                                        (additional     Assignment and
                          Cortland as                                                         secured party   Assumption of Wells
                          successor Agent.                                                    adding          Fargo DACA
                                                                                              Ankura) filed   (ARAN – 2 Secured
                                                                                              6/28/19         Parties) to Ankura
                                                                                                              dated 6/28/19 among
                                                                                              Please          PPAS, Ankura and
                                                                                              confirm no      Wells Fargo Bank (as
                                                                                              other UCCs      Bank).

                                                                                                              Wells Fargo DACA
                                                                                                              (ARI – 2 Secured
                                                                                                              Parties) dated 2/13/12
                                                                                                              among Wells Fargo
                                                                                                              Capital Finance,
                                                                                                                        Wells Fargo
                                                                                                              Bank and PPAS for
                                                                                                              accounts



                                                                                                              Assignment and
                                                                                                              Assumption of Wells
                                                                                                              Fargo DACA (ARI –



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Borrower     Guarantors         Transaction          Maturity Date        Original      Mortgages     UCCs (to    DACAs (if any)          Other Collateral
                                Documents                                 stock certs   (to prepare   prepare                             (IP, etc.)
                                /Amendments                               &             Assignment    UCC-3s)
                                                                          Promissory    of
                                                                          Notes +       Mortgages)
                                                                          powers (if
                                                                          any)

                                                                                                                  2 Secured Parties) to
                                                                                                                  Ankura dated 6/28/19
                                                                                                                  among PPAS,
                                                                                                                  Ankura and Wells
                                                                                                                  Fargo Bank (as
                                                                                                                  Bank).




             None.              Credit Agreement     April 15, 2019       Please        Please        Please      Please provide          Please confirm if
                                dated 7/8/05         (as of 55th          confirm if    confirm if    provide     Accounts/ DACAs         any.
                                Amendments: 1-55     Amendment)           any.          any.          copies of
                                (55th: 11/19/15)                                                      UCCs.
                                                     Amendment No.
                                                     56 to extend
                                                     maturity date to
                                                     7/8/19 in process.

                                                     Note: Agency fee
                                                     unpaid; please
                                                     provide an
                                                     update.

             All domestic       AR Credit            April 15, 2019 as    Please        Please        Please      Please provide          Please explain why
             subs of Borrower   Agreement dated as   of Amendment         confirm if    confirm if    provide     Accounts/ DACAs         the Co-Agent
                                of 2/28/03;          24                   any.          any.          copies of                           relationship? Only
                                Amendments 1-24                                                       UCCs.                               Zohar lenders are
                                (24th: 11/19/15);    Note: Agency fee                                                                     signatories as of last
                                Commitment           unpaid; please
                                Settlement




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Borrower     Guarantors      Transaction            Maturity Date       Original      Mortgages     UCCs (to    DACAs (if any)    Other Collateral
                             Documents                                  stock certs   (to prepare   prepare                       (IP, etc.)
                             /Amendments                                &             Assignment    UCC-3s)
                                                                        Promissory    of
                                                                        Notes +       Mortgages)
                                                                        powers (if
                                                                        any)

                             Amendment dated        provide an                                                                    amendment.21
                             as of 6/6/12           update.



             All domestic    Credit Agreement       April 15, 2019 as   Please        Please        Please      Please provide    Please confirm if
             subs            dated as of 5/13/11;   of Amendment 9      confirm if    confirm if    provide     Accounts/ DACAs   any.
                             Amendments: 1-9        for Zohar           any.          any.          copies of
                             (9th: 2/15/16);        Lenders; January                                UCCs.
                             Commitment             19 2017 for ARK
                             Settlement             Lenders
                             Amendment dated
                             6/6/12                 Note: Agency fee
                                                    unpaid; please
                                                    provide an
                                                    update.




21   NTD: PPAS confirming.


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Non Performing Borrowers (A-2s)2

Borrower       Guarantors           Transaction            Maturity          Original      Mortgages     UCCs (to            DACAs (if any)   Other Collateral
                                    Documents              Date              stock certs   (to prepare   prepare UCC-3s)                      (IP, etc.)
                                    /Amendments                              &             Assignment
                                                                             Promissory    of
                                                                             Notes +       Mortgages)
                                                                             powers (if
                                                                             any)

               The Subsidiaries     First Amended and      April 15, 2019    Please        Please        Please provide      Please provide   Please confirm if
               of Borrower          Restated Credit        as of             confirm if    confirm if    copies of UCCs.     Accounts/        any
                                    Agreement dated as     Amendment         any.          any.                              DACAs
                                    of 5/1/06;             33
                                    Amendments 1-34
                                    (34th: 11/19/15)

               None.                Loan and Security      April 15, 2019    Please        Please        Please provide      Please provide   Please confirm ARK
                                    Agreement dated        for Zohar         confirm if    confirm if    copies of UCCs.     Accounts/        Lender no longer
                                    10/14/98;              Lenders;          any.          any.                              DACAs            party to LSA
                                    Amendments 1-3         January 19,
                                    (3rd: 11/21/00);       2017 for ARK
                                    Missing                Lenders as of
                                    Amendment No. 4;       Amendment
                                    5-19 (5th: 2/22/02;    19
                                    19th: 2/5/16)

                                    Please provide
                                    Amendment No. 4



               All domestic subs    Credit Agreement       April 15, 2019    Please        Please        Please provide      Please provide   Please confirm if
               of the Borrower      dated as of 11/7/08;   as of             confirm if    confirm if    copies of UCCs.     Accounts/        any.
                                    Amendments: 1-4        Amendment 3       any.          any.                              DACAs
                                    (4th: 11/19/15)


               Term Loan:           AR Security            April 15, 2019    Please        Please        Please provide      Please provide   Please confirm ARK

2   Note: Ankura is Co-Agent to the                              facility.


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                                                                                                                                                        43919.00000
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Borrower      Guarantors    Transaction            Maturity         Original      Mortgages     UCCs (to            DACAs (if any)    Other Collateral
                            Documents              Date             stock certs   (to prepare   prepare UCC-3s)                       (IP, etc.)
                            /Amendments                             &             Assignment
                                                                    Promissory    of
                                                                    Notes +       Mortgages)
                                                                    powers (if
                                                                    any)

                            Agreement dated as     as of 59th       confirm if    confirm if    copies of UCCs.     Accounts/         Lender no longer
                            of 4/1/11              Amendment        any.          any.                              DACAs             party to LSA or
                                                   to Term Loan                                                                       Term Loan
                            AR Intercreditor       and as of LSA                                                                      Agreement.
                            Agreement dated as     for Zohar
                            of 4/7/15; 1st         Lender
              LSA:          Amendment 9/1/15       Commitments.

                            Term Loan              April 15, 2016
                            Agreement dated as     for ARK
                            of 11/2/04;            Lenders under
                            Amendments 1-59        LSA.
                            (59th: 2/5/16);
                            Commitment
                            Settlement
                            Agreement dated
                            6/6/12

                            Amended and            April 15, 2019   Please        Please        Please provide      Please provide    Please confirm if
                            Restated Loan and      as of 3rd AR     confirm if    confirm if    copies of UCCs.     Accounts/         any. Second
   CO-                      Security Agreement     LSA              any.          any.          DE UCC-1            DACAsWells        Amendment and
AGENT                       dated 6/2/06; no       Amendment                                                        Fargo DACA        Assignment of TM
                            Amendments.            18                                           Amended by          (ARAN) dated      Collateral
                                                                                                UCC-3 filed         9/30/11 among     Assignment and
                            Second Amended                                                      2/22/06 –                             Security Agreement
                            and Restated Loan                                                   Amended by                            dated 4/25/07
                            and Security                                                        UCC-3 4/05/06 –                PPAS
                            Agreement dated as                                                  Assignment by       and Wells for     Second Amendment
                            of 6/28/07;                                                         UCC-3 6/5/06 –      accounts:         and Assignment of
                            Amendments 1-4                                                      Assignment to       [redacted]        Patent Collateral
                            (4th: 1/16/09) (Only                                                PPAS by UCC-3                         Assignment and
                            Zohar Lenders);                                                     4/27/07 –           Wachovia          Security Agreement
                            Assignment and                                                      Continuation by     DACA (no
                            Acceptance dated                                                    UCC-3 5/07/09 –     notification)



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Borrower      Guarantors    Transaction            Maturity   Original      Mortgages     UCCs (to            DACAs (if any)   Other Collateral
                            Documents              Date       stock certs   (to prepare   prepare UCC-3s)                      (IP, etc.)
                            /Amendments                       &             Assignment
                                                              Promissory    of
                                                              Notes +       Mortgages)
                                                              powers (if
                                                              any)

                            12/31/08                                                      Amended by          dated 2/10/09    dated 4/25/07
                                                                                          UCC-3 5/8/09 –      among
                            MISSING “Credit                                               Amended by          Wachovia,        Intellectual Property
                            Agreement as of                                               UCC-3 3/13/12 –     and PPAS for     Security Agreement
                            June 5, 2008”;                                                Continuation by     accounts:        dated 8/2/07
                            Amendments 1-                                                 UCC-3 5/5/14        [redacted]
                            11(11th: 3/24/10)                                                                                  Amendment and
                            (Only Zohar                                                   DE UCC-1            BBVA Compass     Assignment of
                            Lenders)                                                                          DACA             Intellectual Property
                                                                                          Assignment to       (Springing)      Security Agreement
                            Third Amended and                                             PPAS by UCC-3       dated 6/29/17    dated 1/15/09
                            Restated Loan and                                             1/15/09 –           among
                            Security Agreement                                            Amended by          BBVA and
                            dated as of 1/15/09;                                          UCC-3 5/8/09 –      PPAS for
                            Amendments 1-18                                               Continuation by     accounts:
                            (18th: 2/5/16)                                                UCC-3 2/1/12 –      [redacted]
                                                                                          Amended by
                            Please provide any                                            UCC-3 3/13/12 –     BBVA Compass
                            Amendments to the                                             Continuation by     DACA
                            6/2/06 LSA                                                    UCC-3 2/10/17       (Exclusive)
                                                                                                              dated 7/10/17
                                                                                          DE UCC-1 2015       among
                                                                                                  filed       BBVA and
                                                                                          4/30/15             PPAS for
                                                                                                              accounts:
                                                                                          PA UCC-1            [redacted]
                                                                                                        –
                                                                                          Amended by
                                                                                          UCC-3 2/23/06 –
                                                                                          Assigned to
                                                                                          CapitalSource
                                                                                          Finance LLC by
                                                                                          UCC-3 6/2/06 –
                                                                                          Assigned to



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Borrower      Guarantors    Transaction   Maturity   Original      Mortgages     UCCs (to              DACAs (if any)   Other Collateral
                            Documents     Date       stock certs   (to prepare   prepare UCC-3s)                        (IP, etc.)
                            /Amendments              &             Assignment
                                                     Promissory    of
                                                     Notes +       Mortgages)
                                                     powers (if
                                                     any)

                                                                                 PPAS by UCC-
                                                                                 34/27/07 –
                                                                                 Amended by
                                                                                 UCC-3 – 6/8/09 –
                                                                                 Continuation by
                                                                                 UCC-3 5/8/09 –
                                                                                 Continuation by
                                                                                 UCC-3 5/5/14

                                                                                 UCC-3
                                                                                 Assignment
                                                                                              –
                                                                                 Continuation by
                                                                                 UCC-3
                                                                                              –
                                                                                 Continuation by
                                                                                 UCC-3
                                                                                              -
                                                                                 Please provide
                                                                                 DC UCC-1


                                                                                 UCC-3
                                                                                 Assignment
                                                                                 Statements letter
                                                                                 granting PPAS
                                                                                 authority to file
                                                                                 UCC-3
                                                                                 amendment
                                                                                 statements w/r/t
                                                                                 any financing
                                                                                 statements filed
                                                                                 by Wells Fargo
                                                                                 (previous agent)



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Borrower      Guarantors          Transaction           Maturity         Original      Mortgages     UCCs (to            DACAs (if any)   Other Collateral
                                  Documents             Date             stock certs   (to prepare   prepare UCC-3s)                      (IP, etc.)
                                  /Amendments                            &             Assignment
                                                                         Promissory    of
                                                                         Notes +       Mortgages)
                                                                         powers (if
                                                                         any)

                                                                                                     dated 1/2009;
                                                                                                     attaching: DE
                                                                                                     UCC-3
                                                                                                     Assignment to
                                                                                                     PPAS 1/15/19;
                                                                                                     UCC-3
                                                                                                     Assignment to
                                                                                                     PPAS 1/15/09:
                                                                                                     Please Provide
                                                                                                     DE UCC-1
                                                                                                                   ;
                                                                                                     UCC-3
                                                                                                     Assignment to
                                                                                                     PPAS 1/15/09;
                                                                                                     Please provide
                                                                                                     DE UCC-1
                                                                                                                   ;
                                                                                                     UCC-3
                                                                                                     Assignment to
                                                                                                     PPAS 1/16/09;
                                                                                                     Please provide FL
                                                                                                     UCC-1


              Domestic subs of    Credit Agreement      April 15, 2019   Please        Please        Please provide      Please provide   Please confirm if
              Borrower            dated as of           as of            confirm if    confirm if    copies of UCCs.     Accounts/        any.
                                  12/28/09;             Amendment 5      any.          any.                              DACAs
                                  Amendments: 1-5
                                  (5th: 11/3/15)

              Domestic Subs of    Credit Agreement      April 15, 2019   Please        Please        Please provide      Please provide   Please confirm if
              Borrower            dated as of 3/5/08;   as of            confirm if    confirm if    copies of UCCs.     Accounts/        any.
                                  Amendments: No. 1     Amendment        any.          any.                              DACAs
                                  – 22nd (22nd:



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Borrower      Guarantors    Transaction           Maturity         Original      Mortgages     UCCs (to            DACAs (if any)   Other Collateral
                            Documents             Date             stock certs   (to prepare   prepare UCC-3s)                      (IP, etc.)
                            /Amendments                            &             Assignment
                                                                   Promissory    of
                                                                   Notes +       Mortgages)
                                                                   powers (if
                                                                   any)

                            11/19/15)             21



                            Credit Agreement      September 3,     Please        Please        Please provide      Please provide   Please confirm if
                            dated as of 9/3/08;   2013 as of       confirm if    confirm if    copies of UCCs.     Accounts/        any.
                                                  Credit           any.          any.                              DACAs
                            Amendments: No.       Agreement
                            1-12th (12th:
                            09/03/08)

                            Third Amended and     April 15, 2019   Please        Please        Please provide      Please provide   Please confirm if
                            Restated Credit       as of 8/5/05     confirm if    confirm if    copies of UCCs.     Accounts/        any.
                            Agreement dated as    Credit           any.          any.                              DACAs
                            of 3/30/04;           Agreement
                            Amendment No. 1:      Amendment
                            6/27/05               18

                            Credit Agreement
                            dated as of 8/5/05;
                            Amendments 1-19
                            (19th: 11/19/15)

                            Please confirm no
                            other Amendments
                            to AR CA 3/30/04;

                            Credit Agreement      April 15, 2019   Please        Please        Please provide      Please provide   Please provide if
                            dated as of 8/4/03;   as of            confirm if    confirm if    copies of UCCs.     Accounts/        any.
                            Amendments 1-30       Amendment        any.          any.                              DACAs
                            (30th: 11/19/15)      24




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Borrower      Guarantors    Transaction   Maturity   Original      Mortgages     UCCs (to          DACAs (if any)   Other Collateral
                            Documents     Date       stock certs   (to prepare   prepare UCC-3s)                    (IP, etc.)
                            /Amendments              &             Assignment
                                                     Promissory    of
                                                     Notes +       Mortgages)
                                                     powers (if
                                                     any)




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                                                  Summary report:
                       Litera® Change-Pro for Word 10.7.0.7 Document comparison done on
                                                7/12/2019 1:01:56 PM
                    Style name: Default Style
                    Intelligent Table Comparison: Active
                    Original filename: Zohar - Agency Transfer Chart of Missing Items-4838-1814-
                    6712-v5.docx
                    Modified DMS: nd://4838-1814-6712/6/Zohar - Agency Transfer Chart of
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                    Missing Items.docx
                    Changes:
                    Add                                                           42
                    Delete                                                        25
                    Move From                                                     0
                    Move To                                                       0
                    Table Insert                                                  0
Filed 09/04/20




                    Table Delete                                                  0
                    Table moves to                                                0
                    Table moves from                                              0
                    Embedded Graphics (Visio, ChemDraw, Images etc.)              0
                    Embedded Excel                                                0
                    Format changes                                                0
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                    Total Changes:                                                67
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Ankura – Agency Transfer from Patriarch Partners Agency Services, LLC (“PPAS”)

 Borrower      Guarantors         Transaction           Maturity Date              Original      Mortgages     UCCs (to     DACAs (if any)      Other Collateral
                                  Documents                                        stock certs   (to prepare   prepare                          (IP, etc.)
                                  /Amendments                                      &             Assignment    UCC-3s)
                                                                                   Promissory    of
                                                                                   Notes +       Mortgages)
                                                                                   powers (if
                                                                                   any)

                                  Credit Agreement      April 15, 2019 as of       PAID IN       PAID IN       PAID IN      PAID IN FULL        PAID IN FULL
    – PAID                        dated 3/4/09;         Amendment 4                FULL          FULL          FULL
 OFF IN                           Amendments:
 FULL                             1-5 (5th: 11/19/15)

                                  Payoff Letter dated
                                  July 9, 2019




                                  Credit Agreement      July 8, 2019 as of         Please        Please        Please       BAML DACA           Please confirm if
                                  dated 1/21/10;        Amendment 14               confirm if    confirm if    provide      dated 6/18/19       any.
                                  Amendments: 1-14                                 any.          any.          copies of    among Borrower,
                                  (14th: 5/1/19)                                                               UCCs.        Wells, Ankura
                                                                                                                            and BAML for
                                                                                                                            accounts



                                                                                                                            BB&T BACA
                                                                                                                            with Lockbox
                                                                                                                            undated unsigned;
                                                                                                                            BB&T DACA
                                                                                                                            undated and
                                                                                                                            unsigned

                                                                                                                            Please provide
                                                                                                                            status on BB&T



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 Borrower      Guarantors     Transaction         Maturity Date              Original      Mortgages     UCCs (to    DACAs (if any)      Other Collateral
                              Documents                                      stock certs   (to prepare   prepare                         (IP, etc.)
                              /Amendments                                    &             Assignment    UCC-3s)
                                                                             Promissory    of
                                                                             Notes +       Mortgages)
                                                                             powers (if
                                                                             any)

                                                                                                                     BACAs and
                                                                                                                     DACAs

                                                                                                                     Please confirm no
                                                                                                                     other accounts

                              AR Credit           July 8, 2019 as of         Please        Please        Please      Please provide      Please confirm if
                              Agreement dated     Amendment 13               confirm if    confirm if    provide     Accounts/           any.
                              8/31/11;                                       any.          any.          copies of   DACAs
                              Amendments: 1-13;                                                          UCCs.
                              (13th: 5/1/19);




                              AR Credit           July 8, 2019 as of         Please        Please        Please      Please provide      Please confirm if
                              Agreement dated     Amendment 13               confirm if    confirm if    provide     Accounts/           any.
                                                                             any.          any.                      DACAs.




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 Borrower      Guarantors            Transaction           Maturity Date          Original      Mortgages     UCCs (to    DACAs (if any)   Other Collateral
                                     Documents                                    stock certs   (to prepare   prepare                      (IP, etc.)
                                     /Amendments                                  &             Assignment    UCC-3s)
                                                                                  Promissory    of
                                                                                  Notes +       Mortgages)
                                                                                  powers (if
                                                                                  any)

                                     8/31/11;                                                                 copies of
                                     Amendments:                                                              UCCs.
                                     1-13 (13th: 5/1/19)




               7 named individuals   Promissory Note       April 15, 2019 as of   Please        Please        Please      Please provide   Please confirm if
               (illegible)           Agreement dated       Amendment 15           confirm if    confirm if    provide     Accounts/        any.
                                     2/3/06;                                      any.          any.          copies of   DACAs
                                     Amendments: 1-6       Amendment No. 19                                   UCCs.
                                     (6th: 11/14/06);      to extend maturity
                                     Missing Amendment     date to 7/8/19 in
                                     No. 7; 8-18 (8th:     process.
                                     4/25/07; 18th:
                                     11/19/15);            Note: Agency fee
                                     Commitment            unpaid; please
                                     Settlement            provide an update.
                                     Amendment 6/6/12.

                                     Please provide
                                     Amendment No. 7.




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 Borrower      Guarantors            Transaction             Maturity Date          Original      Mortgages     UCCs (to    DACAs (if any)   Other Collateral
                                     Documents                                      stock certs   (to prepare   prepare                      (IP, etc.)
                                     /Amendments                                    &             Assignment    UCC-3s)
                                                                                    Promissory    of
                                                                                    Notes +       Mortgages)
                                                                                    powers (if
                                                                                    any)

                                     First AR Credit         April 15, 2019 as of   Please        Please        Please      Please provide   Please confirm if
                                     Agreement dated         Amendment 14           confirm if    confirm if    provide     Accounts/        any.
                                     1/11/07;                                       any.          any.          copies of   DACAs
                                     Amendments: 1-15        Amendment No. 16                                   UCCs.
                                     (15th: 11/19/15)        to extend maturity
                                                             date to 7/8/19 in
                                                             process.

                                                             Note: Agency fee
                                                             unpaid; please
                                                             provide an update.




               all Domestic Subs     Credit Agreement        April 15, 2019 as of   Please        Please        Please      Please provide   Please confirm if
                                     dated 6/1/09;           Amendment 8            confirm if    confirm if    provide     Accounts/        any.
                                     Amendments: 1-9                                any.          any.          copies of   DACAs
                                     (9th: 11/19/15)         Amendment No. 10                                   UCCs.
                                                             to extend maturity
                                     Please confirm          date to 7/8/19 in
                                     reference to “June 1,   process.
                                     2010” in
                                     Amendments 2, 3, 4,




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 Borrower      Guarantors            Transaction             Maturity Date           Original      Mortgages     UCCs (to    DACAs (if any)   Other Collateral
                                     Documents                                       stock certs   (to prepare   prepare                      (IP, etc.)
                                     /Amendments                                     &             Assignment    UCC-3s)
                                                                                     Promissory    of
                                                                                     Notes +       Mortgages)
                                                                                     powers (if
                                                                                     any)

                                     5, 6 and 8 are to the   Note: Milbank
                                     2009 CA.                Invoice unpaid.

               all Domestic Subs     Credit Agreement        April 15, 2019 as of    Please        Please        Please      Please provide   Please confirm if
                                     dated 12/6/07;          Amendment 13            confirm if    confirm if    provide     Accounts/        any.
                                     Amendments: 1-4                                 any.          any.          copies of   DACAs
                                     (4th: 11/30/10);        Amendment No. 15                                    UCCs.
                                     Amendments 5-14         to extend maturity
                                     (5th: 5/3/11; 14th:     date to 7/8/19 in
                                     11/19/15)               process.

                                     Please note:
                                     Amendments 4-14
                                     refer to Credit
                                     Agreement on
                                     12/6/10. Please
                                     confirm if this is a
                                     separate facility. If
                                     so, please send us
                                     corresponding docs.

                                     AR Credit               April 15, 2019 as of    Please        Please        Please      Please provide   Please confirm if
                                     Agreement 3/08/02;      Amendment 10            confirm if    confirm if    provide     Accounts/        any.
                                     Amendments: 1-12                                any.          any.          copies of   DACAs
                                     (12th: 11/19/15)        Amendment No. 13                                    UCCs.
                                                             to extend maturity
                                                             date to 7/8/19 in
                                                             process.




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 Borrower      Guarantors            Transaction            Maturity Date            Original      Mortgages     UCCs (to    DACAs (if any)   Other Collateral
                                     Documents                                       stock certs   (to prepare   prepare                      (IP, etc.)
                                     /Amendments                                     &             Assignment    UCC-3s)
                                                                                     Promissory    of
                                                                                     Notes +       Mortgages)
                                                                                     powers (if
                                                                                     any)

               All domestic subs     Credit Agreement       June 1, 2017 as of       Please        Please        Please      Please provide   Please confirm if
                                     dated as of 4/17/12;   Credit Agreement         confirm if    confirm if    provide     Accounts/        any.
                                     Amendments: 1-9                                 any.          any.          copies of   DACAs
                                     (9th: 11/19/15)        Note: Agency fee                                     UCCs.
                                                            unpaid; please
                                                            provide an update.



                                     Credit Agreement       April 15, 2019 as of     Please        Please        Please      Please provide   Please confirm if
                                     dated 5/15/06;         Amendment 21             confirm if    confirm if    provide     Accounts/        any.
                                     Amendments:1-22                                 any.          any.          copies of   DACAs
                                     (22nd: 11/19/15)       Amendment No. 23                                     UCCs.
                                                            to extend maturity
                                                            date to 7/8/19 in
                                                            process.

                                                            Note: Agency fee
                                                            unpaid; CFO to
                                                            provide payment
                                                            plan.




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Ankura and PPAS as Co-Agents (A-1s)

 Borrower      Guarantors      Transaction          Maturity Date        Original      Mortgages     UCCs (to    DACAs (if any)           Other Collateral
                               Documents                                 stock certs   (to prepare   prepare                              (IP, etc.)
                               /Amendments                               &             Assignment    UCC-3s)
                                                                         Promissory    of
                                                                         Notes +       Mortgages)
                                                                         powers (if
                                                                         any)

                               AR Credit            April 15, 2019 as    Please        Please        Please      BB&T DACA dated          Please confirm if
                               Agreement 8/31/11;   of Amendment         confirm if    confirm if    provide     6/17/19 among            any.
                               Amendments: 1-16     15                   any.          any.          copies of   Wells, Ankura,
                               (16th: 5/1/19)                                                        UCCs.       Borrower and BB&T
                                                    Amendment No.                                                for account
                                                    17 to extend
                                                    maturity date to
                                                    7/8/19 in process.                                           BB&T BACA with
                                                                                                                 Lockbox dated
                                                                                                                 6/17/19 among
                                                                                                                 Wells, Ankura,
                                                                                                                 Borrower and BB&T
                                                                                                                 for accounts:



                                                                                                                 Please provide status
                                                                                                                 on BAML DACA
                                                                                                                 among Borrower,
                                                                                                                 Wells, Ankura and
                                                                                                                 BAML and Side
                                                                                                                 Letter

                                                                                                                 Please confirm no
                                                                                                                 other accounts.



               all Domestic    Credit Agreement     Amendment No.        Please        Please        DE UCC-1    Wells Fargo DACA         Please confirm if
               Subs            dated 12/15/11       5 to extend          confirm if    confirm if    2011        (ARAN – 2 Secured        any.
                               Amendments: 1-3;     maturity date to     any.          any.                      Parties) dated 2/13/12
                                                    the earlier of (a)                                           among Wells Fargo



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 Borrower      Guarantors   Transaction          Maturity Date        Original      Mortgages     UCCs (to        DACAs (if any)           Other Collateral
                            Documents                                 stock certs   (to prepare   prepare                                  (IP, etc.)
                            /Amendments                               &             Assignment    UCC-3s)
                                                                      Promissory    of
                                                                      Notes +       Mortgages)
                                                                      powers (if
                                                                      any)

                            (3rd: 11/19/15), 5   10/9/19 and (b)                                             -    Capital Finance,
                            (5th: 06/28/19)      the date that is                                 canceled                , Wells Fargo
                                                 seven (7)                                                        Bank and PPAS for
                            Intercreditor        Business Days                                    DE UCC-1        accounts
                            Agreement dated      after the maturity                               2011
                            2/13/12;             date of the Wells                                        –
                            Intercreditor        Credit                                           Continuation
                            Agreement Letter     Agreement                                        by UCC-3        Assignment and
                            Amendment dated                                                                       Assumption of Wells
                            06/28/19,                                                             – Amended       Fargo DACA
                            replacement of                                                        by UCC-3        (ARAN – 2 Secured
                            Wells Fargo with                                                      (additional     Parties) to Ankura
                            Cortland as                                                           secured party   dated 6/28/19 among
                            successor Agent.                                                      adding          PPAS, Ankura and
                                                                                                  Ankura) filed   Wells Fargo Bank (as
                                                                                                  6/28/19         Bank).

                                                                                                  Please          Wells Fargo DACA
                                                                                                  confirm no      (ARI – 2 Secured
                                                                                                  other UCCs      Parties) dated 2/13/12
                                                                                                                  among Wells Fargo
                                                                                                                  Capital Finance,
                                                                                                                           , Wells Fargo
                                                                                                                  Bank and PPAS for
                                                                                                                  accounts



                                                                                                                  Assignment and
                                                                                                                  Assumption of Wells
                                                                                                                  Fargo DACA (ARI –
                                                                                                                  2 Secured Parties) to
                                                                                                                  Ankura dated 6/28/19
                                                                                                                  among PPAS,



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    Borrower   Guarantors         Transaction          Maturity Date        Original      Mortgages     UCCs (to    DACAs (if any)     Other Collateral
                                  Documents                                 stock certs   (to prepare   prepare                        (IP, etc.)
                                  /Amendments                               &             Assignment    UCC-3s)
                                                                            Promissory    of
                                                                            Notes +       Mortgages)
                                                                            powers (if
                                                                            any)

                                                                                                                    Ankura and Wells
                                                                                                                    Fargo Bank (as
                                                                                                                    Bank).




               None.              Credit Agreement     April 15, 2019       Please        Please        Please      Please provide     Please confirm if
                                  dated 7/8/05         (as of 55th          confirm if    confirm if    provide     Accounts/ DACAs    any.
                                  Amendments: 1-55     Amendment)           any.          any.          copies of
                                  (55th: 11/19/15)                                                      UCCs.
                                                       Amendment No.
                                                       56 to extend
                                                       maturity date to
                                                       7/8/19 in process.

                                                       Note: Agency fee
                                                       unpaid; please
                                                       provide an
                                                       update.

               All domestic       AR Credit            April 15, 2019 as    Please        Please        Please      Please provide     Please explain why
               subs of Borrower   Agreement dated as   of Amendment         confirm if    confirm if    provide     Accounts/ DACAs    the Co-Agent
                                  of 2/28/03;          24                   any.          any.          copies of                      relationship? Only
                                  Amendments 1-24                                                       UCCs.                          Zohar lenders are
                                  (24th: 11/19/15);    Note: Agency fee                                                                signatories as of last
                                  Commitment           unpaid; please                                                                  amendment. 1
                                  Settlement           provide an
                                                       update.


1
    NTD: PPAS confirming.


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 Borrower      Guarantors     Transaction            Maturity Date       Original      Mortgages     UCCs (to    DACAs (if any)    Other Collateral
                              Documents                                  stock certs   (to prepare   prepare                       (IP, etc.)
                              /Amendments                                &             Assignment    UCC-3s)
                                                                         Promissory    of
                                                                         Notes +       Mortgages)
                                                                         powers (if
                                                                         any)

                              Amendment dated
                              as of 6/6/12


               All domestic   Credit Agreement       April 15, 2019 as   Please        Please        Please      Please provide    Please confirm if
               subs           dated as of 5/13/11;   of Amendment 9      confirm if    confirm if    provide     Accounts/ DACAs   any.
                              Amendments: 1-9        for Zohar           any.          any.          copies of
                              (9th: 2/15/16);        Lenders; January                                UCCs.
                              Commitment             19 2017 for ARK
                              Settlement             Lenders
                              Amendment dated
                              6/6/12                 Note: Agency fee
                                                     unpaid; please
                                                     provide an
                                                     update.




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Non Performing Borrowers (A-2s) 2

    Borrower       Guarantors            Transaction            Maturity         Original      Mortgages     UCCs (to          DACAs (if any)   Other Collateral
                                         Documents              Date             stock certs   (to prepare   prepare UCC-3s)                    (IP, etc.)
                                         /Amendments                             &             Assignment
                                                                                 Promissory    of
                                                                                 Notes +       Mortgages)
                                                                                 powers (if
                                                                                 any)

                   The Subsidiaries      First Amended and      April 15, 2019   Please        Please        Please provide    Please provide   Please confirm if
                   of Borrower           Restated Credit        as of            confirm if    confirm if    copies of UCCs.   Accounts/        any
                                         Agreement dated as     Amendment        any.          any.                            DACAs
                                         of 5/1/06;             33
                                         Amendments 1-34
                                         (34th: 11/19/15)

                   None.                 Loan and Security      April 15, 2019   Please        Please        Please provide    Please provide   Please confirm ARK
                                         Agreement dated        for Zohar        confirm if    confirm if    copies of UCCs.   Accounts/        Lender no longer
                                         10/14/98;              Lenders;         any.          any.                            DACAs            party to LSA
                                         Amendments 1-3         January 19,
                                         (3rd: 11/21/00);       2017 for ARK
                                         Missing                Lenders as of
                                         Amendment No. 4;       Amendment
                                         5-19 (5th: 2/22/02;    19
                                         19th: 2/5/16)

                                         Please provide
                                         Amendment No. 4



                   All domestic subs     Credit Agreement       April 15, 2019   Please        Please        Please provide    Please provide   Please confirm if
                   of the Borrower       dated as of 11/7/08;   as of            confirm if    confirm if    copies of UCCs.   Accounts/        any.
                                         Amendments: 1-4        Amendment 3      any.          any.                            DACAs
                                         (4th: 11/19/15)




2
    Note: Ankura is Co-Agent to the                                  facility.


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 Borrower          Guarantors     Transaction          Maturity         Original      Mortgages     UCCs (to          DACAs (if any)    Other Collateral
                                  Documents            Date             stock certs   (to prepare   prepare UCC-3s)                     (IP, etc.)
                                  /Amendments                           &             Assignment
                                                                        Promissory    of
                                                                        Notes +       Mortgages)
                                                                        powers (if
                                                                        any)

                   Term Loan:     AR Security          April 15, 2019   Please        Please        Please provide    Please provide    Please confirm ARK
                                  Agreement dated as   as of 59th       confirm if    confirm if    copies of UCCs.   Accounts/         Lender no longer
                                  of 4/1/11            Amendment        any.          any.                            DACAs             party to LSA or
                                                       to Term Loan                                                                     Term Loan
                                  AR Intercreditor     and as of LSA                                                                    Agreement.
                                  Agreement dated as   for Zohar
                                  of 4/7/15; 1st       Lender
                   LSA:           Amendment 9/1/15     Commitments.

                                  Term Loan            April 15, 2016
                                  Agreement dated as   for ARK
                                  of 11/2/04;          Lenders under
                                  Amendments 1-59      LSA.
                                  (59th: 2/5/16);
                                  Commitment
                                  Settlement
                                  Agreement dated
                                  6/6/12

                                  Amended and          April 15, 2019   Please        Please        DE UCC-1          Wells Fargo       Second Amendment
                                  Restated Loan and    as of 3rd AR     confirm if    confirm if               –      DACA (ARAN)       and Assignment of
    CO-                           Security Agreement   LSA              any.          any.          Amended by        dated 9/30/11     TM Collateral
 AGENT                            dated 6/2/06; no     Amendment                                    UCC-3 filed       among             Assignment and
                                  Amendments.          18                                           2/22/06 –                           Security Agreement
                                                                                                    Amended by                          dated 4/25/07
                                  Second Amended                                                    UCC-3 4/05/06 –              PPAS
                                  and Restated Loan                                                 Assignment by     and Wells for     Second Amendment
                                  and Security                                                      UCC-3 6/5/06 –    accounts:         and Assignment of
                                  Agreement dated as                                                Assignment to     [redacted]        Patent Collateral
                                  of 6/28/07;                                                       PPAS by UCC-3                       Assignment and
                                  Amendments 1-4                                                    4/27/07 –         Wachovia          Security Agreement
                                  (4th: 1/16/09);                                                   Continuation by   DACA (no          dated 4/25/07
                                  Assignment and                                                    UCC-3 5/07/09 –   notification)
                                                                                                    Amended by        dated 2/10/09



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 Borrower          Guarantors     Transaction            Maturity   Original      Mortgages     UCCs (to          DACAs (if any)   Other Collateral
                                  Documents              Date       stock certs   (to prepare   prepare UCC-3s)                    (IP, etc.)
                                  /Amendments                       &             Assignment
                                                                    Promissory    of
                                                                    Notes +       Mortgages)
                                                                    powers (if
                                                                    any)

                                  Acceptance dated                                              UCC-3 5/8/09 –    among            Intellectual Property
                                  12/31/08                                                      Amended by        Wachovia,        Security Agreement
                                                                                                UCC-3 3/13/12 –   and PPAS for     dated 8/2/07
                                  MISSING “Credit                                               Continuation by   accounts:
                                  Agreement as of                                               UCC-3 5/5/14      [redacted]       Amendment and
                                  June 5, 2008”;                                                                                   Assignment of
                                  Amendments 1-                                                 DE UCC-1          BBVA Compass     Intellectual Property
                                  11(11th: 3/24/10)                                                               DACA             Security Agreement
                                  (Only Zohar                                                   Assignment to     (Springing)      dated 1/15/09
                                  Lenders)                                                      PPAS by UCC-3     dated 6/29/17
                                                                                                1/15/09 –         among
                                  Third Amended and                                             Amended by        BBVA and
                                  Restated Loan and                                             UCC-3 5/8/09 –    PPAS for
                                  Security Agreement                                            Continuation by   accounts:
                                  dated as of 1/15/09;                                          UCC-3 2/1/12 –    [redacted]
                                  Amendments 1-18                                               Amended by
                                  (18th: 2/5/16)                                                UCC-3 3/13/12 –   BBVA Compass
                                                                                                Continuation by   DACA
                                  Please provide any                                            UCC-3 2/10/17     (Exclusive)
                                  Amendments to the                                                               dated 7/10/17
                                  6/2/06 LSA                                                    DE UCC-1          among
                                                                                                        filed     BBVA and
                                                                                                4/30/15           PPAS for
                                                                                                                  accounts:
                                                                                                PA UCC-1          [redacted]
                                                                                                              –
                                                                                                Amended by
                                                                                                UCC-3 2/23/06 –
                                                                                                Assigned to
                                                                                                CapitalSource
                                                                                                Finance LLC by
                                                                                                UCC-3 6/2/06 –
                                                                                                Assigned to
                                                                                                PPAS by UCC-



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 Borrower          Guarantors     Transaction   Maturity   Original      Mortgages     UCCs (to            DACAs (if any)   Other Collateral
                                  Documents     Date       stock certs   (to prepare   prepare UCC-3s)                      (IP, etc.)
                                  /Amendments              &             Assignment
                                                           Promissory    of
                                                           Notes +       Mortgages)
                                                           powers (if
                                                           any)

                                                                                       34/27/07 –
                                                                                       Amended by
                                                                                       UCC-3 – 6/8/09 –
                                                                                       Continuation by
                                                                                       UCC-3 5/8/09 –
                                                                                       Continuation by
                                                                                       UCC-3 5/5/14

                                                                                       UCC-3
                                                                                       Assignment
                                                                                                    –
                                                                                       Continuation by
                                                                                       UCC-3
                                                                                                    –
                                                                                       Continuation by
                                                                                       UCC-3
                                                                                                    -
                                                                                       Please provide
                                                                                       DC UCC-1


                                                                                       UCC-3
                                                                                       Assignment
                                                                                       Statements letter
                                                                                       granting PPAS
                                                                                       authority to file
                                                                                       UCC-3
                                                                                       amendment
                                                                                       statements w/r/t
                                                                                       any financing
                                                                                       statements filed
                                                                                       by Wells Fargo
                                                                                       (previous agent)
                                                                                       dated 1/2009;



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 Borrower          Guarantors           Transaction           Maturity         Original      Mortgages     UCCs (to            DACAs (if any)   Other Collateral
                                        Documents             Date             stock certs   (to prepare   prepare UCC-3s)                      (IP, etc.)
                                        /Amendments                            &             Assignment
                                                                               Promissory    of
                                                                               Notes +       Mortgages)
                                                                               powers (if
                                                                               any)

                                                                                                           attaching: DE
                                                                                                           UCC-3
                                                                                                           Assignment to
                                                                                                           PPAS 1/15/19;
                                                                                                           UCC-3
                                                                                                           Assignment to
                                                                                                           PPAS 1/15/09:
                                                                                                           Please Provide
                                                                                                           DE UCC-1
                                                                                                                        ;
                                                                                                           UCC-3
                                                                                                           Assignment to
                                                                                                           PPAS 1/15/09;
                                                                                                           Please provide
                                                                                                           DE UCC-1
                                                                                                                        ;
                                                                                                           UCC-3
                                                                                                           Assignment to
                                                                                                           PPAS 1/16/09;
                                                                                                           Please provide FL
                                                                                                           UCC-1


                   Domestic subs of     Credit Agreement      April 15, 2019   Please        Please        Please provide      Please provide   Please confirm if
                   Borrower             dated as of           as of            confirm if    confirm if    copies of UCCs.     Accounts/        any.
                                        12/28/09;             Amendment 5      any.          any.                              DACAs
                                        Amendments: 1-5
                                        (5th: 11/3/15)

                   Domestic Subs of     Credit Agreement      April 15, 2019   Please        Please        Please provide      Please provide   Please confirm if
                   Borrower             dated as of 3/5/08;   as of            confirm if    confirm if    copies of UCCs.     Accounts/        any.
                                        Amendments: No. 1     Amendment        any.          any.                              DACAs
                                                              21




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4838-1814-6712v6
                                                                                                                                                         43919.00000
                                Case 18-10512-KBO            Doc 1918-1           Filed 09/04/20     Page 87 of 370

                                                                                                                           Milbank Request 7/12/19

 Borrower          Guarantors     Transaction           Maturity         Original      Mortgages     UCCs (to          DACAs (if any)   Other Collateral
                                  Documents             Date             stock certs   (to prepare   prepare UCC-3s)                    (IP, etc.)
                                  /Amendments                            &             Assignment
                                                                         Promissory    of
                                                                         Notes +       Mortgages)
                                                                         powers (if
                                                                         any)

                                  – 22nd (22nd:
                                  11/19/15)

                                  Credit Agreement      September 3,     Please        Please        Please provide    Please provide   Please confirm if
                                  dated as of 9/3/08;   2013 as of       confirm if    confirm if    copies of UCCs.   Accounts/        any.
                                                        Credit           any.          any.                            DACAs
                                  Amendments: No.       Agreement
                                  1-12th (12th:
                                  09/03/08)

                                  Third Amended and     April 15, 2019   Please        Please        Please provide    Please provide   Please confirm if
                                  Restated Credit       as of 8/5/05     confirm if    confirm if    copies of UCCs.   Accounts/        any.
                                  Agreement dated as    Credit           any.          any.                            DACAs
                                  of 3/30/04;           Agreement
                                  Amendment No. 1:      Amendment
                                  6/27/05               18

                                  Credit Agreement
                                  dated as of 8/5/05;
                                  Amendments 1-19
                                  (19th: 11/19/15)

                                  Please confirm no
                                  other Amendments
                                  to AR CA 3/30/04;

                                  Credit Agreement      April 15, 2019   Please        Please        Please provide    Please provide   Please provide if
                                  dated as of 8/4/03;   as of            confirm if    confirm if    copies of UCCs.   Accounts/        any.
                                  Amendments 1-30       Amendment        any.          any.                            DACAs
                                  (30th: 11/19/15)      24




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4838-1814-6712v6
                                                                                                                                                 43919.00000
                                Case 18-10512-KBO   Doc 1918-1      Filed 09/04/20     Page 88 of 370

                                                                                                            Milbank Request 7/12/19

 Borrower          Guarantors     Transaction   Maturity   Original      Mortgages     UCCs (to          DACAs (if any)   Other Collateral
                                  Documents     Date       stock certs   (to prepare   prepare UCC-3s)                    (IP, etc.)
                                  /Amendments              &             Assignment
                                                           Promissory    of
                                                           Notes +       Mortgages)
                                                           powers (if
                                                           any)




                                                           - 17 -
4838-1814-6712v6
                                                                                                                                  43919.00000
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     Exhibit D
                       Case 18-10512-KBO                                              Doc 1918-1             Filed 09/04/20                         Page 90 of 370


From:               Harris, Jennifer
To:                 Carolyn Schiff; Kevin Dell; Brian Stephen
Cc:                 Ryan Roy; David Sawyer; Lynn Poss; Lee, Junoh; Harms, Savannah
Subject:            [EXT] RE: Ankura/Zohar - Agency Succession
Date:               Friday, July 12, 2019 1:29:50 PM


PPAS,
We need to make progress on this agency succession, it has been several months. Can you please prioritize sending over the UCCs for all facilities as soon as possible? If not we will have to order for the
different jurisdictions and that will be more costly on these facilities.
With respect to the other documents – we would think you would have them in your records and could send them to us. Why the delay?
Thank you,
Jen
Jennifer Harris | Milbank | Special Counsel
2029 Century Park East, 33rd Floor | Los Angeles, CA 90067-3019
T: +1 424.386.4344
jharris@milbank.com | milbank.com
From: Harms, Savannah
Sent: Friday, July 12, 2019 10:05 AM
To: Carolyn Schiff <Carolyn.Schiff@PatriarchPartners.com>; Kevin Dell <Kevin.Dell@PatriarchPartners.com>; Brian Stephen <Brian.Stephen@PatriarchPartners.com>
Cc: Ryan Roy <Ryan.Roy@ankura.com>; David Sawyer <David.Sawyer@ankura.com>; Lynn Poss <lynn.poss@ankura.com>; Harris, Jennifer <JHarris@milbank.com>; Lee, Junoh <jlee4@milbank.com>
Subject: RE: Ankura/Zohar - Agency Succession
PPAS Team,
Please find attached an updated chart of missing items. We have updated this to reflect the     payoff and the documents we received over the previous two weeks. Please let me know if there are
any questions.
Thank you,
Savannah
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com

From: Harms, Savannah
Sent: Wednesday, June 26, 2019 8:23 PM
To: Carolyn Schiff <Carolyn.Schiff@PatriarchPartners.com>; Kevin Dell <Kevin.Dell@PatriarchPartners.com>; Brian Stephen <Brian.Stephen@PatriarchPartners.com>
Cc: Ryan Roy <Ryan.Roy@ankura.com>; David Sawyer <David.Sawyer@ankura.com>; Lynn Poss <lynn.poss@ankura.com>; Harris, Jennifer <JHarris@milbank.com>; Lee, Junoh <jlee4@milbank.com>
Subject: RE: Ankura/Zohar - Agency Succession
PPAS/Carolyn,
Thank you for sending us many of the outstanding documents over the course of the week. We have attached an updated missing items chart, which is redlined against our previous version. This is
updated to reflect the documents you have sent us so far.
Please let me know if you have any questions,
Savannah
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com
From: Carolyn Schiff [mailto:Carolyn.Schiff@PatriarchPartners.com]
Sent: Wednesday, June 26, 2019 10:39 AM
To: Lee, Junoh <jlee4@milbank.com>; Kevin Dell <Kevin.Dell@PatriarchPartners.com>; Brian Stephen <Brian.Stephen@PatriarchPartners.com>
Cc: Ryan Roy <Ryan.Roy@ankura.com>; David Sawyer <David.Sawyer@ankura.com>; Lynn Poss <lynn.poss@ankura.com>; Harris, Jennifer <JHarris@milbank.com>; Harms, Savannah
<SHarms@milbank.com>
Subject: RE: Ankura/Zohar - Agency Succession
PATRIARCH/PC CONFIDENTIAL
All,
Re           ) – attached are amendments 5-12. As to amendments 1-4, on page 6 of attached Amendment No. 5 (appears to be Section 1 (d)) there is an
acknowledgement by all parties that Amendments 1-4 were executed in the form attached as an exhibit to Amendment No. 5 or, if not executed, they are ratified. The
language is as follows:
Each of the parties hereto hereby (a) agrees that, to
the best of its belief, each of the four amendments attached hereto as Exhibit B were executed in
the form attached effective as of the date set forth on each of these amendments, and, in any case,
consents to, agrees and ratifies each such amendment and (b) hereby agrees that all other
amendments to the Credit Agreement, if any, or any other drafts, whether or not executed, of the
amendments attached to as Exhibit B, are hereby terminated and their changes reversed to be
effective as if these amendments had never been executed.
From: Lee, Junoh [mailto:jlee4@milbank.com]
Sent: Monday, June 24, 2019 6:23 PM
To: Carolyn Schiff; Kevin Dell; Brian Stephen
Cc: Ryan Roy; David Sawyer; Lynn Poss; Harris, Jennifer; Harms, Savannah
Subject: RE: Ankura/Zohar - Agency Succession
Carolyn, and team,
Thank you for your responses. Please find an updated version of the Agency Transfer Chart. Note, this is the same document that was previously sent to you by Ankura. We have updated it to include
additional facilities (co-agent/agent) and have also included any additional information we have received since the initial draft. We have highlighted in red the information that we need on each of the
loan facilities. Would it be helpful to get on a phone call to discuss? We are missing quite a bit of information that is needed to complete the agency transfer process and would like to work with you to
get that completed as expeditiously as possible.
Thank you,
Junoh
Junoh Lee | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5844
jlee4@milbank.com | milbank.com

From: Carolyn Schiff [mailto:Carolyn.Schiff@PatriarchPartners.com]
Sent: Monday, June 24, 2019 4:01 PM
To: Harms, Savannah <SHarms@milbank.com>; Kevin Dell <Kevin.Dell@PatriarchPartners.com>; Brian Stephen <Brian.Stephen@PatriarchPartners.com>
Cc: Ryan Roy <Ryan.Roy@ankura.com>; David Sawyer <David.Sawyer@ankura.com>; Lynn Poss <lynn.poss@ankura.com>; Harris, Jennifer <JHarris@milbank.com>; Lee, Junoh <jlee4@milbank.com>
Subject: RE: Ankura/Zohar - Agency Succession
Apologies – I hit send too early. Response re                             to follow
From: Carolyn Schiff
Sent: Monday, June 24, 2019 3:44 PM
To: 'Harms, Savannah'; Kevin Dell; Brian Stephen
Cc: Ryan Roy; David Sawyer; Lynn Poss; Harris, Jennifer; Lee, Junoh
Subject: RE: Ankura/Zohar - Agency Succession
PATRIARCH/PC CONFIDENTIAL
See my responses in red below
From: Harms, Savannah [mailto:SHarms@milbank.com]
Sent: Thursday, June 20, 2019 3:03 PM
To: Carolyn Schiff; Kevin Dell; Brian Stephen
Cc: Ryan Roy; David Sawyer; Lynn Poss; Harris, Jennifer; Lee, Junoh
Subject: RE: Ankura/Zohar - Agency Succession
Please see attached.
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
                              Case 18-10512-KBO                                                                 Doc 1918-1                                       Filed 09/04/20                                             Page 91 of 370

sharms@milbank.com | milbank.com
From: Carolyn Schiff [mailto:Carolyn.Schiff@PatriarchPartners.com]
Sent: Thursday, June 20, 2019 3:02 PM
To: Harms, Savannah <SHarms@milbank.com>; Kevin Dell <Kevin.Dell@PatriarchPartners.com>; Brian Stephen <Brian.Stephen@PatriarchPartners.com>
Cc: Ryan Roy <Ryan.Roy@ankura.com>; David Sawyer <David.Sawyer@ankura.com>; Lynn Poss <lynn.poss@ankura.com>; Harris, Jennifer <JHarris@milbank.com>; Lee, Junoh <jlee4@milbank.com>
Subject: RE: Ankura/Zohar - Agency Succession
Can you please send me the letter agreement?
From: Harms, Savannah [mailto:SHarms@milbank.com]
Sent: Thursday, June 20, 2019 2:39 PM
To: Kevin Dell; Brian Stephen; Carolyn Schiff
Cc: Ryan Roy; David Sawyer; Lynn Poss; Harris, Jennifer; Lee, Junoh
Subject: Ankura/Zohar - Agency Succession
Hi Kevin,
As discussed on yesterday’s call, please see the below information and questions for your confirmation:
Ankura will be succeeding as Agent for the following Credit Agreements:
A-1 Performing Borrowers:




A-2 Non-Performing Borrowers:




Of these Loans, the above highlighted in yellow (11, 12, 13, 14, 15 & 16 in the above List A-1 and 5 in the List A-2) have been designated in the Letter Agreement as co-agent Credit Agreements with
PPAS, so that PPAS is the Agent for the ARK and Lynn Tilton entities that are party to such Credit Agreement.
However, when we reviewed each Credit Agreement, we saw that #14                  and #15.       under the A-1 list do not have an ARK or Lynn Tilton Lender in the Amendments or original agreement.
Can you please help us understand why             and         were designated in the Letter Agreement as a Co-Agent Credit Agreement? Perhaps there is a different “Patriarch Stakeholders” entity that is
party to the Credit Agreements that we are not seeing. One of Lynn’s Ark entities has an ABL with            , but they are not a party to the Credit Agreement. I do note that          has been invoiced by
Ankura at the “regular” non co-agent rate, so I am not sure where the disconnect is.
Further, under the A-2 Agreements, #2          and #10              appear to be executed by an ARK Lender           is executed by ARK II CLO 2001-1, LTD. And              is executed by ARK Investment
Partners II, L.P.). Have those lenders been paid off, such that no co-Agent is applicable? The           ARK and AIP loans have not been paid off. Re        , the facility has expired.
Thank you,
Savannah
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com



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delete this e-mail message from your computer.



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 Exhibit E-1
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Ryan M. Roy
Managing Director

60 State Street, Suite 700, Boston, MA 02109
+1.617.878.2112 Main +1.617.878.2031 Direct
+1.646.528.4393 Mobile




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ankuratrust.com
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 Exhibit E-2
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Ryan M. Roy
Managing Director

60 State Street, Suite 700, Boston, MA 02109
+1.617.878.2112 Main +1.617.878.2031 Direct
+1.646.528.4393 Mobile




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ANKURA TRUST COMPANY, LLC

214 NORTH MAIN STREET

CONCORD, NH 03301




                                    INVOICE

April 8, 2019




RE: Ankura Trust Company LLC as New Agent under the Court Approved
Settlement Agreement by and between Zohar III Corporation, Zohar II 2008-1,
Corp., Zohar CDO 2003-1, Corp., Zohar III, Limited, Zohar 2005-1, Limited, and
Zohar CDO 2003-1, Limited (the “Debtors”), Lynn Tilton, The Patriarch
Stakeholders, MBIA Insurance Corp. and the Zohar III Controlling Class



Annual Administrative Fee…………………. $50,000.00


Please remit payment to:

Huntington National Bank
ABA 044000024
Ankura Trust Company LLC
Account number:
RE: Zohar Settlement
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 Exhibit E-3
                     Case 18-10512-KBO          Doc 1918-1        Filed 09/04/20      Page 100 of 370




)URP                 5\DQ5R\5\DQ5R\#DQNXUDFRP!
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                      +DUPH\HU$QGUHZ/HH-XQRK+DUPV6DYDQQDK
6XEMHFW              &ROODWHUDO'RFXPHQWDWLRQDQG$XGLW)ROORZXS     DQG


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Ryan M. Roy
Managing Director

60 State Street, Suite 700, Boston, MA 02109
+1.617.878.2112 Main +1.617.878.2031 Direct
+1.646.528.4393 Mobile




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 Exhibit E-4
                    Case 18-10512-KBO           Doc 1918-1        Filed 09/04/20      Page 102 of 370




)URP                5\DQ5R\5\DQ5R\#DQNXUDFRP!
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        Case 18-10512-KBO    Doc 1918-1    Filed 09/04/20   Page 104 of 370




ANKURA TRUST COMPANY, LLC

214 NORTH MAIN STREET

CONCORD, NH 03301




                                    INVOICE

April 8, 2019




RE: Ankura Trust Company LLC as New Agent under the Court Approved
Settlement Agreement by and between Zohar III Corporation, Zohar II 2008-1,
Corp., Zohar CDO 2003-1, Corp., Zohar III, Limited, Zohar 2005-1, Limited, and
Zohar CDO 2003-1, Limited (the “Debtors”), Lynn Tilton, The Patriarch
Stakeholders, MBIA Insurance Corp. and the Zohar III Controlling Class



Annual Administrative Fee…………………. $50,000.00


Please remit payment to:

Huntington National Bank
ABA 044000024
Ankura Trust Company LLC
Account number:
RE: Zohar Settlement
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 Exhibit E-5
                   Case 18-10512-KBO            Doc 1918-1         Filed 09/04/20      Page 106 of 370




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                      +DUPH\HU$QGUHZ+DUPV6DYDQQDK/HH-XQRK
6XEMHFW              5H>(;7@5H&ROODWHUDO'RFXPHQWDWLRQ


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          KŶ:Ƶůϭϳ͕ϮϬϭϵ͕Ăƚϭϭ͗ϭϱD͕ZǇĂŶZŽǇфZǇĂŶ͘ZŽǇΛĂŶŬƵƌĂ͘ĐŽŵхǁƌŽƚĞ͗

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                 tĞĂƌĞŵŝƐƐŝŶŐĐŽůůĂƚĞƌĂůĚŽĐƵŵĞŶƚĂƚŝŽŶĨŽƌ                     ǁŚŝĐŚǁĞŶĞĞĚŝŶŽƌĚĞƌƚŽ
                 ĐŽŵƉůĞƚĞƚŚĞƚƌĂŶƐĨĞƌŽĨĐŽůůĂƚĞƌĂůƚŽŶŬƵƌĂĂƐĂŐĞŶƚ͘tĞŚĂǀĞƌĞƋƵĞƐƚĞĚƚŚŝƐ
                 ŝŶĨŽƌŵĂƚŝŽŶĨƌŽŵWW^ďƵƚŚĂǀĞƌĞĐĞŝǀĞĚŝŶĐŽŵƉůĞƚĞƌĞĐŽƌĚƐ͘tĞǁŽƵůĚĂƉƉƌĞĐŝĂƚĞ
                 ǇŽƵƌĂƐƐŝƐƚĂŶĐĞŝŶƉƌŽǀŝĚŝŶŐĂĐŽŵƉůĞƚĞĐůŽƐŝŶŐƐĞƚ͘
                 WůĞĂƐĞƉƌŽǀŝĚĞƵƐǁŝƚŚĂŶǇŽĨƚŚĞĨŽůůŽǁŝŶŐŝŶƌĞůĂƚŝŽŶƚŽƚŚĞĐƌĞĚŝƚĨĂĐŝůŝƚŝĞƐ͗
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                     Ϯ͘ /ŶĂĚĚŝƚŝŽŶĂů͕ƉůĞĂƐĞůĞƚƵƐŬŶŽǁŝĨWW^ŝƐŚŽůĚŝŶŐĂƐĐŽůůĂƚĞƌĂůĂŶǇŽƌŝŐŝŶĂůƐƚŽĐŬ
                          ĐĞƌƚŝĨŝĐĂƚĞƐŽƌƉƌŽŵŝƐƐŽƌǇŶŽƚĞƐĂŶĚƉŽǁĞƌƐ͘
                 tĞŶĞĞĚƚŽŐĞƚƚŚĞĐŽůůĂƚĞƌĂůƚƌĂŶƐĨĞƌƉƌŽĐĞƐƐĐŽŵƉůĞƚĞĚĂƐĞǆƉĞĚŝƚŝŽƵƐůǇĂƐƉŽƐƐŝďůĞƐŽ
                 ǇŽƵƌĂƚƚĞŶƚŝŽŶƚŽƚŚŝƐŝƐŵƵĐŚĂƉƉƌĞĐŝĂƚĞĚ͘
                 ^ĞƉĂƌĂƚĞůǇ͕ƉůĞĂƐĞƉƌŽǀŝĚĞĂŶƵƉĚĂƚĞŽŶǁŚĞƌĞƚŚŝŶŐƐƐƚĂŶĚǁŝƚŚƚŚĞϮϬϭϴĂƵĚŝƚ͘

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WůĞĂƐĞůĞƚŵĞŬŶŽǁŝĨƚŚĞƌĞĂƌĞĂŶǇƋƵĞƐƚŝŽŶƐ͘
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Ryan M. Roy
Managing Director

60 State Street, Suite 700, Boston, MA 02109
+1.617.878.2112 Main +1.617.878.2031 Direct
+1.646.528.4393 Mobile
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Confidentiality Notice:
7KLVHPDLODQGDQ\DWWDFKPHQWVPD\EHFRQILGHQWLDODQGSURWHFWHGE\OHJDOSULYLOHJH7KLVFRPPXQLFDWLRQLVIRUWKH
H[FOXVLYHXVHRIWKHLQWHQGHGUHFLSLHQW V ,I\RXDUHQRWWKHLQWHQGHGUHFLSLHQW V EHDZDUHWKDWDQ\GLVFORVXUH
FRS\LQJGLVWULEXWLRQRUXVHRIWKHHPDLORUDQ\DWWDFKPHQWLVSURKLELWHG,I\RXKDYHUHFHLYHGWKLVHPDLOLQHUURUSOHDVH
QRWLI\XVLPPHGLDWHO\E\UHSO\LQJWRWKHVHQGHUDQGWKHQGHOHWHWKLVFRS\DQGWKHUHSO\IURP\RXUV\VWHP7KDQN\RXIRU
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6XEMHFW             &ROODWHUDO'RFXPHQWDWLRQ


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ƚƌĂŶƐĨĞƌŽĨĐŽůůĂƚĞƌĂůƚŽŶŬƵƌĂĂƐĂŐĞŶƚ͘tĞŚĂǀĞƌĞƋƵĞƐƚĞĚƚŚŝƐŝŶĨŽƌŵĂƚŝŽŶĨƌŽŵWW^ďƵƚŚĂǀĞƌĞĐĞŝǀĞĚŝŶĐŽŵƉůĞƚĞ
ƌĞĐŽƌĚƐ͘tĞǁŽƵůĚĂƉƉƌĞĐŝĂƚĞǇŽƵƌĂƐƐŝƐƚĂŶĐĞŝŶƉƌŽǀŝĚŝŶŐĂĐŽŵƉůĞƚĞĐůŽƐŝŶŐƐĞƚ͘
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Ryan M. Roy
Managing Director

60 State Street, Suite 700, Boston, MA 02109
+1.617.878.2112 Main +1.617.878.2031 Direct
+1.646.528.4393 Mobile




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ƚŚĞƚƌĂŶƐĨĞƌŽĨĐŽůůĂƚĞƌĂůƚŽŶŬƵƌĂĂƐĂŐĞŶƚ͘tĞŚĂǀĞƌĞƋƵĞƐƚĞĚƚŚŝƐŝŶĨŽƌŵĂƚŝŽŶĨƌŽŵWW^ďƵƚŚĂǀĞƌĞĐĞŝǀĞĚ
ŝŶĐŽŵƉůĞƚĞƌĞĐŽƌĚƐ͘tĞǁŽƵůĚĂƉƉƌĞĐŝĂƚĞǇŽƵƌĂƐƐŝƐƚĂŶĐĞŝŶƉƌŽǀŝĚŝŶŐĂĐŽŵƉůĞƚĞĐůŽƐŝŶŐƐĞƚ͘
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Ryan M. Roy
Managing Director

60 State Street, Suite 700, Boston, MA 02109
+1.617.878.2112 Main +1.617.878.2031 Direct
+1.646.528.4393 Mobile




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Ryan M. Roy
Managing Director

60 State Street, Suite 700, Boston, MA 02109
+1.617.878.2112 Main +1.617.878.2031 Direct
+1.646.528.4393 Mobile




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ankuratrust.com
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        Case 18-10512-KBO    Doc 1918-1    Filed 09/04/20   Page 114 of 370



ANKURA TRUST COMPANY, LLC

214 NORTH MAIN STREET

CONCORD, NH 03301




                                    INVOICE

April 8, 2019




RE: Ankura Trust Company LLC as New Agent under the Court Approved
Settlement Agreement by and between Zohar III Corporation, Zohar II 2008-1,
Corp., Zohar CDO 2003-1, Corp., Zohar III, Limited, Zohar 2005-1, Limited, and
Zohar CDO 2003-1, Limited (the “Debtors”), Lynn Tilton, The Patriarch
Stakeholders, MBIA Insurance Corp. and the Zohar III Controlling Class



Annual Administrative Fee…………………. $50,000.00


Please remit payment to:

Huntington National Bank
ABA 044000024
Ankura Trust Company LLC
Account number:
RE: Zohar Settlement
        Case 18-10512-KBO    Doc 1918-1    Filed 09/04/20   Page 115 of 370




ANKURA TRUST COMPANY, LLC

214 NORTH MAIN STREET

CONCORD, NH 03301




                                    INVOICE

April 8, 2019




RE: Ankura Trust Company LLC as New Agent under the Court Approved
Settlement Agreement by and between Zohar III Corporation, Zohar II 2008-1,
Corp., Zohar CDO 2003-1, Corp., Zohar III, Limited, Zohar 2005-1, Limited, and
Zohar CDO 2003-1, Limited (the “Debtors”), Lynn Tilton, The Patriarch
Stakeholders, MBIA Insurance Corp. and the Zohar III Controlling Class



Annual Administrative Fee…………………. $35,000.00


Please remit payment to:

Huntington National Bank
ABA 044000024
Ankura Trust Company LLC
Account number:
RE: Zohar Settlement
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 Exhibit E-9
                    Case 18-10512-KBO           Doc 1918-1        Filed 09/04/20      Page 117 of 370




)URP                5\DQ5R\5\DQ5R\#DQNXUDFRP!
6HQW                :HGQHVGD\-XO\30
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&F                  'DYLG6DZ\HU-D\+RSNLQV%DOFRP-DPHV0RVHU(GZDUG9DQ3UDDJ&KULV+DUULV-HQQLIHU
                     +DUPH\HU$QGUHZ+DUPV6DYDQQDK/HH-XQRK
6XEMHFW             &ROODWHUDO'RFXPHQWDWLRQ


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dŚĂŶŬƐ͕
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Ryan M. Roy
Managing Director

60 State Street, Suite 700, Boston, MA 02109
+1.617.878.2112 Main +1.617.878.2031 Direct
+1.646.528.4393 Mobile




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Exhibit E-10
                    Case 18-10512-KBO           Doc 1918-1        Filed 09/04/20      Page 119 of 370




)URP                5\DQ5R\5\DQ5R\#DQNXUDFRP!
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                     +DUPH\HU$QGUHZ+DUPV6DYDQQDK/HH-XQRK
6XEMHFW             &ROODWHUDO'RFXPHQWDWLRQ


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Ryan M. Roy
Managing Director

60 State Street, Suite 700, Boston, MA 02109
+1.617.878.2112 Main +1.617.878.2031 Direct
+1.646.528.4393 Mobile




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Exhibit E-11
                    Case 18-10512-KBO           Doc 1918-1        Filed 09/04/20      Page 121 of 370




)URP                5\DQ5R\5\DQ5R\#DQNXUDFRP!
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6XEMHFW             &ROODWHUDO'RFXPHQWDWLRQ


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ĂƉƉƌĞĐŝĂƚĞǇŽƵƌĂƐƐŝƐƚĂŶĐĞŝŶƉƌŽǀŝĚŝŶŐĂĐŽŵƉůĞƚĞĐůŽƐŝŶŐƐĞƚ͘
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60 State Street, Suite 700, Boston, MA 02109
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Case 18-10512-KBO   Doc 1918-1   Filed 09/04/20   Page 122 of 370




Exhibit E-12
                    Case 18-10512-KBO           Doc 1918-1        Filed 09/04/20      Page 123 of 370




)URP                5\DQ5R\5\DQ5R\#DQNXUDFRP!
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Ryan M. Roy
Managing Director

60 State Street, Suite 700, Boston, MA 02109
+1.617.878.2112 Main +1.617.878.2031 Direct
+1.646.528.4393 Mobile




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Exhibit E-13
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                     +DUPH\HU$QGUHZ+DUPV6DYDQQDK/HH-XQRK
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Ryan M. Roy
Managing Director

60 State Street, Suite 700, Boston, MA 02109
+1.617.878.2112 Main +1.617.878.2031 Direct
+1.646.528.4393 Mobile




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Exhibit E-14
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)URP                5\DQ5R\5\DQ5R\#DQNXUDFRP!
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                     +DUPH\HU$QGUHZ+DUPV6DYDQQDK/HH-XQRK
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Ryan M. Roy
Managing Director

60 State Street, Suite 700, Boston, MA 02109
+1.617.878.2112 Main +1.617.878.2031 Direct
+1.646.528.4393 Mobile




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Exhibit E-15
                    Case 18-10512-KBO           Doc 1918-1        Filed 09/04/20      Page 129 of 370




)URP                5\DQ5R\5\DQ5R\#DQNXUDFRP!
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60 State Street, Suite 700, Boston, MA 02109
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ANKURA TRUST COMPANY, LLC

214 NORTH MAIN STREET

CONCORD, NH 03301




                                    INVOICE

April 8, 2019




RE: Ankura Trust Company LLC as New Agent under the Court Approved
Settlement Agreement by and between Zohar III Corporation, Zohar II 2008-1,
Corp., Zohar CDO 2003-1, Corp., Zohar III, Limited, Zohar 2005-1, Limited, and
Zohar CDO 2003-1, Limited (the “Debtors”), Lynn Tilton, The Patriarch
Stakeholders, MBIA Insurance Corp. and the Zohar III Controlling Class



Annual Administrative Fee…………………. $50,000.00


Please remit payment to:

Huntington National Bank
ABA 044000024
Ankura Trust Company LLC
Account number:
RE: Zohar Settlement
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      Exhibit F
         Case 18-10512-KBO                  Doc 1918-1            Filed 09/04/20              Page 133 of 370


From:             Harms, Savannah
To:               Kevin Dell; Brian Stephen; Carolyn Schiff; Barry, Joseph; Bartley, Ryan; Hart, Ryan D.; Nestor, Michael
Cc:               Ryan Roy; David Sawyer; Lisa Price; Jay Hopkins; Harris, Jennifer; Harmeyer, Andrew; Lee, Junoh
Subject:          [EXT] Zohar - request for Call tomorrow
Date:             Monday, August 12, 2019 8:02:59 PM
Attachments:      Zohar - List of Borrowers and Guarantors (4819-2050-3198-3).docx


PPAS team,
Thank you for providing us with the UCCs for all of the Borrowers under the different credit facilities.
We have created the attached chart showing all of the listed Guarantors under each facility as well
as the Guarantors we have seen a UCC for. As you will see from the chart we did not receive UCCs
for a number of the Guarantors – these are marked in pink. Please advise ASAP whether you have
UCCs for these entities, what the status of each guarantor is and please advise us of the jurisdiction
of organization for those we do not have. If need be we will order UCC searches for the Guarantors
we do not have. This is not the preferred route, but we need to complete this process ASAP.
In addition, we have not received a response on our request for possessory collateral or any other
collateral documentation. Can we please have a call tomorrow to discuss. How about either 1pm and
4pm (NY time) for a call?
Thank you,
Savannah
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com



==============================================================

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   Company Name                    Guarantors/                              State         UCC-1 (Y/N)
                                  Credit Parties

                       Paid Off                                Paid Off                  Paid Off

                   ,                                           Delaware                  Y



                                                               Delaware                  Y



                                                               Delaware                  Y



                                                               Delaware                  Y
                                                   .)

                                                         .     Delaware                  N

                                                               Michigan                  Y




                                                               Illinois                  N


                                                               Michigan                  N


                                                               Delaware                  Y




                                                               Michigan                  N

                                                               Delaware                  N

                                                               Delaware                  N

                                                               Michigan                  Y

                                                               Michigan                  N

                                                               Michigan (                Y




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                           .                                      Delaware               Y

                                                                  Delaware               Y


                                                  .               Michigan               N

                                         .                        Michigan               Y

                                     .                            Michigan               Y

                                              .                   Michigan               N

                                                                  Delaware               Y


                                                              .   Delaware               Y

                                                      .           Delaware               Y

                                                                  Delaware               N


                                                                  Delaware               Y


                                                                  Delaware               Y


                                                                  Delaware               Y

                                                          ,       Delaware               Y


                                                                  Delaware               Y

                                                                  Delaware               Y


                                                                  Delaware               Y


                                                                  Delaware               Y

                                                      )

                                                                  Delaware               Y


                                                                  Delaware               Y




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                                               Delaware               Y



                                               Delaware               Y




                                               Delaware               Y


                                               Delaware               Y


                                               Delaware               Y

                                               Delaware               Y


                                               Delaware               Y

                                               Delaware               Y


                                               Delaware               Y


                                               Delaware               N

                                               Delaware               Y


                                               Delaware               Y


                                               Delaware               Y



                                               Texas                  Y
             .

                                                                      N

                                                                      N

                                                                      N

                                                                      N

                                                                      N




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                                                                                        N

                                                                                        N

                                                                Minnesota               Y


                                                                Minnesota               Y


                                                .               Minnesota               Y

                                        .                       Minnesota               Y

                                                    .           Minnesota               Y

                                        .                       Minnesota               Y

                                        .                       Minnesota               Y

                                        .                       Minnesota               Y

                                                    .           Minnesota               Y

                                                    .           Minnesota               N

                                            .                   Minnesota               Y

                                                        .       Minnesota               Y

                                                            .   Minnesota               Y

                                                    .           Minnesota               Y

                                    .                           Minnesota               Y

                                            .                   Minnesota               Y

                                                        .       Minnesota               Y

                                                                                        N
                                .

                                                                                        N
                            .

                                                                                        N
                    .

                                                                                        N




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                                                                                        N


                                                                                        N
                    .

                                                                                        N
                    .

                                                                                        N


                                                                                        N


                                                                                        N


                                                                                        N


                                            .                                           N

                                       .                                                N

                                                .                                       N

                                                    .                                   N

                                                            .                           N

                                                        ,                               N
                    .

                                                                                        N

                                                                                        N


                                                    .                                   N

                                        .                                               N

                                   .                                                    N

                                        .                                               N

                                        .                                               N

                                                                                        N

                                                ,               Minnesota               Y
                    .




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                                            .                                        N

                                                     .                               N

                                                 .                                   N

                                    .                        Iowa                    Y

                                                             New York                Y

                                                             North Carolina          Y


                                                             Minnesota               Y
                    .

                                                     .                               N

                                                     ,                               N
                    .

                                                                                     N
                    .

                                                                                     N


                                                                                     N

                                                 .           Louisiana               Y

                                                                                     N
                               .

                                                             Texas                   Y
                           .

                                                                                     N
                    .

                                                                                     N
                    .

                                        .                                            N

                                                         .   Texas                   Y

                                                             Texas                   Y
                           .

                                                                                     N
                    .




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                                                                                          N
                           .

                               .                                  Ohio                    Y

                                                                                          N
                    .

                                                         .                                N

                                                                  Texas                   Y
                    .

                                                .                 Minnesota               Y

                                                                  Delaware                Y


                                           .                      Delaware                N

                                                                  Delaware                Y


                                                                  Alabama                 Y
               .

                                                                  Alabama                 Y


                                                                  Alabama                 Y
                    .

                                                     .            Alabama                 Y

                                                                  [Alabama]               N


                                                                  Alabama                 Y
                                                             .)

                                                                  Alabama                 Y
                                   .

                                                                  Alabama                 N

                                                                  Alabama                 N


                                                                  Alabama                 N
                                   .

                                                                  Alabama                 Y
                                       .




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                                                           Delaware                 Y


                                                      ,    Delaware                 Y


                                                           Delaware                 N

                                                           Delaware                 Y



                                                           Delaware                 Y



                                                           Delaware                 Y


                                                           Delaware                 Y

                                                           Delaware                 Y


                                                           Delaware                 Y

                                                           Delaware                 Y


                                                           Delaware                 Y


                                                           Delaware                 N

                                                           Delaware                 Y


                                                           Delaware                 Y


                                                           Delaware                 Y



                                                           Delaware                 Y


                                                           Arizona                  Y
       .

                                                1
                                                           Delaware                 Y


1
    This entity wasn’t in the Credit Agreement nor in the amendments.


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                                                               Delaware               Y




                                                               Delaware               Y



                                                               Delaware               Y
                                                 )

                                                               Delaware               Y
     .

                                                               Delaware               Y


         .                                                     Delaware               Y

                                                               Maryland               Y

                                                               Maryland               Y

                                                               Maryland               Y

                                                               Delaware               Y


               )

                                                               Delaware               Y


                   )

                                                               Delaware               Y

                                                               Delaware               Y


                                                               Delaware               Y

                                                               Delaware               Y
                   .

                                                           .   Florida                Y
                       (Borrower)

                                    (Borrower)                 Spain                  N

                                                       ,       Delaware               N




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                                        .                       Iceland                   N

                                            .                   Netherlands               Y

                                                                Delaware                  Y

                                .                               Delaware                  N

                                                            .   Florida                   N

                                                .               Delaware                  N

                                                    .           Iceland                   N

                                                                Delaware                  Y

                                                                Florida                   Y




             .)

                                                                Delaware                  Y




                                                                Delaware                  N



                                                                United Kingdom            N

                                                        .       Canada                    N

                            .                                   Delaware                  Y

                                                                Delaware                  N


                                                    .           Delaware                  Y

                                                        .       Delaware                  Y

                                    .                           Delaware                  Y

                                                                Delaware                  Y
                    .

                                                                Delaware                  N

                                                    .           Delaware                  N




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                                         C.    Delaware               N

                                               Delaware               Y


                                               Delaware               Y
                    .

                                               Delaware               Y


                                               Delaware               Y
                        .

                                               Delaware               Y
                              .

                                     .         Delaware               Y




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     Exhibit G
                           Case 18-10512-KBO                                                                 Doc 1918-1                                        Filed 09/04/20                                            Page 146 of 370


From:                       Harms, Savannah
To:                         Carolyn Schiff; Barry, Joseph; Bartley, Ryan; Hart, Ryan D.; Nestor, Michael
Cc:                         Ryan Roy; David Sawyer; Lisa Price; Jay Hopkins; Harris, Jennifer; Harmeyer, Andrew; Lee, Junoh
Subject:                    [EXT] RE: Zohar - request for Call tomorrow
Date:                       Friday, August 16, 2019 12:58:26 PM
Attachments:                Zohar - Agency Transfer Chart of Missing Items (4838-1814-6712-7).docx
                            Zohar - List of UCCs Received (4814-1656-1054-3).docx
                            Zohar - List of Borrowers and Guarantors.docx


All,
In anticipation of today’s call, please find attached the following documents: List of Collateral Documents/Missing Items; the List of UCCs received; and the List of Borrowers and
Guarantors that we have seen UCCs for.
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com

From: Harms, Savannah
Sent: Thursday, August 15, 2019 5:12 PM
To: 'Carolyn Schiff' <Carolyn.Schiff@PatriarchPartners.com>; Barry, Joseph <jbarry@ycst.com>; Bartley, Ryan <RBartley@ycst.com>; Hart, Ryan D. <RHart@ycst.com>; Nestor, Michael
<mnestor@ycst.com>
Cc: Ryan Roy <Ryan.Roy@ankura.com>; David Sawyer <David.Sawyer@ankura.com>; Lisa Price <Lisa.Price@ankura.com>; Jay Hopkins <jay.hopkins@ankura.com>; Harris, Jennifer
<JHarris@milbank.com>; Harmeyer, Andrew <AHarmeyer@milbank.com>; Lee, Junoh <jlee4@milbank.com>
Subject: RE: Zohar - request for Call tomorrow
Hi Carolyn,
1pm ET tomorrow works for us. We will send around a dial in. Thank you
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com

From: Carolyn Schiff <Carolyn.Schiff@PatriarchPartners.com>
Sent: Thursday, August 15, 2019 4:00 PM
To: Harms, Savannah <SHarms@milbank.com>; Carolyn Schiff <Carolyn.Schiff@PatriarchPartners.com>; Barry, Joseph <jbarry@ycst.com>; Bartley, Ryan <RBartley@ycst.com>; Hart,
Ryan D. <RHart@ycst.com>; Nestor, Michael <mnestor@ycst.com>
Cc: Ryan Roy <Ryan.Roy@ankura.com>; David Sawyer <David.Sawyer@ankura.com>; Lisa Price <Lisa.Price@ankura.com>; Jay Hopkins <jay.hopkins@ankura.com>; Harris, Jennifer
<JHarris@milbank.com>; Harmeyer, Andrew <AHarmeyer@milbank.com>; Lee, Junoh <jlee4@milbank.com>
Subject: [EXT] RE: Zohar - request for Call tomorrow
OK how about 1pm?
From: Harms, Savannah [mailto:SHarms@milbank.com]
Sent: Thursday, August 15, 2019 3:58 PM
To: Carolyn Schiff; Kevin Dell; Brian Stephen; Barry, Joseph; Bartley, Ryan; Hart, Ryan D.; Nestor, Michael
Cc: Ryan Roy; David Sawyer; Lisa Price; Jay Hopkins; Harris, Jennifer; Harmeyer, Andrew; Lee, Junoh
Subject: RE: Zohar - request for Call tomorrow
Hi Carolyn,
We are available after 12:30 and before 6pm ET tomorrow.
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com
From: Carolyn Schiff <Carolyn.Schiff@PatriarchPartners.com>
Sent: Thursday, August 15, 2019 3:43 PM
To: Harms, Savannah <SHarms@milbank.com>; Kevin Dell <Kevin.Dell@PatriarchPartners.com>; Brian Stephen <Brian.Stephen@PatriarchPartners.com>; Carolyn Schiff
<Carolyn.Schiff@PatriarchPartners.com>; Barry, Joseph <jbarry@ycst.com>; Bartley, Ryan <RBartley@ycst.com>; Hart, Ryan D. <RHart@ycst.com>; Nestor, Michael
<mnestor@ycst.com>
Cc: Ryan Roy <Ryan.Roy@ankura.com>; David Sawyer <David.Sawyer@ankura.com>; Lisa Price <Lisa.Price@ankura.com>; Jay Hopkins <jay.hopkins@ankura.com>; Harris, Jennifer
<JHarris@milbank.com>; Harmeyer, Andrew <AHarmeyer@milbank.com>; Lee, Junoh <jlee4@milbank.com>
Subject: [EXT] RE: Zohar - request for Call tomorrow
Can we schedule this call for tomorrow? I am free any time except 11-11:45am.
From: Harms, Savannah [mailto:SHarms@milbank.com]
Sent: Monday, August 12, 2019 8:03 PM
To: Kevin Dell; Brian Stephen; Carolyn Schiff; Barry, Joseph; Bartley, Ryan; Hart, Ryan D.; Nestor, Michael
Cc: Ryan Roy; David Sawyer; Lisa Price; Jay Hopkins; Harris, Jennifer; Harmeyer, Andrew; Lee, Junoh
Subject: Zohar - request for Call tomorrow
PPAS team,
Thank you for providing us with the UCCs for all of the Borrowers under the different credit facilities. We have created the attached chart showing all of the listed Guarantors under each
facility as well as the Guarantors we have seen a UCC for. As you will see from the chart we did not receive UCCs for a number of the Guarantors – these are marked in pink. Please
advise ASAP whether you have UCCs for these entities, what the status of each guarantor is and please advise us of the jurisdiction of organization for those we do not have. If need be
we will order UCC searches for the Guarantors we do not have. This is not the preferred route, but we need to complete this process ASAP.
In addition, we have not received a response on our request for possessory collateral or any other collateral documentation. Can we please have a call tomorrow to discuss. How about
either 1pm and 4pm (NY time) for a call?
Thank you,
Savannah
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com



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Ankura – Agency Transfer from Patriarch Partners Agency Services, LLC (“PPAS”)

 Borrower      Guarantors         Transaction           Maturity Date     Original stock      Mortgages     UCCs (to     DACAs (if any)      Other Collateral
                                  Documents                               certs &             (to prepare   prepare                          (IP, etc.)
                                  /Amendments                             Promissory          Assignment    UCC-3s)
                                                                          Notes + powers      of
                                                                          (if any)            Mortgages)

                                  Credit Agreement      April 15, 2019    PAID IN FULL        PAID IN       PAID IN      PAID IN FULL        PAID IN FULL
   . – PAID                       dated 3/4/09;         as of                                 FULL          FULL
 OFF IN                           Amendments:           Amendment 4
 FULL                             1-5 (5th: 11/19/15)

                                  Payoff Letter dated
                                  July 9, 2019




                                  Credit Agreement      July 8, 2019 as   Please confirm if   Please        See UCC      BAML DACA           Please confirm if
                                  dated 1/21/10;        of Amendment      any.                confirm if    Chart        dated 6/18/19       any.
                                  Amendments: 1-14      14                                    any.                       among Borrower,
                                  (14th: 5/1/19)                                                            Missing DE   Wells, Ankura
                                                                                                            UCC-1 for    and BAML for
                                                                                                                         accounts



                                                                                                                         BB&T BACA
                                                                                                                         with Lockbox
                                                                                                                         undated unsigned;
                                                                                                                         BB&T DACA
                                                                                                                  4
                                                                                                                         undated and
                                                                                                                         unsigned

                                                                                                                         Please provide
                                                                                                                         status on BB&T




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 Borrower      Guarantors     Transaction         Maturity Date     Original stock      Mortgages     UCCs (to   DACAs (if any)      Other Collateral
                              Documents                             certs &             (to prepare   prepare                        (IP, etc.)
                              /Amendments                           Promissory          Assignment    UCC-3s)
                                                                    Notes + powers      of
                                                                    (if any)            Mortgages)

                                                                                                                 BACAs and
                                                                                                                 DACAs

                                                                                                                 Please confirm no
                                                                                                                 other accounts

                              AR Credit           July 8, 2019 as   Please confirm if   Please        See UCC    Please provide      Please confirm if
                              Agreement dated     of Amendment      any.                confirm if    Chart      Accounts/           any.
                              8/31/11;            13                                    any.                     DACAs
                              Amendments: 1-13;
                              (13th: 5/1/19);




                              AR Credit           July 8, 2019 as   Please confirm if   Please        See UCC    Please provide      Please confirm if
                              Agreement dated     of Amendment      any.                confirm if    Chart      Accounts/           any.
                              8/31/11;            13                                    any.                     DACAs.
                              Amendments:




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 Borrower      Guarantors      Transaction           Maturity Date     Original stock      Mortgages     UCCs (to   DACAs (if any)   Other Collateral
                               Documents                               certs &             (to prepare   prepare                     (IP, etc.)
                               /Amendments                             Promissory          Assignment    UCC-3s)
                                                                       Notes + powers      of
                                                                       (if any)            Mortgages)

                               1-13 (13th: 5/1/19)




               7 named         Promissory Note       April 15, 2019    Please confirm if   Please        See UCC    Please provide   Please confirm if
               individuals     Agreement dated       as of             any.                confirm if    Chart      Accounts/        any.
               (illegible)     2/3/06;               Amendment 15                          any.                     DACAs
                               Amendments: 1-6
                               (6th: 11/14/06);      Amendment
                               Missing               No. 19 to
                               Amendment No. 7;      extend maturity
                               8-18 (8th: 4/25/07;   date to 7/8/19
                               18th: 11/19/15);      in process.
                               Commitment
                               Settlement            Note: Agency
                               Amendment 6/6/12.     fee unpaid;
                                                     please provide
                               Please provide        an update.
                               Amendment No. 7.




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 Borrower      Guarantors            Transaction        Maturity Date     Original stock      Mortgages     UCCs (to     DACAs (if any)   Other Collateral
                                     Documents                            certs &             (to prepare   prepare                       (IP, etc.)
                                     /Amendments                          Promissory          Assignment    UCC-3s)
                                                                          Notes + powers      of
                                                                          (if any)            Mortgages)

                                     First AR Credit    April 15, 2019    Please confirm if   Please        See UCC      Please provide   Please confirm if
                                     Agreement dated    as of             any.                confirm if    Chart        Accounts/        any.
                                     1/11/07;           Amendment 14                          any.                       DACAs
                                     Amendments: 1-15                                                       Missing TX
                                     (15th: 11/19/15)   Amendment                                           UCC-1 for
                                                        No. 16 to
                                                        extend maturity
                                                        date to 7/8/19
                                                        in process.

                                                        Note: Agency
                                                        fee unpaid;
                                                        please provide
                                                        an update.




                              .

               all Domestic Subs     Credit Agreement   April 15, 2019    Please confirm if   Please        See UCC      Please provide   Please confirm if
                                     dated 6/1/09;      as of             any.                confirm if    Chart        Accounts/        any.
                                     Amendments: 1-9    Amendment 8                           any.                       DACAs
       )                             (9th: 11/19/15)
                                                        Amendment
                                                        No. 10 to
                                                        extend maturity
                                                        date to 7/8/19
                                                        in process.




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 Borrower      Guarantors            Transaction          Maturity Date     Original stock      Mortgages     UCCs (to   DACAs (if any)       Other Collateral
                                     Documents                              certs &             (to prepare   prepare                         (IP, etc.)
                                     /Amendments                            Promissory          Assignment    UCC-3s)
                                                                            Notes + powers      of
                                                                            (if any)            Mortgages)

                                                          Note: Milbank
                                                          Invoice unpaid.

               all Domestic Subs     Credit Agreement     April 15, 2019    Please confirm if   Please        See UCC    Please provide       Please confirm if
                                     dated 12/6/07;       as of             any.                confirm if    Chart      Accounts/            any.
                                     Amendments: 1-14     Amendment 13                          any.                     DACAs
         )                           (14th: 11/19/15)
                                                          Amendment
                                                          No. 15 to
                                                          extend maturity
                                                          date to 7/8/19
                                                          in process.



                                     AR Credit            April 15, 2019    Please provide      Please        See UCC    Regions Bank
                                     Agreement 3/08/02;   as of             1) share            confirm if    Chart      DACA
                                     Amendments: 1-12     Amendment 10      certificate of      any.
                                     (12th: 11/19/15)                                                                    dated 7/13/17
                                                          Amendment                                                      among PPAS,
                                                          No. 13 to               for 280,000
                                                          extend maturity   common shares                                         nd
                                                          date to 7/8/19    listing “Ark II                              Regions Bank
                                                          in process.       CLO 2001-1,
                                                                            Ltd.” as                                     Regions Bank
                                                                            registered                                   DACA
                                                                            holder, 2) share
                                                                            certificates for                                   dated
                                                                                                                         7/13/17 among
                                                                                                                         PPAS,
                                                                                                                                          .
                                                                                                                         and Regions
                                                                            3) share                                     Bank
                                                                            certificates for




                                                                            -5-
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 Borrower      Guarantors            Transaction            Maturity Date     Original stock       Mortgages     UCCs (to   DACAs (if any)          Other Collateral
                                     Documents                                certs &              (to prepare   prepare                            (IP, etc.)
                                     /Amendments                              Promissory           Assignment    UCC-3s)
                                                                              Notes + powers       of
                                                                              (if any)             Mortgages)

                                                                              share certificates                            Regions Bank
                                                                              for                                           DACA
                                                                                                                                                )
                                                                                                                            dated 7/13/17
                                                                                        share                               among PPAS,
                                                                              certificates for
                                                                                                                                            .
                                                                                                                            and Regions
                                                                                    and 6)                                  Bank
                                                                              share certificates
                                                                              for                                           Regions Bank
                                                                                           .                                DACA

                                                                                                                                        )
                                                                                                                            dated 7/13/17
                                                                                                                            among PPAS,

                                                                                                                                        and
                                                                                                                            Regions Bank

               All domestic subs     Credit Agreement       June 1, 2017 as   Please confirm if    Please        See UCC    Please provide          Please confirm if
                                     dated as of 4/17/12;   of Credit         any.                 confirm if    Chart      Accounts/               any.
                                     Amendments: 1-9        Agreement                              any.                     DACAs
                                     (9th: 11/19/15)
                                                            Note: Agency
                                                            fee unpaid;
                                                            please provide
                                                            an update.



                                     Credit Agreement       April 15, 2019    Please confirm if    Please        See UCC           DACA             Please confirm if
                                     dated 5/15/06;         as of             any.                 confirm if    Chart      (Exclusive              any.
                                                            Amendment 21                           any.                     Control) dated
                                                                                                                            12/13/17 among




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 Borrower      Guarantors        Transaction        Maturity Date     Original stock   Mortgages     UCCs (to   DACAs (if any)   Other Collateral
                                 Documents                            certs &          (to prepare   prepare                     (IP, etc.)
                                 /Amendments                          Promissory       Assignment    UCC-3s)
                                                                      Notes + powers   of
                                                                      (if any)         Mortgages)

                                 Amendments:1-22    Amendment
                                 (22nd: 11/19/15)   No. 23 to
                                                    extend maturity                                                     and
                                                    date to 7/8/19                                              PPAS.
                                                    in process.

                                                    Note: Agency
                                                    fee unpaid;
                                                    CFO to provide
                                                    payment plan.




Ankura and PPAS as Co-Agents (A-1s)




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 Borrower      Guarantors     Transaction         Maturity Date        Original      Mortgages     UCCs (to        DACAs (if any)           Other Collateral
                              Documents                                stock certs   (to prepare   prepare UCC-                             (IP, etc.)
                              /Amendments                              &             Assignment    3s)
                                                                       Promissory    of
                                                                       Notes +       Mortgages)
                                                                       powers (if
                                                                       any)

                              AR Credit           April 15, 2019       Please        Please        See UCC Chart   BB&T DACA dated          Please confirm if
                              Agreement           as of                confirm if    confirm if                    6/17/19 among            any.
                              8/31/11;            Amendment 15         any.          any.                          Wells, Ankura,
                              Amendments: 1-                                                                       Borrower and BB&T
                              16 (16th: 5/1/19)   Amendment No.                                                    for account
                                                  17 to extend
                                                  maturity date to
                                                  7/8/19 in                                                        BB&T BACA with
                                                  process.                                                         Lockbox dated
                                                                                                                   6/17/19 among
                                                                                                                   Wells, Ankura,
                                                                                                                   Borrower and BB&T
                                                                                                                   for accounts:



                                                                                                                   Please provide status
                                                                                                                   on BAML DACA
                                                                                                                   among Borrower,
                                                                                                                   Wells, Ankura and
                                                                                                                   BAML and Side
                                                                                                                   Letter

                                                                                                                   Please confirm no
                                                                                                                   other accounts.




               all Domestic   Credit Agreement    Amendment No.        Please        Please        See UCC Chart   Wells Fargo DACA         Please confirm if
               Subs           dated 12/15/11      5 to extend          confirm if    confirm if                    (ARAN – 2 Secured        any.
                              Amendments: 1-3;    maturity date to     any.          any.                          Parties) dated 2/13/12
                                                  the earlier of (a)                                               among Wells Fargo
                                                  10/9/19 and (b)                                                  Capital Finance,



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 Borrower      Guarantors   Transaction          Maturity Date      Original      Mortgages     UCCs (to       DACAs (if any)           Other Collateral
                            Documents                               stock certs   (to prepare   prepare UCC-                            (IP, etc.)
                            /Amendments                             &             Assignment    3s)
                                                                    Promissory    of
                                                                    Notes +       Mortgages)
                                                                    powers (if
                                                                    any)

                            (3rd: 11/19/15), 5   the date that is                                                     , Wells Fargo
                            (5th: 06/28/19)      seven (7)                                                     Bank and PPAS for
                                                 Business Days                                                 accounts
                            Intercreditor        after the
                            Agreement dated      maturity date of
                            2/13/12;             the Wells Credit
                            Intercreditor        Agreement                                                     Assignment and
                            Agreement Letter                                                                   Assumption of Wells
                            Amendment dated                                                                    Fargo DACA
                            06/28/19,                                                                          (ARAN – 2 Secured
                            replacement of                                                                     Parties) to Ankura
                            Wells Fargo with                                                                   dated 6/28/19 among
                            Cortland as                                                                        PPAS, Ankura and
                            successor Agent.                                                                   Wells Fargo Bank (as
                                                                                                               Bank).

                                                                                                               Wells Fargo DACA
                                                                                                               (ARI – 2 Secured
                                                                                                               Parties) dated 2/13/12
                                                                                                               among Wells Fargo
                                                                                                               Capital Finance,
                                                                                                                        , Wells Fargo
                                                                                                               Bank and PPAS for
                                                                                                               accounts



                                                                                                               Assignment and
                                                                                                               Assumption of Wells
                                                                                                               Fargo DACA (ARI –
                                                                                                               2 Secured Parties) to
                                                                                                               Ankura dated 6/28/19
                                                                                                               among PPAS,
                                                                                                               Ankura and Wells



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    Borrower   Guarantors     Transaction         Maturity Date      Original      Mortgages     UCCs (to        DACAs (if any)    Other Collateral
                              Documents                              stock certs   (to prepare   prepare UCC-                      (IP, etc.)
                              /Amendments                            &             Assignment    3s)
                                                                     Promissory    of
                                                                     Notes +       Mortgages)
                                                                     powers (if
                                                                     any)

                                                                                                                 Fargo Bank (as
                                                                                                                 Bank).




               None.          Credit Agreement    April 15, 2019     Please        Please        See UCC Chart   Please provide    Please confirm if
                              dated 7/8/05        (as of 55th        confirm if    confirm if                    Accounts/ DACAs   any.
      .                       Amendments: 1-      Amendment)         any.          any.
                              55 (55th:
                              11/19/15)           Amendment No.
                                                  56 to extend
                                                  maturity date to
                                                  7/8/19 in
                                                  process.

                                                  Note: Agency
                                                  fee unpaid;
                                                  please provide
                                                  an update.

               All domestic   AR Credit           April 15, 2019     Please        Please        See UCC Chart   Please provide    Please explain
               subs of        Agreement dated     as of              confirm if    confirm if                    Accounts/ DACAs   why the Co-Agent
               Borrower       as of 2/28/03;      Amendment 24       any.          any.          Missing DE                        relationship? Only
                              Amendments 1-24                                                    UCC-1 for                         Zohar lenders are
                              (24th: 11/19/15);   Note: Agency                                                                     signatories as of
                              Commitment          fee unpaid;                                                                      last amendment. 1
                              Settlement          please provide
                                                  an update.


1
    NTD: PPAS confirming.


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 Borrower      Guarantors     Transaction        Maturity Date     Original      Mortgages     UCCs (to        DACAs (if any)    Other Collateral
                              Documents                            stock certs   (to prepare   prepare UCC-                      (IP, etc.)
                              /Amendments                          &             Assignment    3s)
                                                                   Promissory    of
                                                                   Notes +       Mortgages)
                                                                   powers (if
                                                                   any)

                              Amendment dated
                              as of 6/6/12


               All domestic   Credit Agreement   April 15, 2019    Please        Please        See UCC Chart   Please provide    Please confirm if
               subs           dated as of        as of             confirm if    confirm if                    Accounts/ DACAs   any.
                              5/13/11;           Amendment 9       any.          any.
                              Amendments: 1-9    for Zohar
                              (9th: 2/15/16);    Lenders;
                              Commitment         January 19 2017
                              Settlement         for ARK
                              Amendment dated    Lenders
                              6/6/12
                                                 Note: Agency
                                                 fee unpaid;
                                                 please provide
                                                 an update.




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Non Performing Borrowers (A-2s) 2

    Borrower       Guarantors           Transaction            Maturity         Original      Mortgages     UCCs (to          DACAs (if any)   Other Collateral
                                        Documents              Date             stock certs   (to prepare   prepare UCC-3s)                    (IP, etc.)
                                        /Amendments                             &             Assignment
                                                                                Promissory    of
                                                                                Notes +       Mortgages)
                                                                                powers (if
                                                                                any)

                   The Subsidiaries     First Amended and      April 15, 2019   Please        Please        See UCC Chart     Please provide   Please confirm if
                   of Borrower          Restated Credit        as of            confirm if    confirm if                      Accounts/        any
                                        Agreement dated as     Amendment        any.          any.                            DACAs
                                        of 5/1/06;             33
                                        Amendments 1-34
                                        (34th: 11/19/15)

                   None.                Loan and Security      April 15, 2019   Please        Please        See UCC Chart     Please provide   Please confirm ARK
                                        Agreement dated        for Zohar        confirm if    confirm if                      Accounts/        Lender no longer
                                        10/14/98;              Lenders;         any.          any.                            DACAs            party to LSA
      .                                 Amendments 1-3         January 19,
                                        (3rd: 11/21/00);       2017 for ARK
                                        Missing                Lenders as of
                                        Amendment No. 4;       Amendment
                                        5-19 (5th: 2/22/02;    19
                                        19th: 2/5/16)

                                        Please provide
                                        Amendment No. 4



                   All domestic subs    Credit Agreement       April 15, 2019   Please        Please        See UCC Chart     Please provide   Please confirm if
                   of the Borrower      dated as of 11/7/08;   as of            confirm if    confirm if                      Accounts/        any.
                                        Amendments: 1-4        Amendment 3      any.          any.                            DACAs
                                        (4th: 11/19/15)




2
    Note: Ankura is Co-Agent to the                                 facility.


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 Borrower          Guarantors         Transaction          Maturity         Original      Mortgages     UCCs (to            DACAs (if any)    Other Collateral
                                      Documents            Date             stock certs   (to prepare   prepare UCC-3s)                       (IP, etc.)
                                      /Amendments                           &             Assignment
                                                                            Promissory    of
                                                                            Notes +       Mortgages)
                                                                            powers (if
                                                                            any)

                   Term Loan:         AR Security          April 15, 2019   Please        Please        See UCC Chart       Please provide    Please confirm ARK
                                      Agreement dated as   as of 59th       confirm if    confirm if                        Accounts/         Lender no longer
                                      of 4/1/11            Amendment        any.          any.          Missing DE          DACAs             party to LSA or
                                                           to Term Loan                                 UCC-1 for                             Term Loan
                                      AR Intercreditor     and as of LSA                                             file                     Agreement.
                                      Agreement dated as   for Zohar                                    number
                                      of 4/7/15; 1st       Lender
                   LSA                Amendment 9/1/15     Commitments.
                                                                                                        Missing DE
                                      Term Loan            April 15, 2016
                                                                                                        UCC-1 for
                                      Agreement dated as   for ARK
                                      of 11/2/04;          Lenders under
                                                           LSA.
                                                                                                                 , LLC
                                      Amendments 1-59
                                                                                                        file number
                                      (59th: 2/5/16);
                                      Commitment
                                      Settlement
                                      Agreement dated
                                      6/6/12

                                      Amended and          April 15, 2019   Please        Please        See UCC Chart       Wells Fargo       Second Amendment
                                      Restated Loan and    as of 3rd AR     confirm if    confirm if                        DACA (ARAN)       and Assignment of
    CO-                               Security Agreement   LSA              any.          any.          Missing DC          dated 9/30/11     TM Collateral
 AGENT                                dated 6/2/06; no     Amendment                                    UCC-1 for           among             Assignment and
                                      Amendments.          18                                                                                 Security Agreement
                                                                                                                  .                           dated 4/25/07
                                      Second Amended                                                    index Number                   PPAS
                                      and Restated Loan                                                                     and Wells for     Second Amendment
                                      and Security                                                                          accounts:         and Assignment of
                                      Agreement dated as                                                                    [redacted]        Patent Collateral
                                                                                                        Missing DE
                                      of 6/28/07;                                                                                             Assignment and
                                                                                                        UCC-1 for
                                      Amendments 1-4                                                                        Wachovia          Security Agreement
                                .     (4th: 1/16/09);                                                                       DACA (no          dated 4/25/07
                                      Assignment and                                                                        notification)
                                                                                                                            dated 2/10/09



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 Borrower          Guarantors         Transaction            Maturity         Original      Mortgages     UCCs (to          DACAs (if any)   Other Collateral
                                      Documents              Date             stock certs   (to prepare   prepare UCC-3s)                    (IP, etc.)
                                      /Amendments                             &             Assignment
                                                                              Promissory    of
                                                                              Notes +       Mortgages)
                                                                              powers (if
                                                                              any)

                                      Acceptance dated                                                    index No.         among            Please provide
                                      12/31/08                                                                              Wachovia,        Collateral
                                                                                                                            and PPAS for     Assignment
                                      MISSING “Credit                                                                       accounts:
                                      Agreement as of                                                                       [redacted]       Intellectual Property
                                      June 5, 2008”;                                                                                         Security Agreement
                                      Amendments 1-                                                                         BBVA Compass     dated 8/2/07
                                      11(11th: 3/24/10)                                                                     DACA
                                      (Only Zohar                                                                           (Springing)      Amendment and
                                      Lenders)                                                                              dated 6/29/17    Assignment of
                                                                                                                            among       ,    Intellectual Property
                                      Third Amended and                                                                     BBVA and         Security Agreement
                                      Restated Loan and                                                                     PPAS for         dated 1/15/09
                                      Security Agreement                                                                    accounts:
                                      dated as of 1/15/09;                                                                  [redacted]       FY 2018 Financials
                                      Amendments 1-18
                                      (18th: 2/5/16)                                                                        BBVA Compass     Jun 19 Financials
                                                                                                                            DACA
                                                                                                                            (Exclusive)
                                                                                                                            dated 7/10/17
                                                                                                                            among       ,
                                                                                                                            BBVA and
                                                                                                                            PPAS for
                                                                                                                            accounts:
                                                                                                                            [redacted]

                   Domestic subs of   Credit Agreement       April 15, 2019   Please        Please        See UCC Chart     Please provide   Please confirm if
                   Borrower           dated as of            as of            confirm if    confirm if                      Accounts/        any.
                                      12/28/09;              Amendment 5      any.          any.                            DACAs
                                      Amendments: 1-5
                                      (5th: 11/3/15)




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 Borrower          Guarantors         Transaction           Maturity         Original      Mortgages     UCCs (to          DACAs (if any)   Other Collateral
                                      Documents             Date             stock certs   (to prepare   prepare UCC-3s)                    (IP, etc.)
                                      /Amendments                            &             Assignment
                                                                             Promissory    of
                                                                             Notes +       Mortgages)
                                                                             powers (if
                                                                             any)

                   Domestic Subs of   Credit Agreement      April 15, 2019   Please        Please        See UCC Chart     Please provide   Please confirm if
                   Borrower           dated as of 3/5/08;   as of            confirm if    confirm if                      Accounts/        any.
                                      Amendments: No. 1     Amendment        any.          any.          Please provide    DACAs
                                      – 22nd (22nd:         21                                           any UCCs for
                                      11/19/15)


                                      Credit Agreement      September 3,     Please        Please        See UCC Chart     Please provide   Please confirm if
                                      dated as of 9/3/08;   2013 as of       confirm if    confirm if                      Accounts/        any.
                                                            Credit           any.          any.                            DACAs
                                      Amendments: No.       Agreement
                                      1-12th (12th:
                                      09/03/08)

                                      Third Amended and     April 15, 2019   Please        Please        See UCC Chart     Please provide   Please confirm if
                                      Restated Credit       as of 8/5/05     confirm if    confirm if                      Accounts/        any.
                                      Agreement dated as    Credit           any.          any.          Missing           DACAs
                      .               of 3/30/04;           Agreement                                    Delaware UCC-1
                                      Amendment No. 1:      Amendment                                    for
                                      6/27/05               18                                                ndex No.
                                      Credit Agreement
                                      dated as of 8/5/05;
                                      Amendments 1-19
                                      (19th: 11/19/15)

                                      Credit Agreement      April 15, 2019   Please        Please        See UCC Chart     Please provide   Please provide if
                                      dated as of 8/4/03;   as of            confirm if    confirm if                      Accounts/        any.
                                      Amendments 1-30       Amendment        any.          any.                            DACAs
                                      (30th: 11/19/15)      24




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 Borrower          Guarantors       Transaction   Maturity   Original      Mortgages     UCCs (to          DACAs (if any)   Other Collateral
                                    Documents     Date       stock certs   (to prepare   prepare UCC-3s)                    (IP, etc.)
                                    /Amendments              &             Assignment
                                                             Promissory    of
                                                             Notes +       Mortgages)
                                                             powers (if
                                                             any)




                                .




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Paid Off.




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  Company Name           Guarantors/                            State          Type       UCC-
                        Credit Parties                                                      1
                                                                                          (Y/N)

                   Paid Off                          Paid Off               Paid Off      Paid
                                                                                          Off

                                                     Delaware               Limited       Y
                                                                            liability
                                                                            company



                                                     Delaware               Corporatio    Y
                                                                            n




                                                     Delaware               Corporatio    Y
                                                                            n


                                                     Delaware               Corporatio    Y
                                                                            n


                                                     Delaware               Corporatio    N
                                         .                                  n

                                                     Michigan               Corporatio    Y
                                                                            n




                                                     Illinois               Corporatio    N
                                   .                                        n

                                                     Michigan               Limited       N
                                                                            Liability
                                                                            Company

                                                     Delaware               Corporatio    Y
                                                                            n




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                                              Michigan           Limited       N
                                .                                Liability
                                                                 Company

                                              Delaware           Limited       N
                                                                 Liability
                                                                 Company

                                              Delaware           Limited       N
                                                                 Liability
                                                                 Company

                                              Michigan           Limited       Y
                                                                 Liability
                                                                 Company

                                              Michigan           Limited       N
                                                                 Liability
                                                                 Company

                                              Michigan           Corporatio    Y
                                                                 n

                                              , INC.)


                                              Delaware           General       Y
                                                                 Partnership

                                              Delaware           Limited       Y
                                                                 Liability
                                                                 Company

                                              Michigan           Limited       N
                                                                 Liability
                                                                 Company

                                        .     Michigan           Limited       Y
                                                                 Liability
                                                                 Company




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                                       .      Michigan           Limited       Y
                                                                 Liability
                                                                 Company

                                              Michigan           Corporatio    N
                                                                 n

                                              Delaware           Limited       Y
                                                                 Liability
                                                                 Company

                                              Delaware           Limited       Y
                                                                 Liability
                                                                 Company

                                              Delaware           Limited       Y
                                  .                              Partnership

                                              Delaware           Limited       N
                                                                 liability
                                                                 company

                                              Delaware           Limited       Y
                                                                 liability
                                                                 company

                                              Delaware           Limited       Y
                                                                 liability
                                                                 company

                                              Delaware           Limited       Y
                                                                 liability
                                                                 company

                                              Delaware           Limited       Y
                                                                 liability
                                                                 company

                                              Delaware           Limited       Y
                                                                 liability
                                                                 company

                                              Delaware           Limited       Y
                                                                 liability
                                                                 company




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                                               Delaware           Limited       Y
                                                                  liability
                                                                  company

                                               Delaware           Limited       Y
                                                                  liability
                                                                  company

                                   )

                                               Delaware           Limited       Y
                                                                  liability
                                                                  company

                                               Delaware           Limited       Y
                                                                  liability
                                                                  company

                                               Delaware           Limited       Y
                                                                  liability
                                                                  company
                               )

                                               Delaware           Limited       Y
                                                                  liability
                                                                  company



                                               Delaware           Limited       Y
                                                                  liability
                                                                  company

                                               Delaware           Limited       Y
                                                                  Liability
                                                                  Company

                                               Delaware           Limited       Y
                                                                  Liability
                                                                  Company

                                               Delaware           Limited       Y
                                                                  Liability
                                                                  Company




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                                           Delaware           Limited       Y
                                                              Liability
                                                              Company

                                           Delaware           Limited       Y
                                                              Liability
                                                              Company

                                           Delaware           Limited       Y
                                                              Liability
                                                              Company

                                           Delaware           Limited       N
                                                              Liability
                                                              Company

                                           Delaware           Limited       Y
                                                              Liability
                                                              Company

                                           Delaware           Limited       Y
                                                              Liability
                                                              Company

                                           Delaware           Limited       Y
                                                              Liability
                                                              Company


                                           Texas              Limited       Y
                   .                                          partnership

                                                                            N

                                                                            N

                                                                            N

                                                                            N

                                                                            N

                                                                            N

                                                                            N




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                                                        Minnesota        Corporatio    Y
                                                                         n

                                                        Minnesota        Business      Y
                                                                         Corporatio
                                                                         n

                                                    .   Minnesota        Business      Y
                                                                         Corporatio
                                                                         n

                                            .           Minnesota        Business      Y
                                                                         Corporatio
                                                                         n

                                                        Minnesota        Business      Y
                                                                         Corporatio
                                                                         n

                                        .               Minnesota        Business      Y
                                                                         Corporatio
                                                                         n

                                            .           Minnesota        Business      Y
                                                                         Corporatio
                                                                         n

                                        .               Minnesota        Business      Y
                                                                         Corporatio
                                                                         n

                                                        Minnesota        Business      Y
                                                                         Corporatio
                                                                         n

                                                        Minnesota        Business      N
                                                                         Corporatio
                                                                         n

                                                .       Minnesota        Business      Y
                                                                         Corporatio
                                                                         n

                                                        Minnesota        Business      Y
                                        .                                Corporatio
                                                                         n




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4819-2050-3198v2
                                                                                           43919.00000
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                                                          Minnesota          Business      Y
                                        .                                    Corporatio
                                                                             n

                                                          Minnesota          Business      Y
                                                                             Corporatio
                                                                             n

                                                .         Minnesota          Business      Y
                                                                             Corporatio
                                                                             n

                                                    .     Minnesota          Business      Y
                                                                             Corporatio
                                                                             n

                                                          Minnesota          Business      Y
                                    .                                        Corporatio
                                                                             n

                                                                                           N
                                            .

                                                                                           N


                                                                                           N
                                .

                                                                                           N



                                                                                           N



                                                                                           N


                                                                                           N
                            .

                                                                                           N




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                                                                                               43919.00000
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                                                                                            N
                                     .

                                                                                            N
                                                 .

                                                                                            N
                                             .

                                                                                            N


                                                                                            N


                                                                                            N
                                     .

                                                                                            N
                                         .

                                                                                            N
                             .

                                                                                            N
                                 .

                                                                                            N


                                                                                            N

                                             .

                                                                                            N
                            .

                                                                                            N


                                                         .                                  N

                                                     ,                                      N
                    .

                                                     ,                                      N
                    .



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4819-2050-3198v2
                                                                                                43919.00000
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                                                                                   N


                                                Minnesota            Corporatio    Y
                                        .                            n

                                                                                   N


                                                                                   N
                                    .

                                                                                   N
                                .

                                                Iowa                 Corporatio    Y
                                                                     n

                                                New York             Corporatio    Y
                                                                     n

                                                North Carolina       Corporatio    Y
                                                                     n

                                                Minnesota            Corporatio    Y
                            .                                        n

                                                                                   N
                                    .

                                                                                   N


                                                                                   N
                            .

                                                                                   N

                                .

                                                                                   N
                                .

                                                Louisiana            Corporatio    Y
                                .                                    n




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                                                                                       43919.00000
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                                                                                        N

                                        .

                                                         Texas            Corporatio    Y
                                                                          n


                                                                                        N
                                    .

                                                                                        N
                            .

                                                                                        N


                                                         Texas            Corporatio    Y
                            .                                             n

                                                         Texas            Corporatio    Y
                                                                          n


                                                                                        N
                            .

                                                                                        N
                                            .

                                .                        Ohio             Corporatio    Y
                                                                          n

                                                                                        N


                                                                                        N


                                                         Texas            Corporatio    Y
                                                .                         n

                                                         Minnesota        Corporatio    Y
                                                                          n




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                                                                                            43919.00000
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                                                             Delaware           Limited       Y
                                                                                liability
                                                                                company

                                                       .     Delaware           Corporatio    N
                                                                                n

                                                             Delaware           Limited       Y
                                                                                liability
      1
                                                                                company

                                                             Alabama            Corporatio    Y
                                                                                n


                                                             Alabama            Corporatio    Y
                                                                                n


                                                             Alabama            Corporatio    Y
                                                                                n

                                                             Alabama            Corporatio    Y
                                                                                n

                                                                                              N
                                              .

                                                             Alabama            Corporatio    Y
                                                                                n
                                                  .)

                                                             Alabama            Corporatio    Y
                                                                                n
                                          .

                                                             Alabama            Corporatio    N
                                                                                n

                                                             Alabama            Corporatio    N
                                                                                n




1
 List of the guarantors is supposed to be in Exhibit E to the Credit Agreement, but our file on the
system does not have Exhibit E.


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                                                                                                  43919.00000
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                                            Alabama          Corporatio    N
                                                             n


                                            Alabama          Corporatio    Y
                                                             n
                               .

                                            Delaware         Limited       Y
                                                             liability
                                                             company

                                            Delaware         Limited       Y
                                                             liability
                                                             company

                                            Delaware         Limited       N
                                                             liability
                                                             company

                                            Delaware         Limited       Y
                                                             liability
                                                             company

                                            Delaware         Limited       Y
                                                             liability
                                                             company



                                            Delaware         Limited       Y
                                                             Liability
                                                             Company

                                            Delaware         Limited       Y
                                                             Liability
                                                             Company

                                            Delaware         Limited       Y
                                                             Liability
                                                             Company

                                            Delaware         Limited       Y
                                                             Liability
                                                             Company




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                                                                               43919.00000
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                                                        Delaware            Limited       Y
                                                                            Liability
                                                                            Company

                                                        Delaware            Limited       Y
                                                                            Liability
                                                                            Company

                                                        Delaware            Limited       N
                                                                            Liability
                                                                            Company

                                                        Delaware            Limited       Y
                                                                            Liability
                                                                            Company

                                                        Delaware            Limited       Y
                                                                            Liability
                                                                            Company

                                                        Delaware            Limited       Y
                                                                            Liability
                                                                            Company
                                          )

                                                        Delaware            Limited       Y
                                                                            liability
                                                                            company

                                                        Arizona             Corporatio    Y
                                                                            n


                                                        Delaware                          Y
                              2


                                                        Delaware            Limited       Y
                                                                            liability
                                                                            company
                    )

                                                        Delaware            Limited       Y
                                                                            liability
                                                                            company



2
    This entity wasn’t in the Credit Agreement nor in the amendments.


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                                                                                              43919.00000
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                                    )

                                                     Delaware            Limited       Y
                                                                         liability
                                                                         company

                                                     Delaware            Limited       Y
                                                                         liability
                                                                         company

                                                     Delaware            Limited       Y
                                                                         liability
                                                                         company

           .                                         Delaware            Corporatio    Y
                                                                         n

                                                     Maryland            Limited       Y
                                                                         liability
                                                                         company

                                                     Maryland            Limited       Y
                                                                         liability
                                                                         company

                                                     Maryland            Limited       Y
                                                                         liability
                                                                         company

                                                     Delaware            Corporatio    Y
                                                                         n (formerly
                                                                         a Delaware
                                                                         liability
                                                                         company)

                                                     Delaware            Limited       Y
                                                                         liability
                                                                         company




3
  No additional guarantors listed in the Credit Agreement, and none added in amendments.
4
  No additional guarantors listed in the Credit Agreement, and none added in amendments.
5
  No additional guarantors listed in the Credit Agreement, and none added in amendments.


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                                                                                           43919.00000
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                                                               Delaware           Limited       Y
                                                                                  liability
                                                                                  company

                                                               Delaware           Corporatio    Y
                                                                                  n

                                                               Delaware           Corporatio    Y
                                                                                  n

                                                               Delaware           Corporatio    Y
                                                                                  n


                                                               Florida            Corporatio    Y
                                                     )                            n

                                                 )             Spain              Company       N

                                                               Delaware           Limited       N
                                                                                  liability
                                                                                  company

                                                     .         Iceland            Corporatio    N
                                                                                  n

                                                               Netherlands        Corporatio    Y
                                                                                  n

                                                               Delaware           Limited       Y
                                                                                  liability
                                                                                  company

                                             .                 Delaware           Corporatio    N
                                                                                  n

                                                               Florida            Corporatio    N
                                      .                                           n

                                                         ,     Delaware           Corporatio    N
                           .                                                      n


6
 As of closing, there were no guarantors. Amendments do not indicate any addition of
guarantors.


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                                                                                                    43919.00000
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                                                        Iceland           Corporatio    N
                              .                                           n

                                                        Delaware          Limited       Y
     7
                                                                          liability
                                                                          company

                                                        Florida           Limited       Y
                                                                          liability
                                                                          company




                                                        Delaware          Limited       Y
                                                                          liability
                                                                          company




                                                        Delaware          Limited       N
                                                                          liability
                  )                                                       company

                                                        United Kingdom    Company       N

                                                        Canada            Corporatio    N
                                           .                              n

                                       .                Delaware                        Y

                                                        Delaware          Corporatio    N
                                                                          n

                                                        Delaware                        Y




7
  As of closing, there were no guarantors. Amendments do not indicate any addition of
guarantors.
8
  As of closing, there were no guarantors. Amendments do not indicate any addition of
guarantors.
9
  As of closing, there were no guarantors. Amendments do not indicate any addition of
guarantors.


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                                                           Delaware                         Y
                                            .

                                                           Delaware                         Y

                                                           Delaware                         Y
                                                     .

                                                           Delaware                         N


                                                           Delaware                         N
                            .

                                                           Delaware                         N
                            .

                                                           Delaware                         Y
                                .

                                                           Delaware                         Y
                                                 .

                                                           Delaware                         Y
                                                .

                                                           Delaware                         Y
                                        .

                                                           Delaware                         Y

                                    .

                                                ,          Delaware                         Y
                    .




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                                                                                                43919.00000
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     Exhibit H
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From:             Harms, Savannah
To:               Brian Stephen; Carolyn Schiff; Kevin Dell
Cc:               Harris, Jennifer; Harmeyer, Andrew; Lee, Junoh
Subject:          RE: Zohar - Missing collateral items
Date:             Wednesday, August 28, 2019 7:57:07 PM
Attachments:      Zohar - Agency Transfer Chart of Missing Items (4838-1814-6712-8).docx
                  Zohar - List of Borrowers and Guarantors (4819-2050-3198-5).docx
                  Zohar - List of UCCs Received (4814-1656-1054-4).docx


PPAS Team,
Please find attached an updated chart of missing items and the corresponding list of UCCs, list of borrowers/guarantors we have seen UCCs for as well as an excel sheet provided to us
listing the physical collateral held by USB.
The updated chart now includes physical collateral held by US Bank as custodian, based on the information we have received. Other than the certificates we have listed in the chart,
could PPAS please confirm this list in the chart is complete or whether there is other physical collateral for each facility? If other physical collateral exist please let us know.
In addition, on the call on August 16th you said you would send us the security documents and files for the facilities. Please advise on the status of this. To date we have not received this
information. We have asked for the following collateral for each facility: all transaction documents, mortgages, DACAs and any other collateral that may be available.
Last, please advise on the UCC Financing statements for                         . Following on my email from Friday (below), please let us know which of the UCC statements that we have
filed for      (co-agent) should have been filed for     or      (both sole agent) instead. We would like to amend these ASAP. In addition, we expect there to be other UCCs for these
facilities as (we assume) there should be at minimum three UCCs for each guarantor.
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com

From: Harms, Savannah
Sent: Friday, August 23, 2019 7:51 PM
To: 'Brian Stephen' ; 'Carolyn Schiff' ; 'Kevin Dell'
Cc: Harris, Jennifer ; Harmeyer, Andrew ; Lee, Junoh
Subject: RE: Zohar - UCC-3 Amendments -
PPAS Team,
Please find attached the UCC-3s that Milbank filed in connection with           . We now understand that a number of these UCCs were actually in connection with the          and
                                   facilities. Each of these facilities                    ) shares the same list of Guarantors, and each Borrower is also a Guarantor for the other two
facilities (                  are Guarantors under                         are Guarantors under          etc.).
Based on the UCC alone we cannot determine which UCC was for which facility (note all the facilities closed on the same date). Please advise which of the UCCs were for              and
        ; we will need to file amendment to the UCCs to make Ankura sole agent.
In addition, we would expect there to be three UCCs for each Borrower/Guarantor (one for each facility). Could you please send us the additional UCCs or advise why only 1 or 2 UCCs
were filed for several of the entities below?
See below a chart listing the # of UCCs we have for each Guarantor under these facilities:
  Borrower/Guarantor                        # of UCC-3s filed       Non-PPAS UCCs     Terminated or
                                            for Debtor with                           Expired UCCs
                                            PPAS as secured
                                            party
                                                     1                     8



                                                        2                           3       3

                                                        1                           1
                                                        3                           2       2
                                                        6                           5       5
                                                        2                           1
                                                        3                           1
                                                        2                           3       3

                                                        2
                                                        1

                                                        1

                                                        1

             )
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com
From: Harms, Savannah
Sent: Friday, August 23, 2019 1:46 PM
To: 'Brian Stephen' <Brian.Stephen@PatriarchPartners.com>; 'Carolyn Schiff' <Carolyn.Schiff@PatriarchPartners.com>; 'Kevin Dell' <Kevin.Dell@PatriarchPartners.com>
Cc: Harris, Jennifer <JHarris@milbank.com>; Harmeyer, Andrew <AHarmeyer@milbank.com>; Lee, Junoh <jlee4@milbank.com>
Subject: RE: Zohar - UCC-3 Amendments -
PPAS Team,
We will be filing the attached Assignment for            on Tuesday next week. The reason for the delay is that we were missing the UCC-1, which we have ordered, the UCC-1 is
included in the pack of UCCs for this borrower attached.
Thank you!
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com

From: Harms, Savannah
Sent: Wednesday, August 21, 2019 5:49 PM
To: Brian Stephen <Brian.Stephen@PatriarchPartners.com>; Carolyn Schiff <Carolyn.Schiff@PatriarchPartners.com>; Kevin Dell <Kevin.Dell@PatriarchPartners.com>
Cc: Harris, Jennifer <JHarris@milbank.com>; Harmeyer, Andrew <AHarmeyer@milbank.com>; Lee, Junoh <jlee4@milbank.com>
Subject: RE: Zohar - UCC-3 Amendments - Co Agent
Hi Brian,
Please see attached UCC-3s deleting PPAS as Agent. We will file these with the Delaware SOS on Friday.
Thank you,
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Savannah
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com
From: Brian Stephen <Brian.Stephen@PatriarchPartners.com>
Sent: Wednesday, August 21, 2019 2:58 PM
To: Harms, Savannah <SHarms@milbank.com>; Carolyn Schiff <Carolyn.Schiff@PatriarchPartners.com>; Kevin Dell <Kevin.Dell@PatriarchPartners.com>
Cc: Harris, Jennifer <JHarris@milbank.com>; Harmeyer, Andrew <AHarmeyer@milbank.com>; Lee, Junoh <jlee4@milbank.com>
Subject: [EXT] RE: Zohar - UCC-3 Amendments - Co Agent
Savannah,
I had not focused on the            UCC amendments, but it was just pointed out to me that the amendments list Ankura and PPAS as co-agents, which is not
correct for this facility.
          has an ABL facility with one of Lynn’s entities and a term loan with the Zohar funds and none of Lynn’s entities are in the term loan.
PPAS is the sole agent for with respect to the ABL and Ankura is the sole agent with respect to the term loan facility, so the UCC should not refer to the two
as co-agents.
Is this something we can get revised?
From: Harms, Savannah [mailto:SHarms@milbank.com]
Sent: Wednesday, July 31, 2019 2:47 PM
To: Carolyn Schiff; Kevin Dell; Brian Stephen
Cc: Harris, Jennifer; Harmeyer, Andrew; Lee, Junoh
Subject: Zohar - UCC-3 Amendments - Co Agent
PPAS Team,
Please find attached the Co-Agent UCC-3s that we will be filing on Friday for the following entities:




These UCC-3s add Ankura as co-Agent as an additional secured party.
Thank you,
Savannah
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com



==============================================================

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                                                                                                                       Milbank Request 8/28/19

Ankura – Agency Transfer from Patriarch Partners Agency Services, LLC (“PPAS”)

    Borrower    Guarantors        Transaction           Maturity Date     Original stock   Mortgages     UCCs (to   DACAs (if any)      Other Collateral
                                  Documents                               certs &          (to prepare   prepare                        (IP, etc.)
                                  /Amendments                             Promissory       Assignment    UCC-3s)
                                                                          Notes + powers   of
                                                                          (if any) 1       Mortgages)

                                  Credit Agreement      April 15, 2019    PAID IN FULL     PAID IN       PAID IN    PAID IN FULL        PAID IN FULL
       – PAID                     dated 3/4/09;         as of                              FULL          FULL
    OFF IN                        Amendments:           Amendment 4
    FULL                          1-5 (5th: 11/19/15)

                                  Payoff Letter dated
                                  July 9, 2019




                                  Credit Agreement      July 8, 2019 as   Please confirm   Please        See UCC    BAML DACA           Please confirm if
                                  dated 1/21/10;        of Amendment      none exist.      confirm if    Chart      dated 6/18/19       any.
                                  Amendments: 1-14      14                                 any.                     among Borrower,
                                  (14th: 5/1/19)                                                                    Wells, Ankura
                                                                                                                    and BAML for
                                                                                                                    accounts



                                                                                                                    BB&T BACA
                                                                                                                    with Lockbox
                                                                                                                    undated unsigned;
                                                                                                                    BB&T DACA
                                                                                                                    undated and
                                                                                                                    unsigned




1
    *Each* market certificate is held by US Bank as custodian.



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                                                                                                                                               43919.00000
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 Borrower      Guarantors         Transaction         Maturity Date     Original stock   Mortgages     UCCs (to   DACAs (if any)      Other Collateral
                                  Documents                             certs &          (to prepare   prepare                        (IP, etc.)
                                  /Amendments                           Promissory       Assignment    UCC-3s)
                                                                        Notes + powers   of
                                                                        (if any) 1       Mortgages)

                                                                                                                  Please provide
                                                                                                                  status on BB&T
                                                                                                                  BACAs and
                                                                                                                  DACAs.

                                                                                                                  Please confirm no
                                                                                                                  other accounts

                                  AR Credit           July 8, 2019 as   Please confirm   Please        PPAS to    Please provide      Please confirm if
                                  Agreement dated     of Amendment      none exist.      confirm if    advise.    Accounts/           any.
                                  8/31/11;            13                                 any.                     DACAs.
                                  Amendments: 1-13;
                                  (13th: 5/1/19);




                                  AR Credit           July 8, 2019 as   Please confirm   Please        PPAS to    Please provide      Please confirm if
                                  Agreement dated     of Amendment      none exist.      confirm if    advise     Accounts/           any.
                                                      13                                 any.                     DACAs.
                            ;



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 Borrower      Guarantors     Transaction           Maturity Date     Original stock   Mortgages     UCCs (to   DACAs (if any)   Other Collateral
                              Documents                               certs &          (to prepare   prepare                     (IP, etc.)
                              /Amendments                             Promissory       Assignment    UCC-3s)
                                                                      Notes + powers   of
                                                                      (if any) 1       Mortgages)

                              8/31/11;
                              Amendments:
                              1-13 (13th: 5/1/19)




                              Promissory Note       April 15, 2019                     Please        See UCC    Please provide   Please confirm if
                              Agreement dated       as of                              confirm if    Chart      Accounts/        any.
                              2/3/06;               Amendment 15                       any.                     DACAs.
                              Amendments: 1-6
                              (6th: 11/14/06);      Amendment
                              Missing               No. 19 to
                              Amendment No. 7;      extend maturity
                              8-18 (8th: 4/25/07;   date to 7/8/19
                              18th: 11/19/15);      in process.
                              Commitment
                              Settlement            Note: Agency
                              Amendment 6/6/12.     fee unpaid;
                                                    please provide
                              Please provide        an update.
                              Amendment No. 7.




                                                                      -3-
4838-1814-6712v8
                                                                                                                                        43919.00000
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 Borrower      Guarantors         Transaction             Maturity Date     Original stock    Mortgages     UCCs (to   DACAs (if any)    Other Collateral
                                  Documents                                 certs &           (to prepare   prepare                      (IP, etc.)
                                  /Amendments                               Promissory        Assignment    UCC-3s)
                                                                            Notes + powers    of
                                                                            (if any) 1        Mortgages)

                                  First AR Credit         April 15, 2019    Please confirm    Please        See UCC    Please provide    Please confirm if
                                  Agreement dated         as of             none exist.       confirm if    Chart      Accounts/         any.
                                  1/11/07;                Amendment 14                        any.                     DACAs.
                                  Amendments: 1-15
                                  (15th: 11/19/15)        Amendment
                                                          No. 16 to
                                                          extend maturity
                                                          date to 7/8/19
                                                          in process.

                                                          Note: Agency
                                                          fee unpaid;
                                                          please provide
                                                          an update.




                            .

                                  Credit Agreement        August 31,        Please confirm    Please        See UCC    Please provide    Please confirm if
                                  dated 6/1/09;           2019 as of Am.    none exist.       confirm if    Chart      Accounts/         any.
                                  Amendments: 1-10        10.                                 any.                     DACAs.
       )                          (10th: 8/21/19)                           To be paid off.                                              To be paid off.
                                                          Note: Milbank                       To be paid               To be paid off.
                                  Payoff Letter draft     fees to be paid                     off.
                                  substantially agreed.   at closing.

                                  To be paid off on or
                                  about September 15.




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                                                                                                                                                 43919.00000
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 Borrower      Guarantors         Transaction          Maturity Date     Original stock       Mortgages     UCCs (to   DACAs (if any)           Other Collateral
                                  Documents                              certs &              (to prepare   prepare                             (IP, etc.)
                                  /Amendments                            Promissory           Assignment    UCC-3s)
                                                                         Notes + powers       of
                                                                         (if any) 1           Mortgages)

               N/A                Credit Agreement     April 15, 2019    Please confirm       Please        See UCC    Please provide           Please confirm if
                                  dated 12/6/07;       as of             none exist.          confirm if    Chart      Accounts/                any.
                                  Amendments: 1-14     Amendment 13                           any.                     DACAs.
         )                        (14th: 11/19/15)
                                                       Amendment
                                                       No. 15 to
                                                       extend maturity
                                                       date to 7/8/19
                                                       in process.



                                  AR Credit            April 15, 2019                         Please        See UCC    Regions Bank             Please confirm if
                                  Agreement 3/08/02;   as of                                  confirm if    Chart      DACA                     any.
                                  Amendments: 1-12     Amendment 10          - 5,098.9        any.
                                  (12th: 11/19/15)                       SHARES*                                       dated 7/13/17
                                                       Amendment                                                       among PPAS,
                                                       No. 13 to
                                                       extend maturity                                                          nd
                                                       date to 7/8/19    Please confirm                                Regions Bank
                                                       in process.       shares
                                                                         uncertificated. 1)                            Regions Bank
                                                                         share certificate                             DACA
                                                                         of “
                                                                                                                             dated
                                                                               for 280,000                             7/13/17 among
                                                                         common shares                                 PPAS,
                                                                         (“Ark II CLO                                                   .
                                                                         2001-1, Ltd.” as                              and Regions
                                                                         registered                                    Bank
                                                                         holder), 2) share
                                                                         certificates for                              Regions Bank
                                                                                                                       DACA
                                                                                                                                            )
                            .                                                                                          dated 7/13/17
                                                                                                                       among PPAS,



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 Borrower      Guarantors     Transaction            Maturity Date     Original stock       Mortgages     UCCs (to   DACAs (if any)      Other Collateral
                              Documents                                certs &              (to prepare   prepare                        (IP, etc.)
                              /Amendments                              Promissory           Assignment    UCC-3s)
                                                                       Notes + powers       of
                                                                       (if any) 1           Mortgages)

                                                                       3) share
                                                                       certificates for                                              .
                                                                                                                     and Regions
                                                                                       4)                            Bank
                                                                       share certificates
                                                                                                                     Regions Bank
                                                                                                                     DACA

                                                                              5) share                                           )
                                                                       certificates for                              dated 7/13/17
                                                                                                                     among PPAS,

                                                                            . and 6)                                             and
                                                                       share certificates                            Regions Bank
                                                                       for
                                                                                    .



                              Credit Agreement       June 1, 2017 as   Please confirm       Please        See UCC    Please provide      Please confirm if
                              dated as of 4/17/12;   of Credit         none exist.          confirm if    Chart      Accounts/           any.
                              Amendments: 1-9        Agreement                              any.                     DACAs.
                              (9th: 11/19/15)
                                                     Note: Agency
                                                     fee unpaid;
                                                     please provide
                                                     an update.

                              Credit Agreement       April 15, 2019    Please confirm       Please        See UCC    BBVA DACA           Please confirm if
                              dated 5/15/06;         as of             none exist.          confirm if    Chart      (Exclusive          any.
                              Amendments:1-22        Amendment 21                           any.                     Control) dated
                              (22nd: 11/19/15)                                                                       12/13/17 among
                                                     Amendment
                                                     No. 23 to
                                                     extend maturity                                                     , BBVA




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                                                                                                                                                43919.00000
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 Borrower      Guarantors     Transaction          Maturity Date    Original stock   Mortgages     UCCs (to   DACAs (if any)   Other Collateral
                              Documents                             certs &          (to prepare   prepare                     (IP, etc.)
                              /Amendments                           Promissory       Assignment    UCC-3s)
                                                                    Notes + powers   of
                                                                    (if any) 1       Mortgages)

                                                   date to 7/8/19                                             Compass and
                                                   in process.                                                PPAS.

                                                   Note: Agency
                                                   fee unpaid;
                                                   CFO to provide
                                                   payment plan.

               N/A            AR Credit            April 15, 2019   Please confirm   Please        See UCC    Please provide   Please confirm if
                              Agreement dated as   as of            none exist.      confirm if    Chart      Accounts/        any.
                              of 2/28/03;          Amendment 24                      any.                     DACAs.
                              Amendments 1-24
                              (24th: 11/19/15);    Note: Agency
                              Commitment           fee unpaid;
                              Settlement           please provide
                              Amendment dated      an update.
                              as of 6/6/12




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                                                                                                                                      43919.00000
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Ankura and PPAS as Co-Agents (A-1s)

 Borrower      Guarantors     Transaction         Maturity Date        Original stock   Mortgages     UCCs (to          DACAs (if any)           Other Collateral
                              Documents                                certs &          (to prepare   prepare UCC-                               (IP, etc.)
                              /Amendments                              Promissory       Assignment    3s)
                                                                       Notes + powers   of
                                                                       (if any)         Mortgages)

                              AR Credit           April 15, 2019       Please confirm   Please        PPAS to advise.   BB&T DACA dated          Please confirm if
                              Agreement           as of                none exist.      confirm if                      6/17/19 among            any.
                              8/31/11;            Amendment 15                          any.                            Wells, Ankura,
                              Amendments: 1-                                                                            Borrower and BB&T
                              16 (16th: 5/1/19)   Amendment                                                             for account
                                                  No. 17 to
                                                  extend maturity
                                                  date to 7/8/19 in                                                     BB&T BACA with
                                                  process.                                                              Lockbox dated
                                                                                                                        6/17/19 among
                                                                                                                        Wells, Ankura,
                                                                                                                        Borrower and BB&T
                                                                                                                        for accounts:



                                                                                                                        Please provide status
                                                                                                                        on BAML DACA
                                                                                                                        among Borrower,
                                                                                                                        Wells, Ankura and
                                                                                                                        BAML and Side
                                                                                                                        Letter.

                                                                                                                        Please confirm no
                                                                                                                        other accounts.




               N/A            Credit Agreement    Amendment            Please confirm   Please        See UCC Chart     Wells Fargo DACA         Please confirm if
                              dated 12/15/11      No. 5 to extend      none exist.      confirm if                      (ARAN – 2 Secured        any.
                              Amendments: 1-3;    maturity date to                      any.                            Parties) dated 2/13/12
                                                  the earlier of (a)                                                    among Wells Fargo
                                                  10/9/19 and (b)                                                       Capital Finance,



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                                                                                                                                                       43919.00000
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 Borrower      Guarantors   Transaction          Maturity Date      Original stock   Mortgages     UCCs (to       DACAs (if any)           Other Collateral
                            Documents                               certs &          (to prepare   prepare UCC-                            (IP, etc.)
                            /Amendments                             Promissory       Assignment    3s)
                                                                    Notes + powers   of
                                                                    (if any)         Mortgages)

                            (3rd: 11/19/15), 5   the date that is                                                        , Wells Fargo
                            (5th: 06/28/19)      seven (7)                                                        Bank and PPAS for
                                                 Business Days                                                    accounts
                            Intercreditor        after the
                            Agreement dated      maturity date of
                            2/13/12;             the Wells Credit
                            Intercreditor        Agreement                                                        Assignment and
                            Agreement Letter                                                                      Assumption of Wells
                            Amendment dated                                                                       Fargo DACA
                            06/28/19,                                                                             (ARAN – 2 Secured
                            replacement of                                                                        Parties) to Ankura
                            Wells Fargo with                                                                      dated 6/28/19 among
                            Cortland as                                                                           PPAS, Ankura and
                            successor Agent.                                                                      Wells Fargo Bank (as
                                                                                                                  Bank).

                                                                                                                  Wells Fargo DACA
                                                                                                                  (ARI – 2 Secured
                                                                                                                  Parties) dated 2/13/12
                                                                                                                  among Wells Fargo
                                                                                                                  Capital Finance,
                                                                                                                           , Wells Fargo
                                                                                                                  Bank and PPAS for
                                                                                                                  accounts



                                                                                                                  Assignment and
                                                                                                                  Assumption of Wells
                                                                                                                  Fargo DACA (ARI –
                                                                                                                  2 Secured Parties) to
                                                                                                                  Ankura dated 6/28/19
                                                                                                                  among PPAS,
                                                                                                                  Ankura and Wells




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                                                                                                                                                 43919.00000
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 Borrower      Guarantors   Transaction        Maturity Date       Original stock       Mortgages     UCCs (to        DACAs (if any)        Other Collateral
                            Documents                              certs &              (to prepare   prepare UCC-                          (IP, etc.)
                            /Amendments                            Promissory           Assignment    3s)
                                                                   Notes + powers       of
                                                                   (if any)             Mortgages)

                                                                                                                      Fargo Bank (as
                                                                                                                      Bank).

                                                                                                                      BBVA DACA
                                                                                                                      (Exclusive Control)
                                                                                                                      among         ,
                                                                                                                      BBVA, Cortland and
                                                                                                                      Ankura

                            Credit Agreement   April 15, 2019                           Please        See UCC Chart   Please provide        Please confirm if
                            dated 7/8/05       (as of 55th                              confirm if                    Accounts/ DACAs.      any.
    .                       Amendments: 1-     Amendment)                 ZOHAR         any.
                            55 (55th:                              II - 583
                            11/19/15)          Amendment           SHARES*,
                                               No. 56 to
                                               extend maturity           - ZOHAR
                                               date to 7/8/19 in   II - 583
                                               process.            SHARES*,

                                               Note: Agency                         –
                                               fee unpaid;         80 SHARES*
                                               please provide
                                               an update.

               N/A          Credit Agreement   April 15, 2019      Please confirm       Please        See UCC Chart   Please provide        Please confirm if
                            dated as of        as of               none exist.          confirm if                    Accounts/ DACAs.      any.
                            5/13/11;           Amendment 9                              any.
                            Amendments: 1-9    for Zohar
                            (9th: 2/15/16);    Lenders;
                            Commitment         January 19 2017
                            Settlement         for ARK
                            Amendment dated    Lenders
                            6/6/12
                                               Note: Agency
                                               fee unpaid;




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                                                                                                                                                  43919.00000
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 Borrower      Guarantors   Transaction   Maturity Date    Original stock   Mortgages     UCCs (to       DACAs (if any)   Other Collateral
                            Documents                      certs &          (to prepare   prepare UCC-                    (IP, etc.)
                            /Amendments                    Promissory       Assignment    3s)
                                                           Notes + powers   of
                                                           (if any)         Mortgages)

                                          please provide
                                          an update.




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                                                                                                                                43919.00000
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Non Performing Borrowers (A-2s) 2

    Borrower       Guarantors       Transaction       Maturity         Original stock certs &     Mortgages     UCCs (to        DACAs (if   Other
                                    Documents         Date             Promissory Notes +         (to prepare   prepare UCC-    any)        Collateral (IP,
                                    /Amendments                        powers (if any)            Assignment    3s)                         etc.)
                                                                                                  of
                                                                                                  Mortgages)

                                    First Amended     April 15, 2019          CLASS A             Please        See UCC Chart   Please      Please confirm
                                    and Restated      as of            COMMON - 600,000           confirm if                    provide     if any.
                                    Credit            Amendment        SHARES*                    any.                          Accounts/
                                    Agreement         33                                                                        DACAs.
                                    dated as of                        Please confirm if
                                    5/1/06;                            subsidiaries of Borrower
                                    Amendments 1-                      are certificated.
                                    34 (34th:
                                    11/19/15)

                   N/A              Loan and          April 15, 2019                              Please        See UCC Chart   Please      Please confirm
                                    Security          for Zohar                                   confirm if                    provide     ARK Lender
                                    Agreement         Lenders;         COMM A - 14,500            any.                          Accounts/   no longer party
                                    dated 10/14/98;   January 19,      SHARES*                                                  DACAs.      to LSA.
                                    Amendments 1-     2017 for ARK
                                    3 (3rd:           Lenders as of
                                    11/21/00);        Amendment
                                    Missing           19
                                    Amendment No.
                                    4; 5-19 (5th:
                                    2/22/02; 19th:
                                    2/5/16)

                                    Please provide
                                    Amendment No.
                                    4




2
    Note: Ankura is Co-Agent to the                            facility.


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                                                                                                                                               43919.00000
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 Borrower          Guarantors       Transaction         Maturity         Original stock certs &       Mortgages     UCCs (to        DACAs (if       Other
                                    Documents           Date             Promissory Notes +           (to prepare   prepare UCC-    any)            Collateral (IP,
                                    /Amendments                          powers (if any)              Assignment    3s)                             etc.)
                                                                                                      of
                                                                                                      Mortgages)

                   N/A              Credit              April 15, 2019   Please confirm none exist.   Please        See UCC Chart   Please          Please confirm
                                    Agreement           as of                                         confirm if                    provide         if any.
                                    dated as of         Amendment 3                                   any.                          Accounts/
                                    11/7/08;                                                                                        DACAs.
                                    Amendments: 1-
                                    4 (4th: 11/19/15)

                   Term Loan:       AR Security         April 15, 2019   Please confirm none exist.   Please        See UCC Chart   Please          Please confirm
                                    Agreement           as of 59th                                    confirm if                    provide         ARK Lender
                                    dated as of         Amendment                                     any.                          Accounts/       no longer party
                                    4/1/11              to Term Loan                                                                DACAs.          to LSA or
                                                        and as of LSA                                                                               Term Loan
                                    AR Intercreditor    for Zohar                                                                                   Agreement.
                                    Agreement           Lender
                   LSA:             dated as of         Commitments.
                                    4/7/15; 1st
                                    Amendment           April 15, 2016
                                    9/1/15              for ARK
                                                        Lenders under
                                    Term Loan           LSA.
                                    Agreement
                                    dated as of
                                    11/2/04;
                                    Amendments 1-
                                    59 (59th:
                                    2/5/16);
                                    Commitment
                                    Settlement
                                    Agreement
                                    dated 6/6/12

                                    Amended and         April 15, 2019                          .-    Please        See UCC Chart   Wells Fargo     Second
                                    Restated Loan       as of 3rd AR     ZOHAR II - 3,073             confirm if                    DACA            Amendment
    CO-                             and Security        LSA              SHARES*,                     any.          Missing DC      (ARAN)          and
 AGENT                              Agreement                                               -                       UCC-1 for       dated 9/30/11   Assignment of
                                ,                                        ZOHAR III - 670                                            among           TM Collateral



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                                                                                                                                                       43919.00000
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 Borrower          Guarantors     Transaction         Maturity    Original stock certs &            Mortgages     UCCs (to        DACAs (if       Other
                                  Documents           Date        Promissory Notes +                (to prepare   prepare UCC-    any)            Collateral (IP,
                                  /Amendments                     powers (if any)                   Assignment    3s)                             etc.)
                                                                                                    of
                                                                                                    Mortgages)

                                  dated 6/2/06; no    Amendment   SHARES*,                                                                        Assignment
                                  Amendments.         18                                                                                          and Security
                                                                                                                                                  Agreement
                                  Second                                                                                                          dated 4/25/07
                                  Amended and                                                                                     PPAS and
                                  Restated Loan                                                                   Missing DE      Wells for       Second
                                  and Security                                                                    UCC-1 for       accounts:       Amendment
                            .     Agreement                                                                                       [redacted]      and
                                  dated as of                                                   -                                                 Assignment of
                                  6/28/07;                        ZOHAR II - 256,037                                              Wachovia        Patent
                                  Amendments 1-                   SHARES*                                                         DACA (no        Collateral
                                  4 (4th: 1/16/09);                                                                               notification)   Assignment
                                  Assignment and                  Please confirm no other                                         dated 2/10/09   and Security
                                  Acceptance                      guarantor has certificates.                     Note: Milbank   among           Agreement
                                  dated 12/31/08                                                                  ran a search    Wachovia,       dated 4/25/07
                                                                                                                  for these two         and
                                  MISSING                                                                         UCC-1s and      PPAS for        Please provide
                                  “Credit                                                                                   was   accounts:       Collateral
                                  Agreement as of                                                                 not able to     [redacted]      Assignment.
                                  June 5, 2008”;                                                                  find them.
                                  Amendments 1-                                                                   PPAS please     BBVA            Intellectual
                                  11(11th:                                                                        advise.         Compass         Property
                                  3/24/10) (Only                                                                                  DACA            Security
                                  Zohar                                                                                           (Springing)     Agreement
                                  Lenders)                                                                                        dated 6/29/17   dated 8/2/07
                                                                                                                                  among
                                  Third Amended                                                                                   BBVA and        Amendment
                                  and Restated                                                                                    PPAS for        and
                                  Loan and                                                                                        accounts:       Assignment of
                                  Security                                                                                        [redacted]      Intellectual
                                  Agreement                                                                                                       Property
                                  dated as of                                                                                     BBVA            Security
                                  1/15/09;                                                                                        Compass         Agreement
                                  Amendments 1-                                                                                   DACA            dated 1/15/09
                                  18 (18th: 2/5/16)                                                                               (Exclusive)
                                                                                                                                  dated 7/10/17



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                                                                                                                                                     43919.00000
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 Borrower          Guarantors     Transaction         Maturity         Original stock certs &       Mortgages     UCCs (to        DACAs (if      Other
                                  Documents           Date             Promissory Notes +           (to prepare   prepare UCC-    any)           Collateral (IP,
                                  /Amendments                          powers (if any)              Assignment    3s)                            etc.)
                                                                                                    of
                                                                                                    Mortgages)

                                                                                                                                  among      ,   FY 2018
                                                                                                                                  BBVA and       Financials
                                                                                                                                  PPAS for
                                                                                                                                  accounts:      Jun 19
                                                                                                                                  [redacted]     Financials

                                                                                                                                  Please
                                                                                                                                  provide non-
                                                                                                                                  redacted
                                                                                                                                  DACAs.

                   N/A            Credit              April 15, 2019   Please confirm none exist.   Please        See UCC Chart   Please         Please confirm
                                  Agreement           as of                                         confirm if                    provide        if any.
                                  dated as of         Amendment 5                                   any.                          Accounts/
                                  12/28/09;                                                                                       DACAs.
                                  Amendments: 1-
                                  5 (5th: 11/3/15)

                   N/A            Credit              April 15, 2019   Please confirm none exist.   Please        See UCC Chart   Please         Please confirm
                                  Agreement           as of                                         confirm if                    provide        if any.
                                  dated as of         Amendment                                     any.                          Accounts/
                                  3/5/08;             21                                                                          DACAs.
                                  Amendments:
                                  No. 1 – 22nd
                                  (22nd: 11/19/15)

                   N/A            Credit              September 3,     Please confirm none exist.   Please        See UCC Chart   Please         Please confirm
                                  Agreement           2013 as of                                    confirm if                    provide        if any.
                                  dated as of         Credit                                        any.                          Accounts/
                                  9/3/08;             Agreement                                                                   DACAs.

                                  Amendments:
                                  No. 1-12th (12th:
                                  09/03/08)




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                                                                                                                                                    43919.00000
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 Borrower          Guarantors     Transaction     Maturity         Original stock certs &       Mortgages     UCCs (to        DACAs (if   Other
                                  Documents       Date             Promissory Notes +           (to prepare   prepare UCC-    any)        Collateral (IP,
                                  /Amendments                      powers (if any)              Assignment    3s)                         etc.)
                                                                                                of
                                                                                                Mortgages)

                                  Third Amended   April 15, 2019   Please confirm none exist.   Please        See UCC Chart   Please      Please confirm
                                  and Restated    as of 8/5/05                                  confirm if                    provide     if any.
                                  Credit          Credit                                        any.                          Accounts/
                                  Agreement       Agreement                                                                   DACAs.
                                  dated as of     Amendment
                                  3/30/04;        18
                                  Amendment No.
                                  1: 6/27/05

                                  Credit
                                  Agreement
                                  dated as of
                                  8/5/05;
                                  Amendments 1-
                                  19 (19th:
                                  11/19/15)

                                  Credit          April 15, 2019   Please confirm none exist.   Please        See UCC Chart   Please      Please provide
                                  Agreement       as of                                         confirm if                    provide     if any.
                                  dated as of     Amendment                                     any.                          Accounts/
                                  8/4/03;         24                                                                          DACAs.
                                  Amendments 1-
                                  30 (30th:
                                  11/19/15)




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                                                                                                                                             43919.00000
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 Borrower          Guarantors     Transaction   Maturity   Original stock certs &    Mortgages     UCCs (to       DACAs (if   Other
                                  Documents     Date       Promissory Notes +        (to prepare   prepare UCC-   any)        Collateral (IP,
                                  /Amendments              powers (if any)           Assignment    3s)                        etc.)
                                                                                     of
                                                                                     Mortgages)




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                                                                                                                                 43919.00000
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                                                                                Milbank Draft 8/28/19


  Company Name                 Guarantors/                              State             UCC
                              Credit Parties                                              (Y/N)

                   Paid Off                                  Paid Off                 Paid Off

                                                             Delaware                 Y




                                                             Delaware                 Y



                                                             Delaware (               Y
                                                         ,


                                                             Delaware                 Y
                                          )


                                                 .           Delaware                 N

                                                             Michigan                 Y
                                                             (
                                                                                 ,
                                                     )           .)

                                                             Illinois                 N


                                                             Michigan                 N


                                                             Delaware (               Y




                                                                  )

                                                             Michigan                 N

                                                             Delaware                 N

                                                             Delaware                 N

                                          .                  Michigan                 Y




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                                                                                                  43919.00000
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  Company Name                                            State          UCC
                                                                         (Y/N)

                                                    Michigan         N

                                                    Michigan         Y



                                                    Delaware         Y

                                                    Delaware         Y


                                                    Michigan         N

                                                    Michigan         Y

                                                    Michigan         Y

                                                    Michigan         N

                                                    Delaware         Y


                                                    Delaware         Y

                                                    Delaware         Y

                                                    Delaware         PPAS
                                                                     PLEASE
                                                                     ADVISE

                                                ,   Delaware         PPAS
                                                                     PLEASE
                                                                     ADVISE

                                                    Delaware         PPAS
                                                                     PLEASE
                                                                     ADVISE

                                                    Delaware         PPAS
                                                                     PLEASE
                                                                     ADVISE

                                                    Delaware         PPAS
                                                                     PLEASE
                                                                     ADVISE




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                                                                                 43919.00000
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  Company Name                                            State        UCC
                                                                       (Y/N)

                                                   Delaware          PPAS
                                                                     PLEASE
                                                                     ADVISE

                                                   Delaware          PPAS
                                                                     PLEASE
                                                                     ADVISE

                                                   Delaware          PPAS
                                                                     PLEASE
                                                                     ADVISE

                                                   Delaware          PPAS
                                                                     PLEASE
                                                                     ADVISE

                                                   Delaware          PPAS
                                                                     PLEASE
                                                                     ADVISE

                                                   Delaware          PPAS
                                                                     PLEASE
                                                                     ADVISE

                                                   Delaware          PPAS
                                                                     PLEASE
                                                                     ADVISE

                                                   Delaware          PPAS
                                                                     PLEASE
                                                                     ADVISE



                                                   Delaware          PPAS
                                                                     PLEASE
                                                                     ADVISE

                                                   Delaware          PPAS
                                                                     PLEASE
                                                                     ADVISE

                                                   Delaware          PPAS
                                                                     PLEASE
                                                                     ADVISE




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                                                                               43919.00000
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  Company Name              Guarantors/                       State          UCC
                           Credit Parties                                    (Y/N)

                                                      Delaware           PPAS
                                                                         PLEASE
                                                                         ADVISE

                                                      Delaware           PPAS
                                                                         PLEASE
                                                                         ADVISE

                                                      Delaware           PPAS
                                                                         PLEASE
                                                                         ADVISE

                                                      Delaware           PPAS
                                                                         PLEASE
                                                                         ADVISE

                                                      Delaware           PPAS
                                                                         PLEASE
                                                                         ADVISE

                                                      Delaware           PPAS
                                                                         PLEASE
                                                                         ADVISE

                                                      Delaware           PPAS
                                                                         PLEASE
                                                                         ADVISE

                                                      Delaware           PPAS
                                                                         PLEASE
                                                                         ADVISE

                                                      Texas              Y
              .

                                                                         N

                                                                         N

                                                                         N

                                                                         N

                                                                         N

                                                                         N




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                                                                                     43919.00000
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  Company Name              Guarantors/                      State          UCC
                           Credit Parties                                   (Y/N)

                                                                        N

                                                      Minnesota         Y


                                                      Minnesota         Y

                                                      Minnesota         Y

                                                      Minnesota         Y

                                                      Minnesota         Y

                                                      Minnesota         Y

                                                      Minnesota         Y

                                                      Minnesota         Y

                                                      Minnesota         Y

                                                      Minnesota         N

                                                      Minnesota         Y

                                                      Minnesota         Y

                                                      Minnesota         Y

                                                      Minnesota         Y

                                                      Minnesota         Y

                                                      Minnesota         Y

                                                      Minnesota         Y

                                                                        N


                                                                        N


                                                                        N




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  Company Name              Guarantors/                      State          UCC
                           Credit Parties                                   (Y/N)

                                                                        N


                                                                        N


                                                                        N


                                                                        N


                                                                        N


                                                                        N


                                                                        N


                                                                        N


                                                                        N

                                                                        N

                                                                        N

                                                                        N

                                                                        N

                                                                        N


                                                                        N

                                                                        N


                                                                        N

                                                                        N

                                                                        N




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  Company Name              Guarantors/                       State          UCC
                           Credit Parties                                    (Y/N)

                                                                         N

                                                                         N

                                                                         N

                                                      Minnesota          Y

                                                                         N

                                                                         N

                                                                         N

                                                      Iowa               Y

                                                      New York           Y

                                                      North Carolina     Y


                                                      Minnesota          Y


                                                                         N

                                                                         N


                                                                         N

                                                                         N


                                                                         N

                                                      Louisiana          Y

                                                                         N


                                                      Texas              Y


                                                                         N




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    Company Name                    Guarantors/                         State           UCC
                                   Credit Parties                                       (Y/N)

                                                                                    N


                                                                                    N

                                                                Texas               Y

                                                                Texas               Y


                                                                                    N

                                                                                    N


                                                                Ohio                Y

                                                                                    N

                                                                                    N

                                                                Texas               Y


                                                                Minnesota           Y

                                                                Delaware            Y



                                                               Delaware             Y

                                                                Delaware            Y
        1



                                                                Alabama             Y

    .

                                                                Alabama             Y


                                                                Alabama             Y



1
 List of the guarantors is supposed to be in Exhibit E to the Credit Agreement, but our file on the
system does not have Exhibit E.


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     Company Name              Guarantors/                      State          UCC
                              Credit Parties                                   (Y/N)

                                                         Alabama           Y

                                                                           N


                                                         Alabama           Y


                                                         Alabama           Y


                                                         Alabama           N

                                                         Alabama           N


                                                         Alabama           N


                                                         Alabama           Y


                                                         Delaware          Y



                                                         Delaware          Y

                                                         Delaware          N

                                                         Delaware          Y



                                                         Delaware          Y



                                                         Delaware          Y


                                                         Delaware          Y

                                                         Delaware          Y



2
    UCC says


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     Company Name                    Guarantors/                      State            UCC
                                    Credit Parties                                     (Y/N)

                                                               Delaware            Y

                                                               Delaware            Y


                                                               Delaware            Y

                                                               Delaware            Y

                                                               Delaware            Y


                                                               Delaware            Y


                                                               Delaware            Y



                                                               Delaware            Y


                                                               Arizona             Y



                                                               Delaware            Y

                                                               Delaware            Y


                   )

                                                               Delaware            Y



                                                               Delaware            Y


                                                               Delaware            Y




3
    This entity wasn’t in the Credit Agreement nor in the amendments.
4
    No additional guarantors listed in the Credit Agreement, and none added in amendments.


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    Company Name                   Guarantors/                         State          UCC
                                  Credit Parties                                      (Y/N)

                                                             Delaware             Y


           .                                                 Delaware             Y

                                                             Maryland             Y

                                                             Maryland             Y

                                                             Maryland             Y

                                                             Delaware             Y



      6



                                                             Delaware             Y



      7



                                                             Delaware             Y


                                                             Delaware             Y

                                                             Delaware             Y

                                                             Delaware             Y



                                                             Florida              Y


                                                             Spain                N

                                                             Delaware             N




5
  No additional guarantors listed in the Credit Agreement, and none added in amendments.
6
  No additional guarantors listed in the Credit Agreement, and none added in amendments.
7
  As of closing, there were no guarantors. Amendments do not indicate any addition of
guarantors.


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    Company Name                   Guarantors/                         State          UCC
                                  Credit Parties                                      (Y/N)

                                                             Iceland              N

                                                             Netherlands          Y

                                                             Delaware             Y

                                                             Delaware             Y

                                                             Florida              N

                                                             Delaware             N

                                                             Iceland              N

                                                             Delaware             Y


                                                             Florida              Y




                     9



                                                             Delaware             Y




      10



                                                             Delaware             N

                 )

                                                             United Kingdom       N

                                                             Canada               N




8
  As of closing, there were no guarantors. Amendments do not indicate any addition of
guarantors.
9
  As of closing, there were no guarantors. Amendments do not indicate any addition of
guarantors.
10
   As of closing, there were no guarantors. Amendments do not indicate any addition of
guarantors.


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  Company Name              Guarantors/                      State          UCC
                           Credit Parties                                   (Y/N)

                                                      Delaware          Y

                                                      Delaware          Y


                                                      Delaware          Y

                                                      Delaware          Y

                                                      Delaware          Y

                                                      Delaware          Y


                                                      Delaware          Y

                                                      Delaware          Y

                                                      Delaware          Y

                                                      Delaware          Y


                                                      Delaware          Y

                                                      Delaware          Y


                                                      Delaware          Y

                                                      Delaware          Y


                                                      Delaware          Y




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       Exhibit I
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From:             Harms, Savannah
To:               Brian Stephen; Carolyn Schiff; Kevin Dell
Cc:               Ryan Roy; David Sawyer; Lisa Price; Jay Hopkins; Harris, Jennifer; Harmeyer, Andrew
Subject:          Zohar/Ankura - Update on Collateral Status
Date:             Wednesday, September 11, 2019 4:26:58 PM
Attachments:      Zohar - Agency Transfer Chart of Missing Items (4838-1814-6712-8).docx
                  Zohar - UCC Chart (4834-2089-8724-5).docx
                  DE                                 2011 1828154.pdf


PPAS Team,
Please find attached an updated Collateral Tracker as well as an updated chart of UCCs filed/missing.
As you will see on the Collateral Tracker, we have left a number of items for you to please provide,
questions to answer or items to confirm whether in existence. We would appreciate it if you could
make it a priority to resolve these remaining items. We have been trying to finish the process for
several months and we would all like to have the process complete. We have summarized certain of
questions here:
UCCS: We are very close to being done with UCCs. We need answers to following questions in order
to wrap up this process:
    1. As mentioned in previous emails, there are some guarantors that are guarantors under
       multiple Borrowers. We have filed these Guarantors as Additional Secured Party UCC-3s, but
       they may in fact be Full Assignment entities (Ankura is sole agent). Please let us know ASAP
       which of the UCC-3s filed for                             UCC is attached) should have been Full
       Assignment UCC-3s under                                                                      .
       Brian indicated yesterday that you would have a response on           – this inquiry has been
       outstanding for over 3 weeks.
    2. Under              , there are many Guarantors (about 40) that we are missing UCCs for. We do
       not know the Jurisdictions of these Guarantors. Please provide us with the Jurisdictions so
       that we may run searches, or please provide us with the UCCs for these entities. Alternatively,
       please provide us with an explanation as to why UCCs are not needed for these entities. Each
       of the entities is listed on the attached UCC chart under           .
    3. Please advise as to how you perfected your interest for the following entities:
           a.                                          and Canada                                entities
           b.                                   and Iceland
                       entities
    4. For the Co-Agent UCCs, will you continue to have CT Corp file the continuations going
       forward? Please let us know if you were not planning to so that we may make arrangements.
Transaction Docs: While we have a majority of the Credit Agreements and amendments, we are
missing quite a few pledge agreements and security agreements. Please provide the following docs
(these are all listed on the attached Chart of Missing Items)
    1.         Schedules to Security Agreement; Executed copy of Patent Security Agreement
    2.              Amendment No. 7 to Credit Agreement
    3.           : Security Agreement, TM Collateral Security Agreement, Copyright Collateral Security
       Agreement
    4.              : IP Security Agreement
    5.             Pledge Agreement and Irrevocable Proxy, AR Security Agreement, Trademark
       Collateral Security Agreement and Copyright Collateral Security Agreement
    6.        : AR Security Agreement
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   7.                     : Schedules to Security Agreement
   8.       : First AR Security Agreement, Pledge Agreement and Irrevocable Proxy
   9.         : Amendment No. 4 to Credit Agreement
  10.         : Pledge Agreement
  11.           : ARK II Pledge Agreement, Ark II Limited Recourse Guaranty, Sun Desert Pledge
       Agreement, Sun Desert Limited Recourse Guaranty
  12.       Pledge Agreement
  13.         Patent Security Agreement, TM Security Agreement, Schedules to Security Agreement,
       Pledge Agreement and Irrevocable Proxy
  14.                Collateral Assignment, all docs referenced as “Loan Documents” under LSA
Account Control Agreements and Original Stock Certs: We have some account control agreements
for a handful of Borrowers (                                        ) we are missing Account Control
Agreements for all other Borrowers (including for         , of which we are aware of at least 5 Accounts
that we do not have useful Control Agreements for). For each Borrower please provide these
agreements or confirm there are none. Please note we asked you for all original stock certs held by
USB to be confirmed and all Account Control Agreements. Please note that while we have received
these items for a handful of the Borrowers, we have asked you to please confirm that the list of
Account Control Agreements and the list of Stock Certs held by US Bank is complete from PPAS
perspective.
Assignment of DACAS: With respect to the Account Control Agreements for                              –
we request that PPAS deliver notices of assignment to each of Regions Bank for            n and to BBVA
for          to the new agent. We can send you forms of these assignment notices, unless you prefer
to prepare.
Please let us know if you have any additional questions.
Thank you,
Savannah
Savannah Harms | Milbank | Associate
55 Hudson Yards | New York, NY 10001-2163
T: +1 212.530.5502
sharms@milbank.com | milbank.com
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                                                                                                                                              Updated 9/11/19

A-1 Performing Borrowers; Ankura is SOLE Agent

    Borrower       Guarantors           Transaction           Maturity          Original stock   Mortgages (to    UCCs (to          DACAs (if any)     Other
                                        Documents             Date              certs &          prepare          prepare UCC-                         Collateral (IP,
                                        /Amendments                             Promissory       Assignment of    3s)                                  etc.)
                                                                                Notes + powers   Mortgages)
                                                                                (if any) 1


        2



                                        Credit Agreement      July 8, 2019 as   Please confirm   Please confirm   See UCC Chart     BAML DACA          Patent Security
                                        dated 1/21/10;        of Amendment      none exist.      if any.                            with activation,   Agreement
                                        Amendments: 1-14      14                                                  Searches          multi-lender       dated as of
                                        (14th: 5/1/19)                                                            ordered in DE,    dated 6/18/19      2/9/2012 – not
                                                                                                                  MI and IL for     among              executed.
                                        Pledge Agreement                                                          UCCS of           Borrower, Wells,   Please provide
                                        (AEMX) dated as                                                           missing           Ankura and         executed copy.
                                        of 1/30/2012                                                              guarantors.       BAML for
                                                                                                                                    accounts
                                        Pledge Agreement
                                        (DMX) dated as of
                                        1/30/2012
                                                                                                                                    Please confirm
                                        Third-Ranking                                                                               no other
                                        Stock Pledge                                                                                accounts
                                        Agreement dated as
                                        of 5/4/2012

                                        Security Agreement
                                        dated January 21,
                                        2010 – Please
                                        provide Schedules

                                        AR Credit             July 8, 2019 as   Please confirm                    UCC-3s filed as   Please provide     Please confirm
                                        Agreement dated       of Amendment      none exist.                       Add’l Secured     Accounts/          if any.
                                        8/31/11;              13                                 – Open-End       Party under       DACAs.
                                                                                                 Mortgage,              PPAS TO

1
    *Each* market certificate is held by US Bank as custodian.
2
    The       facility has been removed as it was paid off in full on July 9, 2019.




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 Borrower      Guarantors     Transaction           Maturity          Original stock   Mortgages (to     UCCs (to          DACAs (if any)   Other
                              Documents             Date              certs &          prepare           prepare UCC-                       Collateral (IP,
                              /Amendments                             Promissory       Assignment of     3s)                                etc.)
                                                                      Notes + powers   Mortgages)
                                                                      (if any) 1

                              Amendments: 1-13;                                        Assignment of     ADVISE:
                              (13th: 5/1/19);                                          Leases and        should any
                                                                                       Rents, Security   UCC-3s have
                                                                                       Agreement and     been filed as
                                                                                       Fixture           full assignment
                                                                                       Financing         for        ?
                                                                                       Statement in
                                                                                       favor of PPAS
                                                                                       dated 12/9/05

                                                                                       Please confirm
                                                                                       any others.




                              AR Credit             July 8, 2019 as   Please confirm   Please confirm    UCC-3s filed as   Please provide   Please confirm
                              Agreement dated       of Amendment      none exist.      if any.           Add’l Secured     Accounts/        if any.
                              8/31/11;              13                                                   Party under       DACAs.
                              Amendments:                                                                      ; PPAS TO
                                                                                                         ADVISE:
                              1-13 (13th: 5/1/19)
                                                                                                         should any
                                                                                                         UCC-3s have
                                                                                                         been filed as
                                                                                                         full assignment
                                                                                                         for       ?




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 Borrower      Guarantors     Transaction           Maturity         Original stock     Mortgages (to    UCCs (to       DACAs (if any)   Other
                              Documents             Date             certs &            prepare          prepare UCC-                    Collateral (IP,
                              /Amendments                            Promissory         Assignment of    3s)                             etc.)
                                                                     Notes + powers     Mortgages)
                                                                     (if any) 1




                              Promissory Note       April 15, 2019                      Please confirm   UCCs           Please provide   Please confirm
     tion                     Agreement dated       as of                               if any.          COMPLETE       Accounts/        if any other.
                              2/3/06;               Amendment           - 10,000                                        DACAs
                              Amendments: 1-6       15               SHARES*,                                           refrenced in
                              (6th: 11/14/06);                                                                          Amendment 13.
                              Missing               Amendment
                              Amendment No. 7;      No. 19 to           - 14,750
                              8-18 (8th: 4/25/07;   extend           SHARES*
                              18th: 11/19/15);      maturity date
                              Commitment            to 7/8/19 in     Equity of
                              Settlement            process.
                              Amendment 6/6/12.                                by the
                                                                     Pledgors
                              Please provide                         (uncertificated)
                              Amendment No. 7.
                                                                     Equity of
                              Borrower Pledge
                              Agreement dated as
                              of 2/3/2006                                 by the
                                                                     Pledgors
                                                                     (uncertificated)

                                                                     Please confirm
                                                                     no other
                                                                     guarantor has
                                                                     certificates.




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 Borrower      Guarantors         Transaction            Maturity          Original stock     Mortgages (to     UCCs (to           DACAs (if any)    Other
                                  Documents              Date              certs &            prepare           prepare UCC-                         Collateral (IP,
                                  /Amendments                              Promissory         Assignment of     3s)                                  etc.)
                                                                           Notes + powers     Mortgages)
                                                                           (if any) 1

                                  First AR Credit        April 15, 2019    Pledged            Please confirm    See UCC Chart      Please provide    Please provide
                                  Agreement dated        as of             Security           if any.                              Accounts/         the Trademark
                                  1/11/07;               Amendment         Interests                            Searches           DACAs             Collateral
                                  Amendments: 1-15       14                (uncertificated)                     ordered in MN      referenced in     Security
                                  (15th: 11/19/15)                         for                                  for missing        Amendment 9.      Agreement and
                                                         Amendment                                              Guarantor.                           the Copyright
                                  Shareholder Pledge     No. 16 to                                                                                   Collateral
                                  Agreement dated as     extend                                                                                      Security
                                                                                                                PPAS please
                                  of 2/3/2006            maturity date                                                                               Agreement as
                                                                                                                advise on                            defined in
                                                         to 7/8/19 in
                                                                                                                Jurisdictions of                     Credit
                                  Please provide the     process.
                                                                                                                missing 39                           Agreement.
                                  Security Agreement
                                                                                                                Guarantors so
                                  as defined in Credit
                                  Agreement.                                                                    we may order                         Please confirm
                                                                           Please confirm                       searches.                            if other.
                                                                           no other
                                                                           guarantor has
                                                                           certificates.




                            .

                                  Credit Agreement       August 31,        Please confirm     Please confirm    UCCS               Please provide    Please provide
                                  dated 6/1/09;          2019 as of        none exist.        if any.           COMPLETE           Accounts/         the Intellectual
                                  Amendments: 1-10       Am. 10.                                                                   DACAs.            Property
       )                          (10th: 8/21/19)                          To be paid off.    To be paid off.                                        Security
                                                         Note: Milbank                                                             To be paid off.   Agreement and
                                  Payoff Letter draft    fees to be paid                                                                             any other
                                  substantially          at closing.                                                                                 Collateral
                                  agreed.                                                                                                            Documents as
                                                                                                                                                     defined in



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 Borrower      Guarantors     Transaction            Maturity         Original stock    Mortgages (to    UCCs (to       DACAs (if any)   Other
                              Documents              Date             certs &           prepare          prepare UCC-                    Collateral (IP,
                              /Amendments                             Promissory        Assignment of    3s)                             etc.)
                                                                      Notes + powers    Mortgages)
                                                                      (if any) 1

                              To be paid off in                                                                                          Credit
                              October.                                                                                                   Agreement.

                              Security Agreement                                                                                         To be paid off.
                              dated as of
                              6/1/2009;
                              Amendment 1
                              dated as of
                              6/1/2009

               N/A            Credit Agreement       April 15, 2019   Received copy     Real Property    UCCs           Please provide   Copyright
                              dated 12/6/07;         as of            of Stock          Mortgage in      COMPLETE       Accounts/        Collateral
                              Amendments: 1-14       Amendment        Transfer Power    favor of PPAS                   DACAs.           Security
         )                    (14th: 11/19/15)       13               of Attorney       dated as of                                      Agreement
                                                                      transfering       12/6/2007                                        dated as of
                              Security Agreement     Amendment        4,345 common                                                       12/6/2007
                              dated as of            No. 15 to        shares. Please    Please confirm
                              12/6/2007              extend           provide us with   any others.                                      Milbank to file
                                                     maturity date    original Stock                                                     court order.
                              Pledge Agreement       to 7/8/19 in     Transfer Power
                              and Irrevocable        process.         of Attorney.                                                       Please confirm
                              Proxy dated as of                                                                                          if any Patent or
                              12/6/2007                                                                                                  TM.

                              Investor Pledge
                              Agreement dated as
                              of 12/6/2007

                              Closing Date
                              Certificate dated as
                              of 12/6/2007

                              Reimbursement
                              Agreement and
                              Pledge of Cash




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 Borrower      Guarantors     Transaction           Maturity   Original stock   Mortgages (to   UCCs (to       DACAs (if any)   Other
                              Documents             Date       certs &          prepare         prepare UCC-                    Collateral (IP,
                              /Amendments                      Promissory       Assignment of   3s)                             etc.)
                                                               Notes + powers   Mortgages)
                                                               (if any) 1

                              Collateral dated as
                              of 12/6/2007

                              Funding Notice
                              dated as 12/6/2007

                              Payoff Letter from
                              Nova Scotia to

                              dated as of
                              12/6/2007

                              Good Standing
                              Certificates dated
                              as of 12/3/2007

                              Certificate of the
                              Assistant Secretary
                              of
                                   dated as of
                              12/6/2007

                              Certificate of the
                              Assistant Secretary
                              of

                              dated as of
                              12/6/2007

                              Resolution of
                                        dated as
                              of 12/6/2007




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 Borrower      Guarantors         Transaction           Maturity         Original stock   Mortgages (to    UCCs (to        DACAs (if any)            Other
                                  Documents             Date             certs &          prepare          prepare UCC-                              Collateral (IP,
                                  /Amendments                            Promissory       Assignment of    3s)                                       etc.)
                                                                         Notes + powers   Mortgages)
                                                                         (if any) 1

                                  Lien searches dated
                                  as of 11/28/2007

                                  Certificated of
                                  Insurance dated as
                                  of 11/30/2007

                                  Release of CIT
                                  dated as of
                                  12/27/2007

                                  AR Credit             April 15, 2019                    Please confirm   See UCC Chart   Regions Bank              Please confirm
                                  Agreement 3/08/02;    as of                             if any.                          DACA                      if any.
                                  Amendments: 1-12      Amendment           A - 5,098.9
                                  (12th: 11/19/15)      10               SHARES*                                                   ) dated
                                                                                                                           7/13/17 among
                                  Amendment to          Amendment        Please confirm                                    PPAS,
                                  Borrower Security     No. 13 to        no other
                                  Agreement dated as    extend           guarantor has                                     and Regions
                                  of 12/29/2004         maturity date    certificates.                                     Bank
                                                        to 7/8/19 in
                                  Amendment to          process.                                                           Regions Bank
                                  Subsidiary Security                                                                      DACA
                                  Agreement dated as
                                  of 12/29/2004                                                                                  dated
                                                                                                                           7/13/17 among
                                                                                                                           PPAS,
                                                                                                                                             .
                                                                                                                           and Regions
                                                                                                                           Bank

                                                                                                                           Regions Bank
                                                                                                                           DACA
                                                                                                                                                 )
                            .                                                                                              dated 7/13/17
                                                                                                                           among PPAS,



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 Borrower      Guarantors     Transaction            Maturity         Original stock   Mortgages (to      UCCs (to          DACAs (if any)      Other
                              Documents              Date             certs &          prepare            prepare UCC-                          Collateral (IP,
                              /Amendments                             Promissory       Assignment of      3s)                                   etc.)
                                                                      Notes + powers   Mortgages)
                                                                      (if any) 1


                                                                                                                                            .
                                                                                                                            and Regions
                                                                                                                            Bank

                                                                                                                            Regions Bank
                                                                                                                            DACA

                                                                                                                                        )
                                                                                                                            dated 7/13/17
                                                                                                                            among PPAS,

                                                                                                                                        and
                                                                                                                            Regions Bank

                                                                                                                            Please confirm
                                                                                                                            no other
                                                                                                                            accounts.

                              Credit Agreement       June 1, 2017     Please confirm   Please provide     UCC-3 filed as    Please provide      Please confirm
                              dated as of 4/17/12;   as of Credit     none exist.      Mortgages (if      Add’l Secured     Accounts/           if any.
                              Amendments: 1-9        Agreement                         any) as            Party under       DACAs.
                              (9th: 11/19/15)                                          refrenced in the           ; PPAS
                                                     Note: Agency                      Credit             TO ADVISE:
                              Security Agreement     fee unpaid;                       Agreement;         should UCC-3
                              dated as of            please provide                    Please confirm     have been filed
                              4/17/2012              an update.                        if any.            as full
                                                                                                          assignment for



                              Credit Agreement       April 15, 2019   Please confirm   Please confirm     See UCC Chart     BBVA DACA           Please provide
                              dated 5/15/06;         as of            none exist.      if any.                              (Exclusive          the Trademark
                              Amendments:1-22        Amendment                                            Searches          Control) dated      Collateral
                              (22nd: 11/19/15)       21                                                   ordered in DE     12/13/17 among      Security
                                                                                                          and TX for                            Agreement and



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 Borrower      Guarantors     Transaction          Maturity         Original stock   Mortgages (to    UCCs (to       DACAs (if any)   Other
                              Documents            Date             certs &          prepare          prepare UCC-                    Collateral (IP,
                              /Amendments                           Promissory       Assignment of    3s)                             etc.)
                                                                    Notes + powers   Mortgages)
                                                                    (if any) 1

                              Loan and Security    Amendment                                          missing                         the Copyright
                              Agreement dated as   No. 23 to                                          Guarantors.        BBVA         Collateral
                              of 2/23/2012         extend                                                            Compass and      Security
                                                   maturity date                                                     PPAS.            Agreement as
                              Please provide the   to 7/8/19 in                                                                       referenced in
                              Pledge Agreement     process.                                                          Please confirm   the Credit
                              and Irrevocable                                                                        no other         Agreement.
                              Proxy as refrenced   Note: Agency                                                      accounts.        Please confirm
                              in the Credit        fee unpaid;                                                                        if any other IP.
                              Agreement.           CFO to
                                                   provide
                              Please provide the   payment plan.
                              Amended and
                              Restated Security
                              Agreement as
                              refrenced in the
                              Credit Agreement.

               N/A            AR Credit            April 15, 2019   Please confirm   Please confirm   UCCS           Please provide   Please confirm
                              Agreement dated as   as of            none exist.      if any.          COMPLETE       Accounts/        if any.
                              of 2/28/03;          Amendment                                                         DACAs.
                              Amendments 1-24      24
                              (24th: 11/19/15);
                              Commitment           Note: Agency
                              Settlement           fee unpaid;
                              Amendment dated      please provide
                              as of 6/6/12         an update.

                              A&R Subordinated
                              Security Agreement
                              (AIP-ES, Inc as
                              Secured Party)
                              dated as of
                              5/25/2011




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 Borrower      Guarantors      Transaction           Maturity          Original stock    Mortgages (to       UCCs (to          DACAs (if any)   Other
                               Documents             Date              certs &           prepare             prepare UCC-                       Collateral (IP,
                               /Amendments                             Promissory        Assignment of       3s)                                etc.)
                                                                       Notes + powers    Mortgages)
                                                                       (if any) 1

                               Please provide the
                               Amended and
                               Restated Security
                               Agreement as
                               referenced in the
                               Credit Agreement.




A-1 Performing Borrowers – Ankura and PPAS are CO-AGENTS

 Borrower      Guarantors     Transaction           Maturity Date      Original stock    Mortgages (to       UCCs (to          DACAs (if any)   Other
                              Documents                                certs &           prepare             prepare UCC-                       Collateral (IP,
                              /Amendments                              Promissory        Assignment of       3s)                                etc.)
                                                                       Notes +           Mortgages)
                                                                       powers (if any)

                              AR Credit             April 15, 2019     Please confirm    Please confirm if   UCC-3s filed      BB&T DACA        Please confirm
                              Agreement             as of              none exist.       any.                as Add’l          dated 6/17/19    if any.
                              8/31/11;              Amendment 15                                             Secured Party     among Wells,
                              Amendments: 1-16                                                               under       ;     Ankura,
                              (16th: 5/1/19)        Amendment No.                                            PPAS TO           Borrower and
                                                    17 to extend                                             ADVISE:           BB&T for
                              A&R Security          maturity date to                                         should any        accounts
                              Agreement dated       7/8/19 in                                                UCC-3s have
                              as of 8/31/2011       process.                                                 been filed as
                                                                                                             full assignment




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 Borrower      Guarantors    Transaction          Maturity Date        Original stock    Mortgages (to       UCCs (to       DACAs (if any)     Other
                             Documents                                 certs &           prepare             prepare UCC-                      Collateral (IP,
                             /Amendments                               Promissory        Assignment of       3s)                               etc.)
                                                                       Notes +           Mortgages)
                                                                       powers (if any)

                                                                                                             for      or    BB&T BACA
                                                                                                             GRS?           with Lockbox
                                                                                                                            dated 6/17/19
                                                                                                             No UCC-3       among Wells,
                                                                                                             Filed for      Ankura,
                                                                                                                            Borrower and
                                                                                                                            BB&T for
                                                                                                                            account
                                                                                                             until PPAS
                                                                                                             Advises.




               N/A           Credit Agreement     Amendment No.        None listed on    Please confirm if   UCCS           Wells Fargo        Please confirm
                             dated 12/15/11       5 to extend          Security          any.                CCOMPLETE      DACA (ARAN         if any.
                             Amendments: 1-3;     maturity date to     Agreement.                                           – 2 Secured
                             (3rd: 11/19/15), 5   the earlier of (a)                                                        Parties) dated
                             (5th: 06/28/19)      10/9/19 and (b)                                                           2/13/12 among
                                                  the date that is                                                          Wells Fargo
                             Intercreditor        seven (7)                                                                 Capital Finance,
                             Agreement dated      Business Days                                                                      , Wells
                             2/13/12;             after the                                                                 Fargo Bank and
                             Intercreditor        maturity date of                                                          PPAS for
                             Agreement Letter     the Wells Credit                                                          accounts
                             Amendment dated      Agreement
                             06/28/19,
                             replacement of
                             Wells Fargo with
                             Cortland as                                                                                    Assignment and
                             successor Agent.                                                                               Assumption of
                                                                                                                            Wells Fargo
                             Security                                                                                       DACA (ARAN
                             Agreement dated                                                                                – 2 Secured
                             as of 12/15/2011                                                                               Parties) to
                                                                                                                            Ankura dated



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 Borrower      Guarantors    Transaction   Maturity Date   Original stock    Mortgages (to   UCCs (to       DACAs (if any)     Other
                             Documents                     certs &           prepare         prepare UCC-                      Collateral (IP,
                             /Amendments                   Promissory        Assignment of   3s)                               etc.)
                                                           Notes +           Mortgages)
                                                           powers (if any)

                                                                                                            6/28/19 among
                                                                                                            PPAS, Ankura
                                                                                                            and Wells Fargo
                                                                                                            Bank (as Bank).

                                                                                                            Wells Fargo
                                                                                                            DACA (ARI – 2
                                                                                                            Secured Parties)
                                                                                                            dated 2/13/12
                                                                                                            among Wells
                                                                                                            Fargo Capital
                                                                                                            Finance,
                                                                                                                    , Wells
                                                                                                            Fargo Bank and
                                                                                                            PPAS for
                                                                                                            accounts




                                                                                                            Assignment and
                                                                                                            Assumption of
                                                                                                            Wells Fargo
                                                                                                            DACA (ARI – 2
                                                                                                            Secured Parties)
                                                                                                            to Ankura dated
                                                                                                            6/28/19 among
                                                                                                            PPAS, Ankura
                                                                                                            and Wells Fargo
                                                                                                            Bank (as Bank).

                                                                                                            BBVA DACA
                                                                                                            dated 8/30/19
                                                                                                            (Exclusive
                                                                                                            Control) among
                                                                                                                    , BBVA,



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 Borrower      Guarantors    Transaction        Maturity Date      Original stock    Mortgages (to       UCCs (to       DACAs (if any)   Other
                             Documents                             certs &           prepare             prepare UCC-                    Collateral (IP,
                             /Amendments                           Promissory        Assignment of       3s)                             etc.)
                                                                   Notes +           Mortgages)
                                                                   powers (if any)

                                                                                                                        Cortland and
                                                                                                                        Ankura for
                                                                                                                        account:


                                                                                                                        BBVA DACA
                                                                                                                        dated 8/30/19
                                                                                                                        (Springing
                                                                                                                        Control) among
                                                                                                                                 BBVA,
                                                                                                                        Cortland and
                                                                                                                        Ankura for
                                                                                                                        account:


                             Credit Agreement   April 15, 2019                       Please confirm if   UCCS           Please provide   Patent
                             dated 7/8/05       (as of 55th                          any.                COMPLETE       Accounts/        Collateral
                             Amendments: 1-55   Amendment)               -                                              DACAs.           Security
                             (55th: 11/19/15)                      ZOHAR II -                                                            Agreement
                                                Amendment No.      583 SHARES*,                                                          dated as of
                             Security           56 to extend                                                                             7/8/2005
                             Agreement dated    maturity date to
                             as of 7/8/2005;    7/8/19 in                -                                                               Trademark
                             Amendment 1        process.           ZOHAR II -                                                            Collateral
                             dated as of                           583 SHARES*,                                                          Security
                             5/25/2012                                                                                                   Agreement
                                                                                                                                         dated as of
                             Please provide                                                                                              7/8/2005
                             Schedules to the                      SHARES – 80
                             Security                              SHARES*
                             Agreement
                                                                   Please confirm
                                                                   no other
                                                                   guarantor has
                                                                   certificates.




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 Borrower      Guarantors    Transaction        Maturity Date     Original stock    Mortgages (to      UCCs (to          DACAs (if any)   Other
                             Documents                            certs &           prepare            prepare UCC-                       Collateral (IP,
                             /Amendments                          Promissory        Assignment of      3s)                                etc.)
                                                                  Notes +           Mortgages)
                                                                  powers (if any)

               N/A           Credit Agreement   April 15, 2019    Please confirm    Please provide     UCC-3 Filed as    Please provide   Please confirm
                             dated as of        as of             none exist.       the Mortgage,      Add’l Secured     Accounts/        if any.
                             5/13/11;           Amendment 9                         Assignment of      Party: PPAS       DACAs.
                             Amendments: 1-9    for Zohar                           Rents, Security    TO ADVISE:
                             (9th: 2/15/16);    Lenders;                            Agreement and      Should UCC-3
                             Commitment         January 19 2017                     Fixture Filing     have been filed
                             Settlement         for ARK                             dated as of        as Full
                             Amendment dated    Lenders                             5/13/11 as         Assignment
                             6/6/12                                                 refrenced in the   under
                                                Note: Agency                        Credit
                             Security           fee unpaid;                         Agreement.
                             Agreement dated    please provide
                             as of 5/31/2011;   an update.
                             Amendment 1
                             dated as of
                             4/17/2012




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A-2 Non-Performing Borrowers – Ankura is SOLE AGENT

 Borrower          Guarantors    Transaction           Maturity Date       Original stock    Mortgages (to       UCCs (to       DACAs (if any)   Other
                                 Documents                                 certs &           prepare             prepare UCC-                    Collateral (IP,
                                 /Amendments                               Promissory        Assignment of       3s)                             etc.)
                                                                           Notes +           Mortgages)
                                                                           powers (if any)

                                 First Amended         April 15, 2019 as                     Please confirm if   UCCS           Please provide   Patent Security
                                 and Restated          of Amendment        CLASS A           any.                COMPLETE       Accounts/        Agreement
                                 Credit Agreement      33                  COMMON -                                             DACAs.           dated as of
                                 dated as of 5/1/06;                       600,000                                                               10/22/2010
                                 Amendments 1-34                           SHARES*
                                 (34th: 11/19/15)                                                                                                Trademark
                                                                           Please confirm                                                        Security
                                 Please provide the                        if subsidiaries                                                       Agreement
                                 First Amended                             of Borrower are                                                       dated as of
                                 and Restated                              certificated.                                                         10/18/2010
                                 Security
                                 Agreement and                                                                                                   Please confirm
                                 the Pledge                                                                                                      no Copyrights
                                 Agreement and                                                                                                   exist
                                 Irrevocable Proxy
                                 as refrenced in the
                                 Credit Agreement.

                   N/A           Loan and Security     April 15, 2019                        Please confirm if   UCCS           Please provide   Please confirm
                                 Agreement dated       for Zohar                             any.                COMPLETE       Accounts/        if any.
                                 10/14/98;             Lenders; January         COMM                                            DACAs.
    .                            Amendments 1-3        19, 2017 for        A - 14,500
                                 (3rd: 11/21/00);      ARK Lenders as      SHARES*
                                 Missing               of Amendment
                                 Amendment No.         19                  Please confirm
                                 4; 5-19 (5th:                             no other
                                 2/22/02; 19th:                            guarantor has
                                 2/5/16)                                   certificates.

                                 Please provide
                                 Amendment No. 4




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 Borrower          Guarantors        Transaction        Maturity Date       Original stock    Mortgages (to       UCCs (to          DACAs (if any)   Other
                                     Documents                              certs &           prepare             prepare UCC-                       Collateral (IP,
                                     /Amendments                            Promissory        Assignment of       3s)                                etc.)
                                                                            Notes +           Mortgages)
                                                                            powers (if any)

                   N/A               Credit Agreement   April 15, 2019 as   Please confirm    Please provide      UCCS              Please provide   Intellectual
                                     dated as of        of Amendment 3      none exist.       the Senior Deed     COMPLETE          Accounts/        Property
                                     11/7/08;                                                 of Trust,                             DACAs.           Security
                                     Amendments: 1-4                                          Assignment of                                          Agreement
                                     (4th: 11/19/15)                                          Rents, Security                                        (Patents) dated
                                                                                              Agreement and                                          as of 2/19/2013
                                     Security                                                 Fixture Filing,
                                     Agreement dated                                          dated as of                                            Intellectual
                                     as of 11/7/2008                                          11/7/08, as                                            Property
                                                                                              refrenced in the                                       Security
                                                                                              Credit                                                 Agreement
                                                                                              Agreement.                                             (Trademarks)
                                                                                                                                                     dated as of
                                                                                                                                                     12/22/2011

                                                                                                                                                     Patent Security
                                                                                                                                                     Agreement
                                                                                                                                                     (             )
                                                                                                                                                     dated as of
                                                                                                                                                     7/28/2012

                                                                                                                                                     Patent Security
                                                                                                                                                     Agreement
                                                                                                                                                     (              )
                                                                                                                                                     dated as of
                                                                                                                                                     10/25/2012

                   Term Loan:        Term Loan          April 15, 2019 as   Please confirm    Please confirm if   See UCC Chart     Please provide   Please confirm
                                     Agreement dated    of 59th             none exist.       any.                                  Accounts/        if any.
                                     as of 11/2/04;     Amendment to                                              Final UCC-3s      DACAs.
                                     Amendments 1-59    Term Loan and                                             Filed 9/11/19 –
                                     (59th: 2/5/16);    as of LSA for                                             otherwise
                                .    Commitment         Zohar Lender                                              complete
                                     Settlement         Commitments.




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 Borrower          Guarantors    Transaction          Maturity Date   Original stock    Mortgages (to   UCCs (to       DACAs (if any)   Other
                                 Documents                            certs &           prepare         prepare UCC-                    Collateral (IP,
                                 /Amendments                          Promissory        Assignment of   3s)                             etc.)
                                                                      Notes +           Mortgages)
                                                                      powers (if any)

                   LSA:          Agreement dated
                                 6/6/12

                                 Loan and Security
                                 Agreement dated
                                 as of 01/31/07
                                 (Wachovia)

                                 AR Security
                                 Agreement dated
                                 as of 4/1/11

                                 AR Intercreditor
                                 Agreement dated
                                 as of 4/7/15; 1st
                                 Amendment
                                 9/1/15

                                 Amended and
                                 Restated
                                 Subordinated
                                 Security
                                 Agreement (Zohar
                                 I) dated as of
                                 5/25/2011

                                 Amended and
                                 Restated
                                 Subordinated
                                 Security
                                 Agreement (Zohar
                                 II) dated as of
                                 5/25/2011

                                 Please provide the
                                 Pledge Agreement



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 Borrower          Guarantors    Transaction           Maturity Date       Original stock    Mortgages (to       UCCs (to       DACAs (if any)   Other
                                 Documents                                 certs &           prepare             prepare UCC-                    Collateral (IP,
                                 /Amendments                               Promissory        Assignment of       3s)                             etc.)
                                                                           Notes +           Mortgages)
                                                                           powers (if any)

                                 dated as of
                                 11/8/04 refrenced
                                 in the Term Loan
                                 Agreement.

                   N/A           Credit Agreement      April 15, 2019 as   Please confirm    Please confirm if   UCCS           Please provide   Subordinated
                                 dated as of           of Amendment 5      none exist.       any.                COMPLETE       Accounts/        IP Security
                                 12/28/09;                                                                                      DACAs.           Agreement in
                                 Amendments: 1-5                                                                                                 favor of Zohar
                                 (5th: 11/3/15)                                                                                                  II 2005-1,
                                                                                                                                                 Limited dated
                                 Security                                                                                                        as of
                                 Agreement dated                                                                                                 12/28/2009
                                 as of 12/28/2009

                                 Subordinated
                                 Security
                                 Agreement dated
                                 as of 12/28/2009

                   N/A           Credit Agreement      April 15, 2019 as   Please confirm    Please confirm if   UCCS           Please provide   IP Security
                                 dated as of 3/5/08;   of Amendment        none exist.       any.                COMPLETE       Accounts/        Agreement in
                                 Amendments: No.       21                                                                       DACAs.           favor of PPAS
                                 1 – 22nd (22nd:                                                                                                 dated as of
                                 11/19/15)                                                                                                       3/5/2008

                                 Security
                                 Agreement dated
                                 as of 3/5/2008

                                 Please provide the
                                 Ark II Pledge
                                 Agreement, the
                                 Ark II Limited
                                 Recourse




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                                                                                                                                                     43919.00000
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 Borrower          Guarantors    Transaction           Maturity Date       Original stock    Mortgages (to       UCCs (to       DACAs (if any)   Other
                                 Documents                                 certs &           prepare             prepare UCC-                    Collateral (IP,
                                 /Amendments                               Promissory        Assignment of       3s)                             etc.)
                                                                           Notes +           Mortgages)
                                                                           powers (if any)

                                 Guaranty, the Sun
                                 Desert Pledge
                                 Agreement and
                                 the Sun Desert
                                 Limited Recourse
                                 Guaranty, as
                                 referenced in the
                                 Credit Agreement

                   N/A           Credit Agreement      September 3,        Please confirm    Please confirm if   UCCS           Please provide   IP Security
                                 dated as of 9/3/08;   2013 as of Credit   none exist.       any.                COMPLETE       Accounts/        Agreement
                                                       Agreement                                                                DACAs.           (First Lien)
                                 Amendments: No.                                                                                                 dated as of
                                 1-12th (12th:                                                                                                   9/3/2008
                                 09/03/08)
                                                                                                                                                 IP Security
                                 Security                                                                                                        Agreement
                                 Agreement (First                                                                                                (Second Lien)
                                 Lien) dated as of                                                                                               dated as of
                                 9/3/2008                                                                                                        9/3/2008

                                 Security                                                                                                        No Copyrights
                                 Agreement                                                                                                       listed in IP
                                 (Second Lien)                                                                                                   Security
                                 dated as of                                                                                                     Agreement.
                                 9/3/2008

                                 Please provide
                                 Pledge
                                 Agreements as
                                 referenced in the
                                 Credit Agreement.




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 Borrower          Guarantors    Transaction           Maturity Date       Original stock    Mortgages (to       UCCs (to          DACAs (if any)      Other
                                 Documents                                 certs &           prepare             prepare UCC-                          Collateral (IP,
                                 /Amendments                               Promissory        Assignment of       3s)                                   etc.)
                                                                           Notes +           Mortgages)
                                                                           powers (if any)

                                 Third Amended         April 15, 2019 as   Please confirm    Please confirm if   See UCC Chart     Please provide      Please provide
                                 and Restated          of 8/5/05 Credit    none exist.       any.                                  Accounts/           the Patent
                                 Credit Agreement      Agreement                                                 Searches          DACAs;              Security
                                 dated as of           Amendment 18                                              ordered in DE     Specifically,       Agreement and
                                 3/30/04;                                                                        and DC for        accounts listed     the Trademark
                                 Amendment No.                                                                   UCCs of           in Schedule VII     Security
                                 1: 6/27/05                                                                      missing           to Security         Agreement, as
                                                                                                                 Guarantors.       Agreement.          referenced in
                                 Credit Agreement                                                                                                      the Credit
                                 dated as of 8/5/05;                                                                                                   Agreement
                                                                                                                 PPAS please                           dated 8/5/05.
                                 Amendments 1-19
                                                                                                                 advise: how
                                 (19th: 11/19/15)
                                                                                                                 did you perfect                       Please provide
                                                                                                                 against UK                            Intellectual
                                 Security
                                 Agreement dated                                                                 and Canada                            Property
                                 as of 8/5/2005                                                                  entity so we                          Collateral as
                                 Please provide the                                                              may search                            referenced in
                                 schedules                                                                       there?                                the Security
                                                                                                                                                       Agreement.
                                 Please provide the
                                 Pledge Agreement
                                 and Irrevocable
                                 Proxy dated as of
                                 8/5/05, as
                                 referenced in the
                                 Credit Agreement
                                 dated the same

                                 Credit Agreement      April 15, 2019 as   Entity in         Entity in Chapter   Entity in         Entity in Chapter   Entity in
                                 dated as of 8/4/03;   of Amendment        Chapter 7;        7; Filing           Chapter 7;        7; Filing           Chapter 7;
                                 Amendments 1-30       24                  Filing            Amended Proof       Filing            Amended Proof       Filing
                                 (30th: 11/19/15)                          Amended Proof     of Claim TBD        Amended Proof     of Claim TBD        Amended Proof
                                                                           of Claim TBD                          of Claim TBD                          of Claim TBD




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 Borrower          Guarantors    Transaction        Maturity Date   Original stock    Mortgages (to   UCCs (to       DACAs (if any)   Other
                                 Documents                          certs &           prepare         prepare UCC-                    Collateral (IP,
                                 /Amendments                        Promissory        Assignment of   3s)                             etc.)
                                                                    Notes +           Mortgages)
                                                                    powers (if any)

                                 Pledge Agreement
                                 dated as of
                                 8/4/2003

                                 Security
                                 Agreement dated
                                 as of 8/4/2003




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A-2 Non-Performing Borrowers; Ankura and PPAS are CO-AGENTS

 Borrower      Guarantors        Transaction         Maturity Date          Original stock    Mortgages (to       UCCs (to          DACAs (if any)    Other
                                 Documents                                  certs &           prepare             prepare UCC-                        Collateral (IP,
                                 /Amendments                                Promissory        Assignment of       3s)                                 etc.)
                                                                            Notes +           Mortgages)
                                                                            powers (if any)

                                 Amended and         April 15, 2019 as of                     Please confirm if   See UCC Chart     Wells Fargo       Second
                                 Restated Loan       3rd AR LSA                               any.                                  DACA (ARAN)       Amendment
                                 and Security        Amendment 18                                                 Ordered           dated 9/30/11     and
                                 Agreement                                                                        Searches in       among             Assignment of
                                 dated 6/2/06;                                                                    Florida and DC                      TM Collateral
 *CO-                            no                                                                               for UCCs of                         Assignment
 AGENT                           Amendments.                                                                      missing                      PPAS   and Security
                                                                                                                  Guarantors.       and Wells for     Agreement
                                 Second                                                                                             accounts:         dated 4/25/07
                                 Amended and                                                                      PPAS please       [redacted]
                                 Restated Loan                                                                    advise how you                      Second
                                 and Security                                                                     perfected         Wachovia          Amendment
                                 Agreement                                                                        against Spain     DACA (no          and
                                 dated as of                                                                      and Iceland       notification)     Assignment of
                            .    6/28/07;                                                                         entities so we    dated 2/10/09     Patent
                                 Amendments 1-                                                                    may order         among             Collateral
                                 4 (4th: 1/16/09);                                                                searches there.   Wachovia,         Assignment
                                 Assignment and                                                                                     and PPAS for      and Security
                                 Acceptance                                                                       *Please note: 3   accounts:         Agreement
                                 dated 12/31/08                                                                   UCCS (in DC,      [redacted]        dated 4/25/07
                                                                                                                  PA and DE)
                                 Missing “Credit                                                                  expire            BBVA Compass      Please provide
                                 Agreement as                                                                     September         DACA              Collateral
                                 of June 5,                                                                       2019 – please     (Springing)       Assignment.
                                 2008”;                                                                           advise if CT is   dated 6/29/17
                                 Amendments 1-                                                                    continuing        among             Intellectual
                                 11(11th:                                                                         these             BBVA and          Property
                                 3/24/10) (Only                             SHARES*                                                 PPAS for          Security
                                 Zohar Lenders                                                                                      accounts:         Agreement
                                 – Wells Fargo                              Please confirm                                          [redacted]        dated 8/2/07
                                 Foothill)                                  no other
                                                                            guarantor has                                           BBVA Compass      Amendment
                                 Third Amended                              certificates.                                           DACA              and
                                 and Restated                                                                                       (Exclusive)       Assignment of



                                                                             - 22 -
4838-1814-6712v8
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                   Case 18-10512-KBO   Doc 1918-1   Filed 09/04/20   Page 252 of 370



                    Loan and                                                           dated 7/10/17    Intellectual
                    Security                                                           among       ,    Property
                    Agreement                                                          BBVA and         Security
                    dated as of                                                        PPAS for         Agreement
                    1/15/09;                                                           accounts:        dated 1/15/09
                    Amendments 1-                                                      [redacted]
                    18 (18th:                                                                           FY 2018
                    2/5/16)                                                            Please provide   Financials
                                                                                       non-redacted
                    Subordinated                                                       DACAs.           Jun 19
                    Security                                                                            Financials
                    Agreements
                    dated as of                                                                         Milbank to file
                    11/02/2012                                                                          Copyright
                                                                                                        Order
                    Please provide
                    all docs                                                                            Milbank filed
                    referenced as                                                                       Trademark
                    “Loan                                                                               Order on
                    Documents” in                                                                       9/11/19
                    Second A&R
                    Loan and                                                                            All Patents
                    Security                                                                            expired.
                    Agreement
                    dated 06/28/07




                                               - 23 -
4838-1814-6712v8
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                            Case 18-10512-KBO            Doc 1918-1           Filed 09/04/20     Page 253 of 370
                                                                                                                              UPDATED 9/11/19
                                                              ZOHAR-ANKURA
                                                             UCC STATUS CHART

                                                                        KEY
                                                   Incomplete/                      UCC Lapses
                                                                       Complete
                                                  Please Advise                     this Month

              Facility   Debtor      Filing            Original File       Most-Recent       Assignment File   Deadline for     Notes
                                  Jurisdiction         Date and No.        Continuation       Date and No.        Next
                                                                         File Date and No.                     Continuation

                                    Delaware
                                   Secretary of
                                      State




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43919.00000
              Case 18-10512-KBO      Doc 1918-1        Filed 09/04/20     Page 254 of 370
Facility   Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                   File Date and No.                     Continuation
                                                                                            Filing




                                     SEARCH
                                    ORDERED
                                      9/9/19


                                     SEARCH
                                    ORDERED
                                      9/9/19


                                     SEARCH
                                    ORDERED
                                      9/9/19




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              Case 18-10512-KBO      Doc 1918-1        Filed 09/04/20     Page 255 of 370
Facility   Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                   File Date and No.                     Continuation
                                                                                            Filing




                                                   3
              Case 18-10512-KBO      Doc 1918-1        Filed 09/04/20     Page 256 of 370
Facility   Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                   File Date and No.                     Continuation
                                                                                            Filing
                      Illinois       SEARCH
                                    ORDERED
                                      9/9/19




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                             Case 18-10512-KBO          Doc 1918-1        Filed 09/04/20     Page 257 of 370

              Facility   Debtor          Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                                      Jurisdiction   Date and No.      Continuation       Date and No. 1      Next
                                                                     File Date and No.                     Continuation
                                                                                                              Filing
                                       Delaware
                                      Secretary of
                                         State




1
    THESE UCCS FILED AS ADD’L SECURED PARTY – PPAS TO ADVISE if any are to be filed as Full Assignment (under                     )
                                                                      5
43919.00000
              Case 18-10512-KBO       Doc 1918-1        Filed 09/04/20     Page 258 of 370
Facility   Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.      Continuation       Date and No. 1      Next
                                                   File Date and No.                     Continuation
                                                                                            Filing




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              Case 18-10512-KBO       Doc 1918-1        Filed 09/04/20     Page 259 of 370
Facility   Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.      Continuation       Date and No. 1      Next
                                                   File Date and No.                     Continuation
                                                                                            Filing




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              Facility   Debtor         Filing       Original File     Most-Recent       Assignment File   Deadline for        Notes
                                     Jurisdiction    Date and No.      Continuation       Date and No. 2      Next
                                                                     File Date and No.                     Continuation
                                                                                                              Filing
                                       Delaware
                                      Secretary of
                                         State




2
    THESE UCCS FILED AS ADD’L SECURED PARTY – PPAS TO ADVISE if any are to be filed as Full Assignment (under             or           )
                                                          8
43919.00000
              Case 18-10512-KBO           Doc 1918-1        Filed 09/04/20     Page 261 of 370
Facility   Debtor          Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                        Jurisdiction   Date and No.      Continuation       Date and No. 2      Next
                                                       File Date and No.                     Continuation
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              Case 18-10512-KBO       Doc 1918-1        Filed 09/04/20     Page 262 of 370
Facility   Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.      Continuation       Date and No. 2      Next
                                                   File Date and No.                     Continuation
                                                                                            Filing




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                               Case 18-10512-KBO             Doc 1918-1          Filed 09/04/20   Page 263 of 370

              Facility       Debtor          Filing         Original File     Most-Recent       Assignment File   Deadline for   Notes
                                          Jurisdiction      Date and No.      Continuation       Date and No.        Next
                                                                            File Date and No.                     Continuation
                                                                                                                     Filing
                                          Texas Secretary                                                          02/13/2021
                                      .      of State
                         )




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43919.00000
                  Case 18-10512-KBO             Doc 1918-1        Filed 09/04/20     Page 264 of 370
Facility       Debtor          Filing        Original File     Most-Recent       Assignment File   Deadline for   Notes
                            Jurisdiction     Date and No.      Continuation       Date and No.        Next
                                                             File Date and No.                     Continuation
                                                                                                      Filing
                            Iowa Secretary                                                          02/09/2021
                               of State

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                              Louisiana                                                             02/13/2021
                        .    Secretary of
                               State –
                              Avoyelles
                               Parish
                                                                                                    02/02/2022




                              Louisiana                                                             02/13/2021
                             Secretary of
                            State – Landry
                                Parish

                                                                                                    02/02/2022




                              Minnesota                                                             02/09/2021
                             Secretary of
                                State


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              Case 18-10512-KBO       Doc 1918-1        Filed 09/04/20     Page 265 of 370
Facility   Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                   File Date and No.                     Continuation
                                                                                            Filing
                                                                                          02/09//2021




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              Case 18-10512-KBO       Doc 1918-1        Filed 09/04/20     Page 266 of 370
Facility   Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                   File Date and No.                     Continuation
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                                                                                          02/09//2021




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              Case 18-10512-KBO       Doc 1918-1        Filed 09/04/20     Page 267 of 370
Facility   Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                   File Date and No.                     Continuation
                                                                                            Filing
                                                                                          02/09//2021




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              Case 18-10512-KBO       Doc 1918-1        Filed 09/04/20     Page 268 of 370
Facility   Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                   File Date and No.                     Continuation
                                                                                            Filing
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              Case 18-10512-KBO       Doc 1918-1        Filed 09/04/20     Page 269 of 370
Facility   Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                   File Date and No.                     Continuation
                                                                                            Filing
                                                                                          02/09/2021




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              Case 18-10512-KBO       Doc 1918-1        Filed 09/04/20     Page 270 of 370
Facility   Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                   File Date and No.                     Continuation
                                                                                            Filing
                                                                                          01/26/2022




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              Case 18-10512-KBO        Doc 1918-1           Filed 09/04/20     Page 271 of 370
Facility   Debtor      Filing      Original File         Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.          Continuation       Date and No.        Next
                                                       File Date and No.                     Continuation
                                                                                                Filing
                                                                                              01/26/2022




                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
                                       Search or
                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
                                       Search or
                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
                                       Search or
                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
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                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
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                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
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                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
                                       Search or
                                    Provide UCCs




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              Case 18-10512-KBO        Doc 1918-1           Filed 09/04/20     Page 272 of 370
Facility   Debtor      Filing      Original File         Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.          Continuation       Date and No.        Next
                                                       File Date and No.                     Continuation
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                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
                                       Search or
                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
                                       Search or
                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
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                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
                                       Search or
                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
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                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
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                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
                                       Search or
                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
                                       Search or
                                    Provide UCCs




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              Case 18-10512-KBO        Doc 1918-1           Filed 09/04/20     Page 273 of 370
Facility   Debtor      Filing      Original File         Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.          Continuation       Date and No.        Next
                                                       File Date and No.                     Continuation
                                                                                                Filing
                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
                                       Search or
                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
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                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
                                       Search or
                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
                                       Search or
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                    Jurisdiction   PPAS to Provide
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                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
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                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
                                       Search or
                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
                                       Search or
                                    Provide UCCs




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              Case 18-10512-KBO        Doc 1918-1           Filed 09/04/20     Page 274 of 370
Facility   Debtor      Filing      Original File         Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.          Continuation       Date and No.        Next
                                                       File Date and No.                     Continuation
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                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
                                       Search or
                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
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                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
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                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
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                    Jurisdiction   PPAS to Provide
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                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
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                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
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                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
                                       Search or
                                    Provide UCCs




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              Case 18-10512-KBO        Doc 1918-1           Filed 09/04/20     Page 275 of 370
Facility   Debtor      Filing      Original File         Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.          Continuation       Date and No.        Next
                                                       File Date and No.                     Continuation
                                                                                                Filing
                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
                                       Search or
                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
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                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
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                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
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                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
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                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
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                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
                                       Search or
                                    Provide UCCs

                    Jurisdiction   PPAS to Provide
                    UNKNOWN         Jurisdiction for
                                       Search or
                                    Provide UCCs




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              Case 18-10512-KBO            Doc 1918-1           Filed 09/04/20     Page 276 of 370
Facility   Debtor          Filing      Original File         Most-Recent       Assignment File   Deadline for   Notes
                        Jurisdiction   Date and No.          Continuation       Date and No.        Next
                                                           File Date and No.                     Continuation
                                                                                                    Filing
                        Jurisdiction   PPAS to Provide
                    .   UNKNOWN         Jurisdiction for
                                           Search or
                                        Provide UCCs




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                   Case 18-10512-KBO        Doc 1918-1          Filed 09/04/20          Page 277 of 370
 Facility       Debtor      Filing       Original File       Most-Recent          Assignment File        Deadline for   Notes
                         Jurisdiction    Date and No.        Continuation          Date and No.             Next
                                                           File Date and No.                             Continuation
                                                                                                            Filing
                           Delaware                                                                       06/03/2024
                         Department of
            )                State
   (Full
Assignment)
                                            Listed as      Listed as Additional   Listed as Additional    Listed as
                                           Additional       Debtor on above        Debtor on above        Additional
                                         Debtor on above                                                  Debtor on
                                                                                                           above




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Facility       Debtor      Filing       Original File     Most-Recent       Assignment File   Deadline for   Notes
                        Jurisdiction    Date and No.      Continuation       Date and No.        Next
                                                        File Date and No.                     Continuation
                                                                                                 Filing
                          Delaware                                                             12/10/2022
                        Department of
                            State


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Facility   Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                   File Date and No.                     Continuation
                                                                                            Filing
                     Alabama                                                              06/11/2023
                    Secretary of
                       State


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                                                                 5/11/2020




                                                                 6/11/2023




                     SEARCH
                    ORDERED
                      9/9/19                                                 .


                     SEARCH
                    ORDERED
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                     SEARCH
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                      9/9/19


                     SEARCH
                    ORDERED
                      9/9/19


                     SEARCH
                    ORDERED
                      9/9/19




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                          Case 18-10512-KBO         Doc 1918-1       Filed 09/04/20         Page 281 of 370
          Facility     Debtor        Filing      Original File     Most-Recent       Assignment File           Deadline for   Notes
                                  Jurisdiction   Date and No.      Continuation       Date and No.                Next
                                                                 File Date and No.                             Continuation
                                                                                                                  Filing
                                   Delaware                                                                     04/19/2022
                                  Secretary of
                                     State


                                                                                       Full Assignment          11/05/2023
                                                                                        Filed 9/11/19



                                                                                     This UCC Filed as
                                                                                     ADD’L SECURED
                                                                                      PARTY under


                                                                                     PPAS TO ADVISE
                                                                                     if it is to be filed as
                                                                                       Full Assignment
                                                                                         under




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    THIS UCC FILED AS ADD’L SECURED PARTY – PPAS TO ADVISE IF IT IS TO BE FILED AS FULL ASSIGNMENT UNDER
             .
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              Case 18-10512-KBO       Doc 1918-1        Filed 09/04/20     Page 282 of 370
Facility   Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                   File Date and No.                     Continuation
                                                                                            Filing
                     Delaware                                                             02/23/2022
                    Secretary of
                       State


                                                                                          06/21/2021




                                                                                          02/06/2023




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                                     SEARCH
                                    ORDERED
                                      9/9/19




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Case 18-10512-KBO    Doc 1918-1     Filed 09/04/20   Page 283 of 370
        Texas        SEARCH
                    ORDERED
                      9/9/19




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Facility       Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                        Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                       File Date and No.                     Continuation
                                                                                                Filing
                         Delaware                                                             06/06/2023
                        Secretary of
                           State

           )
                                                                                              06/06/2023




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                             Case 18-10512-KBO          Doc 1918-1       Filed 09/04/20      Page 285 of 370
           Facility       Debtor        Filing       Original File     Most-Recent       Assignment File   Deadline for        Notes
                                     Jurisdiction    Date and No.      Continuation       Date and No. 4      Next
                                                                     File Date and No.                     Continuation
                                                                                                              Filing
                                       Delaware                                                             12/14/2020
                                      Secretary of
                                         State

           (Partial                                                                                         12/14/2020
         Assignment –
          Co-Agents)


            THESE                                                                                           12/07/2020
         UCCS FILED
          AS ADD’L
          SECURED
           PARTY –
                                                                                                            01/26/2024
           PPAS TO
           ADVISE if
         any are to be
          filed as Full
          Assignment                                                                                        12/14/2020
         (under
                     )


                                                                                                            12/14/2020




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    THESE UCCS FILED AS ADD’L SECURED PARTY – PPAS TO ADVISE if any are to be filed as Full Assignment (under             or           )
                                                         33
              Case 18-10512-KBO       Doc 1918-1        Filed 09/04/20     Page 286 of 370
Facility   Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.      Continuation       Date and No. 4      Next
                                                   File Date and No.                     Continuation
                                                                                            Filing
                                                                                          12/07/2020




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                                                                                          12/07/2020




                                                                                          12/14/2020




                                                                                          12/14/2020




                                                                                          12/07/2020




                                                                                          06/12/2024




                                                                                          12/07/2020




                                                   34
              Case 18-10512-KBO       Doc 1918-1        Filed 09/04/20       Page 287 of 370
Facility   Debtor      Filing      Original File     Most-Recent       Assignment File        Deadline for   Notes
                    Jurisdiction   Date and No.      Continuation       Date and No. 4           Next
                                                   File Date and No.                          Continuation
                                                                                                 Filing
                                                                                               12/14/2020




                                                                                               12/07/2020




                                                                                               12/14/2020




                                                                                               12/07/2020




                                                                                               12/14/2020




                                                                          UCC-3 NOT            12/14/2020
                                                                             FILED
                                                                        PPAS to Advise
                                                                       whether UCC to be
                                                                          filed is Full
                                                                       Assignment (       )
                                                                         or Additional
                                                                         Secured Party
                                                                                        )




                                                   35
              Case 18-10512-KBO       Doc 1918-1        Filed 09/04/20     Page 288 of 370
Facility   Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                   File Date and No.                     Continuation
                                                                                            Filing
                     Delaware                                                             12/16/2021
                    Secretary of
                       State




                                                   36
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  Facility     Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                        Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                       File Date and No.                     Continuation
                                                                                                Filing
                          Arizona                                                             07/12/2020
                        Secretary of
                           State
  (Partial
Assignment –
 Co-Agents)
                         Delaware                                                             10/06/2024
                        Secretary of
                           State




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                              Case 18-10512-KBO          Doc 1918-1       Filed 09/04/20      Page 290 of 370
            Facility       Debtor        Filing       Original File     Most-Recent       Assignment File   Deadline for    Notes
                                      Jurisdiction    Date and No.      Continuation       Date and No. 5      Next
                                                                      File Date and No.                     Continuation
                                                                                                               Filing
                                        Delaware                                                             05/13/2021    First Lien
                                       Secretary of                                                                        Financing
                                          State                                           PPAS TO ADVISE                   Statement
            (Partial                                                                      WHETHER THIS
          Assignment –                                                                      SHOULD BE
           Co-Agents)                                                                          FULL
                                                                                           ASSIGNMENT




5
    THIS UCC FILED AS ADD’L SECURED PARTY – PPAS TO ADVISE if it is to be filed as Full Assignment (under                    )
                                                          38
              Case 18-10512-KBO        Doc 1918-1        Filed 09/04/20     Page 291 of 370
Facility   Debtor      Filing       Original File     Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction    Date and No.      Continuation       Date and No.        Next
                                                    File Date and No.                     Continuation
                                                                                             Filing
                      Delaware                                                             05/01/2021
                     Secretary of
                        State


                                                                                           05/10/2020




                      Maryland                                                             05/02/2021
                    Department of
                    Assessments
                    and Taxation

                                                                                           05/11/2020




                                                                                           05/02/2021




                                                                                           05/11/2020




                                                                                           05/02/2021




                                                                                           05/11/2020




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Facility       Debtor          Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                            Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                           File Date and No.                     Continuation
                                                                                                    Filing
                             Delaware                                                             11/16/2020
                            Secretary of
                        .      State


           )
                                                                                                  06/12/2023




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Facility       Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for       Notes
                        Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                       File Date and No.                     Continuation
                                                                                                Filing
                         Delaware                                                             11/12/2023    Originally filed
                        Secretary of                                                                        with debtor as:
                           State
           )




                                                       41
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Facility   Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                   File Date and No.                     Continuation
                                                                                            Filing
                     Delaware                                                             05/10/2020
                    Secretary of
                       State


                                                                                          05/10/2020




                                                                                          01/30/2021




                                                                       Full Assignment    01/30/2021
                                                                        Filed 9/11/19



                                                                       Full Assignment    01/06/2020
                                                                        Filed 9/11/19




                                                   42
                  Case 18-10512-KBO       Doc 1918-1        Filed 09/04/20     Page 295 of 370
Facility       Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                        Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                       File Date and No.                     Continuation
                                                                                                Filing
                         Delaware                                                             12/24/2019
                        Secretary of
                           State
           )




                                                       43
                  Case 18-10512-KBO       Doc 1918-1        Filed 09/04/20     Page 296 of 370
Facility       Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                        Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                       File Date and No.                     Continuation
                                                                                                Filing
                          Florida                                                             03/17/2023
                        Secretary of
                           State
           )




                                                       44
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Facility       Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                        Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                       File Date and No.                     Continuation
                                                                                                Filing
                         Delaware                                                             09/04/2023
                        Secretary of
                           State

           )




                                                       45
                                   Case 18-10512-KBO               Doc 1918-1     Filed 09/04/20     Page 298 of 370
             Facility         Debtor            Filing       Original File     Most-Recent       Assignment File   Deadline for   Notes
                                             Jurisdiction    Date and No.      Continuation       Date and No.        Next
                                                                             File Date and No.                     Continuation
                                                                                                                      Filing
                                               Delaware                                                             04/15/2023
                                              Secretary of
                                                 State
                        )

                                                                   SEARCH
                                                                  ORDERED
                                                                    9/9/19


                                            United Kingdom     SEARCH
                                                              ORDERED
                                                                 9/9/19
                                                               PPAS TO
                                                               ADVISE 6
                                                Canada         No Search
                                       .                     Ordered: PPAS
                                                             TO ADVISE 7




6
    PPAS to advise on how they perfected against UK entity.
7
    PPAS to advise on how they perfected against Canada entity.
                                                                             46
              Case 18-10512-KBO           Doc 1918-1        Filed 09/04/20     Page 299 of 370
Facility   Debtor          Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                        Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                       File Date and No.                     Continuation
                                                                                                Filing
                         Delaware                                                             08/05/2023
                        Secretary of
                           State


                                                                                              08/05/2023




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                                                                                              08/05/2023




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                    ,




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              Case 18-10512-KBO       Doc 1918-1        Filed 09/04/20     Page 300 of 370
Facility   Debtor      Filing      Original File     Most-Recent       Assignment File   Deadline for   Notes
                    Jurisdiction   Date and No.      Continuation       Date and No.        Next
                                                   File Date and No.                     Continuation
                                                                                            Filing
                                                                                          08/05/2023




                                                                                          08/05/2023




                                                                                          04/01/2024




                                                                                          08/05/2023




                                                                                          08/05/2023




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                                                   48
              Case 18-10512-KBO         Doc 1918-1        Filed 09/04/20     Page 301 of 370
Facility   Debtor      Filing        Original File     Most-Recent       Assignment File    Deadline for   Notes
                    Jurisdiction     Date and No.      Continuation       Date and No.         Next
                                                     File Date and No.                      Continuation
                                                                                               Filing
                    DC Recorder of                                                           09/23/2024
                       Deeds



                                                                         Filed 09/11/2019    09/23/2019




                    Pennsylvania                                            07/17/19         09/23/2019
                    Department of
                        State


                       Florida                                                               09/17/2024
                     Secretary of
                        State


                                                                                             06/22/2022




                                       SEARCH
                                      ORDERED
                                        9/9/19


                      Delaware                                                               06/21/2022
                     Secretary of
                        State


                                                                                             09/17/2019




                                                     49
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                                                                  SEARCH
                                                                 ORDERED
                                                                   9/9/19


                                                                  SEARCH
                                                                 ORDERED
                                                                   9/9/19




                                                                                    None                       06/21/2012
                                                                                                               (LAPSED)

                                                                  SEARCH
                                                                 ORDERED
                                                                   9/9/19
                                                 Spain 8          SEARCH
                                                                 ORDERED
                                                                   9/9/19


                                                Iceland 9         SEARCH
                                                                 ORDERED
                                                                   9/9/19


                                                                  SEARCH
                                                                 ORDERED
                                                                   9/9/19




8
    PPAS to advise on how they perfected against Spain entity.
9
    PPAS to advise on how they perfected against Iceland entities.
                                                                              50
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       Exhibit J
            Case 18-10512-KBO                 Doc 1918-1           Filed 09/04/20           Page 313 of 370




From: Zimmerman, Timothy <TZimmerman@gibsondunn.com>
Sent: Friday, July 24, 2020 12:14 PM
To: Nestor, Michael <mnestor@ycst.com>; Barry, Joseph <jbarry@ycst.com>; Reil, Shane <SReil@ycst.com>
Cc: Loseman, Monica K. <MLoseman@gibsondunn.com>; Norman L. Pernick (npernick@coleschotz.com)
<npernick@coleschotz.com>
Subject: PPAS Inventory

Counsel,

Please see the attached document regarding PPAS inventory.

Best, Tim

Timothy Zimmerman


GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1801 California Street, Denver, CO 80202-2642
Tel +1 303.298.5721 • Fax +1 303.313.2823
TZimmerman@gibsondunn.com • www.gibsondunn.com




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error, please reply to advise the sender of the error and then immediately delete this message.

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                                   Confidential
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                                                            Copy or Original              Quantity     Certificate    Issue
Holder      Issuer                       Asset                                 Location
                                                             of Certificate               (shares)     Number          Date
                                     Common Stock               Original         NY           100.00       3

                                     Common Stock               Original         NY             1.00       5         2/14/96

                                     Common Stock               Original         NY       934,999.00       6         2/14/96

                                     Common Stock               Original         NY       934,999.00       8           4/8/97
                                     Common Stock               Original         NY             1.00       6          2/16/96
                                     Common Stock               Original         NY       192,998.00       5          6/30/95
                                     Common Stock               Original         NY             1.00       7          2/27/96
                                     Common Stock               Original         NY        10,000.00      C-1         1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1         1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1         1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1         1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1         1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1         1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY         1,804.00      100        8/23/07
                                     Common Stock               Original         NY           650.00       1           8/1/05
                                     Common Stock               Original         NY         1,000.00       2         3/28/97
                                     Common Stock               Original         NY         1,500.00       1         11/13/03
                                   Units of Membership          Original         NY         1,000.00       1         11/13/03
                                     Common Stock               Original         NY           500.00       5         9/18/04
                                     Common Stock               Original         NY         1,000.00       2         8/31/99
                                          Shares                Original         NY         1,000.00       2
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06
                                     Common Stock               Original         NY        10,000.00      C-1        1/30/06

                                    Page 1 of 3
         Case 18-10512-KBO   Doc 1918-1    Filed 09/04/20
                                   Confidential
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                                                                    Copy or Original               Quantity     Certificate     Issue
Holder      Issuer                          Asset                                      Location
                                                                     of Certificate               (shares)      Number           Date
                                         Common Stock                   Original         NY        10,000.00      C-1         1/30/06
                                         Common Stock                   Original         NY        10,000.00      C-1         1/30/06
                                         Common Stock                   Original         NY        10,000.00      C-1         1/30/06
                                         Common Stock                   Original         NY        10,000.00      C-1         1/30/06
                                         Common Stock                   Original         NY        10,000.00      C-1         1/30/06
                                         Common Stock                   Original         NY        10,000.00      C-1         1/30/06
                                         Common Stock                   Original         NY        10,000.00      C-1         1/30/06
                                         Common Stock                   Original         NY        10,000.00      C-1         1/30/06
                                         Common Stock                   Original         NY        10,000.00      C-1          1/30/06
                                         Common Stock                   Original         NY        10,000.00      C-1          1/30/06
                                         Common Stock                   Original         NY        10,000.00      C-1          1/30/06
                                         Common Stock                   Original         NY        10,000.00      C-1          1/30/06
                                         Common Stock                   Original         NY        10,000.00      C-1          1/30/06
                                         Common Stock                   Original         NY           100.00      C-1         1/30/06
                                         Common Stock                   Original         NY           100.00      C-1         1/30/06
                                         Common Stock                   Original         NY           500.00      C-1         1/30/06
                                         Common Stock                   Original         NY         1,000.00      C-1          1/30/06
                                         Common Stock                   Original         NY         1,000.00      C-1          1/30/06
                                         Common Stock                   Original         NY           100.00      C-1         1/30/06
                                         Common Stock                   Original         NY         1,000.00      C-1          1/30/06
                                         Common Stock                   Original         NY           100.00      C-1         1/30/06
                                         Common Stock                   Original         NY           100.00      C-1         1/30/06
                                         Common Stock                   Original         NY           100.00      C-1         1/30/06
                                         Common Stock                   Original         NY         1,000.00      C-1          1/30/06
                                         Common Stock                   Original         NY         1,000.00      C-1          1/30/06
                                         Common Stock                   Original         NY           100.00      C-1         1/30/06
                                         Common Stock                   Original         NY           100.00      C-1         1/30/06
                                         Common Stock                   Original         NY           100.00      C-1         1/30/06
                                         Common Stock                   Original         NY           420.00      C-1         1/30/06
                                         Common Stock                   Original         NY         1,000.00      C-1         1/30/06
                                         Common Stock                   Original         NY           100.00      C-1         1/30/06
                                         Common Stock                   Original         NY       100,000.00      C-1         1/30/06
                                         Common Stock                   Original         NY       181,818.00      C-5            2006
                                         Common Stock                   Original         NY        10,000.00      C-1         1/30/06
                                         Common Stock                   Original         NY        10,000.00      C-1         1/30/06
                                         Common Stock                   Original         NY        10,000.00      C-1         1/30/06
                                         Common Stock                   Original         NY        10,000.00      C-1         1/30/06
                                         Common Stock                   Original         NY       181,818.00      C-5            2006
                                         Common Stock                   Original         NY        10,000.00      C-1         1/30/06
                                          Capital Stock                 Original         NY          2999.00        1          1/12/11
                                         Common Stock                   Original         NY             1.00        1         8/14/85
                                         Common Stock                   Original         NY             1.00      C-2          2/12/85
                                         Common Stock                   Original         NY       865,200.00        3         5/26/99
                                         Common Stock                   Original         NY             1.00        1           2/6/76
                                         Common Stock                   Original         NY           483 1/3      16          6/16/98
                             Series A Preferred Redeemable Shares       Original         NY            50.00        5         2/28/02
                             Series A Preferred Redeemable Shares       Original         NY            50.00        3         10/28/98
                             Series A Preferred Redeemable Shares       Original         NY            50.00        3         4/21/98
                             Series A Preferred Redeemable Shares       Original         NY            50.00        3         6/26/98
                             Series A Preferred Redeemable Shares       Original         NY            50.00        1         5/27/98

                                      Page 2 of 3
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                                   Confidential
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                                                                    Copy or Original              Quantity     Certificate    Issue
Holder      Issuer                          Asset                                      Location
                                                                     of Certificate               (shares)     Number          Date
                             Series A Preferred Redeemable Shares       Original         NY            50.00       1         5/27/98
                                             Shares                     Original         NY          250.00       22          2/9/12




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     Exhibit K
         Case 18-10512-KBO                    Doc 1918-1              Filed 09/04/20        Page 318 of 370



From:              Carolyn Schiff
To:
Cc:                                           ;; Hants. Jennifer:
                   (mlosflman@aib5ondtinn.cnmi
Subject:           RE: [EXT] RE: Ankura / Zohar - Agency Succession (Assignment of DACAs)
Date:              Saturday, August 15, 2020 4:58:02 PM
Attachments:

                   Zohar -           - DACA Assignment fBBVAf f                 pdf
                   7otar -          - DATA Assionmenf fRenions) f                pdf



Ryan

This is to respond to your August 11 email information request, below, as well as to
further respond to your July 28 request. As an initial matter, I was taken back by the
tone of your August 11 email as PPAS has, at all times, endeavored to respond to
your inquiries. We have a very small staff and many competing obligations, and that
may be slowing down our response times, but we have worked diligently, at all
times, to provide you with everything for which you have asked (where reasonable
and necessary pursuant to the terms of the credit agreements and agency
relationship).

We were confused by your question re "Other DACAs" because it did not ask for
DACAS that PPAS has in place. The question was as follows: "For each loan for
which Ankura has been appointed as administrative agent, please provide any DACAs
that are in place or confirm there are none." It was only natural that we believed you
were asking PPAS to inform you of Ankura DACAS, information that Ankura surely
possesses.

Nevertheless, now that you have clarified that you are asking where PPAS may have
DACAs, in connection with those companies for which Ankura serves as agent or co-
agent, we respond to your inquiries as follows: Note, however, that as Ms. Tilton no
longer controls most of these entities it is possible that in those cases where PPAS is
not co-agent or Ms. Tilton is not in control of the company, the companies may have
changed bank accounts and provided notice to Ankura and not to PPAS. Presumably
Ankura has put a DACA in place, in those instances, and the prior PPAS DACA is no
longer in effect:

   i.                                            has no bank accounts and accordingly no DACAs are
        in place
   2                                    s has no bank accounts and accordingly no
      DACAs are in place
   3.                  - There is a DACA in place for account number ending in
      at Compass Bank dba BBVA
   4.                    - We do not believe there are any PPAS DACAs in place for

   5.                   - There are 2 DACAs in place for accounts ending in                              and
                at Compass Bank dba BBVA
   6.
           a. Regions Bank DACA                                                  ) dated 07/13/2017 among
                PPAS,                                               and Regions Bank
           b.   Regions Bank DACA                                               ) dated 07/13/2017 among
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              PPAS,                   , and Regions Bank
         c. Regions Bank DACA                          ) dated 07/13/2017 among
            PPAS,                     and Regions Bank
         d. Regions Bank DACA (                              ) dated 07/13/2017
            among PPAS,                              and Regions Bank
           Executed Assignment Attached
 7.                        - PPAS is co-agent on this loan. See           below
 a
         a.  BBVA DACA (Exclusive Control) dated 12/13/2017 among
                               , BBVA Compass and PPAS
        Executed assignment attached.
        There are additional DACAs in place for                               for accounts
        ending                                               at Compass Bank dba BBVA
 a                       -This company has been liquidated. There is a DACA in place
      for account ending in          at Compass Bank dba BBVA
10.                     (Co-Agent) There are 2 DACAs in place for accounts ending in
                        at Compass Bank dba BBVA
11.                                 (Co-Agent) -                       have bank accounts
      at Bank of New Hampshire. There is no PPAS DACA in place (our
      understanding is the bank does not do them)
12.          - There are 2 DACAs in place for accounts ending in           and       at
      Compass Bank dba BBVA
13.                                     - this company was liquidated and all accounts
      were closed.
14.                   - There are 2 DACAs in place for accounts ending in           and
             at Compass Bank dba BBVA
is.                   -This company no longer operates. However, there is a DACA in
      place for account ending           at Citibank.
16.                   - There is a DACA in place for account ending           at Compass
      Bank dba BBVA
17.                    -As previously advised,                     changed its name to
                                  in 2009.         was liquidated and its accounts were
      closed.
18.                 - There are DACAs in place for accounts ending
             at Compass Bank dba BBVA
la               - As previously advised,                is in Chapter 7 bankruptcy and is
      controlled by a Chapter 7 Trustee. We are confused regarding your continued
      inquiries regarding              and your insistence on sending invoices for
                  to Patriarch's offices
20.                   (Co-Agent)
         a. Wells Fargo DACA (ARAN) dated 09/30/2011 among
                                          PPAS and Wells for accounts: This account
             was dosed
         b. Wachovia DACA (no notification) dated 02/10/2009 among Wachovia,
                   and PPAS for accounts: This account was closed
          c. BBVA Compass DACA (Springing) dated 06/29/2017 among                 , BBVA
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            and PPAS for accounts:
         d. BBVA Compass DACA (Exclusive) dated 07/10/2017 among              , BBVA
            and PPAS for accounts:

              We will provide copies of the unredacted DACAs for the BBVA accounts.
              We will also enter into a side letter in connection with the co-agency.

Copies of the DACAs are attached hereto. We are willing to enter into assignments of
those DACAs where Ankura is the sole agent. As to those facilities where PPAS is co­
agent, PPAS will keep the DACAs and enter into side-letter agreements with Ankura.

Note that we have done our best to respond fully to your inquiries. However, it is
possible that a DACA exists that was not included in this response. If so, such
omission is entirely inadvertent and we will supplement our response upon discovery
of new information.

Finally, on July 28 you asked us 8 questions and we have already responded to 4 of
them. In connection with the remaining 4 questions we respond as follows:

   1          : Share certificates for
                                                                                     c.
      These shares are owned by Ark II. They are located in our office vault and Ark
      II declines to turn them over to Ankura.
   2        : (1) Class B Non-Voting Common Stock of                . pledged to PPAS
      under the Securities Pledge Agreement dated as of 04/04/2005 and (2) stock of
                                 listed on Schedule I to First AR Security Agreement.
      We have located the Class B shares and will provide to Ankura at a mutually
      convenient time. We are continuing to investigate the
      stock but do not believe that any stock certificates exist for this entity. We are
      continuing our investigation and will update you.
   3.           (1) 350 common shares of                       . pledged by Sun Desert
      Corp. and (2) 650 common shares of                         . pledged by ARK II. In
      May 2009              . was converted to               pursuant to a Plan of
      Conversion. These shares are no longer outstanding. This also responds to
      your email of August 13, 2020
   4.                : Pledged Security Interests for Common Shares of
                                     (Certificate in name of                       ) and
                                 . We are continuing to investigate although we
      believe that these may be at U.S. Bank, the Indenture Trustee. Once we have
      confirmation we will so advise.


Carolyn Traister Schiff, Esq.
Vice President, Litigation
Patriarch Partners, LLC
1 Liberty Plaza, 35th Floor
New York, New York 10006
(646) 723-7652 (d)
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(212) 825-2038 (f)
Carolyn.Schiff@PatriarchPartners.com




From: Ryan Roy <Ryan,Roy@ankura,com>
Sent: Thursday, August 13, 2020 1:53 PM
To: Carolyn Schlff <carolyn.schiff@patriarchpartners.com>; Carlos Mercado
<carlos.mercado@patrfarchpartners.com>
Cc: James McGinley <James.McGinley@ankura.com>; Lynn Poss<lynn.poss@ankura.com>; Jennifer
Harris (jharris@miibank.com) <jharris@milbank.com>; Andrew Harmeyer
(aharmeyer@milbank.com) <aharmeyer@miIbank.com>; Kato, Sakura <skato@milbank.com>;
Monica K. Loseman (mloseman@gibsondunn.com) <mloseman@gibsondunn.com>
Subject: RE: [EXT] RE: Ankara / Zohar - Agency Succession (Assignment of DACAs)


Carolyn -thank you. Related to          we are also looking for certain physical stock certificates and
powers related to this company. Specifically, we are looking for:


    1 350 common shares of                        pledged by Sun Desert Corp. and
    2. 650 common shares of                     . pledged by ARK li


When we contacted           regarding the DACAs we also asked about these shares and they
directed us to speak with PPAS about them. Can you please confirm where the above collateral and
related powers are currently located?


Thanks again,


Ryan M. Roy
Managing Director

1 Beacon Street, Floor 15
Boston, MA 02108
+1.646.528,4393 Mobile




ankuratrust.com fankura.r.om’l


From: Carolyn Schlff <r.arolvn..srhiff@patriarchpartners.com>
Sent: Wednesday, August 12, 2020 9:02 AM
To: Ryan Roy <Rvan.Rov@ankura.com>: Carlos Mercado <carlos.mercado@patriarchpartners.com>
Cc: James McGinlev<James.McGinlev@ankura.com>: Lynn Poss <lvnn.poss@ankura.com>: Jennifer
Harris nharris@milbank.com) <iharris@mi[hank.mm>: Andrew Harmeyer
(aharmever@mflbank.roml <aharmever@miihank.com>: Kato, Sakura <skato@rriilbank.com>:
Monica K. Loseman fmloseman@gibsondunn.coml <mloseman@gibsondunn.com>
Subject; RE: [EXT] RE: Ankura / Zohar - Agency Succession (Assignment of DACAs)
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Ryan,


We are working through your email below and intend to get back to you before the end of the week.


From: Ryan Roy <Rvan.Rov@ankura,com>
Sent: Tuesday, August 11, 2020 7:51 AM
To: Carolyn Schiff <carolvn.schiff@patriarchpartners.com>: Carlos Mercado
<ca rfos.mercado@patriarchpartners.com>
Cc: James McGinley <James.McGinlev@ankura.com>: Lynn Ross <lynn.PQss@ankura.com>; Jennifer
Harris (jharris@milbank.com) <i.h.arr.i.s.@..mlIban.Lc.Qiii>: Andrew Harmeyer
faharmever@milbank.com) <aharmever@miibank.com>: Kato, Sakura <skato@milbank.com>:
Monica K. Loseman fmloseman@gibsondunn.com) <mloseman@gibsondunn.com>
Subject: RE; [EXT] RE: Ankura / Zohar - Agency Succession (Assignment of DACAs)


Carolyn,


Thanks for your reply.


For          - given that PPAS did not respond to our requests for information, we contacted
directly to confirm.      declined to speak with us and directed us to speak with Patriarch (as we
understand Ms. Tilton and Carlos Mercado instructed       a to do). Accordingly,        is not
willing to tell us whether they have accounts at new banks or whether those accounts are subject to
DACAs. As such, can you please confirm that neither PPAS, Tilton, nor any Tilton controlled entity or
affiliate has any DACA on any           bank account? If it's the case that any of the forgoing do have
DACAs on any             bank account, please provide those account details and copies of the DACAs.


Regarding your question on "Other DACAs" - we are simply trying to understand the universe of
existing DACAs that PPAS has in place with each borrower under a loan for which Ankura serves as
the administrative agent or co-agent. As you know, the Bankruptcy Court appointed Ankura Trust as
a successor administrative agent. PPAS is therefore in the best position to know what DACAs it has
in place. We previously requested that PPAS provide us with this information.


Below is a summary of the current status of our DACA-related information requests to PPAS. As
outlined, we have not yet received responses from you on several of the borrowers.


We ask again that you please provide any DACAs that are in place or confirm there are none for each
facility. Also, we ask that you directly respond to each item in red below:


      1.
            a. BAML DACA dated 06/18/2019 among Borrower, Wells (1L agent) Ankura and BAML for
              accounts                and Account                deleted from Agreement in
              Amendment 1 to DACA dated 10/08/2019; New DACA dated 10/08/2019 between
                  , PPAS (1L), Ankura (2L) and BAML.
            b. DACA (ARAN - 2 Secured Parties) dated 03/23/2010 among            , Wachovia, PPAS for 5
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            accounts                                                                                     I
 2.               - PPAS has not responded to our requests for confirmation of whether any               j
      DACAs are in place
 3.                    - PPAS has not responded to our requests for confirmation of whether any
      DACAs are in place
 4.                      - PPAS has not responded to our requests for confirmation of whether any
      DACAs are in place
 5.                          - PPAS has not responded to our requests for confirmation of whether
      any DACAs are in place
 6.                    - PPAS has not responded to our requests for confirmation of whether any
      DACAs are in place
 7.
         a. Regions Bank DACA {                              ) dated 07/13/2017 among PPAS,
                                         and Regions Bank
         b. Regions Bank DACA {                             ) dated 07/13/2017 among PPAS,
                              . and Regions Bank
         c. Regions Bank DACA {                             ) dated 07/13/2017 among PPAS,
                          and Regions Bank
         d. Regions Bank DACA {                                 ) dated 07/13/2017 among PPAS,
                                             and Regions Bank
         e. Attached please the draft Assignment previously sent to you. Please execute the
            assignment or provide comments.
 8.                              ~ PPAS has not responded to our requests for confirmation of
      whether any DACAs are in place
 9.
         a. BBVA DACA {Exclusive Control) dated 12/13/2017 among                                 ,
            BBVA Compass and PPAS
         b. Attached please the draft Assignment previously sent to you. Please execute the
            assignment or provide comments.
10.                 - PPAS has not responded to our requests for confirmation of whether any
      DACAs are in place
11.                                 (Co-Agent)
         a. BB&T DACA dated 06/17/2019 among Wells {as 1L Agent), Ankura {as 21 Agent),              &
            BB&T for accounts
                        i.   Assignment and Assumption of the DACA dated 08/14/2019 between
                        Wells, PPAS {as 11 Agent) & BB&T for accounts


         b. BB&T BACA with Lockbox dated 06/17/2019 among Wells (1L Agent), Ankura {as 2L
            Agent),        and BB&T for account
                        i. Assignment and Assumption of the BACA with Lockbox dated 08/14/2019
                         between Weils, PPAS (as 1L Agent) & BB&T for account
12.                  (Co-Agent)
         a. Wells Fargo DACA (ARAN - 2 Secured Parties) dated 02/13/2012 among Wells Fargo
            Capital Finance,            , Wells Fargo Bank and PPAS collateral account and operating
            account                 .
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                         i.   Assignment and Assumption of Wells Fargo DACA (ARAN ~ 2 Secured
                          Parties) to Ankura dated 06/28/2019 among PPAS, Ankura and Wells Fargo
                          Bank (as Bank)
         b. Wells Fargo DACA (ARI - 2 Secured Parties) dated 02/13/2012 among Wells Fargo
               Capital Finance,            Weils Fargo Bank and PPAS for collateral account


                         i. Assignment and Assumption of Wells Fargo DACA (ARI - 2 Secured
                          Parties) to Ankura dated 06/28/2019 among PPAS, Ankura and Wells Fargo
                         Bank (as Bank)
          c. BBVA DACA dated 08/30/2019 (Exclusive Control) among                 , BBVA, Cortland and
            Ankura for account:
         d. BBVA DACA dated 08/30/2019 (Springing Control) among                  , BBVA, Cortland and
               Ankura for account:
12.                     (Co-Agent) - PPAS has not responded to our requests for confirmation of
      whether any DACAs are in place
13.                                (Co-Agent) - PPAS has not responded to our requests for
      confirmation of whether any DACAs are in place
14.           ~ PPAS has not responded to our requests for confirmation of whether any DACAs are in
      place
15.                                    - PPAS has not responded to our requests for confirmation of
      whether any DACAs are in place
16.                   - PPAS has not responded to our requests for confirmation of whether any
      DACAs are in place
17.                   - PPAS has not responded to our requests for confirmation of whether any
      DACAs are in place
18.
         a. Wells Fargo Restricted Account Agreement dated 3/4/2008 among Wells, PPAS and


         b. PPAS notes "      no longer has any accounts at Wells Fargo; all the Wells accounts
            were closed and DACAs terminated." Please provide termination documentation as
               well as any other DACAs now in place.
19.                     - PPAS has not responded to our requests for confirmation of whether any
    DACAs are in place
20.            - PPAS has not responded to our requests for confirmation of whether any DACAs
    are in place
21.            - PPAS has not responded to our requests for confirmation of whether any DACAs
      are in place
22.                   (Co-Agent)
         a. Wells Fargo DACA (ARAN) dated 09/30/2011 among                                       ,
                    PPAS and Wells for accounts: [redacted]
         b. Wachovia DACA (no notification) dated 02/10/2009 among Wachovia,                  and PPAS
               for accounts: [redacted]
         c BBVA Compass DACA (Springing) dated 06/29/2017 among                   BBVA and PPAS for
            accounts: [redacted]
         d. BBVA Compass DACA (Exclusive) dated 07/10/2017 among                  BBVA and PPAS for
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              accounts: [redacted)
           e. Please (i) provide un-redacted DACAs and (ii) advise how you would like to evidence the
              Co-Agency: Assign to Ankutra and Side Letter or Side Letter only.


Thank you,


Ryan M, Roy
Managing Director

1 Beacon Street, Floor 15
Boston, MA 02108
+1,648.528,4393 Mobile


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From: Carolyn Schiff <c3rolvn.schiff@patfi3rchpartners.com>
Sent: Monday, August 10, 2020 4:23 PM
To: Ryan Roy <Ry3n.R0y@ankura.com>: Carlos Mercado <carios.mercado@patriarchpartners.com>
Cc: James McGinlev<James.McGinlev@ankura.com>: Lynn Poss <lvnn.poss@ankura.com>: Jennifer
Harris liharris@mithank.comi <iharris@mifbank.com>: Andrew Harmeyer
faharmever@milbank.com) <aharmeyer@mi!hank,com>: Kato, Sakura <skato@milhank.com>:
Monica K. Loseman fmtoseman@gibsondunn.com) <mloseman@gihsondunn.com>
Subject: [EXT] RE: Ankura / Zohar - Agency Succession (Assignment of DACAs)


Ryan,

In response to the below:

    1. It is our understanding that        no longer has any accounts at Wells Fargo;
       all the Wells accounts were closed and DACAs terminated.
    2. We are confused by your request re "Other DACAs" Presumably Ankura is
       aware of all DACAs in place for those facilities where they serve as
       administrative agent We do not understand what information you are
       requesting from us.




From: Ryan Roy <Rvan.Rov@ankura.com>
Sent: Thursday, August 6, 2020 8:15 PM
To: Carolyn Schiff <caroIvn.schiff@oaf rtarchpartners.com>: Carlos Mercado
<c.arfQ.s,mercado..@.p.ataarchpartn.ers...c.QEi>: Renee Dudley <cenee.du.dley.ilpatriarch.Dartner.s,.CQm>
Cc: James McGinley <James.ycGirrlev@ankiira.com>: Lynn Poss <lvnn.poss@ankura.com>: Jennifer
Harris fih3rris@milbank.c0mJ <iharris@miibank.com>: Andrew Harmeyer
(aharmeyer@milbank.com) <aharrnever@milhank.com>: Kato, 5akura <skato@milbank.com>
Subject: Ankura / Zohar - Agency Succession (Assignment of DACAs)
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PPASteam,


We hope you are well. As you know, we previously requested that you send to us all DACAs for all
accounts relating to loans for which Ankura serves as the administrative agent. We recently became
aware of a DACA for                     which had not been shared with us and which has not yet been
assigned to Ankura. Accordingly, we wanted to raise your attention to the points below:

                    DACAs:
     * We have attached an Assignment and Assumption form, assigning the Wells Fargo bank
       account (ending in      } to Ankura as the successor agent. Could you please arrange for the
       execution of this Assignment?
     * Additionally, the Natura Security Agreement lists another account at Weils Fargo (ending in
                ). As we have previously requested, please provide a copy of the DACA for this account as
         soon as possible. We will prepare an Assignment for this account as well.


Other DACAs:
     * For each loan for which Ankura has been appointed as administrative agent, please provide
       any DACAs that are in place or confirm there are none.


In-Person Transfer of Collateral:
     * We are reviewing the collateral documents received during the in-person transfer on 7/20/20
       and 8/5/20 as well as any other outstanding items previously noted in the chart of missing
         collateral documentation. We will share an updated chart once available.


Please let us know if you have any questions, and we look forward to hearing from you.


Thanks,


Ryan M, Roy
Managing Director

1 Beacon Street, Floor 15
Boston, MA 02108
+1.646.528.4393 Mobile


I            ■                 !

ankuratrustcom fankura.com,1.


Confidentiality Notice:
This email and any attachments may be confidential and protected by legal privilege. This communication is for the exclusive use of the
intended radpienf(s). If you are not the intended fscipenfCs), be aware fiat any disclosure, copying, distribution or use of the e -mail or
any attachment is prohibited. if you have recei ved this email In error, please notify us immediately Try replying to the sender and then
delete this copy and the reply from your system. Thank you for your cooperation.
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                                                                           Milbank Draft 9/25/19
                                   Ankma Trust Company, LLC
                                    60 State Street, Suite 700
                                       Boston, MA 02109



                                                                           September [__], 2019

Compass Bank (d/b/a BBVA Compass)
330 S. Tryon Street, Suite 400
Charlotte, NC 28202
Attention: Daniel R Collins
Telephone: (980) 938-3248

and

BBVA Compass
15 S. 20th Street, Suite 1802
Birmingham, AL 35233
Attention: Legal Department - Commercial
Email: bbvacdaca.group@bbva.com


                   Assignment and Assumption of Deposit Account Control Agreement
                                        (Exclusive Control)

Ladies and Gentlemen:

         The undersigned, Patriarch Partners Agency Services, LLC (the “Assignor Secured
Party”) and Ankura Trust Company, LLC (the “Assignee Secured Party”) refer you to that certain
Deposit Account Control Agreement among the Assignor Seemed Party, as the secured party,
                            , as the Debtor and you, as Depository Bank, dated as of December 13,
2017 (as amended or modified, the “Agreement), a copy of which is attached hereto as Exhibit A.
Subject to Section 10 of the Agreement, the Assignor Secured Party notifies and confirms to you
that, effective as of Depository Bank’s consent (the “Effective Date”), (a) the Assignor Seemed
Party assigns and transfers all of its rights and interests in and to the Agreement to the Assignee
Secured Party; (b) the Assignee Seemed Party accepts such assignment and transfer of the
Agreement from the Assignor Secured Party; and (c) the Assignee Secured Party assumes all of the
obligations and liabilities of the Seemed Party to you under the provisions of the Agreement.
Capitalized terms used but not defined in this letter agreement shall have the meanings given them
in the Agreement.

        The Assignor Secured Party also hereby instructs you that all instructions previously
delivered by the Assignor Seemed Party to you in connection with the Specified Deposit Account
(Account Number:                   ) under the Agreement shall be deemed superseded and replaced
by the instructions of this letter agreement and those instructions that shall be delivered to you by
the Assignee Secured Party in accordance with the provisions of the Agreement. The Assignor
Secured Party further confirms to you that all obligations and liabilities of the Assignor Seemed
Party to you under the provisions of the Agreement that have been incurred prior to the Effective
Date will remain the obligations and liabilities of the Assignor Seemed Party.

      The Assignee Secured Party further confirms to you that the address of the Assignee
Seemed Party for serving notice and other communications as provided in the Agreement is:

4847-6249-t047v2
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         Ankara Trust Company, LLC
         60 State Street, Suite 700
         Boston, MA 02109
         Attention: Ryan Roy, Managing Director
         Telephone No. (617) 878-2112

         Upon your execution of (his letter agreement: (i) you have consented to the assignment and
transfer by the Assignor Secured Party of its rights and interests in the Agreement and the Specified
Deposit Account to, and the assumption ofthe obligations and liabilities of the Seciued Party under
the Agreement by, the Assignee Seemed Party on the Effective Date; and (ii) all signatories
empowered by the Assignor Seemed Party in connection with the Agreement are deemed to be
without authority whatsoever on the Effective Date; all such authority of the Seemed Party under
the Agreement thereupon to be vested in the Assignee Seemed Party.

        This letter agreement and the rights and obligations of the parties thereunder shall be
governed by, and shall be construed and enforced in accordance with, the internal laws of the state
in which you maintain the Specified Deposit Account, without regard to conflicts of laws principles
that would require application of another law.

        This letter agreement may be executed in counterparts, each of which will be an original
and all of which taken together will constitute the same agreement. Please execute this letter
agreement in the space below and return a felly executed counterpart hereof to the Assignor
Seemed Party and the Assignee Seemed Party as soon as possible.




4847-6249-1047v2
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Very truly yours,

Assignor Secured Party:

PATRIARCH PARTNERS AGENCY SERVICES, LLC




Tide-_______________ __


Assignee Secured Party:

ANKURA TRUST COMPANY, LLC


By______________________
Name_______________________
Title
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Consented and Agreed to this__ day of            , 2019

COMPASS BANK


By_______
Name
Title______
Attachment
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                                EXHIBIT A


    Deposit Account Control Agreement (Exclusive Control) to be attached,
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                                                                          Milbank Draft 9/25/19
                                  Ankura Trust Company, LLC
                                   60 State Street, Suite 700
                                      Boston, MA 02109



                                                                          September [__], 2019
Regions Bank
Settlement and Counterparty Risk Group Operations
1900 Fifth Avenue North, Suite 2300
Birmingham, Alabama 35203
Attention: DACA Manager
Telephone: (205) 264-7898
Email: daca@regions.com

                Assignment and Assumption of Deposit Account Control Agreements

Ladies and Gentlemen:

         The undersigned. Patriarch Partners Agency Services, LLC (the “Assignor Secured
Party”) and Ankura Trust Company, LLC (the “Assignee Secured Party”) refer you to those certain
Deposit Account Control Agreements among the Assignor Seemed Party, as the secured party, the
companies listed on Schedule A attached hereto (individually and collectively, as the context may
require, the “Company”), as the Debtors and you, as the Bank, dated as of July 13, 2017 (as
amended or modified, die “Agreements”), copies of which are attached hereto as Exhibit A. By
this letter agreement, the Assignor Seemed Party notifies and confirms to you that, effective
September [__], 2019 (the “Effective Date”), (a) die Assignor Seemed Party has assigned and
transferred all of its rights and interests in and to the Agreements to the Assignee Secured Party;
(b) the Assignee Secured Party has accepted such assignment and transfer of the Agreements from
the Assignor Seemed Party; and (c) the Assignee Seemed Party has assumed all of the obligations
and liabilities of die Seemed Party to you under die provisions of die Agreements. Capitalized
terms used but not defined in this letter agreement shall have the meanings given them in the
Agreements.

         The Assignor Secured Party also hereby instructs you that, as of the Effective Date, all
instructions previously delivered by the Assignor Seemed Party to you in connection with the
Deposit Accounts under the Agreements shall be deemed superseded and replaced by the
instructions of this letter agreement and those instructions that shall be delivered to you by the
Assignee Seemed Party in accordance with the provisions of the Agreements. The Assignor
Seemed Party further confirms to you that all obligations and liabilities of the Assignor Seemed
Party to you under the provisions of the Agreement s that have been incurred prior to the Effective
Date will remain the obligations and liabilities of the Assignor Seemed Party.

      The Assignee Seemed Party further confirms to you that the address of the Assignee
Seemed Party for serving notice and other communications as provided in the Agreements is:

        Ankura Trust Company, LLC
        60 State Street, Suite 700
        Boston, MA 02109
        Attention: Ryan Roy, Managing Director
        Telephone: (617) 878-2112

         Upon yom execution of this letter agreement: (i) you have consented to the assignment and
transfer by the Assignor Seemed Party of its rights and interests in the Agreements and the Deposit
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Accounts to, and die assumption of the obligations and liabilities of the Secured Party under the
Agreements by, the Assignee Secured Party on die Effective Date; and (ii) all signatories
empowered by the Assignor Secured Party in connection with die Agreements are deemed to be
without authority whatsoever on the Effective Date; all such authority of the Secured Party under
the Agreements thereupon to be vested in the Assignee Seemed Party.

      The jurisdiction whose law governs this letter agreement is determined by the Regions
Bank Deposit Agreement.

        This letter agreement may be executed hi counterparts, each of which will be an original
and all of which taken together will constitute the same agreement. Please execute this letter
agreement in the space below and return a fully executed counterpart hereof to the Assignor
Seemed Party and the Assignee Seemed Party as soon as possible.




4822-2846-6343v2
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Veiy truly yours,

Assignor Secured Party:

PATRIARCH PARTNERS AGENCY SERVICES, LLC




Assignee Secured Party:

ANKA RA TRUST COMPANY, EEC


By_
Name
Title
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Consented and Agreed to this___day of             s 2019

REGIONS BANK


By__
Name
Title
      Case 18-10512-KBO      Doc 1918-1   Filed 09/04/20   Page 336 of 370



                                   SCHEDULEA


                   Comnanv                        Account Number
                               .




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                             EXHIBIT A


          Deposit Account Control Agreements to be attached.
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      Exhibit L
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                                                                                                                                         Updated 8/19/2020

A-1 Performing Borrowers; Ankura is SOLE Agent

    Borrower    Guarantors          Transaction             Maturity Date      Original stock   Mortgages       UCCs (to           DACAs (if any)     Other
                                    Documents                                  certs &          (to prepare     prepare                               Collateral (IP,
                                    /Amendments                                Promissory       Assignment      UCC-3s)                               etc.)
                                                                               Notes + powers   of
                                                                               (if any) 1       Mortgages)




                                    AR Credit               July 8, 2019 as    Please confirm                   These UCCs                     has    Please confirm
                                    Agreement dated         of Amendment       none exist.                      filed as           no bank accounts   if any.
                                    08/31/2011;             13                                           –      ADD’L              and accordingly
                                    Amendments: 1-13;                                           Open-End        SECURED            no DACAs are
                                    (13th: 05/01/2019);     Executed RoR                        Mortgage,       PARTY under        in place.
                                                            sent to Company                     Assignment            – PPAS
                                    Missing: (1)            10/18/2019                          of Leases and   TO ADVISE
                                    Intercreditor                                               Rents,          if any are to be
                                    Agreement dated as                                          Security        filed as Full
                                    of 1/9/2007 between                                         Agreement       Assignment
                                    Wachovia Capital                                            and Fixture     for        .
                                    Finance Corporation                                         Financing
                                    (Central) and PPAS;                                         Statement in
                                    (2) A&R Security                                            favor of
                                    Agreement dated as                                          PPAS dated
                                    of 12/06/2005                                               12/09/2005




1
  *Each* market certificate is held by US Bank as custodian.
2
  The       facility has been removed as it was paid off in full on July 9, 2019.
3
  The     facility has been removed as it is in Chapter 11 Bankruptcy.




4851-4292-1416v1
                                                                                                                                                          43919.00000
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 Borrower      Guarantors        Transaction            Maturity Date     Original stock   Mortgages     UCCs (to           DACAs (if any)   Other
                                 Documents                                certs &          (to prepare   prepare                             Collateral (IP,
                                 /Amendments                              Promissory       Assignment    UCC-3s)                             etc.)
                                                                          Notes + powers   of
                                                                          (if any) 1       Mortgages)

                                                                                           Please
                                                                                           confirm any
                                                                                           others.




                                 AR Credit              July 8, 2019 as   Please confirm   Please        These UCCs                          Please confirm
                                 Agreement dated        of Amendment      none exist.      confirm if    filed as           has no bank      if any.
                                 08/31/2011;            13                                 any.          ADD’L              accounts and
                                 Amendments:                                                             SECURED            accordingly no
                                                        Executed RoR                                     PARTY under        DACAs are in
                                 1-13 (13th:
                                                        sent to Company                                        – PPAS       place.
                                 05/01/2019)
                                                        10/18/2019                                       TO ADVISE
                                                                                                         if any are to be
                                 Missing: (1)                                                            filed as Full
                                 Executed copy of                                                        Assignment
                                 Amendment No. 10;                                                       for      .
                                 (2) Promissory Note
                                 Agreement by and
                                 amon



                                        ated as of
                                 12/9/05 and related
                                 Security Agreements;
                                 (3) Intercreditor
                                 Agreement dated as
                            .    of 1/9/2007 between
                                 Wachovia Capital
                                 Finance Corporation
                                 (Central) and PPAS;
                                 (4) A&R Security




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 Borrower      Guarantors    Transaction            Maturity Date      Original stock      Mortgages     UCCs (to   DACAs (if any)    Other
                             Documents                                 certs &             (to prepare   prepare                      Collateral (IP,
                             /Amendments                               Promissory          Assignment    UCC-3s)                      etc.)
                                                                       Notes + powers      of
                                                                       (if any) 1          Mortgages)

                             Agreement dated as
                             of 12/06/2005



                             Promissory Note        April 15, 2019                         Please        UCCs       DACA in place     Please confirm
                             Agreement dated        as of                                  confirm if    COMPLETE   for account       if any other.
                             02/03/2006;            Amendment 15       - 10,000            any.                     number ending
                             Amendments: 1-18                          SHARES*,                                     in       at
                             (18th: 11/19/2015);    Amendment No.                                                   Compass Bank
                                                    19 to extend                                                    dba BBVA—
                             (Amendment No. 7       maturity date to   - 14,750                                     Assignment of
                             not executed; PPAS     07/08/2019         SHARES*                                      DACA provided
                             does not have copy     missing Zohar                                                   by Ankura but
                             and unsure if it was   signatures.        Equity of                                    not returned by
                             executed)                                                                              PPAS.
                                                    Sent Executed                 y the
                             Commitment             RoR to             Pledgors
                             Settlement             Company            (uncertificated)
                             Amendment              12/19/2019
                             06/06/2012.                               Equity of

                             Borrower Pledge
                             Agreement dated as                              y the
                             of 02/03/2006                             Pledgors
                                                                       (uncertificated)

                                                                       See Annex 1.

                                                                       Please confirm no
                                                                       other guarantor
                                                                       has certificates.




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 Borrower      Guarantors    Transaction             Maturity Date     Original stock      Mortgages     UCCs (to   DACAs (if any)      Other
                             Documents                                 certs &             (to prepare   prepare                        Collateral (IP,
                             /Amendments                               Promissory          Assignment    UCC-3s)                        etc.)
                                                                       Notes + powers      of
                                                                       (if any) 1          Mortgages)

                             First AR Credit         September 30,     Pledged Security    Please        UCCs       PPAS does not       Notice of
                             Agreement dated         2020 as of        Interests           confirm if    COMPLETE   believe there are   Trademark
                             01/11/2007;             Amendment 16      (uncertificated)    any.                     any PPAS            Collateral
                             Amendments: 1-17                          for                                          DACAs in place      Security
                             (17th: 5/18/2020)       Executed RoR                                                   for                 Interest dated
                                                     sent to Company                                                                    02/03/2006
                             Shareholder Pledge      12/17/19.
                             Agreement dated as                                                                                         Notice of
                             of 02/03/2006                                                                                              Copyright
                                                                                                                                        Collateral
                             Security Agreement                                                                                         Security
                             dated 02/03/2006                                                                                           Interest dated
                                                                       See Annex 1.                                                     02/03/2006
                             Minnesota Secretary
                             of State website                          Please confirm no                                                Milbank
                             shows the following                       other guarantor                                                  perfection of
                             entities as dissolved                     has certificates.                                                Copyrights
                             as of 01/07/2009:                                                                                          submitted
                                                                                                                                        10/22/19.




                             Missing Schedules to
                             Security Agreement.




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    Borrower         Guarantors           Transaction               Maturity Date      Original stock       Mortgages        UCCs (to   DACAs (if any)     Other
                                          Documents                                    certs &              (to prepare      prepare                       Collateral (IP,
                                          /Amendments                                  Promissory           Assignment       UCC-3s)                       etc.)
                                                                                       Notes + powers       of
                                                                                       (if any) 1           Mortgages)


          )4

                     N/A                  Credit Agreement          April 15, 2019     Copy of Stock        Real Property    UCCs       2 DACAs in         Copyright
                                          dated 12/06/2007;         as of              Transfer Power       Mortgage in      COMPLETE   place for          Collateral
                                          Amendments: 1-14          Amendment 13       transferring 4,345   favor of                    accounts ending    Security
               )                          (14th: 11/19/2015)                           common shares        PPAS dated                  in                 Agreement
                                                                    Forbearance and    of Parent            as of                              t Compass   dated as of
                                          Security Agreement        Amendment No.      Guarantor            12/06/2007                  Bank dba           12/06/2007
                                          dated as of               15 to extend                     by                                 BBVA—
                                          12/06/2007                maturity date to   Pledgor              PPAS to                     Assignment of      Milbank
                                                                    12/15/2019                              confirm if                  DACA provided      perfection of
                                          Pledge Agreement          missing Zohar           —PPAS           this still                  by Ankura but      Copyrights
                                          and Irrevocable           signatures.        notes that           remains                     not returned by    submitted
                                          Proxy dated as of                                    was          outstanding                 PPAS.              10/22/19;
                                          12/06/2007                Executed RoR       dissolved in or      and existence                                  supplemental
                                                                    sent to Company    about 12/2008.       of any other                                   perfection of
                                          Investor Pledge           09/23/19                                mortgages,                                     Copyrights
                                          Agreement dated as                           Please confirm no    including                                      submitted
                                          of 12/06/2007                                other guarantor      those                                          11/11/19
                                                                                       has certificates.    referenced in
                                          Closing Date                                                      Schedule
                                          Certificate dated as of                      PPAS to confirm      2.11(a) of the
                                          12/06/2007                                   whether              Purchase
                                                                                       membership           Agreement.
                                          Reimbursement                                interests in
                                          Agreement and
                                          Pledge of Cash                                     eld by
                                          Collateral dated as of                       Borrower is
                                          12/06/2007                                   uncertificated.

                                          Payoff Letter from
                                          Nova Scotia to


4   The        Facility has been removed as it was paid off on September 30, 2019.



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 Borrower      Guarantors        Transaction             Maturity Date      Original stock       Mortgages        UCCs (to   DACAs (if any)        Other
                                 Documents                                  certs &              (to prepare      prepare                          Collateral (IP,
                                 /Amendments                                Promissory           Assignment       UCC-3s)                          etc.)
                                                                            Notes + powers       of
                                                                            (if any) 1           Mortgages)

                                         dated as of
                                 12/06/2007

                                 Certificated of
                                 Insurance dated as of
                                 11/30/2007

                                 Name Change
                                 documentation
                                 showing



                                 AR Credit               April 15, 2019                          Please           UCCs       Regions Bank          Please confirm
                                 Agreement               as of                                   confirm if       COMPLETE   DACA                  if any
                                 03/08/2002;             Amendment 10           - 5,098.9        any exist,                                        (referenced in
                                 Amendments: 1-12                           SHARES*              including                           ) dated       Schedule 6.18
                                 (12th: 11/19/2015)      Amendment No.                           those                       07/13/2017            of the Credit
                                                         13 to extend                            referenced in               among PPAS,           Agreement).
                                 Amendment to            maturity date to                        the Schedule
                                 Borrower Security       07/08/2019                              6.10 to Credit                       nd
                                 Agreement dated as      missing Zohar                           Agreement.                  Regions Bank
                                 of 12/29/2004           signatures.
                                                                                                                             Regions Bank
                                 Amendment to            Sent Executed                                                       DACA (
                                 Subsidiary Security     RoR to
                                 Agreement dated as      Company                —PPAS notes                                        dated
                                 of 12/29/2004           12/19/2019         that these shares                                07/13/2017
                            .                                               are owned by Ark                                 among PPAS,
                                 Missing: (1) Security                      II and are located
                                 Agreement dated as                         in their office                                                    .
                                 of 05/13/98; (2)                           vault. Ark II                                    and Regions
                                 Subsidiary Security                        declines to turn                                 Bank
                                 Agreement dated as                         them over to
                                                                            Ankura.                                          Regions Bank
                                                                                                                             DACA (



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 Borrower      Guarantors    Transaction         Maturity Date     Original stock      Mortgages       UCCs (to       DACAs (if any)        Other
                             Documents                             certs &             (to prepare     prepare                              Collateral (IP,
                             /Amendments                           Promissory          Assignment      UCC-3s)                              etc.)
                                                                   Notes + powers      of
                                                                   (if any) 1          Mortgages)

                             of 05/13/98; (3)                      Please confirm no
                             Pledge Agreement                      other guarantor                                          dated
                                                                   has certificates.                                  07/13/2017
                                                                                                                      among PPAS,

                                                                                                                                        .
                                                                                                                      and Regions
                                                                                                                      Bank

                                                                                                                      Regions Bank
                                                                                                                      DACA

                                                                                                                                    )
                                                                                                                      dated
                                                                                                                      07/13/2017
                                                                                                                      among

                                                                                                                                  and
                                                                                                                      Regions Bank

                                                                                                                      Assignment and
                                                                                                                      Assumption of
                                                                                                                      the DACAs
                                                                                                                      dated
                                                                                                                      08/17/2020
                                                                                                                      between PPAS,
                                                                                                                      Ankura &
                                                                                                                      Regions Bank

                             Credit Agreement    June 1, 2017 as   Please confirm      Please          Filed as              has bank       Please confirm
                             dated as of         of Credit         none exist.         provide         ADD’L          accounts at           if any.
                             04/17/2012;         Agreement                             mortgages,      SECURED        Bank of New
                             Amendments: 1-9                                           including       PARTY under    Hampshire.
                             (9th: 11/19/2015)   Sent Executed                         those                    –     There is no
                                                 RoR to                                referenced in   PPAS TO        PPAS DACA in
                                                                                                       ADVISE if it   place (PPAS’



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 Borrower       Guarantors         Transaction             Maturity Date      Original stock        Mortgages     UCCs (to         DACAs (if any)     Other
                                   Documents                                  certs &               (to prepare   prepare                             Collateral (IP,
                                   /Amendments                                Promissory            Assignment    UCC-3s)                             etc.)
                                                                              Notes + powers        of
                                                                              (if any) 1            Mortgages)

                                   Security Agreement      Company                                  the Credit    is to be filed   understanding is
                                   dated as of             12/19/2019                               Agreement.    as Full          the bank does
                                   04/17/2012                                                                     Assignment       not do them).
                                                                                                                  under
                                   Missing: Limited                                                                           .    PPAS: our
                                   Guarantor Collateral                                                                            understanding is
                                   Documents.                                                                                      that this is a
                                                                                                                                   sole-agent
                                                                                                                                   facility.

                                   Credit Agreement        April 15, 2019     Amendment No.         Please        UCCs             BBVA DACA          Trademark
                                   dated 05/15/2006;       as of              8 to                  confirm if    COMPLETE         (Exclusive         Collateral
                                   Amendments:1-22         Amendment 21                             any.                           Control) dated     Security
                                   (22nd: 11/19/2015)                         Agreement lists                                      12/13/2017         Agreement
                                                           Amendment No.      membership                                           amon               dated
                                   Loan and Security       23 to extend       interests. PPAS                                                         05/15/2006
                                   Agreement dated as      maturity date to   please confirm if                                       , BBVA
                                   of 02/23/2012; WF as    07/08/2019         these interests are                                  Compass and        Copyright
                                   Agent                   missing Zohar      uncertificated.                                      PPAS. 5            Collateral
                                                           signatures.                                                                                Security
                                   Pledge Agreement                           PPAS please                                          Additional         Agreement
                                   dated 05/15/2006        Sent Executed      provide LLC                                          DACAs in place     dated
                                                           RoR to             Agreement for                                        for                05/15/2006
                                   AR Security             Company
                                   Agreement dated         12/19/2019              .                                                    or            Milbank
                                   05/15/2006                                                                                      accounts ending    perfection of
                                                                              PPAS to turn over                                                       Copyrights
                                   Intercreditor                              shares for                                                              submitted
                                   Agreement dated as                                                                                      at         10/22/19.
                                   of 02/23/2012                                                                                   Compass Bank
                                                                                                                                   dba BBVA--


5
  DACA in connection with            ABL facility. In September 2019 the ABL was assigned to Seacoast Bank and the DACA at issue was terminated, and the
associated bank account was, to PPAS’ knowledge, closed. Termination Deposit Account Control Agreement Letter dated September 11, 2019 for BBVA DACA
(Exclusive Control).



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 Borrower      Guarantors    Transaction           Maturity Date     Original stock         Mortgages     UCCs (to   DACAs (if any)      Other
                             Documents                               certs &                (to prepare   prepare                        Collateral (IP,
                             /Amendments                             Promissory             Assignment    UCC-3s)                        etc.)
                                                                     Notes + powers         of
                                                                     (if any) 1             Mortgages)

                                                                                                                     Assignment of
                                                                                                                     DACA provided
                                                                                                                     by Ankura but
                                                                                                                     not returned by
                                                                                                                     PPAS.




                                                                         pledged by


                                                                     (Note: PPAS is
                                                                     not willing to turn
                                                                     over these
                                                                     securities until its
                                                                     agency fees are
                                                                     paid).

                                                                     Please confirm no
                                                                     other guarantor
                                                                     has certificates.

               N/A           AR Credit             April 15, 2019    Please confirm         Please        UCCs       This company        Please confirm
                             Agreement dated as    as of             none exist.            confirm if    COMPLETE   has been            if any.
                             of 02/28/2003;        Amendment 24                             any.                     liquidated. There
                             Amendments 1-24                                                                         is a DACA in
                             (24th: 11/19/2015);   Executed RoR                                                      place for account
                             Commitment            sent to Company                                                   ending in
                             Settlement            12/13/2019.                                                       at Compass
                             Amendment dated as                                                                      Bank dba
                             of 06/06/2012                                                                           BBVA—
                                                                                                                     Assignment of
                             A&R Subordinated                                                                        DACA provided
                             Security Agreement                                                                      by Ankura but
                             (AIP-ES, Inc as



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 Borrower      Guarantors    Transaction            Maturity Date    Original stock   Mortgages     UCCs (to   DACAs (if any)    Other
                             Documents                               certs &          (to prepare   prepare                      Collateral (IP,
                             /Amendments                             Promissory       Assignment    UCC-3s)                      etc.)
                                                                     Notes + powers   of
                                                                     (if any) 1       Mortgages)

                             Secured Party) dated                                                              not returned by
                             as of 05/25/2011                                                                  PPAS.

                             A&R Subordinated
                             Security Agreement
                             dated 05/25/2011
                             with Zohar II 2005-1
                             as Secured Party

                             Missing: Pledge
                             Agreement dated as
                             of 02/28/2003; A&R
                             Security Agreement
                             dated as of
                             02/28/2003




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A-1 Performing Borrowers – Ankura and PPAS are CO-AGENTS

 Borrower    Guarantors       Transaction          Maturity Date      Original stock    Mortgages (to       UCCs (to         DACAs (if any)    Other
                              Documents                               certs &           prepare             prepare UCC-                       Collateral (IP,
                              /Amendments                             Promissory        Assignment of       3s)                                etc.)
                                                                      Notes +           Mortgages)
                                                                      powers (if any)

                              AR Credit            April 15, 2019     Please confirm    Please confirm if   These UCCs       BB&T DACA         Please confirm
                              Agreement            as of              none exist.       any.                filed as ADD’L   dated             if any.
                              08/31/2011;          Amendment 15                                             SECURED          06/17/2019
                              Amendments: 1-16                                                              PARTY under      among Wells (as
                              (16th: 05/01/2019)   Amendment No.                                                  – PPAS     1L Agent),
                                                   17 to extend                                             TO ADVISE if     Ankura,      &
                              A&R Security         maturity date to                                         any are to be    BB&T for
                              Agreement dated      07/08/2019 in                                            filed as Full    accounts
                              as of 08/31/2011     process.                                                 Assignment
                                                                                                            (under
                              Loan and Security    Executed RoR                                                     .
                              Agreement dated      sent to                                                                   BB&T BACA
                              01/09/2007 among     Company                                                                   with Lockbox
                              Wachovia (later      10/18/2019                                                                dated
                              Wells) and                                                                                     06/17/2019
                              Borrowers,                                                                                     among Wells
                              Guarantors;                                                                                    (1L Agent),
                              Amendments 1-17                                                                                Ankura,
                              (17th 08/13/2019);                                                                             and BB&T for
                              Assignment                                                                                     account
                              Agreement dated
                              08/13/2019 with
                              Assignor Wells                                                                                 Assignment and
                              Fargo, Assignee                                                                                Assumption of
                              Ark II CLO 2001-                                                                               the DACA dated
                              1, Ltd as Assignee                                                                             08/14/2019
                              and PPAS as                                                                                    between Wells,
                              Agent to Assignee.                                                                             PPAS & BB&T
                                                                                                                             for accounts
                              Missing:
                              Intercreditor
                              Agreement dated
                              as of 08/31/2011                                                                               Assignment and
                              between Wachovia                                                                               Assumption of




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 Borrower      Guarantors    Transaction         Maturity Date        Original stock    Mortgages (to       UCCs (to       DACAs (if any)     Other
                             Documents                                certs &           prepare             prepare UCC-                      Collateral (IP,
                             /Amendments                              Promissory        Assignment of       3s)                               etc.)
                                                                      Notes +           Mortgages)
                                                                      powers (if any)

                             Capital Finance                                                                               the BACA with
                             Corporation                                                                                   Lockbox dated
                             (Central) and                                                                                 08/14/2019
                             PPAS.                                                                                         between Wells,
                                                                                                                           PPAS & BB&T
                                                                                                                           for account


                                                                                                                           *PPAS replaced
                                                                                                                           Wells as 1L
                                                                                                                           Agent on
                                                                                                                           DACAs

                                                                                                                           Ankura proposed
                                                                                                                           a draft Side
                                                                                                                           Letter and PPAS
                                                                                                                           has not
                                                                                                                           responded.

               N/A           Credit Agreement    Amendment No.        None listed on    Please confirm if   UCCs           Wells Fargo        Please confirm
                             dated 12/15/2011    6 to extend          Security          any.                COMPLETE       DACA (ARAN         if any.
                             Amendments: 1-6;    maturity date to     Agreement.                                           – 2 Secured
                             (6th: 10/03/2019)   the earlier of (a)                                                        Parties) dated
                                                 03/30/2020 and                                                            02/13/2012
                             Intercreditor       (b) the date that                                                         among Wells
                             Agreement dated     is seven (7)                                                              Fargo Capital
                             02/13/2012;         Business Days                                                             Finance,
                             Intercreditor       after the                                                                          , Wells
                             Agreement Letter    maturity date of                                                          Fargo Bank and
                             Amendment dated     the Wells Credit                                                          PPAS for
                             06/28/2019,         Agreement                                                                 collateral
                             replacement of                                                                                account
                             Wells Fargo with    Sent Executed                                                             4124015694
                             Cortland as         RoR to
                             successor Agent.                                                                              Assignment and
                                                                                                                           Assumption of



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 Borrower      Guarantors    Transaction            Maturity Date   Original stock    Mortgages (to   UCCs (to       DACAs (if any)     Other
                             Documents                              certs &           prepare         prepare UCC-                      Collateral (IP,
                             /Amendments                            Promissory        Assignment of   3s)                               etc.)
                                                                    Notes +           Mortgages)
                                                                    powers (if any)

                             Security               Company                                                          Wells Fargo
                             Agreement dated        12/19/2019                                                       DACA (ARAN
                             as of 12/15/2011                                                                        – 2 Secured
                                                                                                                     Parties) to
                             Credit Agreement                                                                        Ankura dated
                             dated 02/13/2012;                                                                       06/28/2019
                             Amendments 1-                                                                           among PPAS,
                             5;(3rd missing date;                                                                    Ankura and
                             Amendment 5                                                                             Wells Fargo
                             dated as of                                                                             Bank (as Bank).
                             03/27/19); Missing
                             Amendment 7;                                                                            Wells Fargo
                             Amendment 8                                                                             DACA (ARI – 2
                             dated as of                                                                             Secured Parties)
                             09/30/19.                                                                               dated
                                                                                                                     02/13/2012
                                                                                                                     among Wells
                                                                                                                     Fargo Capital
                                                                                                                     Finance,
                                                                                                                              , Wells
                                                                                                                     Fargo Bank and
                                                                                                                     PPAS for
                                                                                                                     collateral
                                                                                                                     account


                                                                                                                     Assignment and
                                                                                                                     Assumption of
                                                                                                                     Wells Fargo
                                                                                                                     DACA (ARI – 2
                                                                                                                     Secured Parties)
                                                                                                                     to Ankura dated
                                                                                                                     06/28/2019
                                                                                                                     among PPAS,
                                                                                                                     Ankura and




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 Borrower      Guarantors    Transaction   Maturity Date   Original stock    Mortgages (to   UCCs (to       DACAs (if any)    Other
                             Documents                     certs &           prepare         prepare UCC-                     Collateral (IP,
                             /Amendments                   Promissory        Assignment of   3s)                              etc.)
                                                           Notes +           Mortgages)
                                                           powers (if any)

                                                                                                            Wells Fargo
                                                                                                            Bank (as Bank).

                                                                                                            Termination of
                                                                                                            both Wells
                                                                                                            Fargo Accounts
                                                                                                            in process

                                                                                                            BBVA DACA
                                                                                                            dated
                                                                                                            08/30/2019
                                                                                                            (Exclusive
                                                                                                            Control) among
                                                                                                                    , BBVA,
                                                                                                            Cortland and
                                                                                                            Ankura for
                                                                                                            account:


                                                                                                            BBVA DACA
                                                                                                            dated
                                                                                                            08/30/2019
                                                                                                            (Springing
                                                                                                            Control) among
                                                                                                                    , BBVA,
                                                                                                            Cortland and
                                                                                                            Ankura for
                                                                                                            account:


                                                                                                            Ankura proposed
                                                                                                            a draft Side
                                                                                                            Letter and PPAS
                                                                                                            has not
                                                                                                            responded.




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 Borrower      Guarantors    Transaction         Maturity Date      Original stock    Mortgages (to       UCCs (to       DACAs (if any)     Other
                             Documents                              certs &           prepare             prepare UCC-                      Collateral (IP,
                             /Amendments                            Promissory        Assignment of       3s)                               etc.)
                                                                    Notes +           Mortgages)
                                                                    powers (if any)

                             Credit Agreement    April 15, 2019                       Please confirm if   UCCs           2 DACAs in         Patent
                             dated 07/08/2005    (as of 55th                          any.                COMPLETE       place for          Collateral
    .                        Amendments: 1-55    Amendment)           INC -                                              accounts ending    Security
                             (55th:                                 ZOHAR II -                                           in                 Agreement
                             11/19/2015);        Amendment No.      583 SHARES*,                                               at Compass   dated as of
                             Amendment No.       56 to extend                                                            Bank dba           07/08/2005
                             56 in process       maturity date to                                                        BBVA.
                                                 Nov 2020             INC -                                                                 Trademark
                             Security            missing Zohar      ZOHAR II -                                           PPAS requests a    Collateral
                             Agreement dated     signatures.        583 SHARES*,                                         Side Letter only   Security
                             as of 07/08/2005;                                                                           (no assignment     Agreement
                             Amendment 1         Sent Executed                                                           to Ankura).        dated as of
                             dated as of         RoR to              INC                                                                    07/08/2005
                             05/25/2012 and      Company            SHARES – 80
                             Schedules.          10/11/2019         SHARES*                                                                 PPAS please
                                                                                                                                            advise: how
                             Amended and                            Please confirm                                                          was
                             Restated                               no other                                                                Collateral
                             Intercreditor                          guarantor has                                                           perfected?
                             Agreement dated                        certificates.
                             10/18/2006 among
                             Wachovia (Rev
                             Agent) and PPAS
                             (TL Agent);
                             Amendment 1
                             dated as of
                             07/19/2011.

                             Missing Amended
                             and Restated Loan
                             and Security
                             Agreement, dated
                             as of October 18,
                             2006, among




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 Borrower      Guarantors    Transaction          Maturity Date     Original stock    Mortgages (to     UCCs (to          DACAs (if any)     Other
                             Documents                              certs &           prepare           prepare UCC-                         Collateral (IP,
                             /Amendments                            Promissory        Assignment of     3s)                                  etc.)
                                                                    Notes +           Mortgages)
                                                                    powers (if any)

                             Wachovia, Rev
                             Lenders and   .


               N/A           Credit Agreement     April 15, 2019    Please confirm    Mortgage,         Filed as                   has       Please confirm
                             dated as of          as of             none exist.       Assignment of     ADD’L             bank accounts at   if any.
                             05/13/2011;          Amendment 9                         Rents, Security   SECURED           Bank of New
                             Amendments: 1-9      for Zohar                           Agreement and     PARTY under       Hampshire.
                             (9th: 02/15/2016);   Lenders;                            Fixture Filing              –       There is no
                             Commitment           January 19 2017                     dated as of       PPAS TO           PPAS DACA in
                             Settlement           for ARK                             05/13/2011 by     ADVISE if it is   place (PPAS’
                             Amendment dated      Lenders                                      to       to be filed as    understanding is
                             06/06/2012                                               PPAS              Full              the bank does
                                                                                                        Assignment        not do them).
                             Security                                                                   (under
                             Agreement dated                                                                        .
                             as of 05/31/2011;
                             Amendment 1
                             dated as of
                             04/17/2012




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A-2 Non-Performing Borrowers – Ankura is SOLE AGENT

 Borrower     Guarantors      Transaction          Maturity Date       Original stock    Mortgages (to       UCCs (to       DACAs (if any)     Other
                              Documents                                certs &           prepare             prepare UCC-                      Collateral (IP,
                              /Amendments                              Promissory        Assignment of       3s)                               etc.)
                                                                       Notes +           Mortgages)
                                                                       powers (if any)

                              First Amended        April 15, 2019 as                     Please confirm if   UCCs           2 DACAs in         Patent Security
                              and Restated         of Amendment        CLASS A           any.                COMPLETE       place for          Agreement
                              Credit Agreement     33                  COMMON -                                             accounts ending    dated as of
                              dated as of                              600,000                                              in                 10/22/2010
                              05/01/2006;          Sent Executed       SHARES*                                                    at Compass
                              Amendments 1-34      RoR to Company                                                           Bank dba           Trademark
                              (34th: 11/19/2015)   12/19/2019          PPAS to turn                                         BBVA—              Security
                                                                       over Class B                                         Assignment of      Agreement
                              Securities Pledge                        Non-Voting                                           DACA provided      dated as of
                              Agreement dated                          Common Stock                                         by Ankura but      10/18/2010
                              04/04/2005                               of                                                   not returned by
                                                                       pledged to                                           PPAS.
                              First A&R                                PPAS under the
                              Security                                 Securities
                              Agreement dated                          Pledge
                              05/01/2006                               Agreement
                                                                       dated as of
                              Irrevocable Proxy                        04/04/2005.
                              dated 09/21/2015
                              between Zohar II                         PPAS to revert
                              and PPAS re:                             on status of
                              Class A Common                           stock of
                              600k shares

                              Missing: Guaranty                        listed on
                              Agreement                                Schedule I to
                                                                       First AR
                                                                       Security
                                                                       Agreement.

                                                                       Please confirm
                                                                       if subsidiaries




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 Borrower          Guarantors    Transaction          Maturity Date       Original stock    Mortgages (to       UCCs (to       DACAs (if any)     Other
                                 Documents                                certs &           prepare             prepare UCC-                      Collateral (IP,
                                 /Amendments                              Promissory        Assignment of       3s)                               etc.)
                                                                          Notes +           Mortgages)
                                                                          powers (if any)

                                                                          of Borrower are
                                                                          certificated.

                                                                          Please confirm
                                                                          no other
                                                                          guarantor has
                                                                          certificates.

                   N/A           Loan and Security    April 15, 2019                        Please confirm if   UCCs           This company       Please confirm
                                 Agreement dated      for Zohar                             any.                COMPLETE       was liquidated     status of those
                                 10/14/1998;          Lenders; January                                                         and all accounts   listed on
                                 Amendments 1-3       19, 2017 for          14,500                                             were closed.       Exhibit 7.1.16
                                 (3rd: 11/21/2000);   ARK Lenders as      SHARES*                                                                 to Credit
                                 Missing              of Amendment                                                                                Agreement and
                                 Amendment No.        19                  Please confirm                                                          provide any
                                 4; 5-19 (5th:                            no other                                                                related IP
                                 02/22/2002; 19th:    Sent Executed       guarantor has                                                           Security
                                 02/05/2016);         RoR to Company      certificates.                                                           Agreements.
                                 Commitment           1/2/2020
                                 Settlement
                                 Amendment dated
                                 06/06/2012

                                 PPAS confirmed
                                 Amendment No. 4
                                 does not exist or
                                 they do not have.

                   N/A           Credit Agreement     April 15, 2019 as   Please confirm    Senior Deed of      UCCs           2 DACAs in         Intellectual
                                 dated as of          of Amendment 3      none exist.       Trust,              COMPLETE       place for          Property
                                 11/07/2008;                                                Assignment of                      accounts ending    Security
                                 Amendments: 1-4      Sent Executed                         Rents, Security                    i                  Agreement
                                 (4th: 11/19/2015)    RoR to Company                        Agreement and                            at Compass   (Patents) dated
                                                      1/2/2020                              Fixture Filing,                    Bank dba           as of
                                                                                            dated as of                        BBVA—              02/19/2013
                                                                                            11/07/2008 by                      Assignment of



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    Borrower       Guarantors       Transaction         Maturity Date       Original stock    Mortgages (to       UCCs (to       DACAs (if any)      Other
                                    Documents                               certs &           prepare             prepare UCC-                       Collateral (IP,
                                    /Amendments                             Promissory        Assignment of       3s)                                etc.)
                                                                            Notes +           Mortgages)
                                                                            powers (if any)

                                    Security                                                           to                        DACA provided       Intellectual
                                    Agreement dated                                           Trustee for                        by Ankura but       Property
                                    as of 11/07/2008                                          benefit of PPAS.                   not returned by     Security
                                                                                                                                 PPAS.               Agreement
                                                                                                                                                     (Trademarks)
                                                                                                                                                     dated as of
                                                                                                                                                     12/22/2011

                                                                                                                                                     Patent Security
                                                                                                                                                     Agreement
                                                                                                                                                     (             )
                                                                                                                                                     dated as of
                                                                                                                                                     07/28/2012

                                                                                                                                                     Patent Security
                                                                                                                                                     Agreement
                                                                                                                                                     (              )
                                                                                                                                                     dated as of
                                                                                                                                                     10/25/2012


               6



                   N/A              Credit Agreement    April 15, 2019 as   Please confirm    Please confirm if   UCCs           This company        Subordinated
                                    dated as of         of Amendment 5      none exist.       any.                COMPLETE       no longer           IP Security
                                    12/28/2009;                                                                                  operates.           Agreement in
                                    Amendments: 1-7     Sent Executed                                                            However, there      favor of Zohar
                                    (7th: 02/05/2016;   RoR to Company                                                           is a DACA in        II 2005-1,
                                    missing Borrower    1/2/2020                                                                 place for account   Limited dated
                                    signature)                                                                                   ending       at     as of
                                                                                                                                 Citibank—PPAS       12/28/2009
                                                                                                                                 please provide



6
    The              facility has been removed as it was paid off prior to Ankura’s appointment as Agent.



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 Borrower          Guarantors    Transaction        Maturity Date       Original stock     Mortgages (to       UCCs (to       DACAs (if any)      Other
                                 Documents                              certs &            prepare             prepare UCC-                       Collateral (IP,
                                 /Amendments                            Promissory         Assignment of       3s)                                etc.)
                                                                        Notes +            Mortgages)
                                                                        powers (if any)

                                 Security                                                                                     us with a copy of
                                 Agreement dated                                                                              this DACA.
                                 as of 12/28/2009

                                 Subordinated
                                 Security
                                 Agreement dated
                                 as of 12/28/2009

                   N/A           Credit Agreement   April 15, 2019 as   PPAS notes         Please confirm if   UCCs           Wells Fargo         IP Security
                                 dated as of        of Amendment        that               any.                COMPLETE       Restricted          Agreement in
                                 03/05/2008;        21                                                                        Account             favor of PPAS
                                 Amendments: No.                                                                              Agreement dated     dated as of
                                 1 – 22nd (22nd:    Sent Executed       in 2009 and the                                       3/4/2008 among      03/05/2008
                                 11/19/2015)        RoR to Company      following                                             Wells, PPAS
                                                    1/2/2020            shares no                                             and
                                 Security                               longer exist (1)
                                 Agreement dated                        350 common                                            PPAS notes that
                                 as of 03/05/2008                       shares of                                             Wells accounts
                                                                                                                              listed on
                                 ARK II Limited                             pledged by                                        Schedule VII of
                                 Recourse                               Sun Desert                                            Security
                                 Guaranty dated                         Corp. and (2)                                         Agreement were
                                 03/05/2008                             650 common                                            closed.
                                                                        shares of
                                 ARK II Pledge                                                                                Please provide
                                 Agreement dated                          . pledged by                                        termination
                                 03/05/2008                             ARK II.                                               documentation.

                                 Sun Desert Corp.                       Please confirm                                        DACA in place
                                 Limited Recourse                       no other                                              for account
                                 Guaranty dated                         guarantor has                                         ending 4247 at
                                 03/05/2008                             certificates.                                         Compass Bank
                                                                                                                              dba BBVA—
                                                                                                                              Assignment of
                                                                                                                              DACA provided



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 Borrower          Guarantors    Transaction          Maturity Date       Original stock    Mortgages (to       UCCs (to        DACAs (if any)       Other
                                 Documents                                certs &           prepare             prepare UCC-                         Collateral (IP,
                                 /Amendments                              Promissory        Assignment of       3s)                                  etc.)
                                                                          Notes +           Mortgages)
                                                                          powers (if any)

                                 Sun Desert Corp.                                                                               by Ankura but
                                 Pledge Agreement                                                                               not returned by
                                 dated 03/05/2008                                                                               PPAS.

                   N/A           Credit Agreement     September 3,        Please confirm    Please confirm if   UCCs                                 IP Security
                                 dated as of          2013 as of Credit   none exist.       any.                COMPLETE        changed its          Agreement for
                                 09/03/2008;          Agreement                                                                 name to              Trademarks
                                                                                                                                                     and Patents
                                 Amendments: No.      Sent Executed                                                                      in          (First Lien)
                                 1-12th (12th:        RoR to Company                                                            2009.        was     dated as of
                                 11/19/2015);         1/2/2020                                                                  liquidated and its   09/03/2008
                                 Commitment                                                                                     accounts were
                                 Settlement                                                                                     closed.              IP Security
                                 Agreement dated                                                                                                     Agreement for
                                 06/06/2012                                                                                                          Trademarks
                                                                                                                                                     and Patents
                                 Security                                                                                                            (Second Lien)
                                 Agreement (First                                                                                                    dated as of
                                 Lien) dated as of                                                                                                   09/03/2008
                                 09/03/2008

                                 Security
                                 Agreement
                                 (Second Lien)
                                 dated as of
                                 09/03/2008

                                 PPAS confirming
                                 if separate Pledge
                                 Agreement exists.

                                 Third Amended        April 15, 2019 as   Pledged           Please confirm if   See UCC Chart   DACAs in place       Trademark and
                                 and Restated         of 08/05/2005       Security          any.                                for accounts         Patent listed in
                                 Credit Agreement                         Interests for                         PPAS please     ending               Security
                                 dated as of                              Common                                advise: how                  at      Agreement




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    Borrower       Guarantors       Transaction           Maturity Date      Original stock       Mortgages (to   UCCs (to          DACAs (if any)    Other
                                    Documents                                certs &              prepare         prepare UCC-                        Collateral (IP,
                                    /Amendments                              Promissory           Assignment of   3s)                                 etc.)
                                                                             Notes +              Mortgages)
                                                                             powers (if any)

                                    03/30/2004;           Credit Agreement   Shares of                            did you perfect   Compass Bank      (Schedules III
                                    Amendment No.         Amendment 18                                            against UK        dba BBVA—         and IV)
                                    1: 06/27/2005                                                                 and Canada?       Assignment of
                                                          Sent Executed                                                             DACA provided     No copyright.
                                    Credit Agreement      RoR to Company     (Certificate in                                        by Ankura but
                                    dated as of           1/2/2020           name of                                                not returned by   Please provide
                                    08/05/2005;                                                                                     PPAS.             us with
                                    Amendments 1-19                                                                                                   Trademark and
                                    (19th: 11/19/2015)                                                                                                Patent
                                                                                              –                                                       Collateral
                                    Security                                 PPAS to revert                                                           Security
                                    Agreement dated                          and provide                                                              Agreements.
                                    as of 08/05/2005                         original Stock
                                    and Schedules                            Certificates or
                                                                             advise where
                                    Please provide the                       this is located.
                                    Pledge Agreement
                                    and Irrevocable                          See Annex 1.
                                    Proxy dated as of
                                    08/05/2005, as                           Please confirm
                                    referenced in the                        no other
                                    Credit Agreement                         guarantor has
                                    dated the same.                          certificates.



    7




7
    The        facility has been removed as it is in Chapter 7 Bankruptcy.



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A-2 Non-Performing Borrowers; Ankura and PPAS are CO-AGENTS

 Borrower      Guarantors     Transaction      Maturity Date          Original stock    Mortgages (to       UCCs (to         DACAs (if any)   Other
                              Documents                               certs &           prepare             prepare UCC-                      Collateral (IP,
                              /Amendments                             Promissory        Assignment of       3s)                               etc.)
                                                                      Notes +           Mortgages)
                                                                      powers (if any)

                              Amended and      April 15, 2019 as of                     Please confirm if   See UCC Chart    Wells Fargo      Second
                              Restated Loan    3rd AR LSA                               any.                                 DACA (ARAN)      Amendment
                              and Security     Amendment 18                  - ZOHAR                        PPAS please      dated            and
                              Agreement                               II - 3,073                            advise how you   09/30/2011       Assignment of
                              dated            Sent Executed RoR      SHARES*,                              perfected        among            Trademark
 *CO-                         06/02/2006; no   to Company                                                   against Spain                     Collateral
 AGENT                        Amendments.      1/2/2020                                                     and Iceland                       Assignment
                                                                             - ZOHAR                        entities.                  PPAS   and Security
                              Second                                  III - 670                                              and Wells for    Agreement
                              Amended and                             SHARES*,                                               accounts:        dated
                              Restated Loan                                                                                  [redacted]—      04/25/2007
                              and Security                                                                                   account closed
                              Agreement                                   256,037                                                             Second
                              dated as of                             SHARES*,                                               Wachovia         Amendment
                              06/28/2007;                                                                                    DACA (no         and
                              Amendments 1-                                     -                                            notification)    Assignment of
                              4 (4th:                                 ZOHAR III -                                            dated            Patent
                              01/16/2009);                            55,863                                                 02/10/2009       Collateral
                              Assignment and                          SHARES*,                                               among            Assignment
                              Acceptance                                                                                     Wachovia,        and Security
                              dated                                                                                          and PPAS for     Agreement
                              12/31/2008                                  55,863                                             accounts:        dated
                                                                      SHARES*,                                               [redacted] —     04/25/2007
                              Credit                                                                                         account closed
                              Agreement as                                      -                                                             Intellectual
                              of June 28,                             ZOHAR II -                                             BBVA Compass     Property
                              2007;                                   256,037                                                DACA             Security
                              Amendments 1-                           SHARES*                                                (Springing)      Agreement
                              11 (11th:                                                                                      dated            dated
                              03/24/2010)                             Please confirm                                         06/29/2017       08/02/2007
                              (Only Zohar                             no other                                               among
                              Lenders –                               guarantor has                                          BBVA and         Amendment
                                                                      certificates.                                          PPAS for         and
                                                                                                                                              Assignment of



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                    Wells Fargo                                                        accounts:          Intellectual
                    Foothill)                                                          [           ]      Property
                                                                                                          Security
                    Third Amended                                                      BBVA Compass       Agreement
                    and Restated                                                       DACA               dated
                    Loan and                                                           (Exclusive)        01/15/2009
                    Security                                                           dated
                    Agreement                                                          07/10/2017         Order filed by
                    dated as of                                                        among       ,      Milbank to
                    01/15/2009;                                                        BBVA and           perfect
                    Amendments 1-                                                      PPAS for           Copyrights
                    18 (18th:                                                          accounts:          09/16/2019
                    02/05/2016);
                    Commitment                                                                            Notice of
                    Settlement                                                         PPAS requests a    Recordation
                    Amendment                                                          Side Letter only   from PTO re:
                    dated                                                              (no assignment     Trademarks
                    06/06/2012                                                         to Ankura).
                                                                                                          All Patents
                    Subordinated                                                                          expired.
                    Security
                    Agreement                                                                             Missing:
                    dated as of                                                                           Copyright
                    11/02/2012                                                                            Collateral
                                                                                                          Assignment
                    Intercreditor                                                                         and Security
                    Agreement                                                                             Interest dated
                    dated as of                                                                           as of
                    06/28/2017; 1st                                                                       09/30/2004
                    Amendment
                    12/20/2010




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Annex 1 - Original Stock Certificates in Ankura’s Possession

                              Share Certificate C-3 - Common Stock 5500 shares
                              Share Certificate A-7 - Series A Convertible Preferred Stock 87,510 shares
                              Share Certificate A-8 - Series A Convertible Preferred Stock 6990 shares - note* document inventory indicates 6900 shares
                              Share Certificate C-1 - Common Stock 10,000 shares                                               )
                              Share Certificate C-1 - Common Stock 10,000 shares (                                     )
                              Share Certificate C-1 - Common Stock 10,000 shares                                   )
                              Share Certificate C-1 - Common Stock 10,000 shares                       )
                              Share Certificate C-1 - Common Stock 10,000 shares                       )
                              Share Certificate C-1 - Common Stock 10,000 shares (                                         )
                              Share Certificate C-1 - Common Stock 10,000 shares                           )
                              Share Certificate C-1 - Common Stock 1,000 shares (
                              Share Certificate C-1 - Common Stock 10,000 shares (                             )
                              Share Certificate C-2 - Common Stock 10,000 shares (                                 )
                                             - C-1 CS 10,000
                                            C-1 CS 10,000
                                            C-1 CS 10,000
                                            C-1 CS 10,000
                                            C-1 CS 10,000
                                                C-1 CS 10,000
                                             C-1 CS 10,000
                                         C-1 CS 10,000
                                          C-1 CS 10,000
                                          C-1 CS 10,000
                                             C-1 CS 10,000
                                                  - COPY (sold 12/29/17), C-1 CS 10,000.00
                                                                C-1 CS 10,000
                                                               C-1 CS 10,000
                                                               C-1 CS 10,000
                                                               C-1 CS 10,000




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                                                                                                                                                          43919.00000
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                                         C-1 CS 10,000
                                        C-1 CS 10,000
                                        C-1 CS 10,000
                                                 C-1 CS 10,000
                                    C-1 CS 10,000
                                    c C-1 CS 10,000
                                              C-1 CS 10,000
                              C-1 CS 10,000
                              C-1 CS 6250 ******Inventory list as 10,000*****
                              C-1 CS 10,000
                                 C-1 CS 10,000
                                  C-1 CS 10,000
                                    C-1 CS 10,000
                                     C-1 CS 10,000
                                   C-1 CS 10,000
                                       C-1 CS 10,000
                                     (typo in vault sheet) C-1 CS 10,000
                              C-1 CS 10,000
                                  C-1 CS 10,000
                                     C-1 CS 10,000
                                  C-1 CS 10,000
                                              C-1 CS 10,000
                                 C-1 CS 10,000
                              C-1 CS 10,000
                                    C-1 CS 10,000
                                  C-1 CS 10,000
                                    C-1 CS 10,000
                                    C-1 CS 10,000
                                   C-1 CS 10,000
                                 C-1 CS 100
                                      C-1 CS 100



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                                                                                                  43919.00000
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                                c C-1 CS 500
                                         C-1 CS 1000
                                   C-1 CS 1000
                                            C-1 CS 100 ***Inventory indicates            ***
                                         C-1 CS 1000
                                         C-1 CS 100
                                               . C-1 CS 100
                                              C-1 CS 100
                                   C-1 CS 1,000
                                        C-1 CS 1,000
                                                      C-1 CS 100
                                           C-1 CS 100
                                       C-1 CS 100
                                               C-1 CS 420
                                          C-1 CS 1,000
                                                    C-1 CS 100
                                            C-1 CS 100,000
                               C-1 CS 181,818.00
                                 C-1 CS 10,000
                                C-1 CS 10,000
                                  C-1 CS 10,000
                             C-1 CS 10,000
                                          C-1 CS 181,818.00
                            C-1 CS 10,000
                                                            C-1 CS 500
                                                                 C-1 CS 100
                          C-1 CS 420
                               1 share
                                                                . 483 1/3 shares
                                                      1 share
                                  1 share



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                                   865,200 shares
                   Power of Attorney and Stock Transfer forms - multiple
                   Replacement certificate                C-22 250 shares




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                                      EXHIBIT B




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From:
Sent:                             Monday, April 6, 2020 5:29 PM
To:                               Ryan Roy
Subject:                          RE: [EXT]             : 13 Week Cash Flow
Attachments:                      GL 10900 Detail Report - Borrowing Held by PPAS - 123119 thru 3312020.xlsx


Hi Ryan,

I have attached a file showing the outflows and inflows for the Restricted Cash account. I went back to 30 December
2019, as there was a transfer on that day.

As a little background, I started at     in late August 2019. Since      was being acquired by           and
already had a direct competitor to       ,        was not slated to be part of the transaction. Lynn wanted to keep
         operating and therefore needed someone to run the Company.

When         was managing                 used its own balance sheet to fund needs related to           machine
production (production was taking place at an         -owned factory in Mexico). As such, there was no need to access the
Restricted Cash account if           operating cash flow was not adequate to cover production expenses. Without
in the picture as of 30 September, I had to operate        as a truly independent entity. Since production was already
being moved to China and funds needed to be sent to pay for those activities, it was necessary for me to access the
Restricted Cash account. I was told that the Restricted Account was to be used for such capital outlays; however, it was
not a candy jar type of situation. Lynn was the only person who had signing privileges on the account, and only she could
authorize transfers out of that account.

Please let me know if you need any additional information.

Best,




From: Ryan Roy
Sent: Monday, April 6, 2020 4:23 PM
To:
Subject: RE: [EXT]               13 Week Cash Flow

Brandon – thank you for sending, very helpful. As you work through the moving pieces to refine the plan, would you
mind providing some additional detail on the movements to the Restricted Cash account described on page 6?
Specifically, if you could remind me again the purpose of that account, the cash balance that was in that account as of
12/31/19 and a description of significant cash movements (with dates if possible) since that date and March 24?

Thanks and I hope you continue to stay safe and healthy.

Best,

                                                             1
                  Case 18-10512-KBO          Doc 1918-1        Filed 09/04/20     Page 369 of 370
Ryan M. Roy
Managing Director

1 Beacon Street, Floor 15
Boston, MA 02108
+1.646.528.4393 Mobile




ankuratrust.com

From:                                          >
Sent: Friday, April 3, 2020 7:24 PM
To: Ryan Roy <Ryan.Roy@ankura.com>
Subject: [EXT]                 13 Week Cash Flow

Ryan,

I’ve attached the 13-Week Cash Flow within a brief Powerpoint that lays out some of the actions I’m taking to revise the
2020 plan. The revision is necessary due to changes within           sales markets brought about by the coronavirus. The
plan is not complete as there are still a number of moving pieces; however, I can forward on when it is revised.

Best,




                                                           2
4:30 PM
04/06/20
Accrual Basis
                                                          Case 18-10512-KBO                                Doc 1918-1 byFiled
                                                                                                            Transactions      09/04/20
                                                                                                                         Account                                Page 370 of 370
                                                                                                                     As of March 31, 2020


                     Type          Date                     Name                                Memo                  Clr                  Split              Debit        Credit        Balance
    10900 · Borrowings held by PPAS                                                                                                                                                     3,407,206.46
                Credit          12/30/2019 Patriarch Partners Agency Services, LLC Payment of past due invoices             22000 · Accounts Payable                      500,000.00    2,907,206.46
                General Journal 12/31/2019                                         PPAS Interest Earned                     80100 · Interest Earned           3,132.90                  2,910,339.36 Balance as of 12/31/2019
                General Journal 01/03/2020                                         PPAS Interest Earned                     80100 · Interest Earned           3,052.28                  2,913,391.64
                General Journal 02/03/2020                                         PPAS Interest Earned - Feb 2020          80100 · Interest Earned           2,590.92                  2,915,982.56
                Credit          03/02/2020 Patriarch Partners Agency Services, LLC Payment of past due invoices             22000 · Accounts Payable                      250,000.00    2,665,982.56
                General Journal 03/03/2020                                         PPAS Interest Earned - MAR 2020          80100 · Interest Earned           2,326.26                  2,668,308.82
                Credit          03/20/2020 Patriarch Partners Agency Services, LLC Payment of past due invoices             22000 · Accounts Payable                      500,000.00    2,168,308.82
                Transfer        03/24/2020                                         Funds Transfer                           10750 · BBVA Compass Cash Acct               2,168,308.82           0.00
   Total 10900 · Borrowings held by PPAS                                                                                                                     11,102.36   3,418,308.82           0.00
TOTAL                                                                                                                                                        11,102.36   3,418,308.82           0.00




                                                                                                                                                                                                                                Page 1 of 1
